Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 1 of 219 PageID 6




                          EXHIBIT A
        Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 2 of 219 PageID 7
Filing # 209175245 E-Filed 10/21/2024 09:52:33 AM


                                                     IN THE CIRCUIT COURT OF THE
                                                     SEVENTH JUDICIAL CIRCUIT, IN AND
                                                     FOR ST. JOHNS COUNTY, FLORIDA


                                                     CASENO.: CA24-1388
                                                     DIVISION: 59
        AKMAL GRANT.                                 552024CA001388A000MX
               Plaintiff,

        VS.



        FREEDOM MORTGAGE
        CORPORATION,

        and


        TRANS UNION LLC,

        and


        EXPERIAN INFORMATION
        SOLUTIONS, INC.,

        and


        EQUIFAX INFORMATION
        SERVICES LLC,

               Defendants.
        A

                                       COMPLAINT
                                           FOR DAMAGES

                                           I.     INTRODUCTION


               1.      This is an action for damages in excess of $50,000.00 exclusive of costs, interest,

        and attorney’s fees brought by Plaintiff, AKMAL GRANT, an individual consumer, for violations

        of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seg. (““FCRA”), by FREEDOM MORTGAGE

        CORPORATION (“FREEDOM”), TRANS UNION LLC (“TRANS UNION”), EXPERIAN

        INFORMATION          SOLUTIONS, INC.       (“EXPERIAN”),      and EQUIFAX INFORMATION
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 3 of 219 PageID 8




SERVICES LLC (“EQUIFAX”) and violations of the Florida Consumer Collection Practices Act,

Fla. Stat. § 559.55 et seg. “FCCPA”), against FREEDOM. Fundamentally, this case is about the

Defendants’ refusal to respect Mr. Grant’s personal and legal rights in their false reporting of Mr.

Grant’s credit and financial information.


        2.     “As a result of increased abuse by consumer debt collectors and the lack of any

meaningful common law tort remedies, in the late-1960s and early-1970s, state legislatures began

to recognize the need for consumer protection legislation in the area of debt collection... For its

part, Florida enacted the FCCPA in 1972 as a means of regulating the activities of consumer

collection agencies within the state.” Gause v. Med. Bus. Consultants, Inc., 424 F. Supp. 3d 1175,

1186 (M.D. Fla. 2019) (internal citations omitted).

        3.     Consumer reporting agencies, like TRANS UNION, EXPERIAN, and EQUIFAX,

are charged with maintaining reasonable procedures to ensure the maximum possible accuracy of

the information they report which is provided by furnishers, like FREEDOM, to the consumer

reporting agencies.

        4.     When a consumer, like Plaintiff, disputes information through the consumer

reporting agencies the FCRA demands that both the agency and the furnisher separately conduct a

reasonable investigation of the consumer’s dispute and correct or delete information which is

inaccurate or cannot otherwise be verified.


                             I.     JURISDICTION AND VENUE


        5.     Jurisdiction of this Court arises pursuant to Fla. Stat. § 559.77, Fla. Stat. § 26.012

and 15 U.S.C. § 1681p. Venue is proper in this County in that the conduct complained of occurred

here.




                                                 2
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 4 of 219 PageID 9




                                       Il.     PARTIES


       6.     Plaintiff is a natural person and citizen of the State of Florida residing in Saint

Augustine, Florida.

       7.     Plaintiff is a “consumer” as defined by the FCRA, 15 U.S.C. § 168la(c) and

FCCPA, Fla. Stat. § 559.55(8).

       8.     Defendant, FREEDOM, is a mortgage lender and servicer that provides mortgage

services and loans nationwide.


       9.     FREEDOM is a “furnisher of information” as contemplated by the FCRA, 15

U.S.C. § 1681s-2(a) & (b), that regularly furnishes information to one or more consumer reporting

agencies about consumer transactions or experiences with consumers.

       10.    Defendant, TRANS UNION, whose principal address is located at 555 West Adams

Street, Chicago, IL 60661, is a “consumer reporting agency” as defined by the FCRA, 15 U.S.C.

§ 1681a(f). Upon information and belief, TRANS UNION regularly engages in the business of

assembling, evaluating, and disbursing information concerning consumers for the purposes of

furnishing consumer reports, as defined by the FCRA, 15 U.S.C. § 1681a(d), to third parties.

       11.   |EXPERIAN, whose principal address is located at 475 Anton Boulevard, Costa

Mesa, CA 92626, is a “consumer reporting agency” as defined by the FCRA, 15 U.S.C. § 168 1a(f).

Upon information and belief, EXPERIAN regularly engages in the business of assembling,

evaluating, and disbursing information concerning consumers for the purposes of furnishing

consumer reports, as defined by the FCRA, 15 U.S.C. § 1681a(d), to third parties.

       12.    EQUIFAX, whose principal address is located at 1550 Peachtree St. NE, Atlanta,

GA, 30309, is a “consumer reporting agency” as defined by the FCRA, 15 U.S.C. § 1681a(f).

Upon information and belief, EQUIFAX regularly engages in the business of assembling,




                                               3
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 5 of 219 PageID 10




evaluating, and disbursing information concerning consumers for the purposes of furnishing

consumer reports, as defined by the FCRA, 15 U.S.C. § 1681a(d), to third parties.

                                     IV.     BACKGROUND


        13.    In March 2021 Mr. Grant purchased his home located at 142 Watervale Dr., Saint

Augustine, FL 32092.

        14.    Sometime after moving in FREEDOM began servicing Mr. Grant’s mortgage

account.



        15.    On April 26, 2022, Mr. Grant’s account was assigned to FREEDOM and

FREEDOM became the owner and servicer of the account. A true and correct copy of the

Assignment of Mortgage is attached hereto as Exhibit 1.

        16.    Unfortunately, Mr. Grant began experiencing some financial difficulties in the

summer of 2021 and had to apply for a forbearance.

        17.   | FREEDOM sent Mr. Grant a letter dated September 9, 2021, approving a

forbearance from May 1, 2021, through October 31, 2021.          A true and correct copy of the

September 9, 2021, letter is attached hereto as Exhibit 2.

        18.    Subsequently, Mr. Grant was granted a forbearance through the summer of 2022.

        19.    In the summer of 2022 Mr. Grant, who at that time was still experiencing financial

difficulties, applied for assistance to the Florida Department of Economic Opportunity’s (“DEO”)

Homeowner Assistance Fund (“HAF”) Program.

       20.     The DEO sent Mr. Grant two (2) letters dated August 15, 2022, stating that Mr.

Grant had been approved for mortgage assistance. True and correct copies of the August 15, 2022,

letters are attached hereto as Exhibits 3 and 4, respectively.




                                                  4
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 6 of 219 PageID 11




       21.       The DEO awarded Mr. Akmal mortgage assistance for the payments that had come

due during the forbearance period and seven (7) mortgage payments going forward.

       22.       After applying the DEO awards FREEDOM did not assert that any payments were

due until April 2023.

       23.       For example, FREEDOM sent Mr. Grant mortgage statements dated December 1,

2022, January 2, 2023, and February 1, 2023, which asserted that $0.00 was due for January 2023,

February 2023, and March 2023. True and correct copies of the December 1, 2022, January 2,

2023, and February 1, 2023, account statements are attached hereto as composite Exhibit 5.

       24.       In March 2023 FREEDOM began sending Mr. Grant statements asserting that

mortgage payments were coming due again.

       25.       FREEDOM sent Mr. Grant a statement dated March 1, 2023, asserting that

$2,366.94 was due by April 1, 2023. A true and correct copy of the March 1, 2023, statement is

attached hereto as Exhibit 6.


       26.       Mr. Grant made a payment of $2,411.94 on April 4, 2024. A true and correct copy

of Mr. Grant’s bank account showing the April 4, 2024, payment is attached hereto as Exhibit 7.

       27.       FREEDOM sent Mr. Grant a statement dated April 3, 2023, asserting that $2,366.94

was due by May 1, 2023. A true and correct copy of the April 3, 2023, statement is attached hereto

as Exhibit 8.


       28.       Mr. Grant made a payment of $2,366.94 on May 9, 2023. A true and correct copy

of Mr. Grant’s bank account showing the May 9, 2023, payment is attached hereto as Exhibit 9.

       29.       FREEDOM sent Mr. Grant a statement dated May 8, 2023, asserting that $2,366.94

was due by June 1, 2023. A true and correct copy of the May 8, 2023, statement is attached hereto

as Exhibit 10.




                                                 5
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 7 of 219 PageID 12




           30.    Mr. Grant made a payment of $2,366.94 on June 14, 2023. A true and correct copy

of Mr. Grant’s bank account showing the June 14, 2023, payment is attached hereto as Exhibit 11.!

           31.    FREEDOM sent Mr. Grant a statement dated June 13, 2023, asserting that

$2,366.94 was due by July 1, 2023. A true and correct copy of the June 13, 2023, statement is

attached hereto as Exhibit 12.


           32.    Mr. Grant did not make a payment by July 16, 2023, as required by the June 13,

2023, statement.

           33.    Asaresult, FREEDOM sent Mr. Grant a statement dated July 18, 2023, asserting

that a total of $4,799.57 was due by August 1, 2023. A true and correct copy of the July 18, 2023,

statement is attached hereto as Exhibit 13.


           34.    The $4,799.57 demanded consisted of the July 2023 mortgage payment of

$2,366.94, a late fee in the amount of $65.69, and the August payment of $2,366.94.

           35.    However, as reflected on Mr. Grant’s August 14, 2023, statement Mr. Grant called

in to make a payment for July 2023 on July 21, 2023. A true and correct copy of the August 14,

2023, statement is attached hereto as Exhibit 14.

           36.   | When Mr. Grant called FREEDOM Mr. Grant was informed by FREEDOM that

Mr. Grant had $510.25 in HAF funds that Mr. Grant could apply to the July 2023 payment.

           37.    As detailed on the August 14, 2023, statement Mr. Grant paid $1,922.38 and HAF

funds in the amount of $510.25 were applied to the July 2023 payment.

           38.    $1,922.38 + $510.25 = $2,432.63 which represented the $2,366.94 July mortgage

payment and late fee of $65.69.

           39.    Although paid late, the July 2023 payment was not over 30 days past due.


‘Miz Grant has a 15-day “race period” to pay the mortgage before late fees would be assessed for any monthly
payment.



                                                       6
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 8 of 219 PageID 13




       40.     Mr. Grant made a payment of $2,366.94 on August 16, 2023, for the August 2023

payment. A true and correct copy of Mr. Grant’s bank account showing the August 16, 2023,

payment is attached hereto as Exhibit 15.

       41.     Mr. Grant made a payment of $2,366.94 on September 15, 2023, for the September

2023 payment. A true and correct copy of Mr. Grant’s bank account showing the September 15,

2023, payment is attached hereto as Exhibit 16.

       42.   | FREEDOM sent Mr. Grant a statement dated September 14, 2023, asserting that

$2,366.94 was due by October 1, 2023. A true and correct copy of the September 14, 2023,

statement is attached hereto as Exhibit 17.


       43.   | Mr. Grant made a payment of $2,366.94 on October 19, 2023, for the October 2023

payment. A true and correct copy of Mr. Grant’s bank account showing the October 19, 2023,

payment is attached hereto as Exhibit 18.

       44.     FREEDOM sent Mr. Grant a statement dated October 16, 2023, asserting that

$2,366.94 was due by November 1, 2023. A true and correct copy of the October 16, 2023,

statement is attached hereto as Exhibit 19.


       45.     Mr. Grant made a payment of $2,366.94 on November 16, 2023, for the November

2023 payment. A true and correct copy of Mr. Grant’s bank account showing the November 16,

2023, payment is attached hereto as Exhibit 20.

       46.     FREEDOM sent Mr. Grant a statement dated December 15, 2023, asserting that

$12,228.84 was due by January 1, 2024. A true and correct copy of the December 15, 2023,

statement is attached hereto as Exhibit 21.


       47.     Mr. Grant, shocked that FREEDOM was suddenly demanding $12,228.84 when he

had made every payment in 2023, decided to call FREEDOM.




                                                  7
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 9 of 219 PageID 14




       48.    | FREEDOM informed Mr. Grant that the DEO had “overpaid” on Mr. Grant’s

account and that the DEO had “clawed back” the overpayments.

       49.     FREEDOM specifically informed Mr. Grant that the overpayments were clawed

back in December 2023.


       50.    | FREEDOM also informed Mr. Grant that if he did not make all the required

payments FREEDOM would begin foreclosure proceedings.

       51.     At no point prior to December 2023 did FREEDOM indicate that Mr. Grant was

delinquent on his mortgage or that the DEO had overpaid anything.

       52.     Mr. Grant, terrified that Mr. Grant would lose his home, took out a loan to make up

for the payments that were clawed back.

       53.     As detailed on Mr. Grant’s January 1, 2024, mortgage statement, Mr. Grant made

the following payments:


               Transaction Activity (12/16/23 - 01/01/24)
               Transaction            ware      Interest Paid       Transaction      Transaction   Interest
               Description                        To Date           Effective Date    Amount        Paid
               Accrued Late Charge   12/19/23     00/00/00            12/19/23          $65.69       $000
               Late Charge Waived    12/26/23     00/00/00            12/26/23          $65.69       $0.00
               Payment               12/29/23     09/01/23.           12/29/23       $1,713.08     $947.90
               Payment               12/29/23     10/01/23            12/29/23       $2,366.94     $946.09
               Payment               12/29/23 11/01/23                12/29/23       $2,366.94     $944.28
               Payment               01/01/24 = 01/01/24              12/30/23       $2,366.94     $940.64


       54.     A true and correct copy of the January 1, 2024, statement is attached hereto as

Exhibit 22.


       55.     In an effort to save his home, Mr. Grant made payments totaling $8,813.90 in the

final weeks of December.




                                                                8
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 10 of 219 PageID 15




        56.       Mr. Grant also made two (2) payments of $2,366.94 on January 3, 2024. A true and

 copy of Mr. Grant’s bank account showing the two January 3, 2024, payments is attached hereto

 as Exhibit 23.


        57.       All told, Mr. Grant paid $13,547.78 in late December 2023 and early January 2024

 in an effort to save his home.


        58.       Despite the fact that Mr. Grant did nothing wrong, FREEDOM also sought to

 collect from Mr. Grant late charges in the amount of $394.14 pursuant to the January 1, 2024,

 statement.”


        59.       On March 21, 2024, Mr. Grant pulled Mr. Grant’s TRANS UNION credit report. A

 true and correct copy of the pertinent pages of the March 21, 2024, TRANS UNION report is

 attached hereto as Exhibit 24.


        60.       The March 21, 2024, TRANS UNION report reflected that the FREEDOM

 mortgage account was 30 days late in February 2023, 60 days late from March 2023 through

 October 2023, and 90 days late in December 2023.

        61.       On March 19, 2024, Mr. Grant pulled Mr. Grant’s EXPERIAN credit report. A true

 and correct copy of the March 19, 2024, EXPERIAN report is attached hereto as Exhibit 25.

        62.       The March 19, 2024, EXPERIAN report reflected the same alleged delinquencies

 as the TRANS UNION report.

        63.       On March 21, 2024, Mr. grant pulled Mr. Grant’s EQUIFAX credit report. A true

 and correct copy of the March 21, 2024, EQUIFAX report is attached hereto as Exhibit 26.

        64.       The March 21, 2024, EQUIFAX report reflected the same alleged delinquencies as

 the TRANS UNION and EXPERIAN reports.




                                                  9
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 11 of 219 PageID 16




         65.     On August 6, 2024, Mr. Grant pulled Mr. Grant’s TRANS UNION report which

 still reflected the same derogatory reporting that was contained on the March 21, 2024, report.

         66.     On August 6, 2024, Mr. Grant pulled Mr. Grant’s EXPERIAN report which still

 reflected the same derogatory reporting that was contained on the March 21, 2024, report.

         67.     On August 6, 2024, Mr. Grant pulled Mr. Grant’s EQUIFAX report which still

 reflected the same derogatory reporting that was contained on the March 21, 2024, report.

         68.     Mr. Grant sent a dispute letter to FREEDOM dated August 7, 2024, disputing the

 reporting and explaining that Mr. Grant had not been late on his mortgage during 2023. A true and

 correct copy of the August 7, 2024, letter is attached hereto as Exhibit 26.

         69.     The August 7, 2024, letter was delivered to FREEDOM on August 9, 2024.

         70.     Mr. Grant sent a dispute letter to TRANS UNION dated August 7, 2024, disputing

 the alleged debt and explaining that Mr. Grant had not been late on his mortgage during 2023. A

 true and correct copy of August 7, 2024, letter is attached hereto as Exhibit 27.

         71.     Upon information and belief, TRANS UNION notified the furnisher, FREEDOM,

 of Plaintiff’s dispute of the alleged debt.

         72.     Mr. Grant sent a dispute letter to EXPERIAN dated August 7, 2024, disputing the

 alleged debt and explaining that Mr. Grant had not been late on his mortgage during 2023. A true

 and correct copy of August 7, 2024, letter is attached hereto as Exhibit 28.

         73.     Upon information and belief, EXPERIAN notified the furnisher, FREEDOM, of

 Plaintiff’s dispute of the alleged debt.

         74.     Mr. Grant sent a dispute letter to EQUIFAX dated August 7, 2024, disputing the

 alleged debt and explaining that Mr. Grant had not been late on his mortgage during 2023. A true

 and correct copy of August 7, 2024, letter is attached hereto as Exhibit 29.




                                                  10
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 12 of 219 PageID 17




          75.    Upon information and belief, EQUIFAX notified the furnisher, FREEDOM, of

 Plaintiff’s dispute of the alleged debt.

          76.     A true and correct copy of the certified mailing receipts for the disputes letters is

 attached hereto as Exhibit 30.


          77.    Mr. Grant received a letter from FREEDOM dated September 4, 2024, stating

 FREEDOM had determined that “there is no evidence of inaccurate reporting and that the loan is

 being accurately reported to the four major credit bureaus.” A true and correct copy of the

 September 4, 2024, letter is attached hereto as Exhibit 31.

          78.    Mr. Grant received a response from TRANS UNION dated August 21, 2024. A true

 and correct copy of the August 24, 2024, response is attached hereto as Exhibit 32.

          79.     TRANS UNION’s response stated that the item was “updated” but still reported the

 mortgage as being late beginning in February 2023.

          80.   | EXPERIAN never responded to the dispute.

          81.   | However, as of October 3, 2024, EXPERIAN is still reporting the mortgage as

 delinquent from February 2023 through November 2023. A true and correct copy of Mr. Grant’s

 October 3, 2024, EXPERIAN report reflecting the FREEDOM account is attached hereto as

 Exhibit 33.


          82.    EQUIFAX never responded to the dispute, other than to ask for more

 “identification” information, which is rich because the dispute had Mr. Grant’s social security

 number, date of birth, address, and phone number, along with EQUIFAX’s own report on Mr.

 Grant.




                                                   11
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 13 of 219 PageID 18




         83.   | However, as of October 3, 2024, EQUIFAX is still reporting the mortgage as

 delinquent February 2023 through November 2023. A true and correct copy of Mr. Grant’s October

 3, 2024, EQUIFAX report reflecting the FREEDOM account is attached hereto as Exhibit 34.

         84.     The reporting of a delinquency that never existed has saddled Mr. Grant with a

 delinquent account on his reports that does not reflect what actually happened, causing damage to

 Mr. Grant’s reputation and causing Mr. Grant worry, fear, frustration and embarrassment.

         85.    Mr. Grant has also been forced to pay out of pocket expenses for mailings, papers,

 etc., in attempting to get the Defendants to correct the illegal and inaccurate reporting.

       V.      COUNT I- FLORIDA CONSUMER COLLECTION PRACTICES ACT
                                  VIOLATIONS BY FREEDOM


         86.    Plaintiff incorporates by reference paragraphs 1 through 85 of this Complaint.

         87.   |FREEDOM repeatedly sent Mr. Grant account statements informing Mr. Grant that

 Mr. Grant was current on his mortgage. Mr. Grant repeatedly made payments based on those

 statements to keep his mortgage current. FREEDOM even informed Mr. Grant that there were

 “extra” funds available to Mr. Grant from HAF that FREEDOM allowed Mr. Grant to use to pay

 his mortgage. However, as soon as HAF reclaimed some of those funds, FREEDOM immediately

 began threatening Mr. Grant with foreclosure. FREEDOME engaged in conduct in its mortgage

 servicing and collection that FREEDOM could reasonably expect to harass Mr. Grant in violation

 of Fla. Stat. § 559.72(7).

         88.    FREEDOM, by threatening a foreclosure, an equitable proceeding, when there was

 a simple accounting error on the behalf of a third party, attempted to assert a legal right that

 FREEDOM knew FREEDOM did not have in violation of Fla. Stat. § 559.72(9).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

 against Defendant, FREEDOM, for:



                                                  12
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 14 of 219 PageID 19




        a.           Actual and statutory damages pursuant to Fla. Stat. § 559.77;

        b.           Attorney’s fees, litigation expenses and costs of suit pursuant to Fla. Stat. § 559.77;

        C.           Injunctive relief pursuant to Fla. Stat. § 559.77; and

        d.           Such other and further relief as the Court deems proper.

              VI.       COUNT II -— FAIR CREDIT REPORTING ACT VIOLATIONS
                                               BY FREEDOM


        89.          Plaintiff incorporates by reference paragraphs 1 through 85 of this Complaint.

        90.          By failing to fully and properly investigate Plaintiff's dispute, by failing to

 accurately respond to TRANS UNION, EXPERIAN, and EQUIFAX by failing to correctly report

 the results of the investigation to TRANS UNION, EXPERIAN and EQUIFAX, and by failing to

 permanently and lawfully correct its own internal records to prevent the re-reporting of an

 inaccurate item, FREEDOM willfully and negligently violated the FCRA, 15 U.S.C. § 1681s-2(b).

        WHEREFORE, Plaintiff requests the Court enter judgment in favor of Plaintiff and against

 Defendant, FREEDOM, for:

        a.           Actual or statutory damages pursuant to 15 U.S.C. § 1681n and 15 U.S.C. 16810;

        b.           Attorney’s fees, litigation expenses and costs pursuant to 15 U.S.C. § 1681n and 15

                     U.S.C. 16810; and

        C.           Such other and further relief as the Court deems proper.

              VIL.      COUNT III -— FAIR CREDIT REPORTING ACT VIOLATIONS
                                             BY TRANS UNION


        91.          Plaintiff incorporates by reference paragraphs 1 through 85 of this Complaint.

        92.          By failing to follow reasonable procedures to assure maximum possible accuracy

 in the preparation of the credit report and credit files it published and maintained concerning

 Plaintiff TRANS UNION violated the FCRA, 15 U.S.C. § 1681e.




                                                       13
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 15 of 219 PageID 20




        93.       By failing to delete inaccurate information in the Plaintiff’s credit file after

 receiving actual notice of the inaccuracy, by failing to conduct a reasonable investigation, by

 failing to maintain reasonable procedures with which to filter and verify disputed information in

 the Plaintiff’s credit file, by failing to review and consider the information provided to TRANS

 UNION by Plaintiff, and by relying upon verification of the item from a source TRANS UNION

 has reason to know is unreliable, TRANS UNION violated the FCRA, 15 U.S.C. § 16811.

        WHEREFORE, Plaintiff requests the Court enter judgment in favor of Plaintiff and against

 Defendant, TRANS UNION, for:

        a.        Actual or statutory damages pursuant to 15 U.S.C. § 1681n and 15 U.S.C. 16810;

        b.        Attorney’s fees, litigation expenses and costs of suit pursuant to 15 U.S.C. § 1681n

                  and 15 U.S.C. 16810; and

        C.        Such other and further relief as the Court deems proper.

              Vill.   COUNT IV - FAIR CREDIT REPORTING ACT VIOLATIONS
                                           BY EXPERIAN


        94.       Plaintiff incorporates by reference paragraphs 1 through 85 of this Complaint.

        95.       By failing to follow reasonable procedures to assure maximum possible accuracy

 in the preparation of the credit report and credit files it published and maintained concerning

 Plaintiff EXPERIAN violated the FCRA, 15 U.S.C. § 1681e.

        96.       By failing to delete inaccurate information in the Plaintiff’s credit file after

 receiving actual notice of the inaccuracy, by failing to conduct a reasonable investigation, by

 failing to maintain reasonable procedures with which to filter and verify disputed information in

 the Plaintiff’s credit file, by failing to review and consider the information provided to EXPERIAN

 by Plaintiff, and by relying upon verification of the item from a source EXPERIAN has reason to

 know is unreliable, EXPERIAN violated the FCRA, 15 U.S.C. § 16811.



                                                   14
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 16 of 219 PageID 21




        WHEREFORE, Plaintiff requests the Court enter judgment in favor of Plaintiff and against

 Defendant, EXPERIAN, for:

        a.          Actual or statutory damages pursuant to 15 U.S.C. § 1681n and 15 U.S.C. 16810;

        b.          Attorney’s fees, litigation expenses and costs of suit pursuant to 15 U.S.C. § 1681n

                    and 15 U.S.C. 16810; and

        C.          Such other and further relief as the Court deems proper.

              IX.      COUNT V —- FAIR CREDIT REPORTING ACT VIOLATIONS
                                             BY EXPERIAN


        97.         Plaintiff incorporates by reference paragraphs 1 through 85 of this Complaint.

        98.         By failing to follow reasonable procedures to assure maximum possible accuracy

 in the preparation of the credit report and credit files it published and maintained concerning

 Plaintiff EQUIFAX violated the FCRA, 15 U.S.C. § 1681e.

        99.         By failing to delete inaccurate information in the Plaintiff’s credit file after

 receiving actual notice of the inaccuracy, by failing to conduct a reasonable investigation, by

 failing to maintain reasonable procedures with which to filter and verify disputed information in

 the Plaintiff’s credit file, by failing to review and consider the information provided to EQUIFAX

 by Plaintiff, and by relying upon verification of the item from a source EQUIFAX has reason to

 know is unreliable, EQUIFAX violated the FCRA, 15 U.S.C. § 16811.

        WHEREFORE, Plaintiff requests the Court enter judgment in favor of Plaintiff and against

 Defendant, EQUIFAX, for:

        a.          Actual or statutory damages pursuant to 15 U.S.C. § 1681n and 15 U.S.C. 16810;

        b.          Attorney’s fees, litigation expenses and costs of suit pursuant to 15 U.S.C. § 1681n

                    and 15 U.S.C. 16810; and

        C.          Such other and further relief as the Court deems proper.



                                                     15
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 17 of 219 PageID 22




                                    /s/ Ryan G. Moore
                                    Ryan G. Moore, Fla. Bar No.: 70038
                                    First Coast Consumer Law
                                    476 Osceola Avenue
                                    Jacksonville Beach, FL, 32250-4082
                                    P: (904) 242-7070 F: (904) 513-9280
                                    e-service: pleadings@firstcoastconsumerlaw.com
                                    Attorneysfor Plaintiff




                                      16
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 18 of 219 PageID 23




   |                        EXHIBIT 1°
       Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 19 of 219 PageID 24
8/5/24, 4:22 PM                                                                              Landmark Web Official Records Search


   Instr #2022042706 BK: 5545 PG: 835, Filed & Recorded: 4/26/2022 3:44 PM #Pgs:1
   Brandon J. Patty,Clerk of the Circuit Court and Comptroller St. Johns County FL Recording $10.00


          RECORDING REQUESTED AND PREPARED BY:
          Freedom Mortgage Corporation
          Jayabalaji Natarajan
          Jayabalaji Natarajan
          20 Lake Center Drive
          Marlton NJ 08053
          (855) 690-5900
          AND WHEN RECORDED MAIL TO:
          Freedom Mortgage Corporation
          Assignment of Mortgage Department
          20 Lake Center Drive
          Marlton, NJ 08053

          oon
          MIN: 101424500000013618
          MERS Phone #: (888) 679-6377

                                                        ASSIGNMENT OF MORTGAGE

              For good and valuable consideration, the sufficiency of which is hereby acknowledged, Mortgage Electronic Registration
          Systems, Inc., as mortgagee, as nominee for JET HOMELOANS, LLC., its successors and assigns,P.O. Box 2026, Flint, MI 48501-
          2026 (888) 679-6377, by these presents does convey, assign, transfer and set over to: Freedom Mortgage Corporation,
          907 Pleasant Valley Ave Ste3, Mount Laurel, NJ 08054, the described Mortgage, with all interest, all liens, and any rights due or to
          become due thereon. Said Mortgage for $383374.00 is recorded in the State of FLORIDA, County of St. Johns Official Records, dated
          02/26/2021 and recorded on 03/03/2021,    as Instrument No. 2021023614 in Book No. 5195, at Page No, 1599
          Original Morigagor: AKMAL. JAMAL GRANT, SINGLE MAN.
          Original Mortgagee: Mortgage Electronic Registration Systems, Inc., as mortgagee, as nominee for JET HOMELOANS, LLC., its
          successors and assigns
          Property Address: 142 WATERVALE DR SAINT AUGUSTINE, FL. 32092
          Date: 04/26/2022.

          Mortgage Electronic Registration Systems, Inc., as mortgagee.
          as nominee for JET HOMELOANS, LLC., its successors and
          assigns


          By: Aatay
          Name: Lateef Smith
          Title: Vice President



          STATE OF New Jersey            ee
          COUNTY OF BURLINGTON | **
          On 04/26/2022, before me, Carla Johnson, Notary Public, personally appeared Lateef Smith, Vice President of Mortgage Electronic
          Registration Systems, Inc., as mortgagee, as nominee for JET HOMELOANS, LLC.,, its successors and assigns . personally known to
          me (or proved to me the basis of satisfactory evidence) to be the person whose name is subscribed to the within instrument and
          acknowledged to me that she/he/they executed the same in her/his/thetr authorig#d tapacity(ies), and that by her/his/their signature(s)
          on the instrument the person(s), or the entity upon behalf of which the person(s) acted. executed the instrument.

          Witness my hand and official seal.                                      Gop OH
           Ap
           t af { jA—                                                          YPFcsiGay
                                                                               yO :AoTAR?ge
                                                                               Ske     Qo”       ae
                                                                               Ni Pua’ ff
          Notary Public: Carla Johnson                                          ‘ Peer fy
          My Commission Expires: 08/16/2026
          Commission #: 50044120
                                                                                  aS
                                                                                   ae
                                                                                     JERS




https://apps.stjohnsclerk.com/Landmark/search/index ?theme=.blue&section=searchCriteriaName&quickSearchSelection=#                                  1/1
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 20 of 219 PageID 25




                            EXHIBIT 2
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 21 of 219 PageID 26
                    am                                                       Representation Of Printed Document

FREEDOM MORTGAGE*
FOR RETURN SERVICE ONLY
PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS
P.O. BOX 619063
DALLAS, TX 75261-9063


       7-807-60997-0001068-001-000-000-000-000




       AKMAL JAMAL GRANT
       142 WATERVALE DR
       SAINT AUGUSTINE FL 32092-1768




        September 09, 2021


        Re: Loan Numbef
        Dear Valued Customer(s),

        We understand that the economic disruptions caused by the COVID-19 National Emergency have impacted your ability
        to make your mortgage payment. We are here to help. We understand this is a very difficult time for you and Freedom
        Mortgage is committed to doing the very best we can to assist you in your time of need.

        We have received your request for a forbearance in which you have attested to a financial hardship due directly or
        indirectly to the COVID-19 National Emergency. We are confirming that you have been granted a COVID-19
        Forbearance Plan (the “Forbearance Plan”). This Forbearance Plan is a temporary suspension of your mortgage
        payments intended to allow you the time and flexibility to manage the financial challenges affecting your ability to pay
        your mortgage. If you did not intend to request a Forbearance Plan, or if the terms of the plan outlined below do not
        accurately reflect our agreement, please contact us as soon as possible at (855) 690-5900.

        Forbearance Plan Terms

        Your Forbearance Plan is effective May 01, 2021. As part of your Forbearance Plan, we have temporarily suspended
        your monthly mortgage payment for the following months: May 01, 2021 through October 31, 2021.

        During the forbearance period, you do not need to make mortgage payments. Please understand that you are not
        prohibited from making your mortgage payments during the forbearance period and you can make payments if you
        choose to do so. If you are able to make payments during your Forbearance Plan, it is in your best interest to do so.

        A Forbearance Plan is only a temporary suspension of payments. The payments suspended during the forbearance
        period are not forgiven and will need to be repaid in the future but necessarily all at once. We will work with you near
        the end of your Forbearance Plan to determine what long-term solutions may be available to assist you in your repay.

        While your monthly mortgage payment is being temporarily suspended, we are legally required to continue to send you
        a monthly billing statement that shows your contractual mortgage payment amount. During your Forbearance Plan, we
        recommend that you regularly review your monthly billing statement. Your monthly billing statement will reflect the
        amount of your monthly payments being suspended, as well as any amounts that may have been past due prior to your
        Forbearance Plan. This will help you better understand the amounts due at the end of your Forbearance Plan that we
        will discuss the best way for you to repay.

        If you have questions about your Forbearance Plan terms, please contact us at (855) 690-5900.




    531                                            internet Reprint
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 22 of 219 PageID 27


   Next Steps
       e    You may shorten your Forbearance Plan at any time. If your financial situation changes during the term of
            your Forbearance Plan and you have the ability to resume your regular monthly mortgage payments, please
            contact us. The fewer suspended payments, the less you will owe down the road.
       e    At the end of your Forbearance Plan, there may be programs available to help you catch up on the payments
            that were suspended, such as a repayment plan, payment deferment, or a loan modification. The programs
            that may be available to you will depend on the investor or government backed agency for your specific loan
            (i.e., Fannie Mae, Freddie Mac, USDA, VA, or FHA).
       e@   We will reach out to you before your Forbearance Plan is scheduled to end to-understand your circumstances
            and to determine which assistance programs may be available to you. Depending on your circumstances, and
            the programs that may be available to you, a complete loss mitigation application may be required. Not all
            borrowers may qualify for assistance programs. If we are unable to find a solution that brings your account
            current, collection activities may begin.
       e    If you are still experiencing financial challenges related directly or indirectly to COVID-19 when the term of
            your Forbearance Plan is approaching, you may request an extension of your Forbearance Plan for up to an
            additional 180 days, for a total of 360 days.


   Additional Forbearance Plan Information and Legal Notices
       e Credit Reporting: We will report your account as current to the credit reporting agencies (CRAs) during
          the term of your Forbearance Plan. We will also furnish information about your Forbearance Plan to the
          CRAs in accordance with the requirements of the Fair Credit Reporting Act. We are uncertain as to how this
          reporting may impact your credit score, particularly if you are current on your mortgage or otherwise have a
          good credit score.

       e    You agree that, in the event you make any payments during the Forbearance Plan term, we will hold those
            payments in an account until sufficient funds are in the account to pay your oldest monthly payment that is
            due. You also agree that we will not owe you interest on the amounts held in the account. If any money is
            left in this account at the end of the Forbearance Plan, it will be applied to reduce the unpaid amounts of
            your mortgage loan in accordance with the terms of the mortgage and applicable law.

       *    We will not refer your loan to foreclosure during the Forbearance Plan. If your loan is currently in
            foreclosure, foreclosure proceedings have been placed on hold. However, our acceptance and posting of any
            payment you make during the forbearance period will not be deemed a waiver of the acceleration of your
            loan and related activities, including the right to resume or continue foreclosure if you fail to comply with the
            terms of the plan, and shall not constitute a cure of your mortgage default unless such payments are
            sufficient to completely cure the default under the terms of your mortgage and applicable law.

       e    You agree that: (1) all terms and provisions of your current mortgage note and mortgage security instrument
            remain in full force and effect; (2) you will comply with those terms, except as otherwise outlined in this
            Forbearance Plan; and (3) nothing in the Forbearance Plan shall be understood or construed to be a
            satisfaction or release in whole or in part of the obligations contained in your loan documents.

       e    Please see enclosed Forbearance Plan FAQs for some additional information.




 531
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 23 of 219 PageID 28
                =                                                        Representation Ofghi Wakes se9a6Pbo0-000-000-000
                                                                                                    ddA
FREEDOM MORTGAGE
        Incomplete Application Acknowledgement Notice
            e This Forbearance Plan was offered based upon your request for forbearance and an attestation of a
                financial hardship due directly or indirectly to the COVID-19 National Emergency. Under applicable law,
                this request is considered an incomplete application for loss mitigation assistance and we acknowledge
                receipt of your incomplete loss mitigation application. As a result, please note this Forbearance Plan is
                being offered based upon an evaluation of an incomplete application. Other loss mitigation programs may
                be available. You have the option to submit a complete loss mitigation application to receive an evaluation
                for all loss mitigation programs available to you regardless of whether you accept this Forbearance Plan.
                Should you wish to submit a complete loss mitigation application and be considered for other loss
                mitigation programs, please see the enclosed Checklist of Required Documents.

            e   Please note, you have already been granted a COVID-19 Forbearance Plan and you do not need to
                submit the documentation on the enclosed Checklist of Required Documents to proceed with the
                Forbearance Plan. You only need to submit this documentation if you would like to be considered for
                other loss mitigation programs that may be available to you. We will reach out to you before your
                Forbearance Plan is scheduled to end to understand your circumstances and to determine which
                assistance programs may be available to you. Depending on your circumstances and the programs
                available to you, we will let you know what information and/or documentation may be required.

            e   Also, should you wish to complete your application and be reviewed for additional loss mitigation
                programs, you should return this information to us by October 09, 2021 one of the following methods:

            Email:                LossMitigation@ FreedomMortgage.com
            Fax:                  (866) 505-0949
            Mail:

                     Overnight:                                          Regular Mail:
                     Freedom Mortgage                                    Freedom Mortgage
                     10500 Kincaid Drive, Suite 111                      P.O. Box 50485
                     Fishers, Indiana 46037-9764                         Indianapolis, IN 46250-0485

            e   Inthe event you complete your application, we will provide you with a decision on your application within
                30 days and you will typically have 14 days in which to accept any loss mitigation offers. You should
                consider contacting servicers of any other mortgage loans secured by the same property to discuss available
                loss mitigation programs.

        To submit a RESPA Qualified Written Request (““QWR”), assert an error or request information about the
        servicing of your loan, you must use the designated address below:

                          Freedom Mortgage Corporation
                          PO Box 50428
                          Indianapolis, IN 46250-0401

        You may access your loan information at your convenience, 24 hours a day, 7 days a week! Simply log on to our
        website at www.freedommortgage.com or call our automated phone system at (855) 690-5900. Customer Care
        representatives are available to assist you Monday through Friday from 8:00am - 10:00pm and Saturday from
        9:00am - 6:00pm Eastern Time.


        Sincerely,

        Customer Care Department
        Freedom Mortgage Corporation


        FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR ATTEMPTING TO COLLECT
        A DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.


  531                                              internet Reprint
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 24 of 219 PageID 29

   IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN
  BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED FOR IN A CONFIRMED
  PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL
  PURPOSES ONLY, AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO
   IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.


   Forbearance Plan FAQs

   What to know before accepting a Forbearance Plan?
      e If you can continue making payments during a Forbearance Plan, it’s in your best interest to do so. The fewer missed
           payments, the less you will owe down the road.

   What is a Forbearance Plan?
       e    A Forbearance Plan allows you to suspend making payments on your mortgage for a limited time.
       e    A Forbearance Plan doesn’t erase what is owed - you will have to repay any missed payments in the future.
       e    If your income is restored during the term of your Forbearance Plan and you want to resume making payments, you can
            contact us.

       ©    A Forbearance Plan does not replace or modify the terms of your mortgage loan.

   What happens at the end of a Forbearance Plan?
       e    A Forbearance Plan is only a temporary suspension of payments. We will need to work with you near the end of your
            Forbearance Plan to find a solution for the suspended payments. If you are still experiencing financial challenges related
            directly or indirectly to COVID-19 National Emergency, you may be eligible for an extension of your Forbearance Plan.
       *®   While paying the suspended payments at once is an option, we understand that many of our borrowers are experiencing a
            financial hardship and this option may not be realistic.
       e    At the end of a Forbearance Plan, there may be other programs available, such as a repayment plan or loan modification,
            to help you catch up on your suspended payments.
       ©    The programs that may be available will depend on the investor, insurer, or guarantor of your loan (i.c., Fannie Mae,
            Freddie Mac, USDA, VA, or FHA). Many investors, insurers, and guarantors already have available loss mitigation
            solutions and have made available more programs specifically for borrowers financially impacted by COVID-19.
       e    For example, Fannie Mae and Freddie Mac offer the option of placing the suspended payments at the end of the loan
            through a payment deferment or a loan modification. FHA has made available a COVID-19 Partial Claim option for
            mortgages secured by owner-occupied property which takes payments suspended during the Forbearance Plan and creates
            a non-interest bearing second lien to be paid at the maturity of the first mortgage or at the time the first mortgage is
            paid-off. There are a few eligibility requirements associated with this option. An FHA borrower ineligible for a
            COVID-19 Partial Claim may still be considered for other FHA COVID-19 loss mitigation programs, such as a loan
            modification.

       ®    Certain insurers and guarantors already have available standard loss mitigation solutions and we are hopeful that they are
            exploring additional programs specifically for borrowers impacted by COVID-19 that may be available at the end of your
            Forbearance Plan.
       e    Action is required at the end of a Forbearance Plan -We will make contact with you near the end of your Forbearance
            Plan so we can understand your circumstances and work with you to find a solution. As previously mentioned, while
            there may be several programs available at the end of a Forbearance Plan, it is not an automatic process. You will need to
            remain engaged with us to complete a solution. If you do not take any further action, all amounts suspended under the
            Forbearance Plan may be due in a lump sum at the end of the Forbearance Plan.

       Note: The programs that may be available at the end ofyour COVID-19 Forbearance Plan may vary depending on the due
       date ofyour loan.

   Can a borrower extend their Forbearance Plan beyond the initial timeframe?
       e    At the end of your initial Forbearance Plan, you will have the option to extend your forbearance plan. This option may be
            right if you need more time before resuming payments.
       ©    If you extend your forbearance, you'll still need to work with us to explore programs available to you when your
            Forbearance Plan ends.




 531
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 25 of 219 PageID 30
                                                                                                      7-807-60997-0001068-001-000-000-000-000




  FREEDOM MORTGAGE”



                Please see below list of items needed for a full Loss Mitigation review. The following documents can be located via
                your account at https://myaccount.freedommortgage.com:
                       >    Borrower Financial Report
                       >    IRS 4506-T
                       >    Contributor Application
                       >    Boarder Information Sheet
                       >»   Unemployment Affidavit

Once signed into your account follow the below steps to access the documents listed above as needed:
    1. Click on “Help Center” at the top of the webpage
   2. Click on “Forms” on the right-hand side of the screen
   3. Locate the document you need and click on the cloud with the arrow to the right of the document name to download a
              copy of the form
     4.       Download form, print and complete as instructed

                                               CHECKLIST OF REQUIRED DOCUMENTS

     O *BORROWER FINANCIAL REPORT - This statement needs to be completed, signed and returned within 30
       days, and supporting documentation must be less than 90 days old.
     O CHECKING AND SAVINGS ACCOUNT(S)
          o Account statements needed for all checking and savings accounts — all pages
                            1 Most recent 3 months statements for Pre-Foreclosure (“Short”) Sale or Deed-in-lieu requests when
                                middle credit score is over 620
                            O Most recent 2 months statements for all other loan types
     O        VERIFICATION OF HARDSHIP:
                  ©    Documentation to support hardship notated on financial statement or in hardship letter (examples below):
                           O1 Medical bills or letter from a doctor regarding time off work or limitations preventing employment
          ;                 O Home repair receipts
                            O Proof of increased expenses
                            O   Proof of reduction in income

     O * COMPLETED AND SIGNED FORM 4506-T — Freedom Mortgage will use this to obtain the last two years oftax
              returns or to verify information listed on tax returns provided.
                  o   Ifyou are Self-employed, FHA requires prior year’s tax returns all pages, all schedules ANDa fully executed
                      4506-T
     O PROOF OF ALL HOUSEHOLD INCOME, AS APPLICABLE:
         o Current Year Tax Returns — all schedules, all pages, signed
                  If current year taxes have not yet been filed:
                       o Ifprior to filing deadline: Complete prior year’s tax returns
                       o    Ifafter the filing deadline: Complete prior tax returns & an executed copy of the extension to
                           file current year’s tax returns
                                    ©     Ifafter the extension deadline: Complete prior year tax returns & proof that another extension
                                     was granted for current years taxes.
                  o   Hourly or Salary Income
                            O Most recent paystubs for the last 30 days. See below breakdown for pay frequency:
                                    o     Weekly: 4 paystubs
                                    o     Bi-weekly: 2 paystubs
                                    o     Semi-monthly: 2 paystubs
                                    o     Monthly: | paystub
                                    o     Quarterly: 1 paystub + copy of documentation detailing terms of salary payments
                                    o     Semi-Annually: | paystub + copy of documentation detailing terms of salary payments
                                    o     Annually: 1 paystub + copy of documentation detailing terms of salary payments


Checklist of Required Documents - COVID                                                                    Updated 5/2020
 Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 26 of 219 PageID 31




  FREEDOM MORTGAGE*

               o    Military Income
                         1 2 most recent Leave & Earnings Statements (Must cover 30 days)
                         O Ifyour EAOS/ETS is within 12 months, provide;
                               o An offer of civilian employment following release from active service; Or
                                   o      Re-enlist/Extension Documentation; Or
                                   o      Statement from Service member of intent to re-enlist/extend; And
                                   o      Statement from CO confirming eligibility to re-enlist and probability of extension to be
                                  granted.
               o    Self-Employment Income
                         O Current Year-To-Date Profit & Loss statement (Enclosed example)
                         CO Copy of complete, signed prior year tax returns with below schedules for Self-Employment type:
                                   o      Sole Proprietor: Form 1040, with Schedule C
                                   o      Partnership — General: Form 1040 Schedule K-1 and Form 1065
                                   o      Partnership — Limited: Form 1040 Schedule K-1 and Form 1065
                                   o      Corporation: Form 1040 and Form 1120
                                   o      LLC: Form 1040 Schedule K-1 & E and Form 1065
                               o § Corp: Form 1040 Schedule K-1 & E and Form 1120S
               o    Fixed Income: Social Security, Disability, Pension, Death Benefits;
                         1 Most recent Awards Letter/Statement/Print out from issuing agency; And
                         (1 2 most recent months bank statements showing income being deposited.
               o    Alimony / Child Support: You are not required to disclose this income; however, if income is disclosed it
                    will be used when determining your eligibility for workout options.
                         O Divorce Decree from court; Or
                         QO Separation agreement from court; Or
                         O Court Decree for Alimony or Child Support; And
                         O 2 most recent months bank statements or deposits to show proof of receipt
               o    Foster Care Income
                         O Copy of contract that includes; Amount received, Frequency & Duration; Or
                         O Letter from the agency; And
                         O 2 months proof of receipt
               o    Rental Income
                         C1 Prior year tax returns including Schedule E; Or
                         O 2 months recent bank statements showing deposit; And
                         C1 Current Lease Agreements signed by all parties
     O    OTHER INCOME
               o    Non-borrower contribution
                         O Contributing 100% of their income
                                   o      * Fully completed and signed Contributor Application and acknowledgment (Enclosed)
                                   o      All financial documents required to verify and confirm income and asset sources for
                                          contributor
                         O Contributing less than 100% of their income (treated as boarder income)
                               o * Signed and dated Boarder Affidavit (Enclosed)
                                   o      All financial documents required to verify and confirm income source
                                   o      Proof of occupancy at borrower’s address
                                   o      2months proof of receipt of boarder income
               o    Unemployment Income
                         O    * Fully completed and signed Unemployment Affidavit (Enclosed); Or
                         O Proof of unemployment income detailing; Amount, Frequency and Duration of Payment
               o    Public Assistance/Proof of Food Stamp Income
                         C1 Most recent Awards Letter/Statement/Print out from issuing agency; And
                         (1 2 most recent months bank statements showing income being deposited.




Checklist of Required Documents - COVID                                                                    Updated 5/2020
 Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 27 of 219 PageID 32
                                                                                                    7-807-60997-0001068-001-000-000-000-000




     en      a
  FREEDOM MORTGAGE*

     O    OTHER DOCUMENTATION COMMONLY NEEDED                                                                                                 ;
               o    Divorced Borrowers
                         1 If the divorce is part of the reason for default or one of the borrower’s is no longer living in the
                           property, we may require the following:
                                   o      Court Issued Divorce Decree; Or
                                   o      Court Issued Separation Agreement; And
                                   o      Recorded Quit Claim Deed
               o    Deceased Borrowers/Estate

                         (11 Ifthe Borrower or Co-Borrower are deceased and there is an estate, we will need the following:
                                   o      Death Certificate; And
                                   o      Letter of Appointment of Executor; Or
                                   o      Documentation regarding State Appointed Trustee

               o    Trust Agreement
                         Ifa trust account, living (inter-vivos) trust or land trust is being used, we will need;
                             o     Trustee’s statement verifying terms of trust and access by customer
                                o Additional riders and assignment documents
               o    Proof of Occupancy
                         O [fusing contributor income or there is any discrepancy in the documents provided further verification
                           of address may be requested with one of the following;
                                   o      Copy of Driver’s License
                                   o      Cable or Internet bill
                                   o      Copy of Homeowner’s Insurance Declarations page
               o    Power of Attorney
                         O Ifa POA is being used, we need the following to determine ifwe can proceed with the transaction;
                               o Complete copy of the POA documents specifying signer has authority to execute mortgage
                                          documentation
                                   o      Letter from medical professional (if applicable)

If there is an offer for the sale of the property, the following documents must be submitted, as available:

     O Listing Agreement
     Ol Signed Authorization form for 3rd party
     O    Current MLS Printout
     O    Copy of the Purchase Contract, signed and dated by sellers and buyers
     O    Draft Closing Disclosure (previously called HUD-1 Settlement Statement)
     O    Buyer’s Pre-Approval Letter or Proof of funds for cash offer
     O    Signed Arm’s Length Agreement Letter
     O    Second Lien Form




Checklist of Required Documents - COVID                                                                  Updated 5/2020
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 28 of 219 PageID 33




                            EXHIBIT 3                       |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 29 of 219 PageID 34




                              FLORIDA DEPARTMENT ¢
                            ECONOMIC OPPORTUNITY


   8/15/2022


   Dear Akmal Grant,
   APP-34063


   Thank you for applying to the Florida Department of Economic Opportunity’s (DEO)
   Homeowner Assistance Fund (HAF) program. We are pleased to inform you that after
   reviewing your application, you are eligible for assistance with your past due account
   balance(s). The balance(s) listed below reflects the total amount of assistance available to
   you.


   Payment(s) will be made directly to your service provider(s) and may process at different
   times. Please allow time for your service provider(s) to process and post payments, and
   contact them directly to confirm when the payment has been applied to your account.

   Assistance Type                               Assistance Amount
   Mortgage Assistance                           $34,090.05

   If you have any questions about the HAF program, please visit
   www.FLHomeownerAssistance.org, call the Homeowner Assistance Fund Customer
   Assistance Center at (833) 987-8997 Monday through Thursday 9 a.m. to 6 p.m., Friday 8
   a.m. to 4p.m., and Saturday 9 a.m. to 1 p.m. (Eastern Time), or email
   HomeownerAssistanceFund@DEO.MyFlorida.com.

   Sincerely,

   DEO Homeowner Assistance Fund Team
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 30 of 219 PageID 35




                            EXHIBIT 4
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 31 of 219 PageID 36




                            FLORIDA DEPARTMENT ¢
                           ECONOMIC OPPORTUNITY


   8/15/2022


   Dear Akmal Grant,
   APP-34063


  Thank you for applying to the Florida Department of Economic Opportunity’s (DEO)
  Homeowner Assistance Fund (HAF) program. We are pleased to inform you that after
  reviewing your application, you are eligible for assistance with future payments. The
  amounts listed below reflect the total amount of monthly assistance available to you.

  Paymenit(s) will be made directly to your service provider(s) and may process at different
  times. Please allow time for your service provider(s) to process and post payments, and
  contact them directly to confirm when the payment has been applied to your account.

   Assistance Type                Assistance Amount              Number of Months
   Mortgage Assistance            $2,272.67                      7

  If you have any questions about the HAF program, please visit
  www.FLHomeownerAssistance.org, call the Homeowner Assistance Fund Customer
  Assistance Center at (833) 987-8997 Monday through Thursday 9 a.m. to 6 p.m., Friday 8
  a.m. to 4 p.m., and Saturday 9 a.m. to 1 p.m. (Eastern Time), or email
  HomeownerAssistanceFund@DEO.MyFlorida.com.

  Sincerely,

   DEO Homeowner Assistance Fund Team
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 32 of 219 PageID 37




  |                          EXHIBIT5                     |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 33 of 219 PageID 38
            gee
            AE                  SOS             FORHETINZERE
                                                P.O. BOX 619063 ONY
                                                PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS               ELECTRONIC ONLY waa’ortgage
                                                                                                                               -      - statement
                                                                                                                                         .
          FREEDOM MORTGAGE* DALLAS, TX 75261-9063                                                                                                   Statement Date 12/01/22

                                                                                                           Rontact Information
                                                                                                               Phone:                                                       1-855-690-5900
                     8-807-82886-0026301-001-000-000-000-000                                                   Customer Care:                    Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                               Saturday 9:00am — 2:00pm ET
                                                                                                               Find us on the web at:                          www.freedommortgage.com
                     AKMAL JAMAL GRANT                                                                                                                                    —                         :
                     142 WATERVALE DR                                                                          Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                             Payment Due Date                                                      OT/0                 ;

                                                                                                               Amount Due**
                                                                                                           If payment is received after 01/16/23, $0.00 late fee will be charged.
                                                                                                                                                                                           $.00
                                                                                                               Property Address:           142 WATERVALE DR
                                                                                                                                           SAINT AUGUSTINE FL 32092


            PUEDE onl pee Da                                      ee          an
                                                                               at                          EP Ua Gee OUaeCO                                           ee Se
           Accountinformation
                      ==      | Explanationof AmountDue
            Outstanding Principal
            Deferred Balance                                                   $368,120.83
                                                                                     $0.00 | | nee
                                                                                               mter                                                                                              an
            ; interest R Rate                                                         3.125%
                                                                                       3                      Escrow/Impound (for Taxes
                                                                                                                Regular Monthly         and/or Insurance)
                                                                                                                                  Payment                                                          00
            Prepayment Penalty                                                                No | | Total Fees & Charges                                                                        $.00
            Escrow Balance                                                         $4,036.45                  Overdue Payment                                                                    $.00
            Unapplied Funds                                                        $2,016.65                  Unpaid Late Charges                                                                $.00
                                                                                                              Other/Optional
                                                                                                                Total Amount Products
                                                                                                                                Due**                      ;                                     eo
                                                                                                                                                                                                 00
             tn a                        Aplin,           FARIA        EIS         AOA ISSN                              ee
           [Transaction Activity (11/16/22
                                     - 42/0122)
           Transaction            Date      ‘Interest Paid Transaction        Transaction           Interest       Principal          Esmow    Late Charges       «Fees   Optional         —_Unapplied
           Description                     To Date        Effective Date       Amount                Paid           _ Paid ;            Paid       Paid           Paid    Insurance    Funds
           Payment               12/01/22, 01/01/23         11/14/22             $0.00              $962.19          $680.09          $61931        $000          $000      $0.00   ~$2,261.59
           Payment               12/01/22 02/01/23          11/14/22              $0.00             $960.42         $681.86           $61931       $000           $0.00     $0.00 = -§2,261.59
           Payment               118/22 -12/01/22,11/18/22                        $0.00             $963.99         $678.29           $61931       $000           $000      $0.00          -$2,261.59
           Curtailment           11/18/22    12/01/22       11/18/22              $0.00               $000           $11.08            $000        $0.00          $000      $0.00                 $0.00
           Payment               12/01/22 12/01/22          12/01/22          $6,539.83               $0.00             $0.00          $000        $000           $0.00     $0.00              $6539.83




             IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED.
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.



            Past Payments Breakdown                                           =| [Important
                                                                                    Messages
                                                                  Paid Last           Paid Year               FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                                   Month                  to Date             ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                        $2,051.32            $14,609.26                  OBTAINED WILL BE USED FOR THAT PURPOSE.
            Interest                                         $2,886.60            $21,531.98                  IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
            Escrow (Taxes and Insurance)                     $1,857.93            $13,824.26                  BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Fees**                                                  $0.00           $2,005.57                 GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                         $0.00                  $0.00                 INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
            Partial Payment Unapplied*                       ($244.94)              $2,016.65                 TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF |
            ep                                             es
                                                           $6,550.91 $53,987.72
                                                                     ee| |THE DEBT FROM YOU PERSONALLY.
             *Partial Payments: Any funds received that are less than a full periodic
             payment may be applied to your account, promptly returned to you, or held
             in a non-interest bearing account until enough funds are received to apply               |
             to. a full periodic payment.                                                                      **This balance represents the known Amount Due as of the printing of this
             **Amounts listed here will include other/optional products, if applicable.                          statement. Hf you are delinquent, this balance may not represent full
                                                                                                                 reinstatement of your obligation. Please contact us regarding your up-
                                                                                                                 to-date reinstatement balance at 1-855-690-5900.                                             |

    coe seseerevesssavsrseessssrsrererss+,Additional
                           information is provided on the back ofthe statement,                                                                                                                               ee
                                                                       DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT                                           =         smoeee           ee


                                                                                                                                Amount           Due,
          FREEpOM MorTGAGE*                                                                                                     Due By 01/01/23:      $.00

             LOANNUMBER: ooJAMALGRANT                                                                                           $0.00 late feewil bechargedafter01/1/23
                                                                                                                                Additional Principal                $                  ;
    a                                                                                                                           Additional Escrow                   $                  ,
    Cc

    =        FREEDOM MORTGAGE                                                                                                   Late Charge                         $          =:
    [a]      P.O. BOX 6656
    a=       CHICAGO IL 60680-6656                                                                                               Total Amount Enclosed
                                                                                                                                               ;
                                                                                                                                                       $                                   P
    5                                                                                                                             Make check payable to Freedom Mortgage
    Es

    ne                                                             []           To change mailing address and/or contact information,
                                                                                check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 34 of 219 PageID 39
       TESe                                                       Fe                                                       ERTS            RS       eR              eae                 EE ROIS ON ROROTC



               To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                                 about the servicing of your loan, you must use the designated address below.
                                                                                                                               TO SUBMIT A RESPA                                      REQUEST FOR PAYOFF/
                       PAYMENT                                                                                            QUALIFIED WRITTEN REQUEST                                 GENERAL CORRESPONDENCE
                     PROCESSING                                                OVERNIGHT                                                   ("Qwr_”)                                        Freedom Mortgage
                Freedom   Mortgage
                   P.O. Box 6656
                                                                         Freedom Mortgage
                                                                10500 Kincaid Drive, Suite 111
                                                                                                                                  Freedom  Mortgage
                                                                                                                                    P.O. Box 50428
                                                                                                                                                                                              P.O. Box 50485
                                                                                                                                                                                     Indianapolis, IN 46250-0485
               Chicago
                     !L 60680-6656                                  Fishers, IN 46037-9764                                  Indianapolis, IN 46250-0401                                  Fax: 1-866-505-0948

       P=MMOUAOIVIER AOA                                       teOo0-OSU- OSU                               6 OF                      WE DOLE. WWW                                  eeCCrinorigage. Com .
         In case of errors or questions about your electronic transfers telephone us at 1-855-690-5900 or write us at P.O. Bex 50428, Indianapolis, IN 46250-0401 as
         soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We must
         hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
         (1)Tell us your name and account number (if any).
         (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
         information.
         (3) Tell us the doliar amount of the suspected error.
         We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
         amount yau think is in errar, so that you will have the use of the money during the time it takes us to complete our investigation.




                                       ;                  ‘                        r                                        Payment Crediting - if you are enrolied in automatic payment drafting, your payment will
       paaeyoutoifyou
       writing.              anyarepaid
                  forwardreceive aregular
                                          froma  taxtobillissued
                                          tax billsadjusted,
                                    delinquent,
                                                                    by youryourfocaltaxing
                                                        us. ff orwecorrected
                                                                    need                       weauthority.
                                                                                  taxbilbil ,please
                                                                                 tax                    requestitisitItnotnecessary
                                                                                                  willforward                   you in | | bee
                                                                                                                       to:fromFreedom
                                                                                                                                                      leach phoneG0willtheI bebeascredited
                                                                                                                                           ™adeue oniine or by nonth
                                                                                                                                                                                     seaayeffective
                                                                                                                                                                                           Sethe thetinedate
                                                                                                                                                                                                         of erroliment, One-time payments
                                                                                                                                                                                                             you selected when submitting
                                                                                                                            the payment. Please note that it may take up to 1-2 business days for your payment to be
        Mortgage, P.O,bills
        Supplemental    Boxare
                            22670,
                               oftenRochester,
                                      issued inNYaddition
                                                   14692. toYouyearly
                                                                 mayalso
                                                                      real fax it totax1-817-826-0410.
                                                                           estate         bils and are your| | displ9Pleved ' In your t transaction histhistory.
        responsibility to pay. They are not collected through your escrow account.                                          Phone payments or Automatic (ACH) payments
                                                                                                                                                                    - To pay by phone please call the Customer
                                                                                                                            Care number provided above (additional fee may apply). To establish or cance! your ACH
        HAZARD INSURANCE It is your responsibility to maintain proper and sufficient hazard! | program, please contact Customer Care at the number provided above at lease three business
        insurance coverage for your property. Hazard insurance includes Fire and Extended coverage | | days prior
                                                                                                              to the nextscheduled
                                                                                                                             draft date.
       and, where required, Flood insurance. To protect our mutual interest in the property, we require                           -
       evidence of proper insurance. If you fall to provide evidence, we will purchase Lender Placed | Meee
       coverage on your behalf, not including your equity, and charge your escrow account.
                                                                                                            eee Beebe YOU permeate
                                                                                                       Unapplied / Partial Payments
                                                                                                                                      este ahh) EL a Hiresdommortia ne cont,
                                                                                                                                - Any funds received that are less than a full periodic payment
                                                                                                                            may be applied to your account, promptly retumed to you, or held in a non-interest-bearing
        Policy renewals and invoices ate due thirty (30) days prior to the expiration of the existing palicy.               account until enough funds are received to apply to a full periodic payment.
       Please notify your agent to ensure that we are listed on the policy and that a copy, which                                ff     Quote -         t     t                 .
        includes your Joan number, is either faxed to our Insurance Department at (866) 751-9324 or ss may net eeepee aa eae nner
        mailed to: Freedom Mortgage Corporation, ISAOA / ATIMA, P.O. Box 5050, Troy, Ml 48007- quote, please send your request In writing to the address provided above. You may also
       5050. For general questions regarding hazard insurance, piease call (866) 222-9005.             contact Customer Care at the number provided above.
       For questions regarding Hazard Loss Drafts, please call (B88) 810-7318. You may alsa fax any| | payments by Mail - To avoid processing delays make your check or money order payable t
       required Loss Draft information to (866) 751-9365.                                   Freedom MortgageandIndude yourtaheePease donat send cash Same ndece
       IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would like to speak to one of | | “th your payment.
       our counselors please cali 1-855-690-5900.                                                                           Avoid Late Charges and Protect Your Credit - We may report information about your

       U.S. MILITARYServicernemberson “activeduty” or“activeservice” or a spouseordependent| | may“tli ae eeeeereport. Any paymentsHewes hee Be Lenn ae
       of such servicemember may be entitled to certain legal protections and debt relief pursuant to} | noted on your coupon will be assessed a late fee.
       the Servicemembers’ Civil Relief Act ("SCRA"). If you are a servicemember on active duty or                                           y
           4                                                                                                                Additional Principal Payments - Oepending upon the terms of your loan agreement, you
       Soeo
            Or SUCHISGR. Deneiht, please Hotty fu Cusantie) Cafe OPperantent may be able to pay additional principal on your joan. We must receive additional principal
                                                                             payments on or before your payment due date. Include additional principal with your reguiar
                                                                                                                       | | Payment and indicate the amount in the space provided on your coupon.
                                                                                                                           Check Processing - When you provide a check as payment, you authorize us elther
                                                                                                                                                                                                      to use the
                                                                                                                           information from your check to make a one-time electronic fund transfer from your account
                                                                                                                       | | oF to process the payment as a check trensaction. When we use information from

                                                                                                                       |_ yourchecktomakeanelectronicfundstransfer,fundsmaybewithdrawn fromyour a2 a.
                                                                                                                           account as soon as the same day we receive your payment and you will not receive
                                                                                                                          your check back from your financial institution.
                                                                                                                                                               =                                                                            nN




       EE i Ia               ee RieTete     ORD ecoPreece ON FFPeBE SPER Ls PE RA A EE                                   ee                                                                                                         ee Z
        If you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                                                     es
        1-855-690-5900 or by visiting our website at www.freedommortgage.com.                                                                                                                                                               2
        The right option for you depends on your individual circumstances. If you provide all required information and documentation about                                                                                                  =
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                                           nN
        home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                                                            a
        foreclosure).                                                                                                                                                                                                                       2
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free                                                                                            3
        1-800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                                Change of Mailing Address / Contact Information
                                           z                     Please provide your contact information below.

        Name
                                    y             ee
                                                          4           a
                                                                      eeeee

        New Address.


        City.                                                                                   State.                                            Zip
        Home Phone #                                  _                                           Business Phone #                                                             Ext.

        Email

        Cell Phone #                                                                                      (J | consent for Freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document
                              ELECTRONIC1-1    Filed 11/18/24
                                         ONLY STATEMENT    _-807-82866-0028303Page 091-000-000.000.000)
                                                                                   35 of 219 PageID     8. 40

                                  ur accoun                         fa                      _—
              anvti                                                2g
                                                                   se                a
                                                                                              ee
                                                                                              ee




              It's secure, simple andconvenient
                                            #§=#                    (Hae   , oswe         eo’          :
                       oe               a er, 1 Bie | aa
            miratha pares 2: 2 Download   eee
                                 . onthe rl
                                          (eee a pee? crr—“‘“‘$RR.CUCUc ier rn       a
        ralmatte=  b'.        tf          a
                            . © App Store Ber
                                          itreripeter
                                                             ee
                                                       gmmeinrcme eSee         e
                                                                                 :
                                                                                     iei
                                                                                     eeoh ed
                                                                                       oO eS
           en
        ‘xt oie               EE            “or
                                          per ae      peer                         * i
                                                                                   aa dd
        OR ene ie |” Google Play -FREEDOM MORTGAGE'             (a
                   eee   pues ce           GS
                                          re eee “es
                                                  eee                               ee
                                                                                    oroo
                                                                                       Ge i a Se
                                                                                              eee




                                              Intemet Reprint
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 36 of 219 PageID 41

                                                                           4 HA)                        ott om 9 :

                              Get thea pp.                            @
                                                                                       a mt
                                                                             © covo-wawiams
                                                                                                                      Oownload our new app and you'll
                                                                                                                 fm - have the freedom to manage your
     Access your account, |     9                     saccount on the go. You'll be able to:
                     s    i ftfojaoammvean ny Oo ie 4                                                                                                                8
          On your time. |4      crualify
                                         gare*      # Y Make payments
                                                  x ;
                                                                                                                                                                     3a
                                                    .                 Ty isis i iti                              | ¥ Check your loan balance                          4
                     ee
                      :
                                               Se
                                               ad 4
                                                                                                    Pema
                                                                                                      ee *       :
                                                                                                                       / View
                                                                                                                          A
                                                                                                                              statements                             S
                                                                                                                                                                     Rk

                    @ App Store                MBH: AR                      foger                     OT
                                                  eee                 1                                  me 8 See the latest offers
                   P* Google Play              AT pens:               ma           Oa Oued        trast’         =     And much more.
                                                                              97/07/2020         $2,300.00

      Freedom Mortgage Corporation, NMLS# 2767(www.nmlsconsumeraccess.org), 951 Yamato Road,Boca Raton, FL33431. 800-220-3333.
      © 2021 Freedom Mortgage Corporation.
                                                                                                                                                         (=I
                                                                                                                                             $V093(1021) sss peeee
Case 3:24-cv-01182-BJD-SJH
                a          Document 1-1ELECTRONIC
                                           Filed ONLY
                                                  11/18/24
                                                      STATEMENTPage 37 of 219 PageID 42
              SNe                             Fb aSE DO NOT SENDPAYMENTS TO THI ADDRESS                                                          Mortaaage Statement
          ae                                  P.O. BOX 619063                                                                                                 9g 9g
            AN ae

          FREEDOM MORTGAGE* DALLAS, TX 75261-9063                                                                                                   Statement Date 01/02/23



                                                                                                             Phone:                                                        1-855-690-5900
                     0-807-84402-0040173-001-000-000-000-000                                                 Customer Care:                      Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                              Saturday 9:00am — 2:00pm ET
                                                                                                             Find us on the web at:                           www. freedommortgage.com                     °
                     AKMAL JAMAL GRANT
                     142 WATERVALE DR                                                                        Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                           Payment Due Date                                                       02/0

                                                                                                             Amount Due**                                                                 $.00
                                                                                                          If payment is received after 02/16/23, $0.00 late fee will be charged.
                                                                                                             Property Address:              142 WATERVALE DR
                                                                                                                                            SAINT AUGUSTINE FL 32092


            Hee Inder at) be          iee ee A       a
            Account Information | |Explanationof AmountDue
            Outstanding Principal
            Deferred Balance                                                 $367,191.62
                                                                                   $0.00                   files
                                                                                                           nterest                                                                              ce
                                                                                                                                                                                                 -00
            Merest R Rate                                                           3.125%
                                                                                     :    2                Escrow/Impound (for Taxes
                                                                                                            Regular Monthly          and/or Insurance)
                                                                                                                               Payment                                                          $.00
                                                                                                                                                                                                $.00
            Prepayment Penalty                                                              No | | Total Fees & Charges                                                                          $.00
            Escrow Balance                                                       $3,571.40 | | Overdue Payment                                                                                   $.00
            Unapplied Funds                                                      $1,922.38                 Unpaid Late Charges                                                                   $.00

                                                                                                           Other/Optional
                                                                                                             Total Amount Products
                                                                                                                             Due**                                                               a
                                                                                                                                                                                                 -00

           Pon non
                 nh A Phe? PADTAD DO                                           APTA.                                                                                     e

           Transaction           ius      Interest Paid   Transaction       Transaction           Interest       Principal          Escow      Late Charges      Fees    Optional         Unapplied
           Description                      To Date       Effective Date     Amount                Paid            Paid              Paid          Paid          Paid    Insurance             Funds
           Payment              12/27/22 03/01/23           «12/01/22           $0.00             $95801          $684.27           $724.66        $000          $000      $000               -$2,366,94
           Mortgage Insurance 12/06/22      02/01/23        12/06/22          $258.86              $0.00              $0.00           $000          $000         $0.00     $0.00                  $0.00
           Curtailment         12/07/22 02/01/23           12/07/22           $244.94              $0.00          $244.94            $0.00          $000         $0.00     $0.00                  $0.00
           Escrow Refund       12/07/22 02/01/23           12/07/22           $930.85              $0.00            $0.00            $000           $0.00        $0.00     $0.00                  $0.00
           Payment              12/19/22 02/01/23           «12/19/22       $2,272.67              $0.00              $0.00          $0.00          $000         $0.00     $0.00          $2,272.67




             IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.



           Past Payments Breakdown
                                | [Important Messages
                                                                Paid Last           Paid Year                FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                                 Month                  to Date            ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                          $929.21                    $0.00            OBTAINED WILL BE USED FOR THAT PURPOSE.
            Interest                                           $958.01                    $0.00              IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
            Escrow (Taxes and Insurance)                       $724.66                    $0.00              BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Fees**                                                 $0.00                  $0.00              GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                           $0.00                  $0.00              INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
           | Partial Payment Unapplied*                        ($94.27)           $1,922.38                TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
            Total                                           $2,517.61            $1,922.38                 THE DEBT FROM YOU PERSONALLY.
            *Partial Payments: Any funds received that are less than a full periodic
            payment may be applied to your account, promptly returned to you, or held
            in a non-interest bearing account until enough funds are received to apply
            to a full periodic payment.                                                                      **This balance represents the known Amount Due as of the printing of this
             **Amounts listed here will include other/optional products, if applicable.                        statement. If you are delinquent, this balance may not represent full
                                                                                                               reinstatement of your obligation. Please contact us regarding your up-
                                                                                                               to-date reinstatement balance at 1-855-690-5900.

                                       _.........,,,Additional information is provided on the back of the statement.                                                       :
    TERRE REI                                        Se   at
                                                           err aT Lai cag                                                                                     CO
                                                                                                                                                               ee eee

                                                                                                                          Amount           Due
          FREEDOM MORTGAGE                                                                                                Due By 02/01/23:     $.00

             LOAN— AKMALJAMALGRANT               .                                                                            $0.00latefeewillbechargedafter02/16/23
                                                                                                                              Additional Principal                 $                  :
    ali
     eS
                                                                                                                              Additional Escrow                    $                  g
    =        FREEDOM MORTGAGE                                                                                                 Late Charge                          $                  ‘
    @        P.O. BOX 6656

    &o
             CHICAGO IL 60680-6656                                                                                             Total Amount Enclosed $                                    é
    E                                                                                                                            Make check payable to Freedom Mortgage
    ra

    =                                                             [|          To change mailing address and/or contact information,
                                                                              check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 38 of 219 PageID 43




    iin
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 39 of 219 PageID 44
           eeee
              ee a eeee
                      ee ea
           iu     eG At MRR eee                      An We ACH               Fe                          OE AU RRS         ee   HECAial hd La                                                Re TNC           Ne Pd

                 To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                        about the servicing of your loan, you must use the designated address below.
                                                                                                                                TO SUBMIT A RESPA                            REQUEST FOR PAYOFF/
                           PAYMENT                                                                                         QUALIFIED WRITTEN REQUEST                       GENERAL CORRESPONDENCE
                         PROCESSING                                              OVERNIGHT                                                 (“QWR")                                  Freedom Mortgage
                   Freedom Mortgage                                        Freedom Mortgage                                       Freedom Mortgage                                   P.O, Box 50485
                      P.O. Box 6656                               10500 Kincaid Drive, Suite 111                                    P.O. Box 50428                         Indianapolis, IN 46250-0485
                  Chicago Il. 60680-6656                              Fishers, IN 46037-9764                                 Indianapolis, IN 46250-0401                       Fax: 1-866-505-0948
           Pecoger a eceee
                        es Cn mode ee nice Gaur noc ite) (acne surGa0 al eee me                                                                                                                                     metas.
           heeUS)TOMERCARE: 1-855-690-59(00
           Sie eas cede       SN RR CN Pe Ege            NSO    REA                  CNMar                       or |WEBSITE:wuwitreedommornaaadecom |
                                                                                                                   ccUSTSNR SC SP AD GRE     AE      Or TR NR Rn Soros Heeb Sa d. ahesa NU

             In case of errors or questions about your electronic transfers telephone us at 1-855-690-5900 or write us at P.O, Box 50428, Indianapolis, IN 46250-0401 as
             soon as you can, if you think your statement or receipt is wrong or if you need mere information about a transfer on the statement or receipt. We must
             hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
             (1)Tell us your name and account number {if any).
             (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
             information.
             (3) Tell us the dollar amount of the suspected error.
             We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
             amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation,                                                                             |

           [IMPORTANT INFORMATION                                                                               | (== ===" BAVMENT INFORMATION
                                                                                                                                           nn

                                            fi            tL                local taxi         hority:     I                 Payment Crediting - If you are enrolled in automatic payment drafting, your payment will
           BERLyouESTATE  (ANEany regular
                   to forward     py taxfrom
                                          a taxto us.billissued
                                         bilis               by youryourlocaltaxtaxing
                                                      If we need                 bill, weauthority. Itisnotnecessary
                                                                                           will request It from
                                                                                                            _
                                                                                                                you in ibamade
                                                                                                                            credited each menth Ga tne date cel lected at the tire of ecicdinant. conectine payme! te
                                                                                                                               oniine or by phone will be credited effective the date you selected when submitting
           writing. if you receive a delinquent, adjusted, or corrected tax bill please forward it to: Freedom              th          tc     note that te tak to 1:2 bust              {i                  te
           Mortgage, P.O.billsBoxare22670,
           Supplemental                oftenRochester,
                                              issued inNYaddition
                                                           14692.toYouyearly
                                                                        may real
                                                                             also faxestateit totax1-817-826-0410.
                                                                                                      bills and are your    osLapa
                                                                                                                               played In youeiGoin annie   eye @ up to 1-2 business days for your payment to
           responsibility to pay. They are not collected through your escrow account.                                       Phone payments or Automatic (ACH) payments - To pay by phone please call the Customer
                                                                                                                            Care number provided above (additional fee may apply). To establish or cancel your ACH
           HAZARD INSURANCE It |s your responsibility to maintain proper and sufficient hazard] | program, please contact Customer Care at the number provided above at lease three business
           Insurance coverage for your property. Hazard insurance includes Fire and Extended coverage| | days prior
                                                                                                                to the next scheduled draft date.                                                                                      f
           and, where required, Flood Insurance. To protect our mutual interest in the property, we require|                      2                                             r
           evidence of proper insurance.
           CONSE OSU half,
                                          If you fall to provide andevidence,
                                OE: not Includll
                                         ile ity, iui                   chi we will purchase Lender
                                                                                                y Placed hi    eae /“Partial
                                                                                                          inapplied
                                                                                                         may  be applied
                                                                                                                         po   Pa:
                                                                                                                         to your
                                                                                                                                           inpromptly
                                                                                                                                  account,+ Any
                                                                                                                                                afun eti ce} ioore
                                                                                                                                                      returned        are!less ie
                                                                                                                                                               tojatyou,
                                                                                                                                                                                      full ean
                                                                                                                                                                               than a fullperiod!
                                                                                                                                                                          or held in a non-interest-bearing
           Policy renewals and invoices are due thirty (39) days prior to the expiration of the existing palicy.}          | account until enough funds are received to apply
                                                                                                                                                                            to a full periodic payment.
           Please notify your agent to ensure that we are listed on the policy and that @ copy, which) | payeft Quote - This statement does not contain the amount                           required to   ur joan in full
           Includes your loan number, |s either faxed to our Insurance Department at (866) 751-9324 or} | ang may not reflect all third-party fees (if applicable) or all ease dhe ta cee a payoff
           mated to: Freedom Mortgage Corporation, ISAQA       / ATIMA, P.O. Box 5050, Troy, MI 48007-) | quote, please. send your request in writing to the address provided above. You may also
           5050. For general questions regarding hazard insurance, please call (866) 222-9005.          | | contact Customer Care at the number provided above.
           For questions regarding Hazard Loss Drafts, please call (888) 810-7318. You may also fax any| | payments by Mail - To avoid processing delays make your check or money order payable to
           required Loss Draft information to (866) 751-9365,                                               Freedom Mortgage  and Indude your loan number, Please do not send cash
                                                                                                                                                                                 or correspondence
           IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would like to speak to one of | | “th Your payment.
           our counselors please call 1-855-690-5900.                                                                       Avoid Late Charges and Protect Your Credit - We may report information about your

           U.S, MILITARY Servicememberson “active duty” or “activeservice” or a spouseordependent] | may be reflected a an credit report. yoreiachnaaEy eo
                                                                                                                            account to credit bureaus. Late payments, mi: payments, rt

           of such servicemember may be entitled to certain legal protections and debt relief pursuant to} | noted on your coupon will be assessed a late fee.
           ‘the Servicemembers’ Civil Relief Act (“SCRA”) If you are a servicemember on active duty or                                                                                                                       |
               1                                                                                                            Additional Principal Payments - Depending upon the terms of your loan agreement, you
           bere
           *    yore eare
                       7 for such SCRA benetits, please notify our Customer Gare Heporeoenty may be ableon toor pay
                                                                                             payments               additional
                                                                                                                before         principaldueondate.yourInciude
                                                                                                                       your payment                     loan. We  must receive
                                                                                                                                                              additional principal!additional
                                                                                                                                                                                     with yourprincipal
                                                                                                                                                                                                regular
                                                                                                                            payment and indicate the amount in the space provided on your coupon.
                                                                                                                            (Check Processing - When you provide a check as payment, you authorize us eitherto use the
                                                                                                                            information from your check to make a one-time electronic fund transfer from your account
                                                                                                                            ‘or to process the payment as a check transaction. When we use information from

       |                                                                                                                    yourcheck  tomake an electronicfunds transfer,funds maybewithdrawnfrom your a
                                                                                                                            account as soan as the same day we recelve your payment and you will not receive
                                                                                                                            your check back from your financial institution.                                                     |


                                                                                                                                                                                                                                 4

            If you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                                           oes
            1-855-690-5900 or by visiting our website at www.freedommortgage.com.                                                                                                                                                Ey
            The right option for you depends on your individual circumstances. If you provide all required information and documentation about                                                                                   =
            your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                            ie]
            home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                                             ay
            foreclosure).                                                                                                                                                                                                        2
            You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free                                                                             8
            1-800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                                  Change of Mailing Address / Contact Information
                                            oui Please provide your contact information below.
            Name

            a                            aer
                                           op

            a SER                                                                                                                             EI

            Home Phone #                                                                                   Business Phone #                                            Ext.

            Se

            Cell Phone #                                 a0              seo             sisieuans             [J consent for freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1ELECTRONIC
                                           Filed ONLY
                                                  11/18/24
                                                      STATEMENTPage 40 of 219 PageID 45
                ioe,     piper,                FOR RETURN SERVICE ONLY
            Le                                 PLEASE DO NOT SEND PAYMENTSTO THIS ADDRESS
                                               P.O. BOX 619063                                                                                   Mortgage Statement
          FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                                  Statement Date 02/01/23

                                                                                                        Contacinfomation
                                                                                                             Phone:                                                  1-855-690-5900
                       4-807-85961-0033643-001-000-000-000-000                                               Customer Care:                      Monday - Friday 8:00am - 8:00pm ET
                                                                                                                                                             Saturday 9:00am — 2:00pm ET
                                                                                                             Find us on the web at:                          www.freedommortgage.com
                       AKMAL JAMAL GRANT
                       142 WATERVALE DR                                                                      Loan Number
                       SAINT AUGUSTINE FL 32092-1768                                                         Payment Due Date                                                        03/01/23

                                                                                                             Amount Due**                                                                  $.00
                                                                                                         If payment is received after 03/16/23, $0.00 late fee will be charged.
                                                                                                             Property Address:           142 WATERVALE DR
                                                                                                                                         SAINT AUGUSTINE FL 32092



           |Accountinformation
                            ._—_ | Explanationof AmountDue
            Outstanding Principal                                               $367,191.62                any                                                                                 re
            riBalance
            nterest Rate                                                            . eae
                                                                                      baer                 Escrow/impound (forTaxes
                                                                                                            Regular Monthly         and/or Insurance)
                                                                                                                              Payment                                                           -00
                                                                                                                                                                                               on
            Prepayment Penalty                                                               No | | Total Fees & Charges                                                                        $.00
            Escrow Balance                                                         $3,312.54 | | Overdue Payment                                                                                $.00
            Unapplied Funds                                                        $1,922.38               Unpaid Late Charges                                                                  $.00
                                                                                                           Other/Optional
                                                                                                             Total Amount Products
                                                                                                                             Due**                                            ;                 a
                                                                                                                                                                                                .00
           oa          Wen        Re Rr                    IAA     IAG             POA                                                       ee
           Transaction Activity                            (01/03/23 -02/0123)                                    2
           Transaction              Date   Interest Paid   Transaction        Transaction         Interest        Principal         Escrow    Late Charges      Fees      Optional         Unapplied
           Description                       To Date       Effective Date      Amount              Pald         _ _Paid =            Paid         Paid          Paid      Insurance            Funds
           Escrow Refund           01/04/23 03/01/23         12/08/22          $930.85              $000            $0.00            $000          $000         $000        $0.00                $0.00
           Mortgage insurance 01/05/23 03/01/23. 01/0/23                        $258.86            $0.00             $0.00           $0.00         $000         $0.00       $0.00                $0.00
           Escrow Refund      01/11/23 03/01/23 = 01/11/23                      $930.85            $000              $0.00           $0.00         $0.00        $000        $0.00                $0.00




            IMPORTANT  NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
            FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

             aT              ae   NT       Ree             aera          ee            een!             fe oe ge                                      er eo             ee ee
           Past
              Payments Breakdown                                                   i (sti(i‘s—sr Cd portant Messages
                                                                  Paid Last           Paid Year            FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                                  Month                to Date             ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                              $0.00                 $0.00             OBTAINED WILL BE USED FOR THAT PURPOSE.               1
            Interest                                               $0.00                 $0.00             IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
            Escrow (Taxes and Insurance)                           $0.00                 $0.00             BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Fees**                                                 $0.00                 $0.00             GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                           $0,00                 $0.00             INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
            Partial Payment Unapplied*                              $0.00           $1,922.38              TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
            Total                                                    0.00          $1,922.38 | | THE DEBT FROM YOU PERSONALLY.
            *Partial Payments: Any funds received that are less than a full periodic
            payment may be applied to your account, promptly returned ta you, or held
            in a nor-interest bearing account until enough funds are received to apply
            to**Amounts
                a full periodic
                           listedpayment.
                                  here will include other/optional products, if applicable.                  **This balanceifrepresents
                                                                                                               statement.               the knownthisAmount
                                                                                                                              you are delinquent,      balanceDue as not
                                                                                                                                                                may  of therepresent
                                                                                                                                                                              peningfullof this
                                                                                                               reinstatement of your obligation. Please contact us regarding your up-
                                                                                                               to-date reinstatement balance at 1-855-690-5900.

                                                           Additional information is provided on the back of the statement:
     LAE LEENA                     LS EATER                IR                 aE                        Re                                                                            sata
                                                                                                                                                                                        ib a AD




          FREEDOM MORTGAGE*                                                                                                   Due By 03/01/23:                                             $.00
             LOAN NUMBER: —                                AKMAL JAMAL GRANT                                                  $0.00 late fee willbe chargedafter 03/16/23
                                                                                                                              Additional Principal                $                    ‘
                                                                                                                              Additional Escrow                   $                    :
     ‘=

    =        FREEDOM MORTGAGE                                                                                                 Late Charge                         $                    5
     a       P.O. BOX 6656

    ©s       CHICAGO IL 60680-6656                                                                                             Total Amount
                                                                                                                                          aed
                                                                                                                                              Enclosed $                                   :
     5                                                                                                                           Make check payable to Freedom Mortgage
    =

    ”                                                              [|           To change mailing address and/or contact information,
                                                                                check here and complete form on back.
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 41 of 219 PageID 46




           Pie pele he eon
         palit   aE      te § Oat tone
                            tains        rf                               .
         BOE                       .          4




»




                                                             CUREere LS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 42 of 219 PageID 47


       |         To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                        about the servicing of your loan, you must use the designated address below.
                                                                                                                      TO SUBMIT A RESPA                                 REQUEST FOR PAYOFF/
                          PAYMENT                                                                                QUALIFIED WRITTEN REQUEST                            GENERAL CORRESPONDENCE
                        PROCESSING                                         OVERNIGHT                                           ("QWR")                                     Freedom Mortgage
                   Freedom Mortgage                                   Freedom Mortgage                                  Freedom Mortgage                                     P.O. Box 50485
                        P.O, Box 6656                        10500 Kincaid Drive, Suite 111                                 P.O, Box 50428                             Indianapolis, IN 46250-0485
                 Chicago lL 60680-6656                             Fishers, IN 46037-9764                         Indianapolis, IN 46250-0401                              Fax: 1-866-505-0948 _


            In case of errors or questions about your electronic transfers telephone us at 1-855-690-5900 or write us at P.O. Box 50428, Indianapolis, IN 46250-0401 as
            soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We must
            hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
            (1)Tell us your name and account number (if any).
            (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
            information.
            (3) Tell us the dollar amount of the suspected error.
            We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
            amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.

           MAD ARTARET INECIBAAATION
                                8  dP                                                                                                 BDANFRAENIT
                                                                                                                                              IRIE OPRAATION OU

           REAL ESTATE TAXES are paid froma taxbill( issued by your local taxngauthority. itisnatnecessary|
                                                                                            ‘               | Payment Crediting
                                                                                                                           i    --ifif you are enrolied in automatic payment drafting, your payment will
           foryou to terward any reqular
                                      tax billsto us. if we need your tax bill, we will request it from
                                                                                                    5
                                                                                                        you In    be credited each month on the date selected at the time of enrollment. One-time payments
                                                                                                                  made online or by phone will be credited effective the date you selected when submitting
           writing. If you receive
                              a delinquent, adjusted, or corrected taxbill please forward Itto: Freedom th                     . Pledsanote that i nay take tip to 1-2-4                  1                 nie
           Mortgage, P.O.billsBox are22670,
           Supplemental                 oftenRochester,
                                               issued inNYaddition
                                                            14692. toYouyearly
                                                                          may also
                                                                               real fax it totax1-817-826-0410.
                                                                                    estate        bills and are your pd aad aye
                                                                                                                            si oy             thsis y take up to 1-2 business days for your payment to
           responsibility to pay. They are not collected through your escrow account.                             Phone payments or Automatic (ACH) payments - To pay by phone please call the Customer
                                                                                                                  Care number provided above (additional fee may apply). To establish or cance! your ACH
           HAZARD INSURANCE It is your responsibility to maintain proper and sufficient hazard} | program, please contact Customer Care at the number Provided above at lease three business
           insurance coverage for your property. Hazard insurance includes Fire and Extended coverage | | days priar to the next scheduled draft date.
           and, where required, Hood Insurance. To protect our mutual interest in the property,
                                                                                           we require                   :                                                                     Jommortgage
           evidence of proper insurance.
                                 If      H you fail to provide
                                        includ             ' evidence, we will purchase Lender
           coverage on your behalf, not including your equity, and charge your escrow account
                                                                                              a Placed| | psnapp!beee‘aloe           adage
                                                                                                                                fayments - Any asaanabua
                                                                                                                                               funds rece!      arealess .thana Adlveriodi
                                                                                                                                                                                 ful peri     cael :
                                                                                                                                                                                            Paymen
                                                                                                          nay. be applied (6 fod? ecrodnts pramnity revumed td:40u, or held kn'acnotsinforest-beaiing
           Policy renewals and invoices are due thirty (30) days prior to the expiration of the existing policy. |_| account until enough funds are received to apply to a full periodic payment.
           Please notify your agent to ensure that we are listed on the policy and that a copy, which} | pavogp                 te = This State  t                 in th
           includes your loan number, Is either faxed to our Insurance Department at (866) 751-9324 or! | 3.4seanaa reflect all EN Bg BL                                     pl gaan irda
           mailed to:general
           5050. For  Freedomquestions
                               Mortgageregarding
                                          Corporation,
                                                 hazardISAOA  / ATIMA,
                                                        insurance, pleaseFO.
                                                                          call Boy
                                                                               (866)5050, Troy, MI 48007- contact
                                                                                      222-9005.            quote, please sendCareyourat request
                                                                                                                   Customer                     in writing
                                                                                                                                        the number         to above.
                                                                                                                                                     provided the address provided above. You may also
           For questions regarding Hazard Loss Drafts, piease call (888) 810-7318. You may also fax any] | payments by Mail - To avoid processing delays make your check or money order payable to
           fequired Loss Oraft information to (866) 751-9365.                                              Freedom Mortgage and Include your loan number. Please da nat send cash or correspondence
           IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would like to speak to one of |_| “ith Your payment.
           our counselers please call 1-855-690-5900.                                                             Avoid Late Charges and Protect Your Credit - We may report information about your

           U.S. MILITARY Servicemembers on “active duty” or “activeservice” of a spouseordependent accot      mayrokBede    ji        . Latepaym
                                                                                                                                       te eyi eres,poll
           of such servicermember may be entitled to certain legal protections and debt relief pursuant to] | noted on your coupon will be assessad a late fee.
                                                                                                                                                                i
                                                                                                                                                                  sokae
           the Servicemembers’ Civil Relief Act ("SCRA"). If you are a servicemember on active duty or            Additional Principal Payments - Depending upon the terms of your foan agreement, you
           ee ere forsich SCHA benefits, ‘please notify our Customer Care Department may be able to pay additional principal on your loan, We must receive additional prindpal
                                                                                     payments on or before your payment due date. Include additional principal with your reqular
                                                                                                                  payment and indicate the amount in the space provided on your coupon.
                                                                                                                  Check Processing - When you provide a check aspayment, you authorize us elther to use the
                                                                                                                  information from your check to make a one-time electronic fund transfer from your account
                                                                                                                 or to process the payment 25 a check transaction. When we use information from
                                                                                                                  your check to make an electronic funds transfer, funds may be withdrawn from your (=)
                                                                                                                  account as soon as the same day we receive your payment and you will not receive EBay
                                                                                                                  your check back from your financial institution.                                                a
                                                                                                                                                               $3                                                 nN



            If you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                            es
            1-855-690-5900 or by visiting our website at www.freedommortgage.com.                                                                                                                                 ©
            The right option for you depends on your individual circumstances. If you provide all required information and documentation about                                                                    =
            your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                             a)
            home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                              a
            foreclosure).
            You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free                                                              5
            1-800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                             Change of Mailing Address / Contact Information
                                                   :          Please provide your contact information below.

           Name                                                    tee i eI                                SE
                                                                                                           EE TT

           New Address


           City.                                                                          State                                     Zip
           Home Phone #__                                  _                                Business Phone #_                                                       Ext.

           Email _.                       poate                         a

           Cell Phone #                                =                                           1) 1 consent for Freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 43 of 219 PageID 48




                            EXHIBIT 6
Case 3:24-cv-01182-BJD-SJH Document 1-1ELECTRONIC                 Filed ONLY
                                                                        11/18/24
                                                                             STATEMENTPage 44 of 219 PageID 49
          ee         FOR RETURN SERVICE ONLY
        “GE          PLEASE DO619063
                     P.O. BOX   NOT SEND PAYMENTS TO THIS ADDRESS                  Mo rtg age Statement
             FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                                          Statement Date 03/01/23


                                                                                                              Contact informationoo
                                                                                                                   Phone:                                                                1-855-690-5900

                           4-807-87528-0032890-001-000-000-000-000                                                 Customer Care:                           Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                                        Saturday 9:00am — 2:00pm ET
                                                                                                              | Find us on the web at:                                  www. freedommortgage.com
                           AKMAL JAMAL GRANT                                                                                              ;          :
                           142 WATERVALE DR                                                                        Loan Number
                           SAINT AUGUSTINE FL 32092-1768                                                           Payment Due Date

                                                                                                               If
                                                                                                                   Amount              Due**                                  $2,366.94
                                                                                                                     payment is received after 04/16/23, $65.69 late fee will be charged.
                                                                                                                   Property Address:             142 WATERVALE DR
                                                                                                                                                 SAINT AUGUSTINE FL 32092



               Accountinformation                                     =f Explanationof AmountDue
               Outstanding Principal                                               $367,191.62 | | Principal                                                                                       $686.05
                                                                                                   Interest                                                                                        $956.23
               Deferred    Balance
               (rieiiesee Rata                                                               $0.00
                                                                                          3.125%                 E scrow/Impound
                                                                                                                        A         forT Taxes and/or
                                                                                                                                 (for          ds Insurance)                                        7
                                                                                                                                                                                                   $724.66
                                                                                           :                        Regular Monthly Payment                                                        2,366.94
               Prepayment Penalty                                                                 No | | Total Fees & Charges                                                                                $.00
               Escrow Balance                                                          $2,284.55               Overdue Payment                                                                               $.00
               Unapplied Funds                                                         $1,922.38                 Unpaid Late Charges                                                                         $.00
                                                                                                                 Other/Optional Products                                                                     $.00
                                                                                                                    Total Amount Due**                                                             2,366.94

              TrancactiaAn Artiity                              MOMIDD                Dom                                               =                                                                       Fe
              Transaction Activity (02/02/23 -03/0123).
              Transaction              Date     Interest Paid   Transaction       Transaction           Interest       Principal          Escow          Late Charges      Fess        Optional          Unapplied
              Description                         To Date       Effective Date     Amount                Paid            Paid                 Paid           Paid         _ Paid       Insurance            Funds
              Mortgage Insurance     02/06/23    03/01/23         02/06/23          $258.86              $000             $0.00               $000            $000          $00           $0.00               $0.00
              Hazard Insurance       02/07/23 03/01/23            02/07/23          $769.13               $000              $0.00             $000            $0.00        $0.00         $0.00                $0.00




                IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR 5 PROVIDED
                FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
                CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.
               Past PaymentsBreakdown| |ImportantMessages
                                                                      Paid Last           Paid Year              FREEDOM MORTGAGE CORPORATION |S A DEBT COLLECTOR
                                                                       Month               to Date               ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
               Principal                                                 $0.00                  $0.00            OBTAINED WILL BE USED FOR THAT PURPOSE.
               Interest                                                  $0.00                  $0.00            IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
               Escrow (Taxes and Insurance)                              $0.00                  $0.00            BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
               Fees**                                                    $0.00                  $0.00            GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
               Late Charges                                              $0.00                  $0.00            INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
               Partial Payment Unapplied*                                $0.00          $1,922.38              TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
               Total                                                    $0.00          $1,922.38               THE DEBT FROM YOU PERSONALLY.
               *Partial Payments: Any funds received that are less than a full periodic
               payment may be applied to your account, promptly returned to you, or held
               in a non-interest bearing account until enough funds are received to apply                 |
               to a full periodic payment.                                                                         **This balance represents the known Amount Due as of the printing of this
               **Amounts listed here will include other/optional products, if applicable.                            statement. Ifyou are delinquent, this balance may not reoecen fal
                                                                                                                     reinstatement of your obligation. Please contact us regarding your up-
                                                                                                                     to-date reinstatement balance at 1-855-690-5900.

      cove ceee veces eveseiessssssssssss,.,Additional
                                   information is provided on the back of the statement.                                                                              oot          é                          en
                       :                 :                                   DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT                             eae Ses Ee eeSe                                           :
                                                                                                                                   7)                    = Amoint Due
             FREEDOM MortGace*                                                                                                      Due By 04/01/23:                                        $2,366.94 |
                LOAN NUMBER: ee]                                AKMAL JAMAL GRANT                                                   $65. 69 late fee will be chargedafter 04/1@/23
                                                                                                                                   Additional Principal                      $                      :
     “is
      e
                                                                                                                                   Additional Escrow                         $                      5
      5         FREEDOM MORTGAGE                                                                                                    Late Charge                              $                      :
      [<3]      P.O. BOX 6856
     va
      =
                CHICAGO IL 60680-6656                                                                                                Total Amount Enclosed $                            _—
                                                                                                                                                                                                        ;
      5                                                                                                                               Make check payable to Freedom Mortgage
      =

      ~                                                                 [|          To change mailing address and/or contact information,
                                                                                    check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 45 of 219 PageID 50
       eeee ee



            To submit a RESPA Qualified Written Request (“QWR"”), assert an error or request information
                            about the servicing of your loan, you must use the designated address below.
                                                                                                           TO SUBMIT A RESPA                             REQUEST FOR PAYOFF/
                     PAYMENT                                                                          QUALIFIED WRITTEN REQUEST                        GENERAL CORRESPONDENCE
                   PROCESSING                                      OVERNIGHT                                        ("QWR*)                                  Freedom Mortgage
              Freedom
                 P.O, BoxMortgage                     10560 Freedom
                                                             Kincaid Mortgage
                                                                      Drive, Suite 111                        Freedom
                                                                                                                PO. BoxMortgage
                                                                                                                        50428                                 PO. BoxIN50485
                                                                                                                                                       indianapolis,    46250-0485
             Chicago IL 60680-6656                        Fishers, IN 46037-9764                        indianapolis, IN 46250-0401                        Fax: 1-866-505-0948

       a              ee                 ee          ueGeo
                                                         a a a                                                                      ee                                   ee

         In case of errors or questions about your electronic transfers telephone us at 1-855-690-5900 or write us at P.O. Box 50428, Indianapolis, IN.46250-0401 as
         soon as you can, if you think your statement or receipt is wrong or if you need more Information about a transfer  on the statement   or receipt. We must
         hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
         (Tell us your name and account number (if any),
         (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you beleve it is an error
                                                                                                                                  or why you need more
         information,
         (3) Tell us the dollar ammount of the suspected error.
         We will investigate your complaint and will correct any error promptly, Hf we take more than 10 business days to do this, we will credit your account for the
         amount   you think is in error, so that you will have the use of the money during the time it takes us tocomplete
                                                                                                                         our Investigation.




       REAL ESTATE TAKES are paid from a tax bil sued by yourlocal tang authority. tisnotnecessary | | Payment Crediting - F you are ervoied in automatic payment drafting, your payment wl
       for you toyouforward
       waiting,             any areguéartax
                        receive             billsadjusted,
                                   delinquent,     tous, if orwe corrected
                                                                  need yourtaxtaxbil,     we vailrequestit
                                                                                 bil faxplease   forward It to;fromFreedorn
                                                                                                                     youin pl
                                                                                                                            the pedge    byeddpagestheiin
                                                                                                                                 autos &Feease
                                                                                                                                           phone           ei           ok SentShotsPayments
                                                                                                                                                                   thefalsebees
        Mortgage. P.0,    Box  22670,  Rochester,   NY  14692.     You  may    also        it to  1-817-826-0410.
       Supplemental bills are often issued in addition to yearly real estate tax bills and are your                         pad cl   seal    oe  Fe    ey
                                                                                                                                                  history, fab ap 12        ays torapsea panies
                                                                                                                                                                                          en semiing
                                                                                                                                                                                                Bae
       responsibility
                 to pay. They are not collected through your escrow account.                            Phone payments or Automatic {ACH) payments - To pay by phone please cal the Custorner
                                                                                                        Care number provided above {additional fee may apply}, To establish or cancel your ACH
        HAZARD INSURANCE jf 15 your tesporiiiility to maintain proper and sufficient hazard) | program, please contact Customer Care at the number provided above at lease three business
       piedcoveragehingstaal
         wher required, insurance. Topan our
                                          apse srsteahadExtended
                                               i                wecoverage
                                                     the property.  require | | days prior
                                                                                     a tothe nextscheduled
                                                                                                      dratt ondine,
                                                                                                            date. sir                                                     fron        i
        a H yo) fellto prove
       iain
                                                                   Aesibiadsiiencs
                                                                           ic
                                                                                                        gar foyoutaaa
                                                                                                        faye        :
                                                                                                                      aba ondertoyouoases
                                                                                                                                    orheldin a el
                                                                                                                                                  ial
        tpt petaiahangdareES Sai ne‘on© theDeets
       Please notify your agent             policy dhe & eepolicy.|
                            to ensure thet we are        copy, which | account untl enough   funds are received comain
                                                                                     - This statement           to applytheamount
                                                                                                                         toa full periodic payment.
       indudes your loan ruber, s ether fared 9 our lnaurance Department at (6) 751-3324 or | | bere mar not veel al undp
                                                                                                                        toe OY aeolealia oe arene
                                                                                                                                              as ee
       trailed to: Freedorn Mortgage Comoration, SAQA / ATIMA, 7.0, Box 5050, Troy, MI 48007+1 | quote, please send your request in writing to the address provided above. You may also |
       ‘5050. For general questions regarding hazard insurance, please call 66) 222-9005.               contact Customer Care at the number provided above.
       for questions regarding Hazard
                                 Loss Orafts, please call 88) 810-7318 You may also fax any! | paymen                 Mail -To avoid processing
                                                                                                                                             dalays make          check or money order payable
                                                                                                                                                                                             to
       required Loss Dralt information
                               to (856) 751-9365.
       if YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would tke
                                                                                        Eauaih Mavicacearsl novia ros eabtiiecw Mamta eete inet umceace
                                                                  to speak to one of | | 4h your payment.
       our Counselors please call 1-855-6- 5900.                                               Laie llemelocreg al a LateponeYour        Credit - We may report defaut
                                                                                                                                                                 information about your
       U.S. MILITARYServicemembers
       of such servicemember
                               on “active duty” or “activeservice*andor debt
                       may be envied to certain legal protections
                                                                        aspouse   ordependent ra bebaiebureaus.in yoursoepayments,      misted
                                                                                                                              report. Anyesos
                                                                             relie! pursuantto noted on your soupon will be ancessed a late fae.
                                                                                                                                                 ac signeredethe(uleeccount        date
       the Servcemembers’ Civil Reef Act ("SCRA"). Hf you are a senicemember on active duty or | Ade
                                                                                                Prind pal              a ding upon the terms of your fom agree me
       ehieaes
           reno a for such SCRA benefits, please notiy our Customer Care Departnent fry
                                                                                    paymentsbeton toor paypi   daeldpap
                                                                                                       before your               yourinclude
                                                                                                                   payment due date.   loan, Weadditional
                                                                                                                                                   must recevepir
                                                                                                                                                          principal withipan
                                                                                                                                                                        your reguéar
                                                                                                        payment and indicate the amount in the space provided on your coupon.
                                                                                                        Check Processing  -When you provide a check as paymeni,  you authorize us either touse the
                                                                                                        information from your check to make a one-tame electronic fund transfer from your account
                                                                                                        or 10 process the payment as a check transaction, When we use Information from

                                                                                                       your checkto make an electronic
                                                                                                                                     dunds transter, furs may bewithdrawn
                                                                                                                                                                     from your oy
                                                                                                        account as soon as the same day we receive your payment and you wil not receive


                                                                                                       your check backfromyourfinancialinstitution.                               4
       oss
        wigarignopnone =
        Hf you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                     =
        1-855-690-5900 or by visiting our website atwww.freedommortgage.com.                                                                                                                           EI
        The right option for you depends on your individual circumstances. If you provide all required information and documentation about                                                             2
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow youte stay in your                                                       S
        home (refinance, repayment, forbearance, {oan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of
       foreclosure).                                                                                                                                                                                   4‘
        You may obtain a fist of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free                                                       5
        4-800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                      Change of Mailing Address / Contact information
                                                       Please provide your contact information below.

        tina

        AN PR ai                                                                     i           a                  ll cal               aid

       LS |: eee
              eee ee ae ene |_|: Lene eeereneeCem |: Maree
                                                        ot meres

        Home Phone #00 Bisiness Phone #                                                                                                            E

        Email                                         anor
        Cell Phone# SCL eernsernt for Freedom Mortgage to contact me via this cell phone number.
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 46 of 219 PageID 51




,                               EXHIBIT 7                                             |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 47 of 219 PageID 52
       a
       oe




                  3
        i
        %
      os
        ce
             Os
             =

             a
             é
           4      &
             ‘    =
             %


             E    4                                                     |
             BS

             ES                                                         1]



       2   ©                                                                     |
       So

      ue
      ee                                                           ate

       4
       4


       z
       oe
       8 =
       fi
       é i
       so

       fe

       fo
       ae




           ce
           =                                                       g
      oS                                                           3
           a                                                       -
           a                                                       a

      : |    go                                                    E
                                                                   ry =



      |e?                                                          E
           _
             g8
              22
                                                                   32
           — 82                                                    2
           [#3                                                     &
           po i                                                    =
           _£
           tc
           4
              oo
              © i
              OF
                                                                   a
                                                                   a
                                                                   sa

       Ne 8 =
       cee                                                         3         |

       : Ee Oo @ 4                                                 o
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 48 of 219 PageID 53




                            EXHIBIT 8
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 49 of 219 PageID 54
          _ , ae
              —s                             ee                                                  ELECTRONIC ONLY sae)o rgage Sit
                                                                                                                              atemen t
            LE ROOD                          PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS
                                             P.O. BOX 619063
          FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                              Statement Date 04/03/23

                                                                                                   [ContactInformation
                                                                                                         Phone:                                                           1-855-690-5900                 \
                     4-807-89378-0049425-001-000-000-000-000                                             Customer Care:                     Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                         Saturday 9:00am — 2:00pm ET
                                                                                                         Find us on the web at:                          www. freedommortgage.com
                     AKMAL JAMAL GRANT                                                                                    ___                                       -
                     142 WATERVALE DR                                                                    Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                       Payment Due Date

                                                                                                         Amount Due**                                                   $2,366.94
                                                                                                     if      payment is received after 05/16/23, $65.69 late fee will be charged.
                                                                                                    Property Address: 142 WATERVALE DR
                                                                                                                                 SAINT AUGUSTINE FL 32092


            CPE      ae a                         ee ae ae ee                           ns a ee re eee anes a ee                                   ee REN               peer ana acres
           Accountinformation=                 |Explanationof AmountDue
           Outstanding Principal $366,460.57 | | Principal                                                                                                                          $687.96
            Deferred Balance                                                          $0.00            Interest                                                                     $954.32
            \ nterest R Rate                                                    3.125%
                                                                                 :                       Escrow/impound (for Taxes
                                                                                                          Regular Monthly          and/or Insurance)
                                                                                                                             Payment                                                $724.66
                                                                                                                                                                                  $2,366.94
            Prepayment Penalty                                                          No | | Total Fees & Charges                                                                          $.00
            Escrow Balance                                                   $2,750.35                 Overdue Payment                                                                       $.00
            Unapplied Funds                                                  $1,922.38                 Unpaid Late Charges                                                                   $.00
                                                                                                       Other/Optional Products                                                               $.00
                                                                                                          Total Amount Due**                                                        2,366.94

           Transaction Activity (03/02/23
                                        - 040323) 0
           Transaction           ute     Interest Paid Transaction      Transaction           Interest       Principal          Escrow    Late Charges      Fees        Optional         Unapplied   i
           Description                      To Date Effective Date        Amount               Paid             Paid             Paid         Paid          Paid        Insurance          Funds
           MortgageInsurance 03/07/23 03/01/23           03/07/23         $258.86              $0.00              $0.00          $0.00        $0.00         $000          $0.00              $0.00
           Payment              04/03/23 04/01/23        04/03/23       $2,366.94            $956.23          $696.05           $724.66        $000         $0.00         $0.00              $0.00
           Curtailment          04/03/23 04/01/23       04/03/23           $45.00              $000            $45.00            $000          $0.00        $0.00         $0.00              $0.00




             IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.



            PastPaymentsBreakdown                                               si |ImportantMessages
                                                            Paid Last           Paid Year                FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                            Month                to Date                 ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                    $731.05                $731.05                  OBTAINED WILL BE USED FOR THAT PURPOSE.
            Interest
            Escrow (Taxes and Insurance)
                                                         $956.23
                                                         $724.66
                                                                                $956.23
                                                                                $724.66
                                                                                                         IFBECAUSE
                                                                                                             YOU AREOFINABANKRUPTCY OR HAVE BEEN DISCHARGED
                                                                                                                          BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Feas**                                           $0.00                $0.00                GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                     $0.00                $0.00                INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
            Partial Payment Unapplied*                       $0.00            $1,922.38                TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
            Total                                     $2,411.94              $4,334.32 | | THE DEBT FROM YOU PERSONALLY.
             *Partial Payments: Any funds received that are less than a full periodic
             payment may be applied to your account, promptly returned to you, or held
            ina Fy ali bearing account until enough funds are received to apply
            to**Amounts
                a fullperiodic
                          listedpayment.
                                 here will include other/optional products, if applicable.               **This balanceIfrepresents
                                                                                                           statement.               the knownthisAmount
                                                                                                                          you are delinquent,      balanceDue asnot
                                                                                                                                                            may of therepresent
                                                                                                                                                                         alate  full this
                                                                                                            reinstatement of your obligation. Mease contact us regarding your up-
                                                                                                           to-date reinstatement balance at 1-855-690-5900.

                                         _.......,,,Additional information is provided on the back of the statement.
    Ha SR         an       Ae     in                   RE      egg
                                                                 ot oon aC RRA A Sac Shida nn Rom


                                                                                                                          Amount
                                                                                                                              Due
          PREEDOM MORTGAGE                                                                                                Due By 05/01/23:                                   $2,366.94
             LOAN NUMBER: es]                          AKMAL JAMAL GRANT                                                  565.69 late fee will be charged after O5/1G/23
                                                                                                                          Additional Principal                $                      3
    ite
    =
                                                                                                                          Additional Escrow                   $                      i
    &        FREEDOM MORTGAGE                                                                                             Late Charge                         $                      ‘
    i)       P.O, BOX 6656
    a
    oO
             CHICAGO IL 60680-6656                                                                                         Total Amount Enclosed $                                       ;
    a                                                                                                                        Make check payable to Freedom Mortgage
    =

    <a                                                          [|        To change mailing address and/or contact information,
                                                                          check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 50 of 219 PageID 55
       ee RE                                                                                                         Oe                          rag        Ea
                                                                                                                                                             nn gee                 Eee        Ri   aaah SL eG             ee

       ee er                                                                                                 ie eee ie
             To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                             about the servicing of your loan,                                                you must use the designated address below.
                                                                                                                            TO SUBMIT A RESPA                                  REQUEST FOR PAYOFFY
                     PAYMENT                                                                                         QUALIFIED WRITTEN REQUEST                          GENERAL CORRESPONDENCE
                    EEO EING
                Freedom Mortgage                                          rtagrineed
                                                                     freedom Mortgage                                              ("QWR")
                                                                                                                            Freedom Mortgage                                    Freedom
                                                                                                                                                                                  P.O. BoxMortgage
                                                                                                                                                                                           50485
                    P.O. Box 6655                           10500 Kincaid Drive, Suite 111                                     P.O. Box 50428                           Indianapolis, IN 46250-0485
             Chicago lL 60680-6656                                 Fishers, IN 46037-9764                             Indianapolis, IN 46250-0401                               Fax: 877-233-5843
       |CUSTOMER
              CARE: 855-690-5900                                                                             or              WERSITE:                  www-freedommortgage.com




       foe      ee SNe Sige nc             oe a, Manne One too   vere eee her       a pune eg ATE   on ago   ase US Siete UG een    Onn     cre Cee         ete ec        On    a   ene       Cae ee ree          ed

        in case of errers of questions about your electronic transfers telephone us at 855-690-5900 or write us at P.O. Box 50428, Indianapolis, IN 46250-0401 as
        son
         as you can, if you think your statement or receipt 1s wrong or if you need more information  about a transfer
                                                                                                                     on the statement or receipt,
                                                                                                                                             We must
        hear
         from you no later than 60 days after we sent you the HIRST statement   on which the error or problem appeared.
        (4)Tell us your name and account number (if any).
        (2) Describe the error or the transfer
                                           you are unsure about, and explain as clearly
                                                                                    as you can why you believe it is an error or why you need more
         information.
        (3) Tell us the collar amount of the suspected error.
        We will investigate your complaint   and will correct any error promptly. If we take more than 10 business days to do this, we wail credit
                                                                                                                                              your account for the
        amount  you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


       BSE   SERS   ERS Nitin   come Ree    set   wee Oe   ene   ae ee ee Sree ee   een eres         Eee       TRC   Bate Gers veh a    eee Sore ce    ae       eee    eee          ek Sree    eran
                                                                                                                                                                                                  een    eae Teesod


       REAL ESTATE TAXES atepaid fromm a tax bit issued by your local taxing authority. Itisnotnecessary| | Payment Crediting - i you are enroiied in automatic payment drafting, your payment wil
       for you to forward any regular tax bifs to us. Hf we need your tax bil, we wil request it from you in| | be credited each month on the date selected at the tine  of enrollment. One-time payments
       venting. if you receive a delinquent. adjusted. or corrected tax bil please forward it to: Freedom | | made online    or by phone will be credited effective the date you selected when scbmitting
       Mortgage. P.O. Box 22670, Rochester, NY 14692. ‘You may ako tax ft to817-826-0410                              the payment. Please
                                                                                                                                     note that it may take up to 1-2 business days
                                                                                                                                                                                for your payment to be
       Supplemental
            bills are often issued in addition to yearly real estate tax bills and are your| | displayed in your transaction
                                                                                                                        history.
       responsibility to pay. They are nat collected through your escrow account.                                     Phone paynunts or Automatic (ACH} payments - To pay by phone please call the Customes
                                                      i           WOE:                                                Cara number provided above. To estabish or cancel your ACH program. please contact
       HAZARD iNSURANCE It is your responsiblity            to maintain proper and sufficient hazard                                                            $
       insurance coverage for your        : i insisceate inedides Ren ened ©
       and, where required, ood insurance. To protect our mutual interest in the property, we require
                                                                                                      Se                                    en rnin stows A ease See Seren Oe ee et
       addlence of proper insurance. if you [ai to provide evidence, we willpurchase Lender Placed| | Wel You can make your payments online. simply visit us at www freedarnmartgage.com.
       coverage on your behall not Including your equity, and charge yoor eserew account.            Unapplied / Partial Payments - Any funds received that are less than a full periodic payment
                                                                                                     may be applied to your account, promptly returned to you, or held 1 a nor-interest-bearing

       oe
       Prase        your agenteee
                               to ensure        we are ene   on poly               a copy. which account untilenough
                                                                                                                fe     funds are received to applya to a full periodicz payment.
                                                                                                                                                                             ‘
       indudes  your loan number. is either faxed to our imurance
       malted to: Freedom Mortgage Corporation, ISAQA
                                                                  Department
                                                          / ATIMA, P.O.
                                                                             at 866-751-9224 or ppm espr pra ray igre vimana to Liege
                                                                       Box 5050. Troy. Mi48097-| | uote, please sand your request in writing to the address of fax # provided above or vis email
       5050. For general questions regarding hazard insurance. please ca 866-222-9005.                                to FreedomfayalfRequestOfreedomMor:gage.com. You may alte contact Customer Care at
       For questions regarding Hazard Loss Drafts, please call888-210-7318. You may also fax any| | the number provided above.
       required Loss Draft information to 866-751-9365.                                                               Payments by Mail - To avoid processing delays make your check or money order payable to.
       IFourYOU  ARE EXPERIENCING FINANCIAL DIFFICULTIES
            counselors please call 455-690-5900.
                                                   and would Biketa speak to oneof| | Freedom Mortgage and include your losn number. Peave de not send cath or correspondence
                                                                                          you payment.
                                                                                                                      Avoid inte Charges and Protect Your Credit - We may furnish information about your
       U.S. MILITARY Servicememibers   on “active duty” ot “active serve” or a spouse ordependent| | account to credit bureaus. Late payments. missed payments. or ather defaults on your account
       of such servicemember may be entitled to certain iege! protections and debt relief pursuant to| | may be reflected in your credif report. Any payments received after the late paymentdate
       the Sericemembers’ Civil Relief Act ("SCRA") If you are a sericermember     on active duty or] | noted on your coupon wil ba assessed a late fee.
       believe you are eligéble for such SCRA benefits. please notify our Customer Care Department) | qasitional Principal Payments - Depending upon the terms of your loan agreement,
                                                                                                                                                                                    you
       at-855-690-5900                                                                                               | may be able to pay additional principal on your foan. We must receive additional principal
                                                                                                                     | payments on or before your payment due date. Inchale additional principal with your regular
                                                                                                                       payment and incicate the amount in the space provided on your coupon.
                                                                                                                      Check Processing
                                                                                                                                 - Wher you provide
                                                                                                                                              a check a3 payment you authorize
                                                                                                                                                                        us either to use the
                                                                                                                      information from your check to make a one-time electronic fund transfer
                                                                                                                                                                                        from your account
                                                                                                                      Of to process the payment a3 a check transaction. When we ute information from

                                                                                                                      your checkas tosoonmakeat thean electronic
                                                                                                                      account                          same day funds transfer.yourfunds
                                                                                                                                                                 we seceive              may andbe withdrawn
                                                                                                                                                                                     payment                 fromreceive
                                                                                                                                                                                                    you will not   your@        =
                                                                                                                      your check back from your Financial msttution.                                                            g


        if you are experiencing financial difficulties, we are here to help you. Call ustoday to lear more about your Loss Mitigation options at                                                                                3
        855-690-5900 or by visiting our website at www.freedommortgage_com.                                                                                                                                                     2
        The right optien for you depends on your individual drcumstances. if you provide all required information and documentation about                                                                                       fe
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                               &
        home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-intieu of                                                                                 By
        foreclosure).
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by cailing toll free
                                                                                                                                                                                                                                §
        800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                             Change of Mailing Address / Contact information
                                                              Please provide your contact information below.

        Name.                                        Sn                ere ne een                             nen    nena ene          ee      eee ee ene

        New Address.                                                      incite
                                                                          li

        City.                                                                               State                                        Zip
        Hame Phone #                                                                           Business Phone #                                                       Ext.

        Email

       Cell Phone #                                                                                     C1 tconsent for freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 51 of 219 PageID 56




                            EXHIBIT 9                                         :
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 52 of 219 PageID 57
                  ¢
                  +

                  ee



                                         (3)
                                         Lam

                                         Eas
                          Oe             a
          z                         :    ns

      Ss                       .
                              ce
                                         2
                                        2]
                          §              >                                                               E
                               :
                               :         o
                               3         e     |
                               3         e
                               a        a
                               é        &
      oe                       a        “
                               :        &
      ps:                               =
                                        Oo}                                                     Ripa
                               ‘-                                                               ee es

      poeey 4:                                                                                  fan
                                                                                                fo) ‘§
                                                                                                49 ¢



      oe                                       =           ny                Bee     Hel
      as                                                  fear               i       a
              L                8                      ee aa a                        oa
                  G                                RUGS   ROSTERS   eae
                                                                      e es    here   are akee
              a                                    fea                        a      aoe



          ao 2    #
              3


              a

      Sie
                  i

                  |
                      ;                                                                         aE
                                                                                                ae
                  ote                                                                           —
                  a


                  Z ee                                                                               >
                          uf                                                                         .
                          '                                                                          €




                          a                                                                          ;
                          =                                                                     ot
                  4                                                                             S
                          ae                                                                    a
      :           a oe
                    a                                                                           co
                                                                                                 we tg

                          t=                                                                    eit
                          io
                          (as
                                                                                                27
                                                                                                £.

                  4                                                                             ee
                  69                                                                            ees
                                =                                                               ee

                          L
                          ie            “                                                       Et
                                                                                                Bs
                          rou           =                                                       3:
                  ee)                   os                                                      cca
                          1ey3          4
                                        ft                                                      ikgh «
              as                        ©                                                       e*
              2g                        a                                                       4
              : a                       2                                                       Par)
                  ~       >             £
              oe                        a                                                       = &
                          ee            s                                                       wi
                  a ie                  Ls)                                                         «
              ae
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 53 of 219 PageID 58




                       -   EXHIBIT 10
Case 3:24-cv-01182-BJD-SJH Document 1-1ELECTRONIC
                                           Filed ONLY
                                                  11/18/24
                                                      STATEMENTPage 54 of 219 PageID 59
                   a                             FOR RETURN SERVICE ONLY                                                                                                           |

           Ge
                                                 PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS
                                                 P.O. BOX 619063
                                                                                                                                              Mo rtgage Statement
           FREEDOM MORTGAGE* DALLAS, TX 75261-9063                                                                                               Statement Date 05/08/23

                                                                                                       BP Sig        OME a ie HEN stoic srs Sa eater te eeeet         aeEEG I                    ees
                                                                                                       Contact information
                                                                                                           Phone:                                                        1-855-690-5900
                         4-B07-91466-0015782-001-000-000-000-000                                            Customer Care:                    Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                           Saturday 9:00am — 2:00pm ET
                                                                                                            Find us on the web at:                         www. freedommortgage.com
                         AKMAL JAMAL GRANT
                         142 WATERVALE DR                                                                   Loan Number
                         SAINT AUGUSTINE FL 32092-1768                                                      Payment Due Date

                                                                                                        If
                                                                                                            Amount         Due**                                  $2,366.94
                                                                                                              ent s received after 06/16/23, $65.69 late fee will be charged.
                                                                                                       Property Address: 142 WATERVALE DR
                                                                                                                                   SAINT AUGUSTINE FL 32092



               Account information | PEvplanation
                                               of:Amount DUG                                                                                                             2
               Outstanding Principal                                         $365,772.61 | | Principal                                                                             $689.75
               Deferred Balance                                                     $0.00 | | Interest                                                                             $952.53
               Interest Rate                                                     3.125%
                                                                                  :           Escrow/impound
                                                                                                Regular Monthly(for Taxes and/or Insurance}
                                                                                                                    Payment                                                         724.66
                                                                                                                                                                                 $2,366.94
               Prepayment Penalty                                                      No | | Total Fees & Charges                                                                    $.00
               Escrow Balance                                                   $2,968.71                Overdue Payment                                                                       $.00
               Unapplied Funds                                                  $1,922.38                  Unpaid Late Charges                                                                 $.00
                                                                                                         Other/Optional Products                                                           __$.00
                                                                                                             Total Amount Due**                                                    2,366.94


            ‘Transaction Activ ce) a 04/04/23 - 05/08/23) eeOe ek ee
            Transaction         Dat Interest Paid Transaction              Transaction           Interest       Principal         EBcow     Late Charges      Fees     Optional            Unapplied
            Description            a    To Date fective Date                 Amount                Paid           Paid             Paid         Paid           Paid    Insurance             Funds
            Mortgagetnsurance 04/05/23 04/01/23 04/05/23                      $253.15              $0.00           $0.00           $000          $0.00        $0.00      $0.00                 $0.00
               Mortgage Insurance   05/05/23   04/01/23     05/05/23         $253.15              $000              $0.00           $0.00        $0.00        $0.00      $0.00                 $0.00
               Payment              05/08/23 05/01/23      05/08/23         $2,366.94            $954.32         $687.96          $724.56       $0.00         $0.00      $0.00                 $0.00




                IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
                FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
                CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION,



               Past Payments Breakdown
                                    | |ImportantMessages
                                                            Paid Last              Paid Year               FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR                                            |
                                                             Month                  to Date                ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
               Principal                                    $687.96              $1,419.01                 OBTAINED WILL BE USED FOR THAT PURPOSE.                                                              =
               Interest                                     $954.32              $1,910.55                 IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
               Escrow (Taxes and Insurance)                 $724.66              $1,449.32                 BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS                                          |
               Fees**                                         $0.00                  $0.00                 GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND |S NOT
               Late Charges                                       $0.00                  $0.00              INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
               Partial Payment Unapplied*                         $0.00          $1,922.38 | | TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
               Total                                      $2,366.94             $6,701.26                THE DEBT FROM YOU PERSONALLY.
                *Partial Payments: Any funds received that are less than a full periodic
                payment may be applied to your account, promptly returned to you, or held
                in a non-interest bearing account until enough funds are received to apply                                                                                                             |
                to a full periodic payment.                                                                 **This balance represents the known Amount Due as of the printing
                                                                                                                                                                           of this
                **Amounts listed here will include other/optional products, if applicable.                    statement. If you are delinquent, this balance may not represent full
                                                                                                              reinstatement of your obligation. Please contact us regarding your up-
                                                                                                              to-date reinstatement balance at 1-855-690-5900.

           =                         covets esses ss.,/dditional information is provided on the back of the statement                                         lc cecececue esses
    vee’                                                      '        "DETACH AND RETURN BOTTOM PORTION
                                                                                                      WITH YOUR PAYMENT                                                                                    —_

                                                                                                                        oe2Amount
                                                                                                                              Dues 1
           FREEDOM MORTGAGE"                                                                                                Due By 06/01/23:                                $2,366.94
                 LOAN NUMBER: (eS                         AKMAL JAMAL GRANT                                                 $65.69 late fee will be chargedafter 06/16/22
                                                                                                                            Additional Principal                $                      r
    ts                                                                                                                      Additional Escrow     $                                    ‘
    =
    Et           FREEDOM MORTGAGE                                                                                           Late Charge           $                                    :
    3)           P.O. BOX 6656
    oe           CHICAGO IL 60680-6656                                                                                        Total Amount Enclosed $                                      :
     fe)

     5                                                                                                                         Make check payable to Freedom Mortgage
    Pa

    ~                                                              C]         To change mailing address and/or contact information,
                                                                             check here and complete form on back.
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 55 of 219 PageID 60


                 To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
.                               about the servicing of your loan,                                   you must use the designated address below.
                                                                                                                   TO SUBMIT A RESPA                                   REQUEST FOR PAYOFFS
                         PAYMENT                                                                           QUALIFIED WRITTEN REQUEST                              GENERAL CORRESPONDENCE
                      PROCESSING                                       OVERNIGHT                                           (QwR")                                         Freedom Mortgage
                   Freedom Mortgage                               Freedom Mortgage                                 Freedom Mortgage                                          PRO, Box 50485
                    P.O, Box 6656                         70500 Kincaid Drive, Suite 111                            P.O. Box 50428                                 indianapolis, IN 46250-0485
                 ChicagotL 60680-4656                         Fishers, IN 46037-9764                         Indianapolis, IN 46250-0401                                fax: 877-233-5843

           as        ed          a             ema                                a             en           ee               nen                     ee     am                            hate eee
            in case of errors or questions about your electronic transfers telephone us at 855-690-5900 or write us at P.O. Box $0428, Indianapolis, IN 46750-0401 as
            soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the staternent or receipt. We must
            hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
             (1}fell us your name and account number (if any}.
            (2) Describe
                      the error or the transfer
                                             you are unsure about, and explain
                                                                             as clearly as you can why you believe it is an error
                                                                                                                              or why you need more
             information
             (3) Tell us the doilar amount of the suspected error
             We will investigate your complaint and wall correct any error promptly. If we take more than 70 business days to do this, we will credit your account for the
             amount you think   ss in error,
                                           so that you will have the use of the money during the time it takesus to complete our investigation.


           |                IMPORTANT INFORMATION                                                           EE                      diced ina baled bao                                                 Eee
           REAL ESTATE TAXES ate paid from atax bill issued by your local taxing authority. irisnotmacessary| | Payment CrodHing - if you are enrolled in automatic payment drafting. your payment will
           foryou   to forwerd any regular
                                        tax bis to us, we need your tax bill, we willrequest   it from you in] | be credited each month on the date selected at the time of enrollment. One-time payments
           ‘writing, H you recewe 2 delinquentadjusted, or corrected tax bill please forward Itto: Freedom | | made online    or hy phone wil be credited effective the date you selected when submitting
           Mortgage. P.O. #ox 22670, Rochester, N¥ 14692. You may alsa fax it to817-826-0410.                    the payment. Please note that it may take up to 1-2 business days for your gaymant to be
           Supplemental bills are often issued in addition to yearly real estate tax bu and are your| | displayed in your transaction       history.

           responsibility to pay. Theyftareis- notyourcofected
           HAZARD INSURANCE
                                                               through
                                                                   53 toyour
                                                        responsibilty
                                                                             escrow
                                                                             os
                                                                          maintain
                                                                                     account.                    Eisen seyret Bi nea ToOG)
                                                                                    proper and sufficient hazard Care number provided ai
                                                                                                                                              Eee
                                                                                                                                         establish       30 asyouri ACH
                                                                                                                                                   or cancel        hae  ee eat te CO
                                                                                                                                                                     : program please contact
           inssanceconrage     for your ig: Hazard Insorance e tae brad                           comeraye Ses ace ee aera . Sen at ee ae Ee ee oe OS
           and, where required, Flood Insurance. To protect our mutual interest in the property, we require
           evidence of proper imurance. if you fail to provide evidence, we will porchase Lender Placed| | Web- You cen make your peyments online, tenply visit us at www-freedemmorigage.com.
           coverage
                 on your behalf, not including
                                         your equity, and charge your escrow account.                       Unepplied / Partisl Payenents - Any funds received that are fess than a full periodic payment
             :                              a                                        .                      may be applied ie your account, promptly retumed to you, of held in a non-interest-bearing
            oe                      ee
           FASE BOUT ee AGEN te Gaur Si We: aro: etter! ri fee polyray ald eA oa esi Lod ancount
                                                                                           untilenough funds are received to apply to a full petindic payment.
                                                                                     a copy. Which! | payed Quote - This statement does not contain the amount required to          foan in full
           indudes  yout loan number, is ether faxed to cur Insurance Department at866-751-9324 or prodreflect ailthird-party         fees (# applicable) or afl amountsial iabovette
           mailed to: Freadom Mortgage Corporation, ISAGA 7 ATIMA, P.0, Box 5050. Troy, MIA007-| | quote, please send your request it writing to the address of Tax # provided
                                                                                                                                                                                         payoff
                                                                                                                                                                                   or via email
           5090, For generat questions regarding hazard insorance. please call 866-222-9005,                 to Freadom#ayolRequestOFreedomMorigage.cam. You may alia contact Customer Care at
            For questions regarding Hazard Loss Drafts, slease call 888-810-7318. ‘You may alse fax any| | the number provided above.
           required Loas Draft information to 866-751-9365.                                                 Payments by Mail - To avoid processing delays make your check or money order payable to
           ff YOU
           our      ARE EXPERIENCING
               counselors                  FINANCIAL DIFFICULTIES and would Eke to speak to one of
                          please call 255-690-5900,                                                         EresAE Nese
                                                                                                                   PONTE st ee YOUR tenes, FAR ee COL aan a Tae Cara
                                                                     ;                                      Avoid Late Changes and Protect Your Credit ~ We may furnish Information about your
            U.S. MILITARY Servicernenibers on “active duty” or “active service" or a spouse ordependent) | account   to credit bureaus. Late payments, missed payments, or other defaults on your account
           of such servicemember may be entitied to certain fegal protections and debt relief pursuant to| | may be reflected in your credit report. Any payments received alter the late payment    date
           ‘the Servicernembers’ Chai Refiof Act (“SCRA") HF you area servicerember
                                                                              on active duty or] | noted on your coupon wil be assessed a late fee.
           believe you are eligible for such SCRA benefits, please notify cur Customer Care Department) | aauitional Principal Payments ~ Depending upon the terns of your joan agreement, you
           at 855-890-5900.                                                                                 meer nabson orfe ey estes
                                                                                                            payments                     saintdue eadate.seesinclude
                                                                                                                                 yout payment                   en additional
                                                                                                                                                                     Vie rust cans
                                                                                                                                                                              principaladele
                                                                                                            payment and indicate the amount in the space provided on your coupon.
                                                                                                                                                                                        with yourpvcind
                                                                                                                                                                                                  requiar
                                                                                                            ‘Chock Processing - When you provide a theck a3 payment, you authorize us either to use the
                                                                                                            information from your check to make a one-time electronic fund transfer from your account
                                                                                                            pf to process the payment as a check transaction. When we ue informadon
                                                                                                                                                                                from

                                                                                                            your checkas tosoonmakeas anthe electronic
                                                                                                            account                          same day funds transfer.yourfundspaymentmay andbe withdrawn
                                                                                                                                                       we receive                                         fromyour
                                                                                                                                                                                                you will nat receive @       a
                                                                                                             your check back from your Hnanciel institution,                                                                 g


            if you are experiencing financial difficulties, we are here to help you. Call us todayte lear more about your Loss Mitigation options at                                                                         2
            855-690-5900 or by visiting our website at www. freedommortgage.com.                                                                                                                                             2
            The right option for you depends on your individual circumstances. if you provide ail required information and documeritation about                                                                              Px
            your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                        g
            home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-insicu of                                                                          2
            foreclosure).
            You may obtain a list af HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free
                                                                                                                                                                                                                             5
            800-569-4287 or by visiting the HUD website at www.hud_gov.                                                                                                                                                  1




                                                          Change of Mailing Address / Contact information
                                                           Please provide your contact information below.

            Name                                              Ae aN
            New Address

            City                                                                      State                                     Zip
            Home Phone 4, Blisiness Phone #                                                                                                                   Ext.

            Email

            Cell Phone #                                                                       (1) i consent for freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 56 of 219 PageID 61




                           EXHIBIT 11.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 57 of 219 PageID 62
      -A
      Coe




              es
              4
          4

              ss
              Ss ii.



          .                                         :
      :
              i
              3
                                                    ne:
      8




      i
      a                                                                  |
          a
      tg




      an
      a




      6                                             es
      4g
      ie                                            ee
                                                    =

      : |                                           ri

          a.                                        3
          ay                                        ©

      a                                             2 |
          a                                         le

      of                                            ¢
          i                                         =
          ce                                        a
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 58 of 219 PageID 63




                           EXHIBIT 12
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 59 of 219 PageID 64
              on ctl
             se
               LEE)               ORS          FOR
                                               P.O. RETURN SERVICEONLY
                                               PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS
                                                    BOX 619063                                     ELECTRONIC ONLY aia)0 rgage Sin
                                                                                                                                atemen ‘
                                                                                                                                                                                       ‘          i

            FREEDOM MORTGAGE® DALLAS, TX 75261-9063                                                                                             Statement Date 06/13/23

                                                                                                     ContactInformation
                                                                                                                 =
                                                                                                       Phone:                                                          1-855-690-5900
                       6-807-93626-0008098-001-000-000-000-000                                             Customer Care:                    Monday - Friday 8:00am - 8:00pm ET
                                                                                                                                                          Saturday 9:00am — 2:00pm ET
                                                                                                           Find us on the web at:                         www.freedommortgage.com
                       AKMAL JAMAL GRANT
                       142 WATERVALE DR                                                                    Loan Number
                       SAINT AUGUSTINE FL 32092-1768                                                       Payment Due Date

                                                                                                       If
                                                                                                           Amount              Due**                                  $2,366.94
                                                                                                             payment is received after 07/16/23, $65.69 late fee will be charged.

                                                                                                      Property Address: 142 WATERVALE DR
                                                                                                                                  SAINT AUGUSTINE FL 32092


             ae         ae    ee eS BE one     Ea ae oe tA (Honma
                                                              neone st pe                                                                                              ona eeueee
             Account Information== 2 | FExple nationof    Amount      Due                                                                                                                  ad
              Outstanding Principal                                        $365,082.86 | | Principal                                                                             $691.54
              Deferred Balance                                                         $0.00           Interest                                                                  $950.74
              , interest 7 Rate                                                  3.125%
                                                                                  :                    Escrow/Impound (for Taxes
                                                                                                        Regular Monthly          and/or Insurance)
                                                                                                                           Payment                                             724,66
                                                                                                                                                                            $2,366.94
              Prepayment Penalty                                                          No | | Total Fees & Charges                                                            $.00
              Escrow Balance                                                  $3,440.22                Overdue Payment                                                           $.00
              Unapplied Funds                                                 $1,922.38                Unpaid Late Charges                                                                     $.00
                                                                                                       Other/Optional Products                                                                 $.00
                                                                                                            Total Amount Due**                                                   2,366.94
             po                             ee             A                                ce oo ea Ee TED neeaeneanar a se corse aparecense emcee
             Jransaction Activity(05/09/23 -06/13729),
             Transaction          Date Interest Pald Transaction         Transaction            Interest       Principal         Escow     Late Charges      Fees    Optional          Unapplied
             Description                  To Date Effective Date           Amount                Paid            Paid              Paid        Paid          Paid    Insurance           Funds
             Mortgage Insurance 06/08/23 05/01/23 06/08/23                  $253.15              $000             $0.00            $000         $0.00        $0.00     $0.00               $0.00
             Payment            06/13/23 06/01/23 06/13/23                $2,366.94            $952.53          $689.75          $724.56        $000          $000     $0.00               $0.00




               IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
               FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
               CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.


             aa                              aae ae see neefe oie i ane                               e ee dis i                   fe ee ee Pee hens RE es
             ‘Past
                 Payments Breakdown =| |ImportantMessages
                                                           Paid Last              Paid Year                FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                            Month                 to Date              ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
              Principal                                    $689.75             $2,108.76               OBTAINED WILL BE USED FOR THAT PURPOSE.
              Interest                                     $952.53             $2,863.08               IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
              Escrow (Taxes and Insurance)                $724.66              $2,173.98               BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
              Fees**                                          $0.00                    $0.00           GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
              Late Charges                                    $0.00                $0.00     INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
              Partial Payment Unapplied*                      $0.00            $1,922.38 | | TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
              Total                                     $2,366.94             $9,068.20 | |THE DEBT FROM YOU PERSONALLY.
               *Partial Payments: Any funds received that are less than a full periodic
              payment may be applied to your account, promptly returned to you, or held
              in a non-interest bearing account until enough funds are received to apply
              to a full periodic payment.                                                                  **This balance represents the known Amount Due as of the printing
                                                                                                                                                                          of thé
               **Amounts listed here will include other/optional products, if applicable.                    statement. if you are delinquent, this balance may not represent full
                                                                                                             reinstatement of your obligation. Please contact us regarding your up-
                                                                                                             to-date reinstatement balance at 1-855-690-5900._         :

    a
        ;                                                Additional information is provided on the bac! ofthe statement.
                                                            SCE ALEC SEERA L ERENT OE eee

                            ae                                                                                         oA                                  ee POP poeee
                                                                                                                           Ss SAMOUnE
                                                                                                                                  DUGy a
            PREEDOM MORTGAGE"                                                                                              Due By 07/01/23:                               $2,366.94 |
               LOAN NUMBER:                              AKMAL JAMAL GRANT                                                 565.69 late fee will
                                                                                                                                              be charged after 07/16/23                        —_|
                                                                                                                           Additional Principal                $                  ti
    ay
    (=
                                                                                                                           Additional Escrow                   $                  é
    &          FREEDOM MORTGAGE                                                                                            Late Charge                         $                  j
    ®          P.O. BOX 6656                                                                                                                                                               =

    ue
    o
               CHICAGO IL 60680-6656                                                                                        Total Amount Enclosed $                                    -
    &                                                                                                                         Make check payable to Freedom Mortgage
    =

    ~                                                           [|          To change mailing address and/or contact information,
                                                                            check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 60 of 219 PageID 65


             To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                             about the servicing of your loan,                                  you must use the designated address below.
                                                                                                               TO SUBMIT A RESPA                               REQUEST FOR PAYOFF/
                     PAYMENT                                                                           QUALIFIED WRHTEN REQUEST                             GENERAL CORRESPONDENCE
                   PROCESSING                                       OVERNIGHT                                         “OQWR")                                    Freadom Morigane
               Freedom Mortgage     Freedom Mortgage                                                           Freedom Mortgage                           PO. Box 50485
                  P.O, Box 6656
                              10500 Kincaid Drive, Suite 111                                                     P.O. Box 50428                    Indianapolis, IN 46250-0485
       Chicage tL 60680-4656      Fishers, IN 46037-9764                                                 Indianapolis, IN 46250-0401                    Fax: 877-233-5843
       ee                    ee ee ae                                                                              ee                             ee                      eee
       |CUSTOMER CARE: 855-690-5900                                                        of               WEBSITE: ww                          ireedommorigage com
         in case of errors of questions about your electronic transfers telephone us at 855-690-5960 or write us at P.O. Box 50428, indianapolis, IN 46250-0401 as
         soon as you can, if you think your statement or receipt  is wrong or if you need more information about a transfer on the statement   or receipt. We must
         hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
         (1}Tell us your name and account number {if any).
         (2} Describe the error or the transfer
                                             you are unsure about, and explain as clearly as you can why you believe
                                                                                                                  it isan error or why you need more
         information
         (3) Tell us the dollar amount of the suspected error.
         We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
         amount you think  is in error, so thet you will have
                                                            the use of the money during the time it takes us to complete our investigation.                                                                          .


       pe VIVE                      INNEEAEE NESE ACNE EON)                                                     IEE ANE                                        AIIM
       REAL ESTATE TAXES are paid from atax billissued by your local taxing authority. Iticnotnecessary) | Payment Crediting - Ii you are enrolied in automatic paymerd drafting, your payment will
       for you to forward any regular tax bilis to us. f we need your tax bill we will request from you in| | be credited each month on the date selected at the thne of enroBment. One-time payments
       ‘writing. If you receive
                           a delinquent adjusted, or corrected tax bill pleare forward (to: Freedom| | mada enfine
                                                                                                                 or by phone wall be credited elfective the date you selected
                                                                                                                                                                        when submitting
        Mortgage. P.O. Box 22670, Rochester, N¥ 14692. You may abo fax it to 317-826-0410             the payment. Please note that it may take up to 1-2 business days fer your payrnent to be
       Suppiementai bills are often issued in addition to yearly real estate tax bills and are your] | displayed sn your transaction
                                                                                                                                  history.
       Texponsibility to pay. They are not collected through your escrow account.                        Phone payments or Automatic (ACH) payments - To pay by phone pinaie call the Customer
                                                                ae                                       Care number provided above. To establish or cancel your ACH program, please contact
       HAZARD INSURANCE It is your responsib#ity to maintain proper and sufficient hazard
       snuuronce conetage tor yur            :                  fndiodes Fee are
       and, where required, Flood insurance. To protect our mutual interest in the property, we require| |
                                                                                                           ee er Seg Sarena isne eae et bans ee Capea i) A 0 er
        evidence of proper insurance. If you fail to provide evidence, we willpurchase Lender Placd| | Welz- You can make your payments oniine, simply visit us at www freedermortgage.com.
       ‘coverage on your behalf, not Including your equity, and charge your escrow account.           Unapplied / Partial Payments - Any funds received that are fess than a full periodic payment
                                                                                                         fay
                                                                                                           be applied to your account, promptly returned to you. or held in a non-interest-boaring

       Jreqeapiakosen gpcgloneepagen
                       led      Sey errsurea that,
                                              apweoho   hci eepnipn
                                                   aay Sse            aca sharpen
                                                            fre tee potcy    a copy, ara!
                                                                                      which) | | payoff
                                                                                                 account Quote
                                                                                                          untilenough  funds are does
                                                                                                                -This statement  receivednot tecontain
                                                                                                                                                  apply theto aamount
                                                                                                                                                                fullperiodic payment.
                                                                                                                                                                       required to            soan
                                                                                                                                                                                                in fut
       indudes
       mailed
             your loan number,is either faxed to out insurance
           to:Freedom Mortgage Corporation. SAQA
                                                               Department at B66-751-9324
                                                      7 ATIMA, P.O. fox 5050,
                                                                                           oF Sens torus ae nat Sn eck ee oe ee ee
                                                                              Tray, Mi 4#007- | quate. plezse send your request in writing to the address or fax # provided above or via email
       SOM For general quations ragancing Iezand nsience. please cM P6622 7-00,                          to FreedamPayaltRaquest@FraedamMortgage.com, You may asa contact Customer Care at
       For questions regarding Hazard Loss Drafts, please cali888-@10-7318. You may also fax any| | the number provided above.
       required Loss Draft information to 866-751-9365.                                                  Payments by Mail - To avoid processing delays make your check or money order payabla to
        IF YOU
       our
                 ARE EXPERIENCING
            counselors
                                        FINANCIAL DIFFICULTIES
                       please call 855-690-5900,
                                                         and would tke to speak to one of | | Freedom
                                                                                                  ai
                                                                                                      Morigage
                                                                                                       oo
                                                                                                            and include your laan number, Please do not send cash or correspondence
                                                                                                        Avoid Late Charges and Protect Your Credit - We may furnish information about your
        U.S. MILITARY Servicemembert    on “active duty or “active service* ofa spouse or dependent! | account to credit bureaus. Late payments, missed payments, or other defaudes on your account
       of such servicemember may be endtled to certain legal protections and debt relief pursuant to] | may be reflected in your credit report. Any payments received alter the lata payment date |
       the Servicemembers’ Civil Retief Act (“SCRA"). If you are 3 sericemember on active duty of] | noted on yaur coupon will be assessed a late fee,                                              j
       believa you are eligible for such SCRA benefits, please notify our Customer Care Department) | aasitionsl Principal Payments - Depending upon the terms of your joan agreement. you
       at 855-890-5900                                                                                  may ba able to pay additional principal on your loan. We must receive additional principal
                                                                                                         payments on or before your payment due date. Inckde additional principal with your requiar
                                                                                                         payment and indicate the amount in the space provided on your coupon.
                                                                                                         Check Processing - When you provide 2 check as paymhant, you authorize us either to use the
                                                                                                         infomation  from: your check to make a one-time electronic fund transfer from your account
                                                                                                         or to process the payment as a check traniaction, When we use information from

                                                                                                        your checkas soon
                                                                                                        account      to makeai thean electronicfunds transfer,yourfundspaymentmay beandwithdrawn
                                                                                                                                      same day we receive                               you will nalfromreceive
                                                                                                                                                                                                          yourga =
                                                                                                         your check hack from your financial institution,                                                     pe]

        if you are experiencing financial difficulties, we are here to help you. Call us today to leam more about your Loss Mitigation options at                                                              3
        855-690-5900 or by visiting our website at www. freedommortgage.com.                                                                                                                                   J
        The right option for you depends on your individual circumstances. If you provide ail required information and documentation about                                                                     os
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you te stay in your                                                              g
        home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                               2
        foreclesure).
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling tol free
                                                                                                                                                                                                               5
        800-569-4287 or by visiting the HUD website at www hud.gov.




                                                       Change of Mailing Address / Contact information
                                                        Please provide your contact information below.

        Name                                      Seika

       New Address,                                                                              es                    Sal tassios

        City                                                                        State ES
        Home Phone #_
                   CB siness Phone HEE
        Email

        Cell Phone #                                                                      (1 tconsent for freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 61 of 219 PageID 66




                           EXHIBIT 13
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 62 of 219 PageID 67
          ee
          el   ow                             FoRCRE
                                              P.O, BOXTURNSERVCERRLY
                                              PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS.
                                                        619063                                       ELECTRONIC ONLY a;v)ortgage
                                                                                                                          ni     7
                                                                                                                                 statemen i
         FREEDOM MORTGAGE” DALLAS, TX 75261-9063                                                                                                  Statement Date 07/18/23

                                                                                                          (Contact information
                                                                                                          Phone:                                                         1-855-690-5900
                   7-807-95852-0058643-001-000-000-000-000                                                   Customer Care:                    Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                          Saturday 9:00am — 2:00pm ET
                                                                                                             Find us on the web at:                       www, freedommortgage.com
                   AKMAL JAMAL GRANT
                   142 WATERVALE DR                                                                          Loan Number
                   SAINT AUGUSTINE FL 32092-1768                                                             Payment Due Date

                                                                                                          If
                                                                                                             Amount              Due**                                  $4,799.57
                                                                                                               payment is received after 08/16/23, $65.69 late fee will be charged.
                                                                                                          Property Address: 142 WATERVALE DR
                                                                                                                                    SAINT AUGUSTINE FL 32092


          Ey poppe ie) pan penne tLugur               at        pera ap uey
                                                                          o M FE nceper Pepin
                                                                                          ee mreL ny ap Camere pQunon
                                                                                                                  ay mr                                                            oy enenee
          |Accountinformation = ss | Explanationof AmountDue
           Outstanding Principal                                             $365,082.86 | | Principal                                                                             $693.34
           Deferred Balance                                                          $0.00 | | interest                                                                            $948.94
           ; nterest R Rate                                                      3 : 125%      Escrow/Impound
                                                                                                 Regular Monthly(for Taxes and/or Insurance)
                                                                                                                     Payment                                                        724.66
                                                                                                                                                                                 $2,366.94
           Prepayment Penalty                                                           No | | Total Fees & Charges                                                                   $.00
           Escrow Balance                                                        $3,187.07                Overdue Payment                                                         $2,366.94
           Unapplied Funds                                                       $1,922.38                Unpaid Late Charges                                                           $65.69
                                                                                                          Other/Optional Products                                                         $.00
                                                                                                               Total Amount Due**                                                  4,799.57
          On ncartinr                  Artin               fACAAD.             AviMeow le
          Transaction Activity (06/14/23 -O7/18/23)...
          Transaction           Date     Interest Paid Transaction          Transaction           Interest       Principal         Escow Late Charges        Fees      Optional         Unapplied
          Description                      To Date         Effective Date    Amount                Paid            Paid             Paid         Paid        Paid      Insurance            Funds.
          Mortgage Insurance 07/04/23      06/01/23          07/04/23         $253.15              $0.00            $0.00           $000         $0.00       $0.00       $0.00                $0.00
          Accued Late Charge 07/18/23 00/00/00               07/18/23          $65.69              $000             $0.00           $0.00         $0.00      $000        $0.00                $0.00




           IMPORTANT  NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR 5 PROVIDED
           FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
            CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.


          Race DAchks Rate Dp onan ee] Fa   ek     ee
          Past PaymentsBreakdown    sit |ImportantMessages
                                                              Paid Last             Paid Year             FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                               Month                to Date               ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
           Principal                                            $0.00             $2,108.76               OBTAINED WILL BE USED FOR THAT PURPOSE.
           Interest                                             $0.00             $2,863.08               IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
           Escrow (Taxes and Insurance)                         $0.00             $2,173.98               BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
           Fees**                                               $0.00                     $0.00           GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
           Late Charges                                         $0.00                     $0.00           INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
           Partial Payment Unapplied*                           $0.00             $1,922.38               TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
           Total                                                $0.00            $9,068.20                THE DEBT FROM YOU PERSONALLY.
           *Partial Payments: Any funds received that are less than a full periodic
           payment may be applied to your account, promptly returned to you, or held
           in a non-interest bearing account until enough funds are received to apply
           to**Amounts
               a full periodic
                          listedpayment.
                                 here will include other/optional products, if applicable.                   **This balanceIfrepresentsthe
                                                                                                               statement.                   knownthisAmount
                                                                                                                              you are delinquent,      balanceDue as not
                                                                                                                                                                may  of theprinting of this
                                                                                                                                                                         represent full
                                                                                                               reinstatement of your obligation. Please contact us regarding your up-
                                                                                                               to-date reinstatement balance at 1-855-690-5900.
      ' Additional information is provided
    FO ee
                                           on the back ofOURtheBande
                                       SATII
                                                                statement.TUTTE    oo esate taney
                                                                             ID TEEEEE ES




         FREEDOM MORTGAGE?                                                                                                   Due By 08/01/23:              —= $4,799.57
           LOAN NUMBER: ea                                 AKMAL JAMAL GRANT                                                 $65.69 late fee willbecharged after 08/16/23
                                                                                                                             Additional Principal              $                    F
    3                                                                                                                        Additional Escrow                 $                    :
    [a

    =       FREEDOM MORTGAGE                                                                                                 Late Charge                       $                    ;
    a       P.O. BOX 6656

    o©      CHICAGO IL 60680-6656                                                                                             Total Amount Enclosed $                                   é
    +                                                                                                                           Make check payable to Freedom Mortgage
    be

    al                                                             [|         To change mailing address and/or contact information,
                                                                              check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 63 of 219 PageID 68
       [eRe ES es Pala           RAS oA Siac          EP CeeREINCp GAN       SPUN Raa HE e Br rete ge ON Sela poli     EER REET aelon ni Se Reais MURA                            ea ace ue ae
       CONTACT INFORMATION. §                                                                                                                                   0. 5                 2
             To submit a RESPA Qualified Written Request (“QWR”), assert an error or request Information
                             about the servicing of your loan,                                     you must use the designated address below.
                                                                                                                     TO SUBMIT A RESPA                            REQUEST FOR PAYOFF
                     PAYMENT                                                                               QUALIFIED WRITTEN REQUEST                            GENERAL CORRESPONDENCE
                   PROCESSING                                       OVERNIGHT                                             (“Qwr’)                                   Freedom Mortgage
               Freedom Mortgage                                 Freedom Mortgage                                     Freedom Mortgage                                  P.O. Box 50485
                 P.O, Box 6656                         70500 Kincaid Drive, Suite 1117                              P.O. Box 50428                              indianapolis, IN 46250-D485
             Chicago IL 60680-6656                         Fishers, IN 46037-9764                            Indianapolis, IN 46250-0401                             fax: 877-233-5843

       ee

         in case of errors or questions about your electronic transfers telephone us at 855-690-5900 or wnite us at P.O. Box 50428, indianapolis, IN 46250-0401 as
         soon as you can, if you think your statement  or receipt is wrong or if you need more information about a transfer  on the statement  or receipt. We must
         hear from  you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
        (1)Tell us your name and account number {if any).
        (2) Describe the error or the transfer you are unsure about, and explain as clearly
                                                                                        as you can why you believe it is an error
                                                                                                                              or why you need more
         information.
         (3) Tell us the dollar amount of the suspected error.
         We will investigate your complaint and will correct any error promptly, If we take more than 10 business days to do this, we wall credit your account for the
         amount   you think is in error,
                                      so that you will have the use of the money during the time it takes us to complete our investigation.




       REAL ESTATE TAXES are paid from a tax bill issued by your iocal taxing euthority.tisnotnecessary| | Payment CredHing~!f you are enrolled in automatic payment drafting. your payment wall                |
        for you to forward any regular tax bilis to us. Hf we need your tax bill we will requestit from you in| | be credited each month on the date selected at the time of enrollment. One-time paymenss
       writing. if you receive a delinquent, adjusted, or corrected tax bill please forward it to: Freedem| | made online or by phone wil be credited effective the date you selected when submitting
        Mortgage, °.0.   Box 22670, Rochester,      NY 14692. You may also fax R to817-826-0410.                  the payment. Please note that it may take up to 1-2 business days for your payment to be
        Suppiomentai bills are often issuad in addition to yearly real estate tax bills and are your] | displayed           tn your transaction history.
       responsibilty to pay. They are not collected through your escrow account.                             Phone paymonts of Automatic (ACH) payments ~ To pay by phone please cali the Customer
       HAZARD §NSURANCE Il is your responsibility to maintain proper and sufficient hazard                   Care number provided above. To establish or cancel your ACH program please contact
       ioinance!           for your                   soiree           des treed                             ta                                 aa
       and, where required, Flood insurance. To protect our mutual interest in the property. we require               J
       evidence of proper insurance. H you [ailto provide evidence, we wil purchase Lender Placed] | Wel- You can make your payments online, simply visit us at www treedemmortgage.com.
       coverage on your behail, not induding your equity, and charge your escrow
                                                                           -
                                                                                 account.                    Unopplied / Partial Payments - Any funds received that are fess than a full periodic payment
                                                                                                             may be applied to your account. promptly returned to you, or held in a nor-interest-bearing
       Soy Teese it neice: en anton GlSoe Se oer oi Seninpolicy.| | account until enough funds are received to apply to a full periodic payment.
       Pease notify your
       indudes your
                ;   loan agent
                         number,to isensure
                                       either faxedwetoareour Insurance
                                                                   on theDepartment
                                                                           pobcy at 866-751-9324
                                                                                      a copy. which
                                                                                                 or vagal
                                                                                                    and mayChiat
                                                                                                                 = es tesa dines ee conta amount‘ required $0 pay yout ican in tial
                                                                                                            not reflect 2f third-party fees (Hf applicable} or af amounts due. To obtain a payoff
       mailed to: FreedomMortgage Comoration,AGA 7 ATIMA, P.O. Hox 5050. Troy, Mi 48007- quote, please send your request in writing to the address or fax # provided above or via email
       5050. For general questions regarding hazard insurance, please call 866-222-9005.                     to FreedomFayolfRequest@FreadomMorigage.cam. Yau may also contact Custamer Care at
       For questions regarding Hazard Loss Drafts, please call 889-810-7318. You may also fax any] | the number provided above.
       required Loss Draft information to 866-75 1-9365.                                                     Payments
                                                                                                                by Mail - To avoid processing delays make your check or money onder payable to
       if YOU
       our
                ARE EXPERIENCING
           counselors
                                      FINANCIAL DIFFICULTIES
                      please call 55-90-5900.
                                                    and would tke to speak to one of | Freedom
                                                                                           OU Morigage
                                                                                               aE. and include your lan number. Fease de not send cash or correspondence
                                                                                                            Avoid Late Charges and Protect Your Credit - We may furnish information about your
       U.S. MILITARY Servicernembers  on “active duty” or “active service” ora spouse   or dependent! | account to credit bureaus. Late payments, missed payments, or ather defaults on your accrant
       of such servicemember may be entitled to cevtain Jegai protections and debt relief pursuant to| | maybe reflected  in your credit report. Any payments received alter the late payment   date
       the Servicemembers’ Civil Reef Act (“SCRA™) If you area servicamember on active duty or] | noted on your coupon will be assessed a late fee.
       boleva you are eligible for such SCRA benefits, please notify our Customer Care Department) | aquitional Principal Payments - Depenting upon the terms of your foan agreement. you
       at @55-690-5900                                                                                       may be able to pay additional principal on your loan. We must receive additional pancpal
                                                                                                            payments on or before your payment due date. Inciude additional principal with your requiar
                                                                                                            payment and indicate the amount in the space provided on your coupon.
                                                                                                            Check Processing - When you provide a check as payment you authorize us either to use the
                                                                                                            informationfrom your check to makea one-time electronic fund transfer from yous account
                                                                                                             of to process the payment as a check transaction, When we use information from

                                                                                                            your checkas soon
                                                                                                            account      to makeat thean electronic
                                                                                                                                          same day funds transfer,yourfunds
                                                                                                                                                    we receive              may andbe withdrawn
                                                                                                                                                                        payment                  fromrecalve
                                                                                                                                                                                       you will not     your@       bd
                                                                                                             your check back from your financial institution.                                                       g
       bPEe
         EERE TARO RNG ECTS ST aaa alEAI
                                     et pee a eld ae pkRPrR ag pg el Naa tie i snc Gon Rg                                                                                                              ct >
        Hf you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                                  2
        855-690-5900 or by visiting our website at www. freedommortgage.com.                                                                                                                                        2
        The right optian for you depends en your individual circumstances. If you provide all required information and documentation about                                                                          o
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                   R
        home (refinance, repayment, forbearance, loan modification) or leave your hore while avoiding foreclosure {short sale or deed-in-fieu of                                                                    g
        foreclosure).
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free
                                                                                                                                                                                                                    5
        800-569-4287 or by visiting the HUD website at www_hud.gov.




                                                       Change of Mailing Address / Contact Information
                                                        Please provide your contact information below.

       Name.

       New Address


       City.                                                                       State.                                      Zip
       Home Phone #                                                                   Business Phone #                                                    Ext.
       Email

       Cell Phone #                                                                          (21 | consent for freesiom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 64 of 219 PageID 69




                           EXHIBIT 14                                             |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 65 of 219 PageID 70
           a                                   FoR ERUEE OMY                           ELECTRONIC ONLY STATEMENT
          LEE
          ee
                                               PLEASE DO  NOT
                                               P.O. BOX 619063
                                                              SEND PAYMENTS TO THIS ADDRESS                  Mortgage Statement
          FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                                          Statement Date 08/14/23

                                                                                                              ContactInformation.
                                                                                                                  Phone:                                                            1-855-690-5900

                     4-807-97571-0018620-001-000-000-000-000                                                      Customer Care:                         Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                                     Saturday 9:00am — 2:00pm ET
                                                                                                                  Find us on the web at:                             www. freedommortgage.com
                     AKMAL JAMAL GRANT
                     142 WATERVALE DR                                                                             Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                                  Payment Due Date

                                                                                                               If
                                                                                                                  Amount          Due**                                  $2,366.94
                                                                                                                     nt is received after 09/16/23, $65.69 late fee will be charged.
                                                                                                              Property Address: 142 WATERVALE DR
                                                                                                                                            SAINT AUGUSTINE FL 32092


           Peo ee Sl eo eo                                                        ee                          eo              ee meee                enor                 ene                  end
           Accountinformation                                     ._—«—s—i(s—s—sis | Explanationof AmountDue                                                                                i      ei
           Outstanding Principal                                        $363,697.98 | | Principal                                                                                            $695.15
            Deferred Balance                                                                    $0.00 | | Interest                                                                            $947.13
           ,; interest RRate                                                              3 125%         | Escrow/Impound
                                                                                                            Regular Monthly(for Taxes and/or Insurance)
                                                                                                                                Payment                                                        724.66
                                                                                                                                                                                            $2,366.94
            Prepayment Penalty                                                                     No | | Total Fees & Charges                                                                   $.00
            Escrow Balance                                                             $4,383.24 | | Overdue Payment                                                                                     $.00
            Unapplied Funds                                                                     $0.00 | | Unpaid Late Charges                                                                     $.00
                                                                                                          Other/Optional Products                                                                 $.00
                                                                                                        | Total Amount Due**                                                                  2,366.94

           eePee ce et A      TATA OTD OU NGUA LISS                                                                                            een OSS an ne en
           Transaction Activity (07/19/23
                                        - 08/4/23)                                                                                            a
           Transaction
           Description
                                 Date      Interest Paid Effective
                                              To Date
                                                          Transaction
                                                                   Date
                                                                                  Transaction
                                                                                   Amount
                                                                                                        Interest,
                                                                                                          Paid
                                                                                                                         Principal
                                                                                                                           Pald
                                                                                                                                           Escrow
                                                                                                                                            Paid
                                                                                                                                                     Late Paid
                                                                                                                                                           Charges      Fees
                                                                                                                                                                        Paid
                                                                                                                                                                                  Optional
                                                                                                                                                                                  Insurance
                                                                                                                                                                                                   Unapplied
                                                                                                                                                                                                     Funds
           Payment              07/2123     06/01/23           07/21/23           $1,922.38               $0.00             $0.00           $000           $0.00        $0.00       $0.00                 $0.00
           Payment              07/21/23 06/01/23              07/21/23           $1,922.38               $000              $0.00            $0.00         $0.00        $000        $0.00              $1922.38
           Payment              07/2623     07/01/23           07/26/23             $510.25             $950.74           $691.54          $724.66        $65.69        $0.00       $0.00                 $0.00
           Mortgage Insurance   08/07/23    07/01/23           08/07/23             $253.15               $000              $0.00            $0.00         $0.00        $0.00       $0.00                 $0.00
           Payment              08/14/23 08/01/23 = —08/14/23                     $2,366.94             $o4n.94           $693.34          $724.56         $0.00        $0.00       $0.00                 $0.00




             IMPORTANT  NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

           Sea              een okOharaeimrieuncay Seay         cea               ey :‘es Soy oees            gr eases. ee aoa i AE ae es ee sy Mg ie CR aE Crm et
           Past Payments Breakdown ‘important Messages          Paid Last                 Paid Year               FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                                Month                      to Date                ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                         $1,384.88                 $3,493.64                 OBTAINED WILL BE USED FOR THAT PURPOSE.
            Interest                                          $1,899.68                 $4,762.76                 IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
            Escrow (Taxes and Insurance)                      $1,449.32                 $3,623.30                 BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Fees**                                                $0.00                         $0.00             GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                        $65.69                        $65.69              INTENDED AS AN ATTEMPT
                                                                                                                                       TO COLLECT A DEBT ORAS AN ACT |
            Partial Payment Unapplied*                        $1,922.38                         $0.00          TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF _ |
            Total                                       $6,721.95                    $11,945.39                THE DEBT FROM YOU PERSONALLY.
             “Partial Payments: Any funds received that are less than a full periodic                                                                                                                             |
            payment may be applied to your account, promptly returned to you, or held
            in a non-interest bearing account until enough funds are received to apply
            to**Amounts
                a full periodic
                           listedpayment.
                                  here will include other/optional products, if applicable,                         **This balanceIfrepresents
                                                                                                                      statement.               the knownAmount
                                                                                                                                     you are delinquent, this balanceDue as notoftherepresent
                                                                                                                                                                       may             sale fullof this
                                                                                                                      reinstatement of your obligation. Please contact us regarding your up-
                                                                                                                      to-date reinstatement balance at 1-855-690-5900.
    bbivitettvettrestststteesssrevierereses,.Additional information is provided on                                       the back of the statement,
                                                          ‘        "DETACH          AND RETURN BOTTOM PORTION WITH YOUR PAYMENT                                      aee


           LG
          FREEDOM MORTGAGE*
                                                                                                                                 _AmountDug
                                                                                                                                  Due By 09/01/23: $2,366.94
             LOAN NUMBER: Ee)                                 AKMAL JAMAL GRANT                                                      $65.69 late fee willbe chargedafter 09/16/23                            |
                                                                                                                                     Additional Principal                 $                    :
    a                                                                                                                                Additional Escrow                    $                    .
    =

    ra       FREEDOM MORTGAGE                                                                                                        Late Charge                          $                    ‘
    [ry      P.O. BOX 6656
    ac
    o
             CHICAGO IL 60680-6658                                                                                                    Total Amount Enclosed $                                      7
    5                                                                                                                                   Make check payable to Freedom Mortgage
    <

    =                                                                        [|     To change mailing address and/or contact information,
                                                                                    check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 66 of 219 PageID 71


               RPE)            WHAT DOES FREEDOM MORTGAGE CORPORATION
                                                                DO WITH YOUR
            Pos |_| Financialcompanies
                                 choose how they share your personalinformation. Federal law givesconsumers
                                                                                                       the right to
            | limit some but not all sharing. Federal lawalso requires us to tell you how we collect, share, and protect your
            poo ee personalinformation.
                                 Please read this notice carefully to understand
                                                                            what we do.
            Petes              The types of personalinformation we cblledt wad chare dajend on the       prodiet or sevice you have With tia This


            |                      _*_Credlithistory
                                            and credit scores                               oo                          -                —
            ow? ome ‘al Siac osSeogeited inka
                                           sy ei                               ae Link rida se Hea aes se iy — ithe ="
            | —__ stetion below, we list the reasons financial companies can share theircustomers!personalinformation:the
            |__| reasons Freedom Mortgage Corporation chooses to share; and whether you can limit this sharing,




            For our everyday business purposes ~
            tocourt
            a
                  orders and legal investigations,
                                                or report fo creditbureaus                               :
            ‘to offer
                   our products-and services to   yo                     .          :       :        Sane eee               ‘        EN


             =—-soS—3
            information
                   about your transactions
                                       and experiences                          .                  ae                                =      ;

             <<                                                                         |              |                                 |
            wmanietfayou———SSCS~dCSSS
            For nonaiinies

            Pe|                    60 Mailthe
                                         form below
            =| Please note:                                                                                         ;
            | | if you area new customer, we can begin sharing     your infonnation 30days from the date we sent tis notice,
            |  SC | When: you are no Jonger our customer, we continue tp share your information
                                                                                              as described in this notice.
            [| However, you can contact us at any timie to limit our sharing.                                sede               ‘sual      sii
            “ists?— KEELES




             Mark any/all you want
                                to limit:
            Ci Do not share information about my creditworthiness with your affiliates for their everyday business purposes.
            1 De not allow your affiliates to use my personal information to inarkei to me.
            | Ci De not share my personal information with nonaffiliates to market
                                                                              their productsandservices
                                                                                                   to me.                       es       ee




            |                    __SAINTAUGUSTINE FL 32002-1788


            Mail To: Freedoom Mortgage Corporation, P.O. Box 50485,Indianapolis, IN46250-0485, ATTN: Privacy
            Dept/Information
                    Sharing Opt-Out

                                                                                                                                          aie
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 67 of 219 PageID 72

        Page 2
       WWhibresi ee                                                 ee
        ‘Whois providing this notice?
       LE                         ee eee                                        ee                        ee                              a
        How doesFreedomMortgageCorporation | “To protect
                                                    your personalinformation from unauthorizedaccess and use, we use
        protect my persoual information?                 securityiméasures thiit comply withfederal law. These measures inelidecotipuiter


        ‘How does Freedom MortgageCorporation | Wecollect
                                                     your personalinformation, forexample,whenyou
        ‘collect my personal information?                      © lopenanaccoustorapplyforatoan, = _
                                                               * ‘pay your bills:or provide ncconntinformation
                                                         We also collect your personalinformation from others, such as credit bureaus,
                                                         affiliates. or other companies.

        ‘Why can't] limit all sharing?                   Federal law gives you the right to limit only

                                                                      ocas aa
                                                                            wid auton eninsil eecnimees
                                                               *. -affihiates from using yourinfonitation totuarket toyou
                                                          (ow shiting fae nonaffiliates wimarketto you                                    io
                                                         sharing.     See below for more on your rights under state law.         a                   .
        What happens when
                       I limit sharing
                                   for an | Your choice will apply toeveryone
                                                                        on your account,
        account, I hold jointly   with someone else?



        Affiliates                                       Companiesrelated
                                                                        by common ownership or control. They casi befinancial
                                                                                                                           and
                                                               "Our        affiliates include financial companies such as FMC Subsidiary.
                                                                      Services, LLC;RoundPoint       Mortgage     Serviemg Corporation;


                                                               = Nonaffiliateswe share with can include morigage canipanies,insivance
                                                                      ‘companies, financial products providers; retailers and direct marketing:

        Joint marketing                                  A formal agreement betweennonafiiliated financial companies thattogether
                                                         market financial products or services to you.              a             bali:
                                                               = Our marketing partners include insurance and other financial
                                                           :          companies.
       Pe                                                                                                                  i              :
        California Residents: We will not share information we collect about you with nonaffiliated
                                                                                             third parties, except asipermitted by:
        jaw, including,
                  for example, with yourconsent or toservice
                                                        your account...

        Nevada Residents: Notice provitied pursuant to siate law. To be placed
                                                                          on our internalDo Not Call List or to obtainadditional
        information  on ourtelemarketing practices, call 855-690-5900, write
                                                                           to us
                                                                               at Freedom Mortgage Corporation, P.O. Box 50483,
        Indianapolis, IN-46250- 0485, ATTN: Privacy Dept/Information Sharing Opt-Out or log into your vecount
                                                                                                            and write us through
        the Message Center with the subject lime “Nevada Aannal Privacy Notice”.                                                                 .

        ‘You may also contact the Nevada Attorney General's office for more information regarding Nevada Statute Section 228.600(3):
        100 North Carson Street, Carson City, NV 89701, Telephone: 775-684-1100, Email: aginfo@ag.nv.gov:

        North Dakota Customers: Except as permitted by law,
                                                          we will not share your personal information with nonaffiliates or affiliates:
        unless you authorize us to. To opt-in to sharing, please contact us at 855-690-5900.

        Vermont Residents: We will not share information
                                                   we collect about: youwith wonaffiliatedthird parties, exeepras permittedby
        law, including, forexample, with your consent or to service your account. We -will not share mformation
                                                                                                          about your
        creditworthiness with ouraffiliates, other than as permitted
                                                               by Vermont law: ualess you authorize us to make those disclosures:




                                                                                                                                               O1aake72N9.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 68 of 219 PageID 73




                           EXHIBIT 15                                             ;
Case 3:24-cv-01182-BJD-SJH                      Document
           Pov Sere it aN heii ar she docu eect cual ein ain Gui uii an1-1    Filed
                                                                       Limi enc A mibaa Gal11/18/24               Page
                                                                                            Voc Li sci arsine so Seis         69es bine
                                                                                                                      seein nine)   of 219
                                                                                                                                        Ue ise ninPageID
                                                                                                                                                  ee eee 74
             “fp
             Gale




                    :



                    ‘




                                                                                                    a
                                                                                                    iH




                                                                                                     8
                                                                                                     bw

                                                                                                     8
                                                                                                     Cad




                                                                                                    a
                                                                                                    €

                                                                                     ol2
                                                                                                    [tay


                                                                                                    ee




                                                                                                     3
                                                                                                    o.

                                                                                                     Pe
                                                                                                     ee
                                                                                                     8
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 70 of 219 PageID 75




                           EXHIBIT 16
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 71 of 219 PageID 76


                                  oO

                                      é



                              Gd
                                  J




                             a


                             iJ
                             Bed




                             a
                              b 4
                             eo




                             Ss
                             é
                              Ses:




‘                             *
                              ona
                                  te

                             Ps




                             ne




                               ©;
                               cy

                             tal

                              au
                                  '




                             ee

                              :
                                      +

                                  I




                                                                           a
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 72 of 219 PageID 77




                    EXHIBIT 17
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 73 of 219 PageID 78
         ae > ce FORRETURNSERVICEONLY
            See Or
                           P.O. BOX 619063
                                                PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS.              ELECTRONIC ONLY ae90 Pgage est
                                                                                                                                       atemen '
         FREEDOM MORTGAGE® DALLAS, TX 75261-9063                                                                                                       Statement Date 09/14/23

                                                                                                            Sn ee ae ee
                                                                                                                                                          Le                eee
                                                                                                                 Phone:                                                       1-855-690-5900
                     2-807-00812-0012499-001-000-000-000-000                                                      Customer Care:                     Monday - Friday 8:00am - 8:00prn ET
                                                                                                                                                                 Saturday 9:00am - 2:00pm ET
                                                                                                                  Find us on the web at:                         www. freedommortgage.com
                     AKMAL JAMAL GRANT
                     142 WATERVALE DR                                                                             Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                                Payment Due Date

                                                                                                                  Amount Due**                                              $2,366.94
                                                                                                              if        ent is received after 10/16/23, $65.69 late fee will be charged.
                                                                                                             Property Address: 142 WATERVALE DR
                                                                                                                                         SAINT AUGUSTINE FL 32092



          Account    Information|
          TR oDA LAE IAL RE AEIOAR
                                     |Explanationof AmountDue
                                   | [Pe anen eee eee Ne    amen

            Outstanding Principal                                               $363,002.83 | | Principal                                                                                $696.96
            Deferred
            ,
                     Balance                                                             $0.00
                                                                                       3.125%
                                                                                                                 Interest
                                                                                                                 Escrow/Impound (for Taxes and/or Insurance)
                                                                                                                                                                                        $945.32
                                                                                                                                                                                         724.66
            Interest Rate                                                                  :              Regular Monthly Payment                                                  $2,366.94
            Prepayment Penalty                                                                   No | | Total Fees & Charges                                                            $.00
            Escrow Balance                                                          $4,854.75                    Overdue Payment                                                                  $.00
            Unapplied Funds                                                                    $0.00             Unpaid Late Charges                                                              $.00
                                                                                                                 Other/Optional Products                                                          $.00
                                                                           ;                                       Total Amount Due**                                                   2,366.94

          |TransactionActivity(08/15/23<094403) cu
          ene neki mn                  Arbinh; IAAL? on                                         aN ee ee
                                                                                                                             2            oe
                                                                                                                                                                                                 ee

          | Transaction          Dat      Interest Paid    Transaction         Transaction             Interest       Principal         Escrow    Late Charges      Fees    Optional          Unapplied
          ] Description             i    To Date          Effective Date        Amount                  Paid            Paid             Paid        Paid           Paid    Insurance            Funds
          | Mortgage Insurance 09/05/23 08/01/23            09/05/23             $253.15                $000             $0.00            $0.00       $0.00         $0.00     $0.00                $0.00
            Payment            09/14/23 03/01/23            09/14/23           $2,366.94               $947.13         $695.15          $724.66        $000         $0.00     $0.00                $0.00




             IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

          Past Payments Breakdown ————_| |importantM
                                                   N essages
                                                             Paid Last                 Paid Year                 FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                              Month                     to Date                  ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
            Principal                                       $695.15                  $4,188.79                   OBTAINED WILL BE USED FOR THAT PURPOSE.
            Interest                                        $947.13                  $5,709.89                   IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
            Escrow (Taxes and Insurance)                    $724.66                  $4,347.96                   BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
            Fees**                                             $0.00                           $0.00             GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
            Late Charges                                       $0.00                       $65.69                INTENDED AS AN ATTEMPT
                                                                                                                                      TO COLLECT A DEBT OR AS AN ACT
            Partial Payment Unapplted®                         $0.00                           $0.00 | | TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
           Total                                          7366.94                 $74,312.33 | | THE DEBT FROM YOU PERSONALLY.
             *Partial Payments: Any funds received that are less than a full periodic
            payment may be applied to your account, promptly returned to you, or held
            in a non-interest bearing account until enough funds are received to apply
            to**Amounts
                afull periodic
                          listedpayment.
                                 here will include other/optional products, if applicable.                        This  balancerepresentsthe
                                                                                                                    statement.                  knownthisAmount
                                                                                                                               If you are delinquent,      balanceDueas oftheprintingof
                                                                                                                                                                    may not represent full this
                                                                                                                    reinstatement of your obligation. Please contact us regarding your up-
                                                                                                                    to-date reinstatement balance at 1-855-690-5900.

                          cendevsuvanenstes         cess Additional information is provided on the back of the statement                                               a.
    nS sn seed ee          sea                EEE                  "DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT                                    aa                   aaa aa

          LG
         FREEDOM MORTGAGE"
                                                                                                                                  Amount
                                                                                                                                  Due By 10/01/23:
                                                                                                                                                   Due $2,366.94
             LOAN NUMBER: are                             AKMAL JAMAL GRANT                                                       $65.69 late fee willbe chargedafter 10/16/23                      :
                                                                                                                                  Additional Principal                $                  s
    =                                                                                                                             Additional Escow                    $                  F
    c

    5        FREEDOM MORTGAGE                                                                                                     Late Charge                         $                  F
    ®        P.O. BOX 6656                                                                                                                                                  —

    oe
    fo
             CHICAGO IL 60680-6656                                                                                                 Total Amount Enclosed $                                   :
    5                                                                                                                               Make check payable to Freedom Mortgage
    =

    oe                                                            L]             To change mailing address and/or contact information,
                                                                                 check here and complete form on back,
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 74 of 219 PageID 79

           be
            ee ose tec va ekhae png                         hae ae   esBee ohioeynieantr ise ameae                           kya onoc er           mee eee Se he ae ipa (6 ec aie             cob enein   seine

                 To submit a RESPA Qualified Written Request (“QWR"), assert an error or request information
                                about the servicing of your loan,                                    you must use the designated address below.
                                                                                                                   TO SUBMIT A RESPA                              REQUEST FOR PAYOFF
                         PAYMENT                                                                            QUALIFIED WRITTEN REQUEST                         GENERAL CORRESPONDENCE
                       PROCESSING                                       OVERNIGHT                                         (*QWR")                                   Freedom Mortgage
                   Freedom Mortgage                                  Freedom Mortgage                              Freedom Mortgage                                    P.O. Box 50485
               P.O. Box 6655.      10500 Kincaid Drive, Suite 111                                                   P.O. Box 50428                            Indianapolis, IN 46250-0485
           ChicagoiL 60680-6656        Fishers, IN 46037-9764                                                Indianapolis, IN 46250-0401                           Fax: 877-233-5843
           eee                  ee ee                 ee                                                     eae ee                  ee                       ee              a        ee
           poovis TOMER                      CARE: 855-690-5900 or.                                                WEBSITE: wavw                      Tresedommoroade tom. |
             in case of errors or questions about your electronic transfers telephone us at 855-690-5960
                                                                                                      or write us at P.O. Box $0428, Indianapolis, iN 46250-0401 as
             ston as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or recejpt. We must
             hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
             (1)Tell us your name and account number (if any}
             (2) Describe the error or the transfer you are unsure about, and explain as clearly
                                                                                             as you can why you believe
                                                                                                                      it is an error or why you need more
             information
             (3) Tell us the dollar amount of the suspected error.
             We will investigate your complaint and will correct any error promptly. if we take more than 10 business days to do this, we will credit your account for the
             amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.                                                                        ‘




           REAL ESTATE TAXES ate paid from atax billissued by your local taxing authority. tisnotnecessary| | Payment Crediting - !f you are enrolled i automatic payrnent drafting, your payment will
           for you to forward any regular tax bis to us_ tfweneed your tax bill.  we willrequestitfrom   you in| | be credited each month on the date selected at the time of enrollment. One-time payments
           wwrittg, Hf you receive a delinquent, adjusted, or corrected tax bill please forward it to: Freedam| | made online or by phone wil be credited effective the date you selected when submitting
           Mortgage. P.O, ox 22670, Rochester, NY 14692. You may also fax it to 817-826-0410.                      the payment. Pleate note that it may take up to 1-2 business days for your payment to be
           Supplementat bills are often issued in addition to yearly real estate tax bis and are your| | displayed in your transaction history.
           responsibility to pay. They are not collected through your escrow account.                        Phone payments or Automatic (ACH) payments - To pay by phone please call the Customer
                                                               .                                              Care number provided above. To establish or cancel your ACH program. please contact
           HAZARD #NSURANCE It is your responsibility to maintain proper and sufficient hazard
           aid nice age for your ty. H insuréece eda: fee ud E
           and, where required, Flood insurance. To protect our mutual interest in the property, we require
                                                                                                            Re          !
                                                                                                                           See a Pitas SO Ay Me Haha DURES Ea RE OE
                                                                                                                                                -
           avidence
                  of proper insurance. H you fail to provide evidence,we wil purchase Lender Placed| | We®- You can make your payments online, simply visit us at www Freedommorigage.com.
           coverage on your behalt, not including your equity, and charge your escrow account.               Unspplied / Partial Payments - Any funds received that are fess than a full periodic payment
                                                                                                             may be applied to your account, promptly returned to you, of held in a non-interest-bearing

           i
           Please ntyourlaconpriphimaba
                         agent to ensure wealga
                                             are ngonelthepspolicygl ae
                                                                     at a copy. pokey.)
                                                                                 wich) || »account
                                                                                               ft untilQuiteenough
                                                                                                           - ‘atfunds are received to apply
                                                                                                                                         “i to a full periodicpayment.
                                                                                                                                                              °
           indudesyour loan number. is either faxed to our Insurance Department atBB6-751-8324 of] | and may not psaliart party fees Ofpoartiol nip plasty: droop ieber
           mailed to: Freedom Mortgage Corporation, ISAGA     J ATIMA, P.O, Box 5050. Troy, MI 48007-) | quote, please send your request in writing to the address or fax # provided above or via email
           5050. For general question: regarding hazard insurance. please call866-222-9005.              to Freedom PayalfRaquest@FreedomMorigage.com. You may alto contact Custamer Care at
           For questions regarding Hazard
                                      Loss Drafts, please call880-810-7318. You may aiso fax any| | the number provided above.
           required Loss Draft information to 866-751-9365.                                                  Payments by Mail- To avoid processing delays make your chack or money order payable to
           IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would fike to speak to one of] | freedom Morigageand include
                                                                                                                         your loan number. Pease do not send cash or correspondence
           our counselors pleasecall 855-690-5900.                                                 ee ea
                                                                                              Avoid Late Charges and Protect Your Credit - We may furnish information about your
           U.S. MILITARY Servicernembers on “active duty” or “active service” or a spouse ordependent] | account to credit bureaus. Late payments, mised payments. or other detauits on your account
:          of such servicemember may be entitled to certain legal protections and debt relief pursuant to} | may be reflected in your credit report. Any payments received alter the late payment date
           the Servicermembers’
                            Cral Rebef Act {“SCRA™) Hf you are 2 sericemember
                                                                           on active duty
                                                                                        or] | noted on your coupon will be assessed a late fee.
           bebeve you are eligible for such SCRA benefits, please notify our Customer
                                                                                   Cora Department] | aduitional Principal Payments
                                                                                                                               - Depending upon the terms of your loan agreement.
                                                                                                                                                                               you
           at 855-690-5900                                                                                   mey de able to pay additional principal on your loan. We must receive additional principal
                                                                                                             payments on or before your payment due date. Inciude additional principal with your requiar
                                                                                                             payment and indicate the amount in the space provided on your coupon.
                                                                                                             Check Processing  - When you provide a check as payment you authorize   us either to use the
                                                                                                             information from your check to make a one-time electronic fund transfer from your account


                                                                                                             yourcheck
                                                                                                             or to process the payment as a check transaction. When we use information from

                                                                                                                        to makeas thean electronic
                                                                                                             acopunt as Soun            same day funds transfer,yourfundspaymentmay andbewithdrawn
                                                                                                                                                  we receive
                                                                                                             your check back from your financial institution.
                                                                                                                                                                                                    fromreceive
                                                                                                                                                                                          you will not    youroy ac}g
           ee ee                                                                                                                                                 ee


            If you are experiencing financial difficulties, we are here to help you. Call us today to leam more about your Loss Mitigation options at                                                             2
            855-690-5900 or by visiting our website at www.freedommortgage.com.                                                                                                                                   2
            The right option for you depends on your individual circumstances. If you provide ali required information and documentation about                                                                    oe
            your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                             g
            home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                              2
            foreclosure).
            ‘You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free
                                                                                                                                                                                                                  §
            800-569-4287 or by visiting the HUD website at www. hud.gov.




                                                              Change of Mailing Address / Contact Information
                                                               Please provide your contact information below.

           Name                                         :

           New Address


           City.                                                                        State                                  Zip
           Home Phone #                                                                  Business Phone #                                                 Ext.


           Email                            i ac
           Cell Phone #                                                                         (2) tconsent for freedom Mortgage ta contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 75 of 219 PageID 80




     ,                     EXHIBIT 18
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 76 of 219 PageID 81



                           :
                           _
                           Bie


                           ozRH     2
                            S&S
                            es                E
                            a
                           4

                            mm

                           PS
                           [3




                            oF
                          ice

                                =

                           3
                          ee)

                          ae
                           ap

                           zg
                           org
                           -&
                            tA




                          pee
                          gies




                          ep
                           oO
                            P a.
                             =
                            3




                           y ate
                            2




                            o




                                                                       og


     eR    pe   gE       SI             a    TE   a   TS   TT     ET
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 77 of 219 PageID 82




                           EXHIBIT 19
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 78 of 219 PageID 83
          tan
         Se
           LEE OOS                            CORRETURNSERVICE
                                              P.O. BOX 619063 ONLY
                                              PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS         ELECTRONIC ONLY ——Oo tgage Stat
                                                                                                                               atemen '
         FREEDOM MORTGAGE” DALLAS, TX 75261-9063                                                                                                Statement Date 10/16/23

                                                                                                     ContactInformation
                                                                                                                  3
                                                                                                          Phone:                                                           1-855-690-5900
                    4-807-02733-0033733-001-000-000-000-000                                               Customer Care:                      Monday - Friday 8:00am — 8:00pm ET
                                                                                                                                                   Saturday 9:00am ~ 2:00pm ET
                                                                                                          Find us on the web at:                    www. freedommortgage.com
                    AKMAL JAMAL GRANT
                      142 WATERVALE DR                                                                    Loan Number
                      SAINT AUGUSTINE FL 32092-1768                                                       Payment Due Date
                                                                                                          Amount Due**                                                $2,366.94
                                                                                                       If        ent is received after 11/16/23, $65.69 late fee will be charged.
                                                                                                       Property Address: 142 WATERVALE DR
                                                                                                                                  SAINT AUGUSTINE FL 32092


          EAeroiint INtAPInOtiIAn oo]
          Account Information     = | PS      ae AmountDue
                                      | Explanationof ee, tDue. ees
           Outstanding Principal                                           $362,305.87 | | Principal                                                                                 $698.78
           Deferred Balance                                                      $0.00 | | Interest                                                                                  $943.50
           interest st R.Rate                                                     3 : 125 %     Escrow/Impound
                                                                                                  Regular Monthly(for Taxes and/or Insurance)
                                                                                                                      Payment                                                         724.66
                                                                                                                                                                                   $2,366.94
           Prepayment Penalty                                                            No | | Total Fees & Charges                                                                            $.00
           Escrow Balance                                                      $5,326.26 | | Overdue Payment                                                                                    $.00
           Unapplied Funds                                                             $0.00             Unpaid Late Charges                                                                    $.00
                                                                                                         Other/Optional Products                                                                $.00
                                                                                                            Total Amount Due**                                                      2,366.94

          Transaction Activity (09/15/23 -10NG23)0
          Transaction            Date     interest Paid Transaction      Transaction           Interest        Principal         Escow     Late Charges    Fees       Optional               Unapplied
          Description                       To Date     Effective Date     Amount               Paid             Paid             Paid        Paid         Paid       Insurance                Funds
          Mortgageinsurance 10/05/23. 09/01/23            10/05/23          $253.15             $000              $0.00           $op0         $0.00       $000            $0.00                 $0.00
          Payment               10/16/23 10/01/23         ~=——10/14/23    $2,366.94            $945.32          $696.96          $72456        $0.00       $000            $0.00                 $0.00




            IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR S PROVIDED
            FOR IN A CONFIRMED PLAN, THS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
            CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

          ee |                                                                                       Ppa                eae wo                                                                ee
          Past Payments Breakdown
                               | |importamtMessages
                                                           Paid Last              Paid Year            FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                           Month                  to Date              ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
           Principal                                      $696.96              $4,885.75               OBTAINED WILL BE USED FOR THAT PURPOSE.
           Interest                                       $945.32              $6,655.21               IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
          Escrow (Taxes and Insurance)                   $724.66               $5,072.62               BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
          Fees**                                             $0.00                     $0.00           GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
          Late Charges                                       $0.00                    $65.69           INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
          Partial Payment Unapplied*                         $0.00                     $0.00 | | TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
          Tote                                    ae
                                                   $2,366.94a                $16,679.27 | |THE DEBT FROM YOU PERSONALLY.
           *Partial Payments: Any funds received that are less than a full periodic
           payment may be applied to your account, promptly returned to you, or held
           in a non-interest bearing account until enough funds are received to apply
           to**Amounts
               a full periodic
                          listedpayment.
                                 here will include other/optional products, if applicable.                **This balanceIfrepresentsthe
                                                                                                            statement.                   knownthisAmount
                                                                                                                           you are delinquent,      balanceDue as not
                                                                                                                                                             may  of therepresent
                                                                                                                                                                           einfullof this
                                                                                                            reinstatement of your obligation. lease contact us regarding your up-
                                                                                                            to-date reinstatement balance at 1-855-690-5900.
           _ seas +. Adiditional information is provided on the back of the statement                                                                                              vssssssceeeeen
    EEE
      EEREEE      ES          DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT                                                                                                    us       ures

         LE
         FREEDOM MORTGAGE"
                                                                                                                        Se          Amountue:
                                                                                                                        Due By 11/01/23:    $2,366.94
            LOAN NUMBER: in |                           AKMAL JAMAL GRANT                                                  565.69 late fee will
                                                                                                                                              be charged after 11/1G/23
                                                                                                                        Additional Principal                 $                       ,
   as
    ec
                                                                                                                        Additional Escrow                    $                       ,
   =        FREEDOM MORTGAGE                                                                                            Late Charge                          $                       ;
    D       P.O. BOX 6656                                                                                                                                         3    =

   x©
            CHICAGO IL 60680-6656                                                                                           Total Amount Enclosed $                                      .
    E                                                                                                                        Make check payable to Freedom Mortgage
   ra

   ~                                                            [|         To change mailing address and/or contact information,
                                                                           check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 79 of 219 PageID 84


             To submit a RESPA Qualified Written Request (“QWR”), assert an error or request information
                             about the servicing of your loan,                                   you must use the designated address below.
                                                                                                                TO SUBMIT A RESPA                                 REQUEST FOR PAYOFF
                     PAYMENT                                                                             QUALIFIED WRITTEN REQUEST                            GENERAL CORRESPONDENCE
                   PROCESSING                                        OVERNIGHT                                         (“Qwr")                                       Freedom Mortgage
               Freedom Mortgage                                 Freedom Mortgage                                Freedom Mortgage                                        PO. Box 50485
                   P.O. Box 6656.                      10500 Kincaid Drive, Suite 111                              P.O. Box 50428                             indianapolis, IN 46250-0485
             Chicago IL 60680-6656                           Fishers, IN 46037-9764                        Indianapolis, IN 46250-0401                               Fax: 877-233-5843
       AL IET                ICR          CLUE BEE POLLO |                                               Gene                                            ee
       Po RS SEAVER RAS: oe                                         ANE                  OA         oo          ES Oe                  VAT Pee MOTTE EY CLP                               GA      CTT

         In case of errors or questions about your electronic transfers telephone us at 855-690-5900 or write us at P.O. Box $0428, Indianapolis, IN 46250-0401 as
         soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We must
         hear from you no later than 60 days after we sent you the FIRST statement on which the error   or problem appeared,
         (1)Tell us your name and account number (if any)
         (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error
                                                                                                                                   or why you need more
         information.
         (3) Tell us the dollar anvount of the suspected error.
        We wall investigate your cornplaint and will correct eny error promptly. if we take more than 10 business days to do this, we will credit your account for the
        amount you think  ts in error, so that you will have the use of the money during the time it takes us to complete our investigation.


       IEA                                          UN             MEA ON |                                 ee PATIENT                                   INFORMAHON                            =                  |
       REAL ESTATE TAXES ara paid from atas bill istued by your local taxing authority. itisnotnecessary| | Payment Credifing - If you are enrolied in automatic payment drafting. your payment will
       for yoo to forward any regular tax bills to us. fwe need your tax bill we will requestit from you in| | be credited each month on the date selected at the time of enroliment. One-time payments
       owtting, Hyou recetve a delinquent    adjusted, or corrected tax bill please forward Itto: Freedom| | made ontine or by phone will be credited effective the dato you selected    when submitting
       Mortgage, P.O. Rox 22670, Rochester,  NY 14692, You may also fax R to 817-826-0410.            the payment. flease    note that it may take
                                                                                                                                               up to 1-2 business
                                                                                                                                                           days for your payment to be
       Supplemental bills ate often issued in addition to yearly real estate tax bills and are your) | displayad in yoor transaction history.
       responsibility to pay. They are not collected through your escrow account,                     | | Phone payments or Automatic (ACH) payments «To pay by phone please call the Customer
                                                       ‘
       HAZARD INSURANCE It is your responsibilty to maintain proper and sufficient hazard                 Care number provided above. To establish or cancel your ACH program. please contact
       Hadpaetang          for jour : To protecttadkenza
        and, where required, Food insurance,
                                                                 Sas fie vl
                                                  our mutisal interest in the property, we require
                                                                                                   | Sey or eae ma ised are Kate DONG Sys Fic Os A
       evidence of proper insurance. i you fail ta provide evidence,we will purchase Lender Placad| | “eb~ You can make your payments online, simply visit us at www.troedommarigage-com,
       coverage on your behalf, not including your equity, and charge your escrow account            Unappliod / Partial Payments - Any funds received that are fess than a full periodic payment
                                                                                                          may
                                                                                                           be applied to your account, promptly returmed to you, of held
                                                                                                                                                                       in a nor-interest-baaring
       an ase Oohyour agent neto ensure
                                    chestwe aretae on eeePolicy|    policy          @ copy, which | Pa:
                                                                                                     account until enough
                                                                                                                   ei tat. funds aret does
                                                                                                                                       receivednot to apply to a full periodicn payment.
       indudes  your loan number, is either faxed to our Insurance Department at B66-751-9324  ar   eee                  afl third-party  feesregis bsp‘ailsorts mate con aor
       mailed to: Freedom Mortgage Corporation. SAA ATIMA, P.O. Box 5050. Tray, Mi4G007-| | gute. please sand your request in wring to the address of fax # promded above ar vis emad
       5050. For general questions regarding hazard insurance. please call 866-222-9005,                  to Froedom#ayolfRaquest@freedomMorigage.corm. You may also contact Customer Care at
       For questions regarding Hazard Loss Drafts, please call 889-810-7318. You may abo fax any] | the number prowded above.
       required Loss Dralt information to 66-75 1-9365.                                                  Payments by Mail - To avoid processing delays make your check or money order payable to
       F YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES andwould
       ‘our counselors please call 855-690-5900.           ike ta speak to oneof| | Ftetdom
                                                                                        pao Monigage and include your loan number, Pease de not send cash or correspondence
                                                                                                         Avoid Late Charges end Protect Your Credit - We may furnish Information about your
       U.S. MILITARY Servicemembers
                            on “active duty” or “active service" or a tpouse of dependent) | axcount
                                                                                               to credit bureaus. Late payments,
                                                                                                                           missed payments, or ather defaults on your account
       of such servicemember may be entitled to certain legal protections and debt relief pursuant ta] | may be reflected in your credit report.Any payments received after the late payment date
       the Servicemembers’ Civil Relief
                                   Act (“SCRA”). If you are a servicemember
                                                                      on active duty
                                                                                   or] | noted on your coupon wil be assessed a late fee.
       bebeve you are eligible for such SCRA benefits. please notily our Customer
                                                                               Cara Department Additional Principal Payments - Depending upon the terms of your Joan agreement, you
       at 855-690-5900,                                                                                  may be ableon orts before
                                                                                                         payments           pay adeiticnal principaldueondate.YourInciude
                                                                                                                                   your payment                    loan. additional
                                                                                                                                                                          We rast recate
                                                                                                         payment and indicate the amount in the space provided on your coupon.
                                                                                                                                                                                            additional
                                                                                                                                                                                    principal with yourpincsl
                                                                                                                                                                                                        requiar

                                                                                                         Check Processing - ¥hen you provide a check a3 payment, you authodze us either to usa the
                                                                                                          information
                                                                                                              from your check to makea one-time siectronic fund transfer from your account
                                                                                                         of to procass the payment a3 a check transaction. When we use information from

                                                                                                         your check
                                                                                                         account as to
                                                                                                                    soonmaka  an electronic
                                                                                                                          as the  same day funds transfer,yourfundspaymentmaybewithdeawm
                                                                                                                                            we receive                                     fromreceive
                                                                                                                                                                             and you will nat    yourge J
                                                                                                          your check back from your financial institution.                                                            Q


        If you are experiencing financial difficulties, we are here to help you. Call us today to learn more about your Loss Mitigation options at                                                                    a
       855-690-5900 or by visiting our website at www. freedommortgage.com.                                                                                                                                           J
        The right option for you depends on your individual circumstances. If you provide all required information and documentation about                                                                            fx
       your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                      &
       home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                                       Q
        foreclosure).
       You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free                                                                   }
                                                                                                                                                                                                                      5
       800-569-4287 or by visiting the HUD website at www.hud.gov.                                                                                                                                                |




                                                      Change of Mailing Address / Contact Information
                                                       Please provide your contact information below.

       Name.                                                       SS                           a                            a
       New Address.
       CO oectnnrtrenneeneneerincineraeiclinalmnl
           a                                      Eee,                                                                      eatin
       Home Phone #                                                                 Business Phone #.                                                   Ext,

       Email

       Cell Phone #                                                                        (J i consent for freedom Mortgage to contact me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 80 of 219 PageID 85




                           EXHIBIT 20                                         |
      . sa ena
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 81 of 219 PageID 86




                                                          es




                                                          are




                                                           8
                                                           =


                                                           bs
                                                                          |




                                              :            Z
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 82 of 219 PageID 87




                           EXHIBIT 21
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 83 of 219 PageID 88
               ——
           ig ie
           gfe               EE                   cOR
                                                  5 RETURNSERVICE
                                                      eae ONLY
                                                  PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS      ELECTRONIC ONLY aortgage
                                                                                                                     4      Sect
                                                                                                                              statemen ;
         FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                                    Statement Date 12/15/23

                                                                                                      ContactInformation.
                                                                                                           Phone:                                                     1-855-690-5900                        2
                   4-807-06216-0028066-001-000-000-000-000                                                 Customer Care:                         Monday - Friday 8:00am - 8:00pm ET
                                                                                                                                                              Saturday 9:00am — 2:00pm ET
                                                                                                           Find us on the web at:                             www. freedom mortgage.com
                   AKMAL JAMAL GRANT                                                                                                                           .
                    142 WATERVALE DR                                                                       Loan Number

                   SAINT AUGUSTINE FL 32092-1768                                                           Payment Due Date                                                             UT/U      1/24
                                                                                                           Amount Due**                                                      $12,228.84
                                                                                                           if payment is received after 01/16/24, $65.69 late fee will be charged.
                                                                                                      Property Address: 142 WATERVALE DR
                                                                                                                                       SAINT AUGUSTINE FL 32092


          EPEAT vier pan ote De                             ene ee Cone Bm rues (eae
                                                                                  re Rene ey oe                                                 NSE Re Ee) Annee
          Account information =| E| xplanationof AmountDue
           Outstanding Principal                                             $363,992.24                   Principal                                                                      $701.64
           Deferred  Balance
           Interest Rate                                                                $0.00
                                                                                      3.125%               heal
                                                                                                             row/Impound Hier (for Taxes and/or
                                                                                                                                           die’ Insurance)'                              pestle
                                                                                                                                                                                         $724.66
           Prepayment Penalty                                                               No               Regular Monthly Payment                                                    $2,366.94
           E STON Gaferies
                   ane                                                         ($1,754.16)
                                                                                  ees                      Total FeesPayment
                                                                                                           Overdue     & Charges                                                             $.00
                                                                                                                                                                                        $9,467.76
           Unapplied Funds                                                            $653.86 | | Unpaid Late Charges                                                                    $394.14
                                                                                                           Other/Optional Products                                                        $.00
                                                                                                             Total Amount Due**                                                     $12,228.84

          Transaction Activity (11/16/23 1270523
          Transaction           pate           iMerestPaid Transaction    —_—‘Transaction       Interest       Principal              Escrow   lateCharges.        Fees    Optional — Unapplied
          Description                  ‘         ToDate —_EffectiveDate     Amount               Paid            Paid                  Paid        Paid            Paid —_ Insurance    Funds
          Payment Reversal    12/15/23 01/01/23              11/14/22           $0.00        -$960.42          -$68186             -$61931         $0.00           $0.00        $0.00      $2,261.59
          Payment Reversal    12/15/23. 12/01/22,            11/4/22            $0.00        -$962.19           -$680.09           -$61931         $0.00           $0.00        $0.00      $2,261.59
          Payment Reversal    12/15/23 02/01/23              12/01/22           $0.00        -$958.01          -$68427             -$72456         $0.00           $0.00        $0.00      $2,366.94
          Curtailment Rev     12/15/23 02/01/23              12/07/22       -$244.94              $0.00 © -$244.94                   $000          $0.00           $0.00        $0.00          $0.00
          Payment             12/15/23 01/01/23              12/19/22          $0.00            $962.19   $68009                   $61931          $0.00           $0.00        $0.00          $0.00
          Curtailment Rev     12/1573 04/01/23               04/03/23        -$45,00              $0.00    $4500                     $000          $0.00           $0.00        $0.00          $0.00




            IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
            FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
            CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT    TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.


          Pele Bu eee                            Bele LA ee                        |                  Ee
          PastPayments Breakdown                                          | [important Messages
                                                              Paid Last               Paid Year         Delinquency information is reflected on page 2 in the Delinquency
                                                              Month                  to Date            Notice section.
           Principal                                     ($2,385.15)              $3,199.38             FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
           Interest                                      ($2,831.63)              $4,767.08             ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
           Escrow (Taxes and Insurance)                  ($2,173.98)              $3,623.30             OBTAINED WILL BE USED FOR THAT PURPOSE,
           Fees**
           Late Charges
                                                               $0.00
                                                             $197.07
                                                                                        $0.00
                                                                                      $262.76
                                                                                                        IFBECAUSE
                                                                                                            YOU AREOFINABANKRUPTCY OR HAVE BEEN DISCHARGED
                                                                                                                         BANKRUPTCY PROCEEDING, THIS NOTICE IS
           Partial Payment Unapplied*                      $2,678.72                  $653.86           GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
           Total                                 ($4,514.97)              $12,506.38 | | INTENDED AS AN ATTEMPT TO COLLECT A DEBT ORAS AN ACT
            *Partial Payments: Any funds received that are less than a full periodic     TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
            payment may be applied to your account, promptly returned to you, or held |_|THE DEBT FROM YOU PERSONALLY.
           befm: ice
                  3 i
                      until enough. funds ore received
                                                .      '
                                                         to apply | | **This balance represents the known Amount Due as of the printingof this
                                                                        statement. If you are delinquent, this balance may not represent full
              Amounts listed here will include other/optional products, if applicable.                      reinstatement of your obligation. Please contact us regarding your up-
                                                                                                            to-date reinstatement balance at 1-855-690-5900.

                                           :               Additional information is provided on                the back ofthe     statement.
    REESE
       POOLE ERRORS EERE                                                                                                                                              be t   e ents eset eset eee eeeeees


          LIDGE
         FREEDOM MORTGAGE                                                                                                    Due By 01/01/24:                                      512,228.84

            LOAN NUMBER: a                                 AKMAL JAMAL GRANT                                                 $65.69 late fee willbe charged after 01/16/24
                                                                                                                            Additional Principal                         $                 :
                                                                                                                            Additional Escrow                            $                 ‘
    i=
    =
    ®
            FREEDOM MORTGAGE
            P.O. BOX 6656
                                                                                                                            Late Charge
                                                                                                                                  —
                                                                                                                                                                         $                 ‘
    a       CHICAGO
                  IL 60680-6856                                                                                                  Total Amount Enclosed $                                   z
    ©

    E                                                                                                                            Make check payable to Freedom Mortgage
    =

    ~                                                             [|         Tochange mailing address and/or contact information,
                                                                              check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 84 of 219 PageID 89

       ee
             To submit a RESPA Qualified Written Request (“QWR”}, assert an error or request Information
                             about the servicing of                          your loan,            you must use the designated address below.
                                                                                                                  TO SUBMIT A RESPA                                 REQUEST FOR PAYOFF                                    s
                     PAYMENT                                                                              QUALIFIED WRITTEN REQUEST                             GENERAL CORRESPONDENCE                                    4
                   PROCESSING                                        OVERNIGHT                                           (“QWR")                                       freeiom Mortgage
               Freedom Mortgage                                 Freedom Mortgage                                  Freedom Mortgage                                        P.O. Box 50485
                 P.O, Box 6656                          10500 Kincaid Drive, Suite 117                             P.O. Box 50428                               Indianapolis, IN 46250-0485
             Chicago il 60680-6656                          Fishers, IN 46037-9764                          Indianapolis, IN 46250-0401                              fax: 877-233-5643



         In case of errors or questions about your electronic transfers telephone us at 855-690-5900 or write us at P.O. Box 50429, indianapolis, IN 46250-0401
         sen as you can, if you think your statement or receipt is wrong or if you need more information abouta transfer on the statement      or receipt. We must
         hear from you no later than 60 days after we sent you the FIRST statement    on which the error or problem appeared.
         (1)Tell us your name and account number (if any)-
         (2} Describe the error or the transfer you are unsure about, and explain as cleasly as you can why you believe it is an error orwhy you need more
         information
         (3) Tell us the dollar amount of the suspected error.
         We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
         amount  you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.

       Fe               TRADOD TANTIMEODRAATION oo]                                                        PO                       BAW                       PAI
       Per OES                                       Et Oe)                                                   ee                                                 ee ee
       REAL ESTATE TAXES are paid from atax billissued by your focal taxing authority. itisnotnecessary} | Payment Croditing «you are enrolled in automatic payment drafting. your payment will
       for you to forward any regular tax bills to us. if we need your tax bill, we wil request itfrom you in} | be credited each month on the date selected  at the time of enrollment. One-time payments
       writing. if you receive a delinquent, adjusted. or corrected tax bill please forward it to: Freedam| | made online     ot by phone wall be credited effecttve the date you selected  when submitting
        Mortgage, ?.0. Box 22670, Rochester,       HY 14692. ‘You may also fax ft to 817-826-0410.               the payment. Please note that it may take up to 1-2 business days for your payment to be
       Supprementai bills are often Issued in addition to yearly real estate tax bills and are your| | displayed a your transaction         history.
       responsibility to pay. They are not collected through your escrow account.                          Phond payments or Automatic (ACH) payments «To pay by phone please call the Customer
                                                        en proper and sufficient hazard
       HAZARD INSURANCE It is your responsibility to maintain                                               Care number provided above. To establish or cancel your ACH program. please contact
       inainance  covetage fe ae ‘ seduction des Fre erat ‘
       and, vehere required, Flood insurance. To protect our mutual interest in the property. we require
                                                                                                         ee
                                                                                                          .
                                                                                                            oe Se: sem eee ien er A eaee Eanes ame is Mee fo Sees
       evidence
              of proper insurance.
                             if you fail to provide evidence, wa will parchase Lendar Placed               Web - You can make your payments online. simply visit us at www freedarmmorigage.com.
       coverage on your behalf, mot including your equity, and charge your escrow account.                 Unapplied
                                                                                                           may
                                                                                                                     / Partial Payments - Any funds recetved that are lest than a full periodic payment
                                                                                                               be apphed to your account. promptly retumed tp you, or held i a non-interest-bearing
       ip edSaIEy eaeyous Set),eure: at: we aelk Bnnae         Sy HOY         Mcat @ copy. whith) | account  until enough
                                                                                                    pavelf Quate            funds are does
                                                                                                                    - This statement    received
                                                                                                                                             not tocontain
                                                                                                                                                      apply theto aamount
                                                                                                                                                                    fullperiodic  payment.
                                                                                                                                                                            required ta      foanin full
       indudes  your  tonnumber, ts eithor faxedto our
       mailed to: freedam Mortgage Corporation, iSAOA
                                                       Imurance  Department  at BGE-751-9224  or    and  may  not reflect  afl third-party 4ees (iF applicable)     or neat                tes 2 payoff
                                                        J ATIMA, P.O. Bax 5050, Troy, Mi 48007- quote. please send your request in waiting to the addrass or fax # provided above or via email
       5050, For general questions regarding hazard insurance. please call866-222-9605.                     to FreadomfayolfRequest@freedomMorigage
                                                                                                                                                com.You may alto contact Customer Care at
       For questions regarding Hazard Loss Drafts, please call 899-810-7318. You may also fax any| | the number provided above.
       required Loss Dralt information to 866-751-9365.                                                    Payments by Mail- To avoid processing delays make your chack or money order payable to
       IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would like to speak to one off |1 Ffeedom
       our counselors please call 855-690-5900.
                                                                                                    Mortgage
                                                                                                your paynery
                                                                                                             snd include
                                                                                                                   your loan number. Peasedo not send cath or correspondence
                                                                                                           Avold Late Charges
                                                                                                                           and Protect Your Credit - We may furnish information about your
        U.S. MILITARY Servicemembers on “active duty” or “active service” ora spouse   or dependent! | socount  to credit bureaus. Late payments, missed payments, of other defaudts on your account
       of such servicemember may be enttled to certain legal protections and debt relief pursuant to] | may be reflected in your credit report. Any payments received alter the late payment    date
       the Servicerembers’ Civil Relief Act ("SCRA"). If you are a servicemember on active duty or] | noted on your coupon will be assessed a late fee.
       beliews yeu are eligible for such SCRA benefits, please notify our Customer Care Department! | additional Prins pal Payments- Depending upon the terms of your joan agreement,
                                                                                                                                                                                   you
       at 855-090-5900,                                                                                    may be ableon orto belora
                                                                                                           Payments
                                                                                                                              pay additional principal on your foan. We must recnive additional
                                                                                                                                     your payment due date, Include additional principal
                                                                                                                                                                                                principal
                                                                                                                                                                                       with your regular
                                                                                                           payment and indicate the amount In the space provided on your coupon.
                                                                                                           Check Processing - When you provide a check as payment, you authorize us either to use the
                                                                                                           informationfrom your check to make a one-time electronic fund transfer from your account
                                                                                                            or to proces the payment as a check tramaction. When we use information from

                                                                                                           your checkas soon
                                                                                                           account      fo makeat thean electronicfunds transfer,yourfundspaymentmay andbe withdrawn
                                                                                                                                         same day we receive                                          fromreceive:
                                                                                                                                                                                            you will not     your@   a
                                                                                                            your check back from your financial institution.                                                         a
                                                                                                                                                                                                                     =




       Eeee
       VARS MATTIE ATION
                                                                                              OO                       OOTIA
                                                                                                                            Ne                    ee                                                                 a
        if you are experiencing financial difficulties, we are here to help you. Call us today to fearn more about your Loss Mitigation options at                                                                   8
        855-690-5900 or by visiting our website at www.freedommartgage.com.                                                                                                                                          J
        The right optian for you depends on your individual circumstances. If you provide all required information and documentation about                                                                           ss
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                                    g
        home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                                     2
        foreclosure).
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free
                                                                                                                                                                                                                     5
        800-569-4287 or by visiting the HUD website at www.hud.gov.




                                                        Change of Mailing Address / Contact information
                                                         Please provide your contact information below.

       Name.

       New Address


       City.                                                                        State                                      Zip.
       Home Phone #                                                                   Business Phone #.                                                    Ext.

       I            a                 aati iach i at                    saunas

       Cell Phone #.                                                                        £1 | consent for freedom Mortgage to contact me via this cell phane number.
Case 3:24-cv-01182-BJD-SJH Document    1-1 Filed 11/18/24 Page 85 of 219 PageID 90
                               ELECTRONIC ONLY STATEMENT
             Fg       e
                                           PLEASE DO NOTSENDPAYMENTSTO THISADDRESS
                                           FOR RETURN SERVICE ONLY
                                                                                                                               Mortgage Statement
       Brave
        *REOOM MeMORTGAGE
                       baa Guns pees me                                                                                           Statement   Dateprevious
                                                                                                                                    Continued from  12/15/23
                                                                                                                                                           page
                                                                                        |Contact
                                                                                               information
                                                                                        Pe dd uh WB
                                                                                                             2
                                                                                                      eg ea kre oe                                        eee                    ene

                                                                                          Phone:                                                       1-855-690-5900
                                                                                           Customer Care:                   Monday - Friday 8:00am ~ 8:00om ET
                                                                                                                                       Saturday 9:00am — 2:00pm £T
                   4-807-0821
                        6-00 28086-00 1-000-000-000-000                                    Find us on the web at:                        www.freedommoartgage.com
                   AKMAL JAMAL GRANT
                   142 WATERVALE DR                                                        Loan Number
                   SAINT AUGUSTINE FL 32092-1768                                           Payment Due Date                                                  UTZ
                                                                                           Amount Due**                                             $12,228.84
                                                                                          if payments received after 01/16/24, $65.69 la fee wil be             charged.
                                                                                         Property Address: 142 WATERVALE DR
                                                                                                                SAINT AUGUSTINE FL 32092



         Delinquency NOtCG)
          You are late on your mortgage payments and have been in a delinquent status since 09/01/23. Failure to bring your joan current may result in fees and                        u
          foreclosure, the loss of your home. As of 12/15/23, you are 105 days delinquent
                                                                                   on your mortgage.
          Recent Account History
            * Payment due 08/01/23: Fullypaid on 10/16/23
            » Payment due 08/01/23: Unpaid balance of $394.14
            * Payment due 09/01/23: Unpaid balance of $2,432.63
            * Payment due 10/01/23: Unpaid balance   of $2,432.63
            * Payment due 11/01/23: Unpaid balance of $2,432.63
            * Payment due 12/01/23: Unpaid balance of $2,366.94
            * Current payment due 01/01/24 - $2,366.94
            © Total $12,228.84 due. You must pay this amount to bing your loan current.
          “Hf you are experiencing financel difficulty, please refer to the reverse side of page 1 of the statement
                                                                                                                 for information about mortgage counseling or assistance."




         AAdb Aaa Rhaceanee)
         Additional Messagesoe                                                   ae:Pe                                                              ee
                                                                     No additional messages to display
                                                                                                   at this ime.




        Pl peat a ROR                                 TA ATA            OUR      ea            ee an eee

        Transaction
        Description
                               Dete Interest Paid =Effective
                                       To Date
                                                    Transaction
                                                             Date
                                                                  Transaction
                                                                    Amount
                                                                                    interest
                                                                                      Paid
                                                                                                Principal
                                                                                                  Paid
                                                                                                               Escrow
                                                                                                                Paid
                                                                                                                          tatePaid
                                                                                                                               Charges      Fees:
                                                                                                                                            Pad
                                                                                                                                                     Optional
                                                                                                                                                     Insuva nce
                                                                                                                                                                           Unapplied
                                                                                                                                                                             Funds
        Payment Reversal © 12/15/23. 0301/23           «(0403/23   ~$1,366.94      ~$956.23     $686.05       -$724565         $0.00       $2.00       $0.00                   $0.00
         Payment              iia O23                  043/23          $0.00       $960A2       Songs         961931          $0.00        $2.00       $0.00                   $0.00
         Payment @eversal     qzjisfa3) 0401/23        05/08/23    $2,366.94       $954.32      ~$687.96      -$72456         $0.00        $0.00       $0.00                   $000
         Payment              12/18723 0301/23         0s 0a723        $0.00       $958.65      $683.63       $724.86         $0.00        $0.00       $0.00                   $0.00
         Payment Reversal     12/15/23    OS1/23       06/13/23    -$2,366.94      -$95253      $689.75      -$72456          $0.00        $0.00       $0.00                   $0.00
         Payment              12/15723     Q4A)1/23    Oe /L3/23       $0.00       $956.37      $685.41       $72456          $0.00        $2.00       $0.00                   Sapo
         Payment              1/15/7305 01/73          o7/niyz3        $0.00       $955.08      $687.20       $72456         $65.69        $0.00        $0000              $2,432.63
         Payment Reversal     AY15/23 (06/01/23        07/26/23      $510.25       -$950.74     -S69LS4       -$72486        $65.69        $0.00       $00                 $1,92238
         Payment Reversal «= «12/15/23 OF01/23        OB /4j23     -$2,356.94      -$6g94 0 0 -$en3.a4        -$72456         $a.no        $a.00       $0.00                   $ouo
         Payment              1yis7a (06/1/23          LAS             $0.00        $5329        $688.99       S72456         $6569 = $0.00            $0.00               $2,432.63
         Payment Revers!      22/45/23 08/1/23         og/l4yn3    ~$2,366.94      $947.43      -$595.15      -$72466          $0.00  $0.00            $0.00                   $000
         Payment              12/is72a 071/23          asAafZ3         $0.00        $a5150      $690.78       $72486          $65.69 $2.00             $0.00                   $0090
         Payment Reversal     WY15f23 03/01723         19/14/23    $2,366.94       $945.32      ~$696.95     “$72456          $0.00        $0.00       $0.00                  $0.00
        IPayment              12/35/23    08/1/23      10/16/23      $1,268.52     $949.70 $e9258              $72466         $65.69       $0.00       $000                $1,268.52
         Payment Reversal     «12/15/23   1001/23      1115/23      -$1,366.94     $3350 © -$698.78           -$72456          $0.00       $0.00       $0.00                   $0.00
        |Mortgageinsurance    12/05/23    11/73        1205/23         $283.15       $000     $0.00             $an0           $0.00       so.o0       $0.09                   $o90
         Payment              wzyjisfza   1/2          Iflsy2za    $10,878.34        $0.00    30.00             $on0           $0.00       $0.00       $0.00                   $000
         Accrued lateCharge   12/15/23    DO~AO/OO     12/15/23         $65.69       sap      $000              gona           $2.00       $0.00       $0.00                   $a.00




                                                                           INTERNET REPRINT
Case 3:24-cv-01182-BJD-SJH Document    1-1 Filed 11/18/24 Page 86 of 219 PageID 91
                             ELECTRONIC ONLY STATEMENT




      RE ET ERROR NET THEE Dee egET Sac Ed SRE   ne it      MORTGAGE!




    ee               ee


      7 <                    é                             NOT,.OK? THAT'S OK.
           SS                                                        Immodiate mortgage help may be available




                   We all hit rough patches. If you're struggling to pay your mortgage due to
                   COVID-49, there may be immediate help available.

                   Contact Freedom Mortgage Corporation today or talk to a HUD-approved housing
                   counselor for frea advice on what to do next.


                   Freedom Mortgage Corporation:           Find a HUD-Approved Housing Counselor:
                   Cail 855-690-5900                       Call 800-569-4287                                              x
                   Visit www.freedommorigage.com           Visit waw.cfpb.gov/housing                                     8
                                                                                                                          o




                   CALL US TODAY.                                                 855-690-5900



     HQGAL HOLES                                                                                      Prolection Bureau




                                                               Internet Reprint
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 87 of 219 PageID 92




                           EXHIBIT 22                                             }
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 88 of 219 PageID 93
             LE
           pee   aw         P.O. BOX 619063      PORRETURNEERE GRY
                                                 PLEASE DO NOT SEND PAYMENTS TO THIS ADDRESS
                                                                                                     ELECTRONIC ONLY aiortgage
                                                                                                                        Ke -statemen
                                                                                                                               ‘     ‘
          FREEDOM MORTGAGE" DALLAS, TX 75261-9063                                                                                                   Statement Date 01/01/24

                                                                                                         Lontactintarmation
                                                                                                                      8
                                                                                                            Phone:                                                           1-855-690-5900 |               :   Be
                     8-807-06972-0073239-001-000-000-000-000                                                Customer Care:                        Monday - Friday 8:00am — 8:00pm ET                            ,
                                                                                                                                                             Saturday 9:00am — 2:00pm ET
                                                                                                            Find us on the web at:                           www.freedommortgage.
                                                                                                                                                                               com
                     AKMAL JAMAL GRANT
                     142 WATERVALE DR                                                                       Loan Number
                     SAINT AUGUSTINE FL 32092-1768                                                          Payment Due Date

                                                                                                         If
                                                                                                            Amount          Due**                                  $2,809.78
                                                                                                              ent is received after 02/16/24, $65.69 late fee will be charged.
                                                                                                         Property Address: 142 WATERVALE DR
                                                                                                                                    SAINT AUGUSTINE FL 32092



            Account Information =                                                                      | Explanation
                                                                                                                of   Amoun' Due
            Outstanding Principal                                            $360,502.21 | | Principal                                                                                     $703.47
            DeferredR Balance                                                        $0.00
                                                                                   34 5%
                                                                                                            Interest
                                                                                                            Escrow/Impound (for Taxes and/or Insurance)
                                                                                                                                                                                           $938.81
                                                                                                                                                                                         773.36
             nterest Rate                                                                                     Regular Monthly Payment                                                 $2,415.64
            Prepayment Penalty                                                             No | | Total Fees & Charges                                                                         $.00
            Escrow Balance                                                      $1,869.14 | | Overdue Payment                                                                                  $.00
            Unapplied Funds                                                              $0.00           Unpaid Late Charges                                                           $394.14
                                                                                                         Other/Optional Products                                                          $.00
                                                                                                              Total Amount Due**                                                       2,809.78

           Transaction Activity(2/1623-O10IR@..                                                                                        ee
           Transaction            Dat       Interest Paid = Transaction    Transaction           Interest        Principal          Escrow    Late Charges      Fees       Optional         Unapplied
           Description                  .     To Date     Effective Date    Amount                Pald             Pald             Paid          Paid          Paid      Insurance          Funds
           Accrued Late Charge   12/19/23    00/00/00       12/19/23          $65.69             $0.00              $0.00            $0.00         $0.00       $0.00        $0.00              $0.00
           Late Charge Waived    12/26/23    00/00/00       12/26/23          $65.69             $0.00              $0.00            $0.00         $0.00       $0.00        $0.00              $0.00
           Payment               12/29/23    09/01/23       12/29/23.      $1,713.08           $94790             $694.38          $724.56         $0.00       $000         $0.00              $0.00
           Payment               12/29/23    10/01/23       12/29/23       $2,366.94           $946.09            $696.19          $724.56         $0.00       $000         $0.00              $0.00
           Payment               12/29/23 11/01/23           12/29/23      $2,366.94           $944.28            $698.00          $724.56         $0.00       $000         $0.00              $0.00
           Payment               01/0124 01/01/24           12/30/23       $2,366.94           $940.64            $701.64          $724.66         $0.00        $000        $0.00              $0.00



             IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED
             FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT
             CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

           Past  Pavmants Breakdown | Ein A cca ee
           |PastPayments  Breakdown   im ortant Messa Hes oeel
                                                             Paid Last             Paid Year             FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR
                                                              Month                  to Date             ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
           Principal                                     $3,490.03              $1,401.46                OBTAINED WILL BE USED FOR THAT PURPOSE.
           Interest                                      $4,721.37              $1,883.10                IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
           Escrow (Taxes and Insurance)                  $3,623.30              $1,449.32                BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
           Fees**                                            $0.00                  $0.00                GIVEN TO YOU FOR INFORMATIONAL PURPOSES AND IS NOT
           Late Charges                                      $0.00                  $0.00                INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT
           Partial Payment Unapplied*                        $0.00                  $0,00                TO COLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF
           Total                                        $11,834.70               4,733.88                THE DEBT FROM YOU PERSONALLY,
            *Partial Payments: Any funds received that are less than a full periodic
            payment may be applied to your account, promptly returned to you, or held
            In a non-interest bearing account until enough funds are received to apply                                                                                                                  |

            to a full periodic payment.
            **Amounts listed here will include other/optional products, if applicable.                      **This balancerepresentsthe
                                                                                                              Statement.                  knownthisAmount
                                                                                                                         if you are delinquent,      balanceDue
                                                                                                                                                              mayas not
                                                                                                                                                                    oftherepresent
                                                                                                                                                                            printing fullof thé
                                                                                                              reinstatement of your abligation. Please contact us regarding your up-
                                                                                                              to-date reinstatement balance at 1-855-690-5900.
               sii             ....Additional information is provided on the back of thestatement   :
    Fan
     SSCI eaten a wearin
                    ser aint He "DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT        _   ,  7
                         Toh y                                                                                            ee ea ras eae oj ng a:Tee oP
                                                                                                                          po                 Amount Due                                         =
          FREEDOM MORTGAGE"                                                                                                  Due By 02/01/24:                                  $2,809.78
            LOAN NUMBER: ae]                              AKMAL JAMAL GRANT                                                  $65.69 late fee willbe charged after 02/16/24
                                                                                                                          Additional Principal                   $                     j
   iiss
    e
                                                                                                                          Additional Escrow                      $                     :
   =        FREEDOM MORTGAGE                                                                                              Late Charge                            $                     :
    o       P.O. BOX 6656

   o()
            CHICAGO IL 60680-6656                                                                                             Total Amount Enclosed $              i                                                a
   5                                                                                                                           Make check payable to Freedom Mortgage
   c

   ai                                                            []         To change mailing addressand/orcontactinformation,
                                                                            check here and complete form on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 89 of 219 PageID 94

       a
             To submit a RESPA Qualified Written Request (“QWR"), assert an error or request information
                    about the servicing of your loan, you must use the designated address below.
                                                                                                                TO SUBMIT A RESPA                               REQUEST FOR PAYOFFS
                     PAYMENT                                                                            QUALIFIED WRITTEN REQUEST                           GENERAL CORRESPONDENCE
                   PROCESSING                                       OVERNIGHT                                          ("QWR")                                    Freedom Mortgage
               Freedom Mortgage                                Freedom Mortgage                                 Freedom Mortgage                                     PO. Box 50485
                 P.O, Box 6656                         10500 Kincaid Drive, Suite 111                            P.O, Box 50428                             indianapolis, IN 46250-0485
             Chicago IL 60680-6656                         Fishers, IN 46037-9764                         Indianapolis, IN 46250-0401                            fax: 877-233-5843



         In case of errors oF questions
                                 about your electronic transfers telephone us at 855-690-5900
                                                                                         or write us at P.O.Box 5428, indianapolis,IN 46250-0407
                                                                                                                                              as
         son as you can, if you think your statement
                                                  or receipt is wrong
                                                                  or if you need more infermation about a transfer on the statement or receipt. We must
        hear from you ne later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
        (i}Teil us your name and account number (if any}
        {2} Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
         information
         (3} Teli us the doilar amount of the suspected error

        We will investigate
                       your complaint and will correct   any error promptly. If we take more than 10 business days to do this, we wii! credit your account for the
        amount you think
                     is in error, so that you will have the use of the money during the time it fakes us to complete our investigation.


       Se                                                                                     ee

       REAL ESTATE TAXES are paid from atax bill issued byyour local taxing authority. itssnotnecessary| | Payment Crediting - If you are enrolled in automat payment drafting. your payment will
       for you to forward any regolar tax bits to us. If we need your tax lif, we will request it from you In| | ba credited each month
                                                                                                                                     on the date celected at the time of enrollment. One-time payments
       writing. if you receave a delinquent.
                                          adjusted. or corected tax bi please forward it to" Freedom| | made online or by phone wil be credited effective the date you selected when submitting
       Mortgage. P.O. #ox 22670, Rochester,   NY 14892. You may abo fax f to 817-826-0410.              the payment. Please note that it may takeup to 1-2 business days for your payment to be
       Supplementai bills are often Issued in addition to yearly real estate tax bills and are your| | displayed m your transaction history.
       responsibility to pay. They are not collected through your escrow account.                        Phone payments or Automatic (ACH) payments - To pay by phone please call the Customer
                                                       =             =
       HAZARD INSURANCE It is your responsiblity to maintain proper and sufficient hazard
                                                                                                          Care number provided above. To estabich or canes! your ACH program. please contact
       pcarmnecurerign    hie poe   : To protectieencs
       ani, where required, Hood insurance.
                                                               ies Fes arid       cael se ee ee
                                                 our mutual interest in the property.
                                                                                 we require
                                                                                                                                                                                                ee
       evidenceof proper insurance. if you fail to provide evidence. we wil purchase Lender Placed Web - You can make your payments onkine. simply visit us at wow freedommartgage.com.
       Coverage on your behail, not including your equity, and charge your estrow account.               Unepplied
                                                                                                         may
                                                                                                                    / Partial Payments - Any funds recetved that are fess than a full periodic payment
                                                                                                              be appled to your account, promptly returned to you, or held in a non-interest-bearing

       eo
       Free netly yeux sent                         ne
                         te manne Eat we ace Bee on te pony                           3 copy. policy|
                                                                                               WHICH) || payalt
                                                                                                         account Quote
                                                                                                                  until enough  funds are does
                                                                                                                        - This statement  received
                                                                                                                                               not to apply theto aamount
                                                                                                                                                   contain          fullperiodic  payment.
                                                                                                                                                                            required to      joan
                                                                                                                                                                                               in ful
       indudes
           your loan number. is either faved to our Insurance Department at 866-751-5224or| | So may not effect all bird party fees (# appheable) or af amounts due’ To sbtain a payoff
       mailedto: freedam Mortgage Comoration, SAQA        ? ATIMA, P.O. Box 5050. Troy. Mi 48007-        quote, please send your request in writing to the address o fax # provided abowe or via emad
       5050. For general questions regarding hazard insurance. please caé866-222-9005.                   to FreedomPayelfRequastOrreedomiongage.com. You may also contact Custamer Care at
       For questions regarding Hazard Loss Drafts. please call$88-810-7318. You may also fax any] | the number provided
                                                                                                                    above.
       required Loss Draft information to 866-751-9365                                   Payments by Mail -To avoid processing delays make your check or money order payable to
       IF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES and would lke to speak to one of] | Freedom
       ourcounselors please call855-690-5900.
                                                                                                   Merigage and include your loan number, Beate do not send cast oF correspondence
                                                                                              your payment.
                                                                                                         Avoid Liste Charges end Protect Your Gredif - We may fumish information about your
       U.S. MILITARY Servicemembers
                                 on “active duty” or “active serve” or a spouse
                                                                           or dependent| | account to credit bureaus. Late payments. mised payments, or other defauits on your account
       of such sericemember may be entiled to certain legal protections and debt relief pursuant to] | may be reflected in your credit report. Any payments received alter the late payment date
        the Servicemembers’ Civil Rafiel Act (“SCRA”). If you area servicemember on active duty ot! | noted on your coupon will be assessed a late fee.
       bebeve you are eligible for such SCRA benefits, plesse notify our Customer Care Department! | additional Principal Payments - Depending upon the terms of your joan agreemant,
                                                                                                                                                                                   you
       a $55-690-5900                                                                                    may ba able ta pay additional prindpal on your foan. We must reowive additional principal
                                                                                                         payments on or before your payment due date. Include additional principal with your requiar
                                                                                                         Payment and indicate the mount in the space provided on your coupon.
                                                                                                         (Check Processing - When you provide a check a3 payment. you authorize us either te use the
                                                                                                         information from your check to make a one-time electronic fund transfer from your account
                                                                                                         of to process the payment a5 a check transaction. When we use information from
                                                                                                         your check to make an electronic funds transfer. funds may be withdrawn from your 2
                                                                                                         account 2% soon as the seme day we receive your payment and you wil not receive                 =
                                                                                                         your check back from your Financial institution.                                                g


       if you are experiencing financial difficulties,
                                                    we are here to help you. Call us teday
                                                                                       to learn more about your Loss Mitigation options
                                                                                                                                      at                                                                 3
        855-690-5900 or by visiting our website at www_freedommortgage.com.                                                                                                                              2
        The right option for you depends on your individual circumstances. tf you provide all required information and documentation about                                                               ou
        your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay in your                                                        iY
        home (refinance, repayment, forbearance, loan modification) or leave your home while avoiding foreclosure (short sale or deed-in-lieu of                                                         2
        foreclosure).
        You may obtain a list of HUD approved, non-profit homeowners counseling organizations serving your residential area by calling toll free
                                                                                                                                                                                                         5
        800-569-4287 or by visiting the HUD website at www hud gov.




                                                           Change of Mailing Address / Contact Information
                                                           Please provide your contact information below.
        Name,

        New Address.


        City,                                                                       State                                    Zip
        Home Phone #__—“‘CNOCBBsiness Phone HO                                                                                                          CEE

        Email

        Celi Phone #                                                                        (1 tconsent for freetiom Mortgage to contart me via this cell phone number.
Case 3:24-cv-01182-BJD-SJH Document    1-1 Filed 11/18/24 Page 90 of 219 PageID 95
                               ELECTRONIC ONLY STATEMENT


      LEE SEOASSENNENTSTOTSSACRES                                                                                           —Continuedee
           (ii,       att   gas          FOR RETURNSERVICE ONLY

        oe.                               _ £0, BOX                                                                              tatement           Date
      PREEDOM MORTGAGE® DALLAS, TX 75261-9063                                                                                         from page 1
                                                                                         (Contact information
                                                                                          Phone:                                                   1-855-690-5900
                                                                                           Customer Care:                Monday - Friday 8:00am ~ 8:00pm ET
                                                                                                                              Saturday 9:00am ~— 2:00pm ET
               a aea                                                                       Find us on the web at:                  www.freedommortgage.com
               AKMAL JAMAL GRANT
               142 WATERVALE DR                                                            Loan Number
               SAINT AUGUSTINE FL. 32092-1768                                              Payment Due Date                                    =       UU LT £4
                                                                                           Amount Due**
                                                                                          If payments received after 02/16/24,
                                                                                                                        $65.69 law fee will be
                                                                                                                                               $2,809.78
                                                                                                                                               charged.
                                                                                           Property Address:        142 WATERVALE DR
                                                                                                                    SAINT AUGUSTINE FL 32092



        Additional
           Messages.




        Transaction
        P gsga goin uaeialActivity
                            AN phen(12/16/23
                                     LATA Cel - TVA 01/01/24)   Continuedfrompage1)
                                                     TA TIAL ekte      ig OLigh     oc Ua acne SRM
                                                                                                 ie a a :
        Transaction               Date    interest Paid =Transaction   Transaction   interest   Principal     Escrow    Late Charges   Fees.   ‘Optional   Unapplied
        Description                          ToDete Effective Date       Amount        Patd       Paid         Paid         Pid        Paid    Insurance     Funds
        Payment               o1fo1724 = 1270123         1273123       $2,366.94     $942.46    $699.82      $724.66        $ano       $0.00       $0.00       $0.00




                                                                              INTERNET REPRINT
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 91 of 219 PageID 96




     oO                    EXHIBIT 23                                 |           /
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 92 of 219 PageID 97




                  a
                  2



                                                                 eed 3 4

                                                                 SB),g
                                                                 Bi eet


              :                                                   B18.
                                                                     fe.
                                                                     oO
                                                                      arg
                                                                                  aee
                                                                                  reread

                                                                 Pea,
                                                                  ARS
                                                                    LM Ge ina:

                                                                     i
                                                                     ae
                                                                        a)
                                                                     oe
          :                                                          te


                                                                 et.
      j                                                          i Vee
                                                                 MNfeaa ee
                                                                 pe ase
                                                                    eh cE Fakes




                                                                      eee
                                                                      wd


                                                                      tie,
                                                                     ae
                                                                     a
                                                                 MLE any
                                                                          Hata


                                                                      ee
                                                                      de



                                                                 Ba
      :                                                               Ges
                                                                      bes
                                                                      dae
                                                                      po
                                                                   bat           hog   ee



                                                                 =i a
      :   é
                                                                   awl
                                                                 brine
                                                                 ileum

          d                                                       =>
                                                                 2s
                                                                   EE
                                                                   0        Oo

                                                                 ie
                                                                  o o
                                                                    o

          )                                                       Ec
                                                                  o9
                                                                  a
                                                                  us
                                                                    a8
                                                                  a         a

                                                                   oo
                                                                   =
          i                                                        -
                                                                   om 9°
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 93 of 219 PageID 98




                           EXHIBIT 24                                             |
“Beka        *
             Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 94 of 219 PageID: 99
                                                                                            Sy gt agg *


               Personal Credit Report for:                                                            s
               AKMAL GRANT                                              .




               File Number:
               417189327




               Date Created:

               03/21/2024




  Visit transunion.com/dispute to start a dispute online.


  &, Personal Information

  You have been on our files since 11/01/1998. Your SSN has been masked for your protection.

    Credit Report Date
    03/21/2024




    Social = Number

    Name

    AKMAL JAMAL GRANT




  Addresses


    Current Address

    142 WATERVALE DR SAINT AUGUSTINE, FL 32092-1768

    Date Reported
    03/27/2021

    Other Address

    3565 LOCHDALE TERRAC LEXINGTON, KY 40514

    Date Reported
    01/31/2007




  Phone Numbers

        https://annualcreditreport.transunion.com/dss/disclosure.page                          1/75
.   La
         n
             Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 95 of 219 PageID 100          oo,




                      ¢




                                                                                      Raper as OS Pn eaae
                                                                                      Bon eanpciees
                                                                                      DS ey it quest en,
                                                                                     aaa         ses   SES
         Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 96 of 219 PageID 101
_    Phone Number

! (859) 948-3235                                                                                                                       i
     Phone Number                                                                                                                       :

| (904) 671-2423
| Phone Number                                                                                                                         :
| (948) 323-3235


fit Accounts


Typically, creditors report any changes made to your account information monthly. This means that some accounts listed
below may not reflect the most recent activity until the creditor's next reporting. This information may include things such as
balances, payments, dates, remarks, ratings, etc. The rating key is provided to help you understand some of the account
information that could be reported. Pay Status represents the current status of accounts and indicates how you are currently
paying. For accounts that have been paid and closed, sold, or transferred, Pay Status represents the last reported status of
the account.


Payment/Remarks Key

aSet NSad. Podesta be Fl ec PA ek EA ed Sle Das PE                                                     “TR —

if    Ratings                                                                                                                     A

|3 (OK Current, paying or paid as agreed                                                                                          i
 Hfe N/R Not Reported
                 Le                                                                                                               :
                                                                                                                                  a
At                                                                                                                                a
Hx           Unknown                                                                                                              i

       30 Account 30 days late                                                                                                    :
i 60 Account 40 days late                                                                                                         :
i 90 Account 90 days late                                                                                                         :
;     120 Account 120 or more days late                                                                                           i
# COL Transferred to collection                                                                                                   L
4     vs Voluntarily surrendered                                                                                                  i

i3 RPO Repossession                                                                                                               p:l
| vo Charged off by account provider                                                                                              E
#a     FC Foreclosure                                                                                                             Bl|

&     Remarks                                                                                                                     z
ie                                                                                                                                Ei
= AAP: Loan assumed by another party                                                                                              :
Efi ACQ: Acquired from another lender                                                                                             Es
8 ACR: Account closed due to refinance                                                                                             i
Hi                                                                                                                                 A
: ACT: Account closed due to transfer                                                                                             :
& AFR: Account acquired by RTC/FDIC                                                                                               :
i AID: Account information disputed by consumer                                                                                   :
s                                                                                                                                 E
     https://annualcreditreport.transunion.com/dss/disclosure.page                                                         275
             Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 97 of 219 PageID 102
|        Monthly Payment                                                                                                                                  $2,415
,        ee                                                                                                                                                                |
:        Date Opened                                                                                                                               02/26/2021

_        Responsibility                                                                                                                   Individual Account               i
ee
:
         Account Type                                                                                                                     Mortgage Account
|
||
 Loan Type FHA REAL ESTATE MORTGAGE |
: Balance                                                                                                                                             $359,798             |
| Date Updated                                                                                                                                     02/29/2024
         etnies   tea   nes   aii   es minteynintmtniinnsan   natant     etna   nn   nnn   nncennttttiiNan rane aiNnNinniNie   seein   tininieneiniiiiininneneeitntt:




|        Payment Received                                                                                                                                 $2,415           |

| Last Payment Made                                                                                                                                02/14/2024              |
Fe
  PayStatus
         _                                                       neta   neannnenne
                                                                                                                       Current; Paid or Paying as Agreed
                                                                             eaanmeneneneannnsnanapsamaneemnesumaieaenianienenn
                                                                                   teen               nnn            naa
                                                                                                                                                                           |
                                                                                                                                                                           '



: Terms
can      EEEnnInEEEEEEEEEE
                                                                                                           $2,415per month, paid Monthly for 360 months                    |
                                                                                                        High balance of $383,374 from 10/2022 to 01/2023;                  |
|i       High Balance (Hist.)                                                                                          $383,374 from 12/2023 to 02/2024
ee |
:                                                                                                                                                                          i

| Payment History                                                                                                                                                          |
|:                                                                                                                                                                         |'
 :                                                                                                                                                                         i
|                                                                                                                                                                          |


                                                                                                                                                                           |
                                                                                                                                                                           |
 :                                                                                                                                                                             i
|                                                                                                                                                                              :
:                                                                                                                                                                              |
                                                                                                                                                                               |



                                                                                                                                                                               |
                                                                                                                                                                               |
    |                                                                                                                                                                          |
    |                                                                                                                                                                          |
    |                                                                                                                                                                          |
                                                                                                                                                                               |

 |                                                                                                                                                                             |
    |                                                                                                                                                                          |
        https://annualcreditreport.transunion.com/dss/disclosure.page                                                                                              2AtTS
            Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 98 of 219 PageID 103


          September 2021                October 2021               November 2021     December 2021        January 2022        February 2022


    | Balance                               Balance                     Balance          Balance             Balance             Balance
i
:              Past Due                    Past Due                     Past Due        Past Due            Past Due            Past Due
i                 —                           ---                         ---             ---                 ---                 a
|
:
}           Amount Paid                 Amount Paid                 Amount Paid       Amount Paid         Amount Paid         Amount Paid
                  aoe                         ---                         ---             ---                 mee                 ---




        Scheduled Payment           Scheduled Payment           Scheduled Payment   Scheduled Payment   Scheduled Payment   Scheduled Payment
f                 ~——-                        -<-=                        -—<-=           —<=<                “<=                 ——=—
i




               Remarks                     Remarks                      Remarks         Remarks             Remarks             Remarks


                 Rating                     Rating                       Rating          Rating              Rating              Rating
                   x                          xX                           x               xX                  xX                  x
i




             March 2022                   April 2022                    May 2022       June 2022            July 2022          August 2022


|t |3           Balance                     Balance                     Balance          Balance             Balance            Balance
a                 ---                         ---                         ---             ---                 ---                 ---




|              Past Due                    Past Due                     Past Due        Past Due            Past Due            Past Due
|                 aon                         -=<=<                       -<-=            ---                 -<--                “<=
|
|           Amount Paid                 Amount Paid                 Amount Paid       Amount Paid         Amount Paid         Amount Paid
it                —_                          i                           —_              —_                  —_                  —_
— sss
    eee
    | Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment
    5




4              Remarks                     Remarks                      Remarks         Remarks             Remarks             Remarks
i
{                 a                           wee                         wee             ae                  ---                 ---


ii k                                                             nt Nene
  |              Rating                     Rating                       Rating          Rating              Rating              Rating
it                 x                           x                           x               x                   X                   x
‘|
bg




    |
f

f



|




i
i
|




t




        https://annualcreditreport.transunion.com/dss/disclosure.page                                                                           25/75
         Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 99 of 219 PageID 104


i       September 2022                October 2022               November 2022     December 2022        January 2023        February 2023

       Balance                      Balance   Balance                                  Balance     Balance Balance
         ---                        $375,126 $372,644                                 $365,269    $365,269   ---
      en                           nN TELE                                                       nnn
i            Past Due                    Past Due                     Past Due        Past Due            Past Due            Past Due
                ---                       $4,278                        $0               $0                  $0                 ---
|
|i        Amount Paid                 Amount Paid                 Amount Paid       Amount Paid         Amount Paid         Amount Paid
7:              ---                         $0                        $13,335          $2,611                $0                 ---
| | Scheduled Payment             Scheduled Payment           Scheduled Payment   Scheduled Payment   ScheduledPayment    Scheduled Payment
|               ---                       $2,272                       $2,261          $2,261              $2,261               ---

             Remarks                     Remarks                      Remarks         Remarks             Remarks             Remarks
i               ---                         ---                         ---             AID                 DRC                 ---

:             Rating                      Rating                       Rating          Rating              Rating              Rating
                OK                           30                         OK               OK                  OK                  30

}
i




|          March 2023                   April 2023                    May 2023       June 2023            July 2023          August 2023
‘ t
iy
i             Balance                    Balance                      Balance          Balance             Balance             Balance


             Past Due                    Past Due                     Past Due        Past Due            Past Due            Past Due
j              wee                         a                            ue              a                   a                   oe



          Amount Paid                 Amount Paid                 Amount Paid       Amount Paid          Amount Paid         Amount Paid

i               a                           w=                          ---             ---                 ~-_—=               ---
|
      Scheduled Payment           Scheduled Payment           Scheduled Payment   Scheduled Payment   Scheduled Payment   Scheduled Payment
i               ---                         ~--                         a               ---                 ae                  a




             Remarks                     Remarks                      Remarks         Remarks             Remarks             Remarks
                =---                        -<--                        owe             w-o-                ---                 woe



i
              Rating                      Rating                       Rating          Rating              Rating              Rating
|                60                          60                         60               60                  60                  60
i




i

|

      https://annualcreditreport.transunion.com/dss/disclosure.page                                                                           26/75
       Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 100 of 219 PageID 105
|
\

|
i
       September 2023                October 2023               November 2023   December2023    January2024      February 2024
|            Balance                     Balance                     Balance       Balance        Balance          Balance
|              ---
            Past Due
                                           vst
                                        Past Due
                                                                       iia
                                                                     Past Due
                                                                                  $360,896
                                                                                  Past Due
                                                                                                 $360,502
                                                                                                 Past Due
                                                                                                                   $359,798
                                                                                                                   Past Due

i              ---                         “7+                         --e           $0             $0                $0

|i        Amount
             ---
                 Paid                Amount
                                        ---
                                            Paid                 Amount
                                                                    ---
                                                                        Paid     Amount  Paid
                                                                                   $11,834
                                                                                                AmountPaid
                                                                                                    $0
                                                                                                                 Amount Paid
                                                                                                                   $2,415
:
t




| Scheduled---Payment Scheduled---Payment Scheduled++Payment Scheduled Payment Scheduled
                                                                   $2,366
                                                                                         Payment Scheduled
                                                                                     $2,366
                                                                                                           Payment
                                                                                                       $2,415
|
            Remarks                     Remarks                      Remarks       Remarks        Remarks          Remarks
               ---                         ---                         ---          DRC            DRC               DRC




||            Rating
                60
                                          Rating
                                            60
                                                                      Rating
                                                                       90
                                                                                   Rating
                                                                                     OK
                                                                                                   Rating
                                                                                                     OK
                                                                                                                    Rating
                                                                                                                     OK


                                                                                                                                  Total Month


panne nnn nent                                                       ne nena nnn mene nen en enna ns
 NAVY FEDERAL CR UN 406095596139****                                                                |
|                                                                                                                                              |
|     Account Information
                                                                                                                                               |
:     Address                                                                                      POB 3700 MERRIFIELD, VA 22119               i
i                                                                                                                                              i
eee
:                                                                                                                                              i

|     Phone                                                                                                       (800) 336-3333
i                                                                                                                                              i
mtn                                                                                                                                            |
i                                                                                                                                              i
| Monthly Payment $132
|
Fn    |

|     Date Opened                                                                                                     03/04/2021
nee                                                                                                                                            |
      Responsibility                                                                                           IndividualAccount               |
| Account Type                                                                                                 Revolving Account               |
FR                                                                                                                                             |
|
_     Loan Type                                                                                                    CREDIT CARD
$A




{Balance                                                                                                                      $5,737           i
                                                                                                                                               |

|
|     Date Updated                                                                                                   03/09/2024
enn
|     Payment Received                                                                                                           $132          i
Ft                                                                                                                                             |




;     Last Payment Made                                                                                               03/07/2024               |

     https://annualcreditreport.transunion.com/dss/disclosure.page                                                                      2175
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 101 of 219 PageID 106




                     EXHIBIT 25                                                     |
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 102 of 219 PageID 107
Annual Credit Report - Experian                                                                      3/19/24, 10:57 AM



                                                                                            Prepared For —
                                                                                 AKMAL GRANT
                                                                                  Personal & Confidential                |

                                                                            Date Generated Mar 19, 2024
                                                                            Report Number 2939-4295-77


           Ata
            Glance 16 Accounts0 Public RecordsO Hard Inquiries


        Personal Information

                  5 Names                       g Addresses   0 Employers          6 Other Records


        Because your personal information is reported by you, your creditors, and other sources,
        it's typical to see small variations in reported personal information, like names and
        addresses. For security reasons, many of these items can't be disputed online, but don't
        worry—they don't affect your credit score.




https://usa.experian.com/acr/printReport?type=CDI                                                        Page 1 of 99
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 103 of 219 PageID 108
Annual Credit Report - Experian                                                             3/19/24, 10:57 AM


        eeeee

        _       Names
        |                                                                                           |

        per nee                      nin
        a                                                                                           |
        i




        |i         AKMAL
                   GRANT
                                                    AKMALJ
                                                    GRANT
                                                                 AKMAL
                                                                 JAMAL
                                                                             ||   GRANT
                                                                                  ANMAL
                                                                                                    |
        i           Name ID
                   #879                             Name ID
                                                    #24420       GRANT
                                                                 Name ID     |    Name ID
                                                                                  #6050             |
                                         | een anne tnJ #31871               |
        :




        |
        |       sea nasese                               neve neem nsaneemsas                       |
: | GRANT
        |          AKMAL
        |           Name ID
                   #1978
                                                                                                    i|
        2                                                                                           }



        |                                                                                           |
        |ene ne                                     nen         eeeneed
                                                                                                    |


        _       Addresses

        fe me|
        |                                                                                           |
        |                                                                                           |

        |
        |
                                                                                                    |
                                                                                                    |
        |                                                                                           |
        |                                                                                           |
        |                                                                                           |
https://usa.experian.com/acr/printRepart7type=CDI                                                Page 2 of 99
       Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 104 of 219 PageID 109
Annual Credit Report - Experian                             .                                           3/19/24, 10:57 AM



                 |                                                                                                  |
                                                                                                                       |




                 |    142                           14701               2325            2015REED                    |
                      WATERVALE                     BARTRAM             COUNTRY         AVE                         |
                 ||   DR
                      SAINT                   |     PARK BLVD
                                                    APT612              SIDE DR
                                                                        ORANGE          JACKSONVIL
                                                                                        LE FL, 32207-               ||
                      AUGUSTINE                     JACKSONVIL          PARK FL,        8729                        |
                      FL, 32092-                    LE FL, 32258-       32003-4907      Address ID

             |
                      1768
                      Address ID
                                                    $291
                                                    Address ID
                                                                        Address ID
                                                                        #0591265121
                                                                                        #0061566285
                                                                                        Single family
                                                                                                      | |

             Pp
             |
             |
                      #0931852843
                      Single family
                                                    oe ___J _ _ |
                                                    #0708920526
                                                    Multifamily
                                                                        Single family                              |
                                                                                                                   |




            |
             |

                      2325 | 161 OLD 2834
                      COUNTRY
                      SIDE DR
                      APTI1
                      FLEMING
                                                    LOVERS LN
                                                    APTI
                                                    BOWLING
                                                    GREEN KY,
                                                                        CARTESIAN
                                                                        DR
                                                                        CHARLOTTE
                                                                        NC, 28214-
                                                                                        161 OLD
                                                                                        LOVERS LN
                                                                                        #1
                                                                                        BOWLING
                                                                                        GREEN KY,              |
            ||        ISLE FL,
                      32003-4907                    42103-7933
                                                    Address ID          8895
                                                                        Address ID      42103-7933
                                                                                        Address ID             |
                      Address ID                    #0877161042         #0639554067     #0090717441            |
                      #0900903181                   Apartment       |   Single family   Apartment              |
         |PL: —  complex | JL| complex                                                                         |!
          | enna
        |             142                                                                                      |
                      WATERLINE           |

        |             or                  |                                                                    |
                      JACKSONVIL |
                      LEFL,32259- ||
                      2306                                                                                     |
                      Address ID                                                                               |
        ||            #0950186403
                      Single family ||                                                                         |
                                          |                                                                    |
        |                                 |                                                                    |
https://usa.experian.com/acr/printReport?type=CD!                                                           Page 3 of 99
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 105 of 219 PageID 110
Annual Credit Report - Experian                                                                           3/19/24, 10:57 AM




        |                    Mar2023                  $484                    $35       $0on3/1/2023              |
        |                    Feb2023                  $115                    $35       $0on2/1/2023
        |                    Jan2023                  $363                    $35       $0on1/3/2023              :
        |                    Dec 2022                 $364                    $35       $0.0n 12/1/2022
                             Nov 2022                 $109                    $35       $0 on 11/4/2022


        |                    Oct 2022                 $238                    $35       $0 on 10/5/2022
        |
        i                    Sep 2022                 $127                    $35       $0 on 9/1/2022            !
                                                                                                                  \

        |                    Aug 2022                 $446                    $35       $0 on 8/2/2022            |
                                                                                                                  i

        |                    Jul 2022                 $118                    $35       $0 on 7/6/2022
        |

        |                    Jun 2022                 $9                      $9        $0 on 6/2/2022            |
        |
        |i
        :
                             May2022
                             Apr 2022                 $214
                                                      $131                    $35
                                                                              $35       $0on5/2/2022
                                                                                        $0 on 4/3/2022            |i
                                                                                                                  :

        ||                   Mar 2022                 $88                     $35       $0 on 3/1/2022            |

                          Additional info

        |                 Between Mar 2022 and Feb 2024, your credit limit/high balance was $13,600
        || nnn
           &e Contact Info a |
                          Address                   PO BOX 30939,
                                                    SALT LAKE CITY UT 84130



        |                 Phone Number              (800)347-2683                                                 |

        EE
        |             FREEDOM MORTGAGE CORP
        |
        i
                       POTENTIALLY NEGATIVE                                                                       :




        [rd

https://usa.experian.com/acr/printReport?type=CDI                                                            Page 25 of 99
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 106 of 219 PageID 111
Annual Credit Report - Experian                                                                                                   3/19/24, 10:57 AM

                                                                                                                                          ,




         |                Account Info                                                                                                    |
                          Account Narne              FREEDOM MORTGAGE       Balance                     $359,798                          |
                                                     CORP                   Balance Updated             02/29/2024
         |                AccountNumber              a7                     RecentPayment               $2,415asof2/14/2024
         |                Account Type               FHA Mortgage           Monthly Payment             $2,415
         |                Responsibility             Individual             OriginalBalance             $383,374
         |
         i
                          DateOpened
                          Status
                                                     02/26/2021
                                                     Open.
                                                                            Highest Balance             |                                 |
         |                                                                  Terms                       30Years                           |
        |       enema     StatusUpdated Dec2023                                                                                           ||
        |                 Payment History                                                                                                  |
                                            .


         |                                                                                                                                !
         |




        |                  20244
                                     Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
                                       Y        YY      =         =    =    =         =       =    =        =        =        =
                                                                                                                                          |
        :                                                                                                                                 i
                           2028        Y        30     60         60   60   60     60         60   60       60       90   Vv

                           2022 -               -       =-        -    -    =         =       =~   v 309             vv                   |
                                                                                                                                          i




        |                   ~“ Current / Terms met                                                                                        |
                                                                                                                                          i


        |
        :
                            30 Past due 30 days                                                                                           |
                                                                                                                                          i
                            60     Past due 60 days
        |                                                                                                                                 |

        |                   90 Past due 90 days                                                                                           i

        |                                                                                                                                 |
        |                 Payment history guide                                                                                           |
        |                 90 days past due as of Nov 2023
        |                 6030 days
                               days past due as of Mar2023 to Oct 2023
                                    past due as of Feb 2023, Oct 2022
                                                                                                                                          ||
        !                                                                                                                                 |
        |
                          By Oct 2029, this account is scheduled to go to a positive status.
        |
        pF
        |
        |i                Balance Histories                                                                                               |{
                                                                                Scheduled                                                 |
        |
https://usa.experian.com/acr/printReport?type=CDI                                                                                    Page 26 of 99
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 107 of 219 PageID 112
Annual Credit Report - Experian                                                             3/19/24, 10:57 AM




        |                    Date                    Balance    Payment   Paid                      |
                             Jan 2024                $360,502   $2,366    $012/31/2023
                                                                               on                   |
                                                                                                    i



                             Nov 2023                $361,607   $2,366    $2,366on
                                                                          11/15/2023
                                                                                                    ||
        |                    Oct 2023                $362,305   $2,366    $2,366 on
                                                                          10/14/2023
        |
                             Sep 2023                $363,002   $2,366    $2,366 on
        |                                                                 9/14/2023
        |                    Aug 2023                $363,697   $2,366    $2,366 on                 |
        |                                                                 8/14/2023                 |
                             Jul 2023                $364,391   $2,366    $2,432 on                 |
        {                                                                 7/26/2023                 |
                                                                                                    :
                             Jun 2023                $363,160   $2,366    $2,366 on

        |                    May 2023                $363,850   $2,366
                                                                          6/13/2023
                                                                          $2,366 on
                                                                                                    |
                                                                                                    |
        i                                                                 5/8/2023                  |
                                                                                                    i
                             Apr 2023                $364,538   $2,366    $2,411 on
                                                                          4/3/2023


        |                    Mar2023                 $365,269   $2,366    $0on 12/7/2022
        |
        i
                             Feb 2023                $365,269   $2,261    $0 on 12/7/2022           |
                                                                                                    !

        |                    Jan 2023                $365,269   $2,261    $0 on 12/7/2022           |
        |                    Dec2022                 $365,269   $2,261    $2,611 on                 |
        |               ,                                                 12/7/2022                 |
        |                    Nov 2022                $372,644   $2,261    $13,335 on                |
        |                                                                 11/18/2022                |
        |                    Oct 2022                $375,126   $2,272    $0 on 9/29/2022           |
        :                    Sep2022                 $375,801   $2,272    $2,272on                  |
https://usa.experian.com/acs/printReport?7type=CD!                                             Page 27 of 99
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 108 of 219 PageID 113
Annual Credit Report - Experian                                                                          3/19/24, 10:57 AM




        |                                                                                   9/14/2022            |
                                                                                                                 |
                             Aug 2022                      $376,474                $2,272   $34,090 on           |
        |                                                                                   8/17/2022            |
                             Jul 2022                      $406,972                $2,272   $0


        |                    Jun 2022                      $405,369                $2,272   $o                   |
        |
        }
                             May2022                       $403,764                $0       $0                   |
        |
        |
                             Apr 2022                      $402,143                $0       $0

        |                   Mar2022        $400,534                                $0       $0                   |
        |                  Additional info
                           The original amount of this account was $383,374

        Po
        ||      BJ Contact Info                                                                                  |
                           Address                      951 W YAMATO RD STE 175,

        |                                               BOCA RATON FL33431                                       |

        |
        ;              /
                           Comment                                                                               |
                                                                                                                 j


        |                  Current:
                                                                                                                 i




                           CompletedInvestigation ofFCRAdispute-consumer                                         |
        |          ;       disagrees.
        |                  Previous:
        |                  Accountinformationdisputedbyconsumer(Meets
                           requirement of the Fair Credit Reporting Act).
                                                                                                                 |
                                                                                                                 H


        |
        |
                           Invalid date, Invalid date                                                            |
        |                                                                                                        |
        Pow
        ||                 Reinvestigation Info
                           This ttem was updated from our processing of your
                                                                                                                 ||
        |
        {
                           disputeinJan2023.                                                                     |
                                                                                                                 {

https://usa.experian.com/acr/printReport?type=CDI                                                           Page 28 of 99
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 109 of 219 PageID 114




                            EXHIBIT 26                              |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 110 of 219 PageID 115




EQUIFAX
CREDIT REPORT



AKMAL GRANT


Report Confirmation

4581405386
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 111 of 219 PageID 116




Dear AKMAL GRANT:
Thank you for requesting your Equifax credit report. Your credit report contains information received primarily from companies which
have granted you credit. Great care has been taken to report this information correctly. Please help us in achieving even greater
accuracy by reviewing all of the enclosed material carefully.
lf there are items you believe to be incorrect, you may

     * — Initiate an investigation request via the Intamet 24 hours a day, 7 days a week at:
               https:/Avww.equifax.com/personalcredit-report-services/credit-dispute/
     *    Please mail the dispute information to: .
              Equifax information Services LLC
               P.O. Box 740241
               Atlanta, GA 30374
     *    Call us at 866-349-5186

Please note, when you provide documents, including a letter, to Equifax as part of your dispute, the documents may be submitted to one
or more companies whese information are the subject of your dispute.
You have the right to request and obtain a copy of your credit score. To obtain a copy of your credit score, please call cur automated
ordering system at: 1-877-SCORE-11.




EQUIFAX                                                   AKMAL GRANT | Mar 21, 2024                                          Page 2 of 67
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 112 of 219 PageID 117




1. Summary
Review this summary for a quick view of key information contained in your Equifax Credit Report.

Rlaport Dato:        iass                  on co SMa           DOR          Sci aha                ated                        mie
Credit File Status       a             7                 No fraud (rdieator‘on fle —         Se                                     —       i

Average Account Age         _                   .     : 8 fears 40 Sintie EE                                  eee                        -

searieeteraeena rarer                                    : 8

Most Recent Account                                      BEST EGG (Gpenari Dec 26, 2023) i                            |
Credit Accounts


Your credit report includes information about activity on your credit accounts that may affect your credit score and rating.




Mortgage             1    4                   $360,502            $20,872              $083,374       94.0% «=        (téS28KG
0                           ae                      ae         lr                                             ee                    ee
Total                8      6                 $414,781            $46,699              $461,480       25.0%                $3,683

Other Items


Your credit report includes your Personal Information and, if applicable, Consumer Statements, and could include other items that may
affect your credit score and rating.

Consumer Statements                                                a -                    oe             ue      ._       0 Statements Found
Personal Information                                                                                             —_              6 ems Found

Most Recent itiegiley        —                           CREDIT KARMA, INC Mar 15, 2024 ele           aii miele een
Public Records                                                                                                                 0 Records Found




EQUIFAX                                                  AKMAL GRANT | Mar 21, 2024                                                 Page 3 of 67
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 113 of 219 PageID 118




3. Mortgage Accounts
Mortgage accounts are real estate loans that require payment on a monthly basis until the loan is paid off.


3.1 FREEDOM MORTGAGE                                                                                                                           F

Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.



Account Status                               PAYS_AS_AGREED                 Available Credit



Account History

The tables below show up to 3 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
credit limit, amount past due, activity designator, and comments.

Balance


Year       Jan           Feb    Mar       Apr        May           Jun        Jul            Aug           Sep           Oct        Nov              Dec
2022                                                                                                  $375,126                                     $365,269
2023                                   $364,538   $363,850       $363,160   $364,391       $363,697   $363,002         $362,305   $361,607         $360,502

2024



Available Credit


Year : dan               Feb    Mar       Apr        May           Jun        Jul            Aug           Sep           Oct        Nov              Dec
2022


2023


2024



Scheduled Payment

Year       Jan   |       Feb oe Mar     ADF          May           Jun      «Jul             Aug           Sep           Oct        Nov              Dec :
2022                                                                                                      $2,272                                    $2,366

2023                                    $2,366     $2,366         $2,366     $2,366         $2,366        $2,366       $2,366     $2,366            $2,366
2024



Actual Payment




EQUIFAX                                                   AKMAL GRANT | Mar 21, 2024                                                         Page 33 of 67
Sac eeee             i                     aaa       it   boat                         i              a      ma    :                  ns     Duchesne hasnt
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 114 of 219 PageID 119




2022


2023                                $2,411     $2,366      $2,366     $2,432     $2,366     $2,366     $2,366     $2,366         $0
2024



High Credit



2022 aa                                                                                    $383,374      =                    $383,374
2023                               $383,374   $383,374    $383,374   $383,374   $383,374   $383,374   $383,374   $383,374     $383,374

2024



Credit Limit




2022


2023


2024



Amount Past Due




2022                                                                                        $4,278                ;
2023                                  $0


2024

Activity Designator


2022


2023


2024



Commenis
       1




11/2022               Consumer disputes this account information

04/2023               Consumer disputes this account information




EQUIFAX                                            AKMAL GRANT | Mar 21, 2024                                               Page 34 of 67
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 115 of 219 PageID 120




05/2023                    Consumer disputes this account information

06/2023                    Consumer disputes this account information
07/2023                    Consumer disputes this account information
08/2023                    Consumer disputes this account information

09/2023                    Consumer disputes this account information
10/2023                    Consumer disputes this account information
11/2023                    Consumer disputes this account information

12/2023                    Consumer disputes this account information


Payment History

View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
payment was past due; the letters indicate other account events, such as bankruptcy or collections.



           2024              SSE        ERE     RSS                   SERRE           (SECSSSECCSECCESERECCCRRECi‘éESE:

           2023               Prd       30         60      60           60      60      60       60         60        60        so         Pe

           2022              Se         Gee     coe       ter         SSE      SSE    Se       See          wa        30       Od           a
           2021              Ges        eek     Seok      Skt         Skee:    ERER   OURSR    |6ORSSE     CGE       CEE      SSR
                                                                                                                                RE       RRS

 w Paid on Time              30 30 Days Past Due         60 60 Days Past Due          90 90 Days Past Due         120 120 Days Past Due

150 150 Days Past Due       180 180 Days Past Due         V Voluntary Surrender       F Foreclosure                  C Collection Account

CO Charge-Off                B included in Bankruptcy     R_ Repossession             TN Too New to Rate         sxceNo Data Available



Account Details


View detailed information about this account. Contact the creditor or lender if you have any questions about it.

Hah creat                      ase ome ine iibua
Credit Limit                       Adeoiira Tics i ai MORTGAGE
Terms Frequency                i
oo                                       :              en oe tn a ee                                                                ane ooo

Actual Payment Amount               .                           $0.           Date of Last Payment —             —                     ‘Dec 2023



EQUIFAX                                                 AKMAL GRANT | Mar 21, 2024                                                   Page 35 of 67
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 116 of 219 PageID 121




 oe ce ofLastActiviy
Date   ae - ee         eee ee ache ucabanentARGiE
                     ==Schone                           eo nga
                                     dP: ymentAmount =82-306
Months Reviewed                                                                           27               Delinquency First Reported

eeeee-sitor Classification
      vity.
                      pion eames aes ie mipsensisneniente
A ccdiveleie Pip clivrcesheve    ee                                       ere is tas ee Se ee
                              GE ORE ee Ripe ylecear enerciate stot en te rune aad iret Menem emen ett eta eter OGIO   gS
                                                                                                                            ale   ene er, oe
                                                                                                                                          RAR
                                                                                                                                           Gt
                                                                                                                                                             Se
                                                                                                                                              enue cs a eee ken Ce RE
                                                                                                                                                                        RI
                                                                                                                                                                             }
                                                                                                                                                                                  AIAT


Deferred Payment Start Date                                                                                Charge Off Amount
SE See      SI FUSE        SsnS Sa                                                                                                           OSS                                   eter
peie
BalloonPaymentDate = =§= Balloon F WEAMOUNE
                                                       ee                                                          ee ==                                                         any
Loan Type                                          Federal Housing Administration                          Date Closed
                                                            Real Estate Mortgage

Date
 ofFirat Delinquency.                                                                     LLL

Comments                                                                                                                    Contact
Consumer disputes this account information                                                                                  FREEDOM MORTGAGE
                                                                                                                            10500 KINCAID DRIVE SUITE 300
                                                                                                                            FISHERS, IN 46037
                                                                                                                            1-855-690-5900




EQuircwe                                                                        AKMAL GRANT | Mar 21, 2024                                                         Page 36 of 67
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 117 of 219 PageID 122




                            EXHIBIT 26                                              |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 118 of 219 PageID 123




                                                   August 7, 2024                                                 ,
     Akmal Jamal Grant
     142 Watervale Dr.
     Saint A     i          32092
     DOB:
     SSN:
     ag562              a
                 3235


     Freedom Mortgage
     P.O. Box 50485
     Indianapolis, IN 46250

     Dear Sir of Madam:


             I am writing to dispute the following information in my credit reports. I have enclosed a copy of
     the pertinent pages of the reports for your review.

            The reports reflect a Freedom Mortgage account (account no. *****7289). Freedom Mortgage
     owns and services my mortgage. The report inaccurately states that I was past due 30 days in February
     2023, 60 days from March 2023, through October 2023, and 90 days in November 2023. This is not
     accurate.



             In August 2022 the Florida Department of Economic Opportunity awarded me assistance with my
     mortgage payments providing me with payments to catch up on my mortgage due to a forbearance I had
     previously and to cover payments moving forward for 7 months. When that assistance stopped I began
     making payments again. I’m attaching my mortgage statement dated 09/14/2023 as an example. That
     statement shows that I was not behind and was making payments. In December 2023 Freedom Mortgage
     informed me that the DEO had paid more than it should have and clawed back some money from Freedom.
     As soon as Freedom informed me of that I paid that money to Freedom immediately. In any event, I was
     not late during these months.

             The inaccurate reporting of a balance which I do not owe has already negatively affected my credit
     worthiness.


             Please reinvestigate this matter and delete this item as soon as possible.

     Sincerely,


     Akmal Jamal Grant
     Enclosures: Credit report and mortgage statement.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 119 of 219 PageID 124




                                                              pesmi
                                                                  t te
                                                               ogee
                                                               Paes 4.   *    f
                                                              oP Rinp elites se
                                                                             Fe
                                                                             a
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 120 of 219 PageID 125




   EQUIFAX
   CREDIT REPORT



  AKMAL GRANT


   Report Confirmation

  4719325055
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 121 of 219 PageID 126




   Dear AKMAL GRANT:
  Thank you for requesting your Equifax credit report. Your credil report contains information received primarily from companies which
  have granted you credit. Great care has been taken to report this information correctly. Please help us in achieving even greater
  accuracy by reviewing all of the enclosed material carefully.
   If there are items you believe to be Incorrect, you may

        + _ tnitlate an investigation request via the Intemet 24 hours a day, 7 days a week at:
                  hittps:/Awww.equifax.cony/parsonal/credit-report-eervicee/credit-ispute/
        *   Please mail the dispute information to:
                Equifax information Services LLC
                  P.O.
                   Box 740241
                  Atfante,
                      GA 30374
        *   Call us at 866-349-5168                                                                                                      .

  Please note, when you provide documents, Including a latter, to Equifax as part of your dispute, the documents may be submitted to one
  or more companies whose information are the subject of your dispute.
  You have the right to request and cbtain a copy of your credit score. To obtain a copy of your cradit score, please call cur automated
  ordering system at: 1-877-SCORE-11.




  ERUEAN                                                     AKMAL GRANT | Aug 08, 2024                                        Page
                                                                                                                                 2 cf 88
a        Case  3:24-cv-01182-BJD-SJH
    sseomusomoiunen
            ls         Senet shea eh Document 1-1 eeFileden 11/18/24
                                                             ee      Page
                                                                       Se   122 ofem
                                                                                  219 PageID 127
                                                                                              tee
         8
         i
                      ioewe    ‘
                                                  oe
                                                   ie a a ar
                                                                     ot ie a oe ia
                                                                                    ai       SF




                      1. Summary
                      Reviewthis summary for a quick view of key information contained in your Equitax Credit Report.
                      Pe Vics ayiayyleeree cote heey) Gelade omcora                    iy eh Simiie ia a priate fer Regec ge ck cary tuaen Oyre gel un
                      Eo:art
                        port: DateeesLede
                                      te CHID SEM Seanaee
                                 EG Raed          MRL ts ELASSaarieperenneGee     sn
                                                                   BE COO eames caecat Othe CRE Oe
                                                                                                basins ual a adenakab Mnghia
                                                                                                                         a aahoePace
                      Credit File Status  No fraudIndicator
                                                       on file.
                       12 tpt aloe ue ra a                                                                                                a ae              erat                  tenement tater nates
                      Alert Co ntact SetsoO
                                          Ganges        Bord                                                                                          ee                                                                                  f
                      Average Account Age                                                           9 Years, 2Months
                      ws Peas faa ci     i on    ge aan tin a                                   a        cra a pho                                                         a li        macy
                                                                                                                                                                                         i rr acini wi nintn
                       ongth
                      Piatt ele
                                   of Credit Histoyahd
                                                     = kgnt ano,gears
                                                                 come ree OMe
                                                                          pled) OCG
                                                                                                                               ee a at cen Ware ete ye oe
                                                                                                                             eee aun ae                                                        cumeue a eneeg
                      Accounts with Negative Information                                            fA
                      De ee
                          ee e an ee nee Barn oe net Se eee                                                                             TMTROC SITE ee SECCre Calas Lesa i, eee                                                     eee
                      Oldes ‘Acco Ne goesISBOVERIBANK (Snanedt Novendoetle a et pee
                      Belen nema | eee act oe Tas enya eee naar PN UT ies) Sieh calcope Gel Same ne caues uh ae ee A!
                                                                                                                    Aco ge                                                                              ee
                      Most Recent Account                     NAVY FEDERAL CREDIT UNION (Opened May 13, 2024)


                               edit Accounts

                      Yourcredit reportincludes information about activity
                                                                        on your credit accounts that may affect your eredit score and rating,
                      Account Type               Onen           With Balance           Total Balance          Ayalagie              Oredit Limit             Bebtta-Credit                      Payment                               F

                      menting                 ae                pee eI ca a ea nei ene acta aie                                                        Gr eae)             Seite               aie        Outi ege
                                                                                                                                                                                                                 =8
                      aeee a oe                                                                                                  a ete Ce ab                                      ie oe ee
                                    .           ia          -                  raat        i         i   i         a       ica eee Sata                 R         i Sa a      i    a s          ee. ss              een
                      Mortgage                   1              1                     $358,966                $26,408:              $383,374                 93.0%.                            $2,415
                      Other


                      Total                      1              10                     $418,022               $65,258              $483,280                  24.0%                             $4,030

                      Other Items

                      Your credit report includes your Personal Information and, if applicable, Consumer Statements, and could include other items that may
                      affect your credit score and rating.
                                                                     ‘




                      MAE               Let      ee    TO tec Tia Toa etn sive saath EE cee gees oR      CMR Tiel pre nett
                                                                                                                         Ramenig Gti sae SS NCS Sea         aa
                                                                                                                                                             A aN          FATE
                                                                                                                                                                             TS Foy See Ta      eo MAC UO CORR             CR       ea
                      ConsumerStatementé”
                      TE ol
                                          98 5B           oe ieOM 8 CN ga ausallaPg MENGga
                              La AO BRANES Ri RE heedge SRR UD Ae IAT AMOS RUT AAMRIT ede Tal) CAMS
                                                                                                          tek oe Ran meeaeemcee
                                                                                                  LAY RT goa Pee Aro”
                                                                                                                           aes teicoume
                      Personal Information                                                                                                                                                              3 Items Found
                      Pe        ao        anes Get ait Maneres                        meMena
                                                                                           a maar enancy ist enere a pec geat eth AtaM ume Lore               EMOTO
                                                                                                                                                                  Mr oa i cre                  tlm tgia ion     Ar         ee
                      aE cee alia                                   NPR Raa a Roneae fa GENO.
                                                                                          DOSE SCR RL
                                                                                                    iC nem DEN aimee                                                                                                   Re
                      Most Recent inquiry                                                           EQUIFAX- TALX Aug 06, 2024
                      Public Records                                                                                                                                                                  ‘0 Records Found
                           biast        eeeGis bi     toes aren er 7k) rime)   Nae naar
                                                                                      Ge       Reet
                                                                                                 oes Ome ann conta One      en aN yas te om eon   ae WA a   OMe    a rds   sams to n bap ctu     YJ           PUM          SF OURG
                      a                                                                                                Te           i GSle




                      QuiIrFAX                                                                      AKMAL GRANT
                                                                                                            | Aug 06,2024                                                                      «Page's
                                                                                                                                                                                                    of 66
                      Frsimnary
                        ,       wf D coamevahiig
                                        t      ” pe Message) , alton' t sas Our)
                                                                             a   Surenents
                                                                                     a     Pen aroline)
                                                                                                    reerInubles )Tiic   cons rum
                                                                                                                  an am cocoon coma
                                                                                                                                  nancy |                                                             alae                      ‘




                                                                                                                                          een                                                         LS             pe,
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 123 of 219 PageID 128




   3. Mortgage Accounts
  Mortgage accounts are real estate loans that require payment on a monthly basis until the loan is paid off.
   3.1 FREEDOM MORTGAGE


   Summary

   Your debt-o-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
   calculated by dividing
                       an account's réported balance by Its credit limit,
   AcochE Nabibes | ee ee oyea                                         BE
                                                                        Se Re re Ee aR ag
                                                                                        ec Ema, Weeer gan
   Aecoimenumine
   Account Status
                     eo                         PAYS_AS_AGREED
                                                                       eee       oe
                                                                            Avaliable Credit
                                                                                                  Se
   Account History

   The tables below show up to 3 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
   crédit limit, amount past due, activity designator, and comments.

   Balance




   2023 $365,269 $366,269 $365,269 $364,538 $963,850 $389,160, $364,991 $363,607 $363,002 $362,905 $351,607 $450,890.

   2024 $360,502 $359,798 $350,003 $358,386 $357,677 $356,966                                                                         P
   Available Credit


                                                                                                                                                :


   Pi .                .       “                     -                 ens ees        SaaS                ae     CST a aa ise             cea
   2023

   2024



  Scheduled Payment




   2023   $2,261     $2,261        $2,366   $2,366       $2966   $2366      $2,966     $2,366     $2366        $2,966   $2966      $2966
   2024   $2366      $2415         $2415    $2415        $2415   $2,415


  Actual Payment




  EQuirax                                                  AKMAL GRANT
                                                                   | Aug 08, 2024                                               Page
                                                                                                                                  44 of 86
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 124 of 219 PageID 129




   2023     $2,611                         $2411       $2966      $2,986   $2492       $2966   $2366   $2,366       $2366      $11,834

   2024              $2415     $2415       $2496       $2481      $2,481


   High Credit

  Aiea                                                                                         Sono
   2022                                        _                           0            SSSSS'SBB
                                                                                           STS SBBGBTA $383,874. $383,374
   2023 $383,374 $383,374 $383,974 $383,374 $383,974 $383,374 $383,374. $363,974 $983,574 9383,374 $363,374 $383,374
   2024 $383,974 $383,974 $883,974 $383,874 $389,574 $383,374                                                   |

   Credit Limit

   aa
   2023


   2024



   Amount Past Due




   pene                  ae                        s        hi baa a               seo ra meee Ger
   2023      $0
   2024



   Activity Designator




   2023

   2024


   Comments
          1




  02/2023                    Consumer disputes this account information




  EQuiBax                                                 AKMAL GRANT | Aug 06, 2024                                        Page 46 of 86
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 125 of 219 PageID 130




  Le PA                           el a                                     lon    see
   03/2023       .   Consumer disputesthis aecount information — ——
   04/2023           Consumer disputes this account information
   05/2023           Consumer disputes this account information
   062023            Consumer disputesthis account information
   07/2023           Consumer disputes this: account information
   08/2023           Consumer disputes thisaccount information
   0972023           Consumer disputes this account information.
   10/2023           Consumer disputes this account Information
   11/2023           Boneonar disputes thisaccount information
   12/2023           Consumer disputes this account information
   01/2024           Consumer disputes this account information
   02/2024           Consumer disputes after resolution
   03/2024           Consumer disputes after resolution
   04/2024           Consumer disputes after resolution
   05/2024           Consumer.disputes siseoneediiien
  06/2024            Consumer disputes after resolution

   Comments
          2



   2 Loe
   a
     aaa ETTIGa anaes
             :   ’   a a                     pclae          Se
                  a   Ee mi)
                                                                                        :
                           a
                                                                                                     7

  04/2023            Real estate mortgage
  05/2023            Real estate mortgage
  06/2023            Real estate mortgage
   07/2023           Real estate mortgage
  08/2023            Realestate. mortgage
  09/2023            Real astate mortgage                                                                ;
   10/2023           Real estate mortgage:
   11/2023           Real estate mortgage

   4272023           Real estate mortgage
   ot/2024           Real estate mortgage




   —                                                 AKMAL GRANT I/Aug 06) 2024             _Page
                                                                                              46 of 86
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 126 of 219 PageID 131




  7                      SSE                   a a a                             cee ek Heer ne
   oon              ee ae                                  aaa                                 a                     ear
  03/2024                   Real estate mortgage
  04/2024                   Real estate morgage
   05/2024                  Real estate mortgage
  06/2024                   Real estate mortgage                                           .

   Comments 3




   Mae”                     8 TSG                             sea                         eee
   04/2023                  Fha morgage
  05/2023                   Fha mortgage
  06/2023                   Fha mortgage
  07/2023                   Fha mortgage
  08/2023                   Fha mortgage
  092023                    Fha mortgage
   10/2023                  Fha mortgage
   4142023                  Fha mortgage

   12/2023                  Fha mortgage
   01/2024                  Fha mortgage

   02/2024                  Fha mortgage
  03/2024                   Fha mortgage
  04/2024                   Fha mortgage
  05/2024                   Fha mortgage
  06/2024                   Fha mortgage

   Payment History

  View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the humber ofdays a
  payment was past due; the letters indicate other account events, such-as bankruptcy or collections.          =


             ae                ues                 ie   wee aoeae oe 5 Tee a Se SSS                                  SR RE é




  BQUIFAX AKMAL GRANT i Aug 06, 2024 _ _ _ Page 47.08 86
  LE                         ES RS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 127 of 219 PageID 132
                                                                                             Set                                       SSIS           eats ener ee ee




               2023                   yd       30         ‘60           60        60              60              60          60              60             60             90:           Pv
                 2022                wot      GO          «Se GRECO RRCEC                                                                     CU             30             a            Oa

    « Paid on Time                  30 30 Days Past Due            60 60 Days
                                                                           Past Due                         90°90 Days Past Due                         120.120
                                                                                                                                                           Days Past Que
   180 150 Days PastDue          180 180 Days Past Due              V VoluntarySurrender’                        =F Foreclosure                         © Collection'Account
    CO Charge-Oll                   B includedinBankruptcy          A Repossession                         TN Too New to Rate                          S28aiNo
                                                                                                                                                          Data Available

   Account Details


   View detailed information about this account. Contact the creditor or lender if you have any questions about it,
   ee                                         eMail
                                                  ie iets Sag                                       et me ee                eeWET RTRe pe tern ee Tee
                                                                                                                                                    eee
   High Creee EOsaisara                                                            Crap eapominniy                                                ee2 ANDIVIDUAL
   CreditLimit                                                                             “Account Type:                                                                         MORTGAGE
   Tacck  Pamela          Ii) es
   Jens Rrequencys oS oct aris         okt
                                           I         II
                                                MONTEL.
                                                                                   RIEeae aR
                                                              oo)tie sgh ORNS SOCEM Cy lel
                                                                                           i a ea  RRae ew
                                                                                                         ote TEARS
   1 EE aR ae CRE ck a hese ORNS
                              RS Lat UR ahi CM ios oS ARS A aM ERP dabei ROE            Ra es a, ee  i ae = a” Bae:
  Balance                                                          $358,066                ‘Date Opened                                                                         Feb 26, 2021
   «i hay re ge                                     xc            hie
                                                                    gmatte omer rian
                                                                                  etc et ra                                                                             me escs rity
   HOUR
     ie Smee ita acta aa eein te cores DearmeMs HAR One wong cor Phin, S                    Rhy     SOUea ie eer Goa               ls ne        CR”     Wael            SarsCone cate
                                                                                                                                                                                    oy:
   Actual Payment Amount                                            $2,481                 Date of LastPayment ~                                                                     dun 2024

  Months Reviewed                                                            ad            ‘Delinquency
                                                                                                 First Reported
   NSois Eps 2 ISISBE ELS oe                                                               SE EO                                     tis PAE DO HL aah

                                -                     s           sri                  f          Sa ee                   ee oe mee earee                     ee
  Loan Type                                Federal Housing Administration                  Date Closed
                                                    Real Estate Mortgage
   SG       Taser ai AeOn hereon Geant ar URE Lria
                                                i PERM      cP
                                                             M TK PME Leyte Ct )xcUR MES AE PURE eg aMFane ene mcmtgases
                                                                                                                       ces he A | ovat Leg ae Fe Reema
    sta   nt Cleat Dell hither ee Ms: eee gan ie SER CAR ANames iat Oe aan                        BERETS GE EGOS OMNES Ee mie ap ate cn yc tek Bs CA 98 hy        baptist    RAN, ReatGe tae al” ia


   Comments                                                                                               Contact:
   Consumer disputes after resolution                                                                     FREEDOM MORTGAGE
                                                                                                          1 98         EXIT 5PRKWY BLDG4
   Real ast   ariga                                                                                       11988
            penne                                                                                         Fishers,INEXIT 46037-7939
                                                                                                                          5 PREWY BLDG
  Fha mortgage                                                                                            (817) §37-3748




  EQUIFAX                                                          AKMAL GRANT
                                                                           | Aug.06, 2024                                                                                      Page.48 of 86
   Pi PPT ECA M Hevmviig o>) Mortgage ‘a trigtattonnenyt ?              Oe        i statements > Parsenal tsfo:> thavirion                             oS Publis Rec vets         Oniiecwarts :
                      SCC   Sea
                             ea ARREARS                    eave          TOE RE ET TE                        TRAE          WP       MERE HR Br
                                                                                                                                             Tn ra
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 128 of 219 PageID 133




            Personal Credit Report for:
           AKMAL GRANT                                                                                                          :


            Fite Number:
           417189327




            Date Created:
            08/06/2024




Visit transunion.com/dispute to start a dispute online.

If you are experiencing a financial hardship related to a public health emergency or your personal circumstances, you can add
a consumer statement to your credit file to explain your situation by visiting us atwww.transunion.com/credit-help
£, Personal Information

You have been on our files since 11/01/1998. Your SSN has been masked for your protection.
|    nnn                                                            ——   aaa                                      aaa,
| Credit Report Date
| 08/06/2024

: Soctal Security Number
or
' Date of Birth


| 12/02/1980
| Name
| AKMAL JAMAL GRANT

Addresses

Fo                                                 A                A
| Current Address
    142 WATERVALE DR SAINT AUGUSTINE, FL 32092-1768

i Date Reported
03/27/2021                                                                                       .




| 3565 LOCHDALE TERRAC LEXINGTON, KY 40514

    Date Reported
| OV/31/2007


    https://ennualcreditreport.transunion.com/dss/disclosure.page                                                        ves
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 129 of 219 PageID 134

Phone Numbers


' Phone Number
| (859) 948-3235
|
; Phone Number

|i (04) 671-2423
| Phone Number
| (948) 323-3235

Employers


| Employer                                                                                                                          i
     LIQUID WEB                                                                                                                     ‘

                                                                                                                                    :
    Date Verified                                                                                                                   i

    05/09/2024

fit Accounts


Typically, creditors report any changes made to your account Information monthly. This means that some accounts listed
below may not reflect   the most recent activity until the creditor's next reporting.
                                                                                  This Information
                                                                                                may include things such as
balances, payments, dates, remarks, ratings, ete. The rating key Is provided to help you understand some of the account
information that could be reported. Pay Status represents the current status of accounts and indicates how you are currently
paying. For accounts that have been paid and closed, sold, or transferred, Pay Status represents thelast reported status of
the account.


Payment/Remarks Key.




i                                                                                                                              :

H    OX Current, paying or paid as agreed                                                                                      :
: N/R Not Reported
: x Unknown
i 30 Account 30 days late                                         ,                                                            :
: 60 Account 60 days late                                                                                                      :
i 90 Account 90 days late                                                                                                      :
H   120 Account 120 or more days late                                                                                          i
4                                                                                                                              Fi

i coL Transferred to collection                                                                                                :
‘ vs Voluntarily surrendered


: hitps://annualcreditreport.transunion.convdss/disclosure.page                                                           eS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 130 of 219 PageID 135

i

            April2024                    May 2024                     June 2024       July 2024

|             Balance
                —                         Balance
                                            ---                         Balance
                                                                         ---          Balance
                                                                                         $0


 | CreditLimit                         Credit Limit                   CreditLimit    Credit Limit
 i                                                                                                                                                     .
 |          High Credit                 High Credit                   High Credit    High Credit
                nee                         ns-                          a--            $660
             Past Due                    Past Due                      Past Due       Past Due
                ---                         ---                          ---             $0


i          Ameunt Paid                 Amount Paid                    Amount Paid    Amount Paid
                ---                         _                            “==             $0




| ScheduledPayment
       Remarks
                   ScheduledPayment
                        Remarka
                                    ScheduledPayment
                                         Remarks
                                                     ScheduledPayment
                                                          Remarks
                ---                         ---                          cee        CBC/CBG/CLO

                 OK                          OK                          OK              OK

|                                                                                                                                   TotalMonti
| FREEDOMMORTGAGE"
|      Account Information                                                                                           .                            |
J                                                                                                                                                 i

       Address                                                                            11988 EXIT S PRKWY BLDG #4 FISHERS, IN 46037
Ne
}                                                                                                                                                 i

|      Phone                                                                                                             (866) 369-2012           :
pS




| Monthly Payment    $2,415
| |
| Date Opened     02/26/2021
Peet                                                                                                                                              :

| Responsibility                                                                                                     Individual Account
a
|      Account Type Mortgage Account :
FP     ;

| Loan Type                                                                                               FHAREALESTATE MORTGAGE                  =:
ae
} :
| Balance                                                                                                                     $356,966            ,

     https://annualereditreport.transunion.cony/dss/disclosure.page                                                                       2208S
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 131 of 219 PageID 136


|
i
       Date Updated                                                                                    06/30/2024        :
ae:
‘
|
       Payment Received                                                                                     $2,481       :


| Last Payment Made                                                                                    06/26/2024
| PayStatus                                                                         Current;PaidorPayingasAgreed
| Terms                                                                 $2,415permonth,paidMonthlyfor360months
|| High Balance (Hist.)                                              Highbalanceof$383,374from10/2022  to 01/2023;
                                                                                  $383,374 from 12/2023 to 06/2024       i
nn

| Payment History                                                                                                        |


|                                                                                                                        :


|
1                                                                                                                        i



|                                                                                                                        :
                                                                                                                         :
|                                                                                                                        ;



|
                                                                                                                         :




|                                                                                                                        !




|                                                                                                                        |
                                                                                                                         |




|
|                                                                                                                        |

    hitps://ennualcreditreport.transunion.com/das/discl osure.pape                                                   BRS .
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 132 of 219 PageID 137



| September 2021                     October 2021               November 2021      December 2021   January 2022   February 2022
| Balance
|               oo-                      Balance
                                            aoe                        Balance        Balance        Balance-       Balance
                                                                                                                      ---
|            Past Due                   Past Due                      Past Due       Past Due        Past Due       Past Due
|               ==                          ==                          ewe            ose             een            eaa=
|         Amount Paid                 Amount Paid                    Amount Paid   Amount Paid     Amount Paid    Amount Paid
|               ---                         _                           ---            oe              ---            ---
| Scheduled Payment ScheduledPayment ScheduledPayment ScheduledPayment ScheduledPayment Scheduled Payment
:               ane                         —                           —              —               eee            ---
|
i
             Remarks
                wee
                                         Remarks
                                            woe
                                                                       Remarks
                                                                        ---
                                                                                     Remarks
                                                                                       ---
                                                                                                     Remarks
                                                                                                       aus
                                                                                                                    Remarks
                                                                                                                      nee



              Rating                      Rating                       Rating         Rating          Rating         Rating
|
i
                 x                           x                           x              x               x              x
|          March 2022                  April 2022                     May 2022      June 2022       shily 2022    August 2022
i
ii           Balance
               =o
                                         Balance
                                           aan
                                                                       Balance
                                                                         ane
                                                                                     Balance
                                                                                       was
                                                                                                     Galance
                                                                                                       ---
                                                                                                                     Batance
                                                                                                                       won



             Past Due                    Past Due                     Past Due       Past Due        Past Due       Past Due
|               ---                         ace                         ane            wan             wee            ---
|
i         Amount Paid                 Amount Paid                    Amount Paid   Amount Paid     Amount Paid    Amount Paid
i               —                           ---                         ace            ---             ons            ---
|
: | Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment ScheduledPayment Scheduled Payment




              Rating                      Rating                       Rating         Rating          Rating         Rating
                 x                           x                           x              x               x              x



|
|
|
t
                                                                                                                                  ,
i
j
]




     https://annualcreditreport.transunica.com/dss/disciosure.page                                                                    2A/RS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 133 of 219 PageID 138

i




| | September 2022                  October 2022               November 2022      December 2022   January 2023   February 2023
|            Balance                    Balance                      Balance         Balance -      Balance        Balance
|              ---                     $375,126                      $372,644       $365,269       $365,269          one
            Past Due                   Past Dus                      Past Due       Past Due        Past Due       Past Due
!              ---                       34.278                         $0          - $0              $0             --*

j         Amount Paid                Amount Paid                    Amount Paid    Amount Paid    Amount Paid    Amount Paid
               ---                         $0                         $13,335         $260            $0             ---
      Scheduled Payment          Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment
               ---                       $2,272                       $2,261         $2,261          $2,246)         ---

            Remarks                    Remarks                       Remarks        Remarks         Remarks        Remarks
i              ee                          “os                         ---            AID            DRC             ---
             Rating                      Rating                       Rating         Rating          Rating         Rating
               OK                          30                           OK            OK              OK              30
f
i
{


i


            Batance                     Batance                      Balance         Balance        Balance        Balance       -
i              woe                         ---                         ---            -<-             ---            ---




|           Past Due
               ---
                                        Past Oue
                                           ---
                                                                     Past Due
                                                                       noe
                                                                                    Past Bue
                                                                                      ---
                                                                                                   Past Due
                                                                                                      ---
                                                                                                                   Past Due
                                                                                                                     wwe




\        Amaunt Paid                 Amount Paid                Amcunt Paid       Amount Paid     Amount Paid    Amount Paid
i              wwe                         ~—a                         rel            awe             mae            ewe




|| SchedRemarks
        uled Payment SchedRemarks
                          uled Payment SchedRemarks
                                            uled Payment SchedRemarks
                                                              uled Payment SchedRemarks
                                                                                uled Payment SchedRemarks
                                                                                                  uled Payment
|              ---                        wee                          wae            ---             ---            mee
             Rating                      Rating                       Rating         Rating          Rating         Rating
                60                         69                          60              60             60             60
i




t




|
|
{
!
t
|

|
    bttpa://anntalereditreport.transunton.com/dss/disclosure.page                                                                    25785
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 134 of 219 PageID 139

i
|


| | September 2023
J
                                     October 2023               Novernber 2025     December 2023   January 2024    February 2024    .



             Balance                     Balance                      Galance         Balance        Balance         Balance
                ---                         ---                         ---          $360,896       $360,502         $359,798
|            Past Due                   Past Due                      Past Due       Past Due        Past Due        Past Due
|               ---                      coe                            ---             $0             $0               $0
           Amount Paid                Amount Paid                    Amount Paid    Amount Paid    Amount Paid      Amount Paid

                ---                        oo                           “7°           $11,634          so             $2,415
|
      Scheduled Payment Scheduled Payment Scheduled Payment ScheduledPayment Scheduled Payment Scheduled Payment
                w+                          ---                         ---           $2,366         $2,366           $2,415
             Remarks                     Remarks                      Remarks        Remarks         Remarks         Remarks
i
t
                nee                         ---                         =              pre             pro             DRC
              Rating                      Rating                       Rating         Rating          Rating          Rating
|i               60                         60                           90            ox              Ox               ox
i
¢




| March 2024                           April2024                      May 2024      dune 2024
|            Balance                     Balance                      Balance         Balance
|
i
            $359,093                    $358,386                      $357,677       $356,966
i            Past Due                   Past Due                      Past Due       Past Due
i                $0                         $0                           $0             $0
          Amount Paid                 Amount Paid                Amount Paid        Amount Paid
|       $2,415           $2.496             $2,481           $2,481
| Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment
|             $2,415                      $2,415                       $2,415         $2,415
i

             Remarks                    Remarks                       Remarks        Remarks                                                        |
                ORC                        DRC                          DRC            ORC
              Rating                      Rating                       Rating         Rating
i               OK                          OK                           OK             OK

|                                                                                                                                  Total Monti

|                                 ,                                                                                                             !
       NAVY FEDERAL
                 CR U,                                ene


| Account Information                                                                                                                           |
                                                                                                                                                |

|      Address                                                                                        POB 3700 MERRIFIELD, VA22119
Pn

| Phone                                                                                                             (800) 914-9494
ne
     https://annualcreditreport.trensunion.com/dss/disclosure.page                                                                      26/85
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 135 of 219 PageID 140

     2/6/24, 2:38 PM                                                        Annual Credit Report - Exporian
                                                                                                                               Prepared For



                                                                                                                  Personal & Confidential

                                                                                                               Date Generated Aug 6, 2024
                                                                                                              Report Number 2049-4349-69


                  Ata
                  Glance                     18 Accounts                   0 Public Records                       1 Hard Inquiries

                   Personal Information

                             5 Names                      g Addresses               Q Employers                   6 Other Records


                   Because your personal Information is reported by you, your creditors, and other sources, it’s typical to
                   see small variations in reported personal information, like names and addresses. For security reasons,
                   manyof these items can't be disputed online, but don't worry—they don't affect your credit score.


                   Names



;                      AKMAL GRANT                        AKMALJ GRANT               AKMAL JAMAL                    GRANT ANMAL
                       Name ID #879                       Name (D #24420             GRANT                          Name iD #6050
                                                                                      Name ID #31871



                       GRANT AKMAL

                       Name ID #1978




     hitpe:/fuisa.experian.convace/printReport type=CDI                                                                                       uD
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 136 of 219 PageID 141

 8/6/24, 2:38 PM                   _                 __               Annual Credit Report - Experian
               Addresses



                   142 WATERVALE                     14701 BARTRAM              2825 COUNTRY            2015 REED AVE
                   OR                                PARK BLVD                  SIDE DR                 JACKSONVILLE
                   SAINT                             APT612                     GRANGE PARK FL,         Fi., 32207-8729
                   AUGUSTINE FL,                     JACKSONVILLE               32003-4907              Address [D
                   32092-1768                        Fl, 32288-5291             Address 1D              #0061566285
                   Address ID                        Address ID                 #0591265121             Single family
                   40931852843                       #0708920526                Single family
                   Single family                     Multifamily


                   2325 COUNTRY                      161 OLD LOVERS             2834 CARTESIAN          161 OLD LOVERS
                   SIDE DR APTH1                     LN APTI                    DR                      iN #1
                   FLEMING ISLE FL,                  BOWLING GREEN              CHARLOTTE NC,           BOWLING GREEN
                   32003-4907                        KY, 42703-7933             28214-8895              KY, 42103-7933
                   Address {D                        Address ID                 Address ID              Address (D
                   #0900903181                       40877161042                #0639554067             #0990717441
                                                     Apartment                  Single family           Apartment
                                                     complex                                            complex

                   142 WATERLINE
                   BR
                   JACKSONVILLE
                   FL, 32259-2306
                   Address ID
                   #0950186403
                   Single famity




           ————

           | Yearof Birth
               1980




 hittps://usa.experian.com/aceprintReport?typeoCDI                                                                        2199
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 137 of 219 PageID 142



              Phone Numbers



                  (859) 948-3235                     (859) 230-0952                        (889) 272-7790
                 Cellular                            Cellular                              Residential




          | Notices                                                .                                                |
              This address has pertained to a business: 142 WATERVALE DR ST AUGUSTINE FL 32092.




              ENGINEERING-MANAGEMENT SERVICE: 142 WATERVALE DR, ST AUGUSTINE, FL, 32092.




              Accounts

              includes credit cards, real estate loans and Installment loans. This Information is reported to the
              credit bureaus from your creditors.


              AFFIRM INC                                                                                            |
                      Account Info

                      Account Neme                                     AFFIRM
                                                                            NC

                      Account Type                                     Unsecured
                      Responsthility                                   individual
                      Date Opened                                      os/20/2024
                      Status                                           ‘Cpen/Never late.
                      Stetus Updated                                   Ju) 2024
                      Balence                                          $168
                      Belence Updated                                  07/02/2024
                      Recent Payment                                   $35 a of6/20/2024
                      Monthty Payment                                  $35
                      Original Balance                                 $199

                      Highest Balance                                  -

                      Terms                                            6 Months


 https//usa.cxperian.com/ace/printReporttype-CDI                                                                        “9
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 138 of 219 PageID 143

     8/6/24, 238 PM                                                           Annual Credit Report - Experian
                            Between Aug 2022 and Jun 2024, your credit limit/high balance was $13,600


                            Contact Info

                            Addrese                                                  PO BOX 0989,
                                                                                     SALT LAKE CITY UT 84130




               |            PhoneNumber                                              (820)247-2663
                      FREEDOM MORTGAGE CORP

               |          POTENTIALLY NEGATIVE


               ||           AccountInfo
                            Account Name                                             FREEDOM MORTGAGE CORP

                            soso Number
                            Account Type
                                                                                    aFHA Mortgage
                            Responsibility                                           tndividual
                            Date Opened                                              02/26/2021

               |            Status Updated                                           Dee 2023
                            Balance                                                  $356,966
                            Balance Updated                                          06/30/2024
                            Recent Payment                                           $2,481as of 6/26/2024
                            Monthfy Payment                                          $215

               i            Original Balance                                         $383,374
                            Highest Batance                                          -
                            Terms                                                    30 Years




               | [$s] Payment History
               |
               |



               |                J            F        M        A     M         J          J         A           $s   0    N    D
               | mre v4                               MMM
               | 2023           ¥          30        60        60    60       60         60        60           60   60   $0   Yd
)              | 222 -
               i
                                             -        -        -     =         =          =         =           ¥    0    Vv   v
               1
               {
                     S      Current/Termsmet              30 Past
                                                              due 30 days
               |     60     Past
                             due 60 days                  SO   Past
                                                                due 90 days
               | Payment history guide
               | 90 days past dueas of Nov 2023
               !

     httpsi//use.experian.com/acriprintReportitype=CDI1                                                                             18/59
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 139 of 219 PageID 144

     8/6/24, 2:38 PM                                                     Aosta! Credit Report - Experian
               | 60 days past due as of Mar 2023 to Oct 2023                                                                 |
                  30 days past due as of Feb 2023, Oct 2022

                  By Oct 2029, this account is scheduled to go to a positive status.


                           Balance Histories


                             Date                   Balance    Scheduled Payment                      Paid

                             May 2024              $357,677    $2,415                                $2,481 on 5/29/2024
                             Apr 2024               $358,386   $2,415                                $2,496
                                                                                                       on 4/26/2024

              |              Mar2024               $359,093    $2,415                                $2,415 on 3/15/2024
              |              Feb 2024 $359,798 $2,415
                             Jan 2024              $360,502    $2,366
                                                                                                     $2,415 on2/14/2024
                                                                                                     $0 on 12/31/2023

              | Nov2023 $361,607 $2,366
                             Oct 2023               $362,305   $2,366
                                                                                                     $2,366on 11/15/2023
                                                                                                     $2,366
                                                                                                       on 10/14/2023


              |              Sep2023 $363,002 $2,366                                                 $2,366 on 9/14/2023
              |              Aug 2023              $363,697 $2,366                                   $2,366on 8/14/2023
                             Jul2023               «$364,391   «$2,366                               $2,432
                                                                                                       on 7/26/2023

              |              Jun2023               $363,160    $2,366                                $2,366on6/13/2023
                             May 2023              $363,850    $2,366                                $2,366
                                                                                                       on 5/8/2023
                             Apr 2023              $364,538    $2,366                                $2,411 on 4/3/2023


              |              Mar2023               $365,269    $2,366                                $0 on 12/7/2022
                             Feb 2023              $365,269    $2,261                                $0 on 12/7/2022

                             Jan 2023              $365,269    $2,261                                $0 on 12/7/2022
|                            Dec 2022              $365,269    $2,261                                $2,611 on 12/7/2022
                             Nov 2022              $372,644    $2,261                                $13,335 on 11/18/2022

                             Oct 2022              $375,126    $2,272                                $0 on 9/29/2022
                             Sep 2022              $375,801    $2,272                                $2,272 on 9/14/2022          |
              |              Aug2022 $376,474 = $2,272
     httpe://usa.cxperian.convact/printReporttype=CD1
                                                                                                     $34,090on8/17/2022
                                                                                                             ;
                                                                                                                             |   19/59
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 140 of 219 PageID 145

 8/6/24, 2:38 PM                                                                  Annual Credit Report - Experian
                       Additional info

                       The original amount of this account was $383,374




              bd Contact Info
                      Address                                                 .          11988
                                                                                           EXIT 5 PAGWY,.
                                                                                         FISHERS
                                                                                             IN 46037



          |
                       Comment

                       Current:


                       Completed investigation of FORA dispute - consumer dleagrees.
                       Previous:


                       Completed investigation
                                         of FORA dispute - conaumer disagrees,

                       Feb 2024 to May 2024

                       Account information disputed by consumer (Moots requirement
                       of the Fair CreditReportingAct).

                       Jan 2024, Dec 2022




                       Reinvestigation Info
                       ‘This item wes updated from our processing of your dispute in Jan
                       2023.




          | NAVYFEDERALCRUNION                                                                                      |
                       Account Info

                       Accoum Name                                                       NAVY FEDERAL
                                                                                                 CR UNION
                       Account Number                                                   fe
                       Account Typa                                                      Secured Lean
                       Responsibifity                                                    individual
                       Date pened                                                        5/13/2024
                       Status                                                            Gpen/Never Izte.
                       Status Updated                                                    Jul 2024

                       Balance                                                           $6,359
                       Balance Updated                                                   07/31/2024
                       Recent Payment                                                    gt40
                       Monthly Payment                                                   $140
 hitps://usa.experian.com/aerfprintReport?type=CD1                                                                      ws
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 141 of 219 PageID 146
                                                    rence cenay                         ERE INONIONEV STATEMENT                                         iin ein
                            ae                      oe                                                                                Mortgage Statement
               FREEDOM MORTGAGES DALLAS,
                                    7% 75261-9008                                                                                         Statement Date 09/14/23


                          2:007-00812-00 12.400-401-090-00-000-000                                        | CustomerCare:                 Monday - Friday8:00am~  8:00pm ET |.
                                                                                                          7                                    Saturday  9:00am ~ 2:00pm ET |.
                                                                                                          | Find wson the-websatt               ww.freedommiongage.com |
                          AKMAL JAMAL GRANT                                                                                                                        Se             nS
                          142 WATERVALE DR                                                                [Loan Number                ee                                          i
                          SAINT AUGUSTINE FL 32092-1768                                                    ‘Payment Due Date:                                      Wolfs           |
                                                                                                          Eps pellevedee after 1016/25, $6569wisesum Bo
                                                                                                          |Amount Due**
                                                                                                          PropertyAddress: 142WATERVALEDR
                                                                                                                                                            $2,366.94 |
                                                                                                                                                                           sa :
                                                                                                                               SAINTAUGUSTINE
                                                                                                                                         FL. 32092,




                Deferred
                  é
                          Balance                                                  $000 | interest,
                                                                                  aoa,| | Eschowimpound
                                                                                                         3 a        ee                     p94 5.325
                                                                                                       (for Taxes and/or Insurance) _..._.$724.66 |
                Interest Rate                                                    ‘3125%|| “Regular Monthly Payment                 "$2,560.94 |
                 Prepayment Penalty
                 Escrow Balance’
                                                                                 sg ng                | otal Fees & Charges“oe
                                                                                $4,854.75. | | Gverdue Payment:
                                                                                                                                                                        $007].
                                                                                                                                                                         $.00 |.
                Unapplied Funds                                                      $0.00 | | Unpaid
                                                                                                 Late Chames:                                                              ‘$.00|
                                                                                                          “‘Other/Optional Products                                        $.00 |
                                                             4        wea              cesncl1... otal Amount Duet*                               ssa            $2,366.54|


      i                               te                                  li ak ll                                                    l= sg
                                                                                                                                          = el
                ee                                  aa                                        a             a              a          a           a          aes           Se|
                Payment             cosas ony = oanayia’                    gaaha = TTR.                        Sets           gaan        sono              BO,           sono |




                 IMPORTANT NOTICE TO 1He EXTENT YOUR GBUGATON HAS SEENOWSCIARGED
                                                                           IVEANKALPTCY ISSUBIECT 10 AUROMATICSTAY
                                                                                                     TE      ONG MOWDED |
                 -FOMINA CONFIRMED PLAN, THISCOMMUNICATIONTS FOR REGULATORY COMPLIANCE ANEYOR KFORMATIONAL PURPOSES ONLY,ieAND OOES ©NOT“eee
                 CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TQ IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.                       see ‘

                Past Payments Breakdown                                             oe!                   HinpoktantMessages
                                                            ‘PailLast       =     Baki Year | | FREEDOM MORTGAGE CORPORATION                          IS ADEBT COLLECTOR
                                                                                                                                                                       = |
                            Month                                                  toDate | | ATTEMPTING TO COLLECT.A DEBT AND ANY INFORMATION: “oi”
                 Banepa81S                                                      $4,188.79 | | OBTAINED WILL BE USED FOR THAT PURPOSE. ~
                 interest $947.13                                               $5,709.89. | | 1F YOU ARE JINBANKRUPTCYOR HAVE BEEN DISCHARGED
                 Escrow (Taxes
                          and Insurance)                    $724.66             $4,347.96 | | BECAUSE OF A BANKRUPTCY PROCEEDING, THIS NOTICE IS
                ee Charg)             seg                                           ES || | REL            re                           DEBT AES    ety
                                                                                                                                                      ACT |
                Tata
                Foefarnoct Unapplied*  ce                                          : .00..| | ||THEDEBTHROMYOUPERSONALLY.
                                                                                                 TOCOLLECT, ASSESS, OR RECOVER ALL OR ANY PORTION OF °
                 Late                 $0;                                          $65.69:          {NTE D AS AN AT EMP TOCOLLECT  A          ORAS AN

                             ee posed                                           FA SZSS
                  Traci13)Frets: Ary (usta roe tt nea returned
                                                       San DOORNi,                                f   :                                                                                :
                 faepsnte tes acount wl wusaf funds arerecived
                 So atin pele payer                 re
                                                           to apply | Thi balance
                                                                             . representsthe a                   a
                                                                                             known Amount Dut asf the ping is
                 ‘**Amounts listed here wilinclude othenoptionalproducts,
                                                   i ;                     if applicable...
                                                                          inisiitisitaiag)                d |. tO-date
                                                                                                               samen, sbeebs
                                                                                                                       renstendmen Senceragaseeo
                                                                                                                                            nd gsSa
                                                                                                                                                  en tpt
                                                                                                                                                     “eeeof
           at                                vega    acey DUOMO
                                                             AL ORF aNOT 1Spovided,
                                                                               On Tie Dak OF WeRN                                                a oO       cs gone ex
          RRR ay SRG Hage                       BERRA ETS Bipshyt gest AAS ANS. he 18OTTOM PORTION Witte YOUR Pa jae                             ene                ee re eee ae

                  Loan iene: MMI                           acwac santas crane                                         365.69 late Yee wil be charged attr 101623              |
                                                                                                                     Additional Prindpal           $s
          <                                                                                                           Additional Escow:                 $           .
          =.       FREEDOM MORTGAGE                                                                                   Late Charge            i          Tene
          aD       P.O. BOX 6855:                                                                                         a rare
          TC       _GHIGAGO IL. so880-be58                                                                              TotalAmountEnclosed $s
          &                                                                                                              Make
                                                                                                                          check payable to FreedomMortgage
                                                                     CO         sn
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 142 of 219 PageID 147




                  To submit a RESPA Qualified Written Request (“QWR"), assert an error
                                                                                     or request information:
                                        about the servicing of your loan, you must use the designated address below,
                                                                                                                      “TO SUBMITA RESPA                             REQUEST
                                                                                                                                                                         FOR PAYOFF)
                              PAYMENT                                                                             QUALIFIED WRITTEN REQUEST                      GENERAL CORRESPONDENCE
                      PROCESSING
                    Freedom   Mortgage                                      OVERNIGHT
                                                                         Freedom Mortgage                                QW)
                                                                                                                       Freedom  Mortgage:                             Hausen  ngerions
                                                                                                                                                                       RO.Son SORE
                       P.O, fox 6656                            10500 Kincaid Drive, Suite 111                           P.O, Box $0428                          Indianapolis, IN 46250-0485,
                  Chicago fl.60680-6656                               Fishers, IN 46037-9764                       Widianapolis,(N 46250-0401                     Fax: B7P-233-SR43


            in casa oferfors oF questions about your electronic transfers telephonené us at 855-690-5900of write us at P.O, Bax 50428, Indianapolis,
                                                                                                                                            Nepalis, NAGISO-O4D1                                           as r
            soon a3 you can, if you think your statement or receipt is wrong or if you need more Information about a transter on the statement or receipt, We must
               hear from you no later than 60 days after we sent you the FIRST staternent dn which the error
                                                                                                         or problem appeared.
               (iJTell us your name and account number (if any).
               (2) Describe the error or the transfer you are Unsure about. and explain as clearly as you can why you believe it & an error. or why you Teed more
               information.
               (3) Tell us the dodar amncunt of the suspected error,
               We will Iivestigate your complaint  and will caitect any etvor promptly. (we take mate than 10business    day to-do this, wo wil credit youraccount
                                                                                                                                                               forthe
               amount you think Is if ertor, so that you will have the use of the monay duting tha time it takes us to Complete Gur Investigation.


           REALESTATE TAXES are paid rom ata bilinssed by pourkcal tadig authority. kicnot necessary| |Payment Croding «tf you are warclled in ourtometic payment drafting. your payment                       ved
           fregoute forward any regular tax bits ‘tage: Hive obed your tax bell, werwil eequest ttfromyou mn | | be credited each month on the date selected at the time of corallment, One-tinw payments
           writing.
            Mortdage,yoo
                      2.0,tense @ delinquent,
                           Bas 22670,         wduisted,
                                      Rochester,        neonrrented
                                                  Ni 14692,  You maytaxalto
                                                                         balfanplease
                                                                                  ad i torvenrd itty: Freedam ziea payinent,
                                                                                        BU7-H2R410,                   eivlatiPhaana
                                                                                                                              Sed aoanotepes
                                                                                                                                          that itele
                                                                                                                                                   mayauipnasiail
                                                                                                                                                       takin up ta 1-2 Clem atanday
                                                                                                                                                                       busines       aipndin
                                                                                                                                                                               days for      hilimeiplp
                                                                                                                                                                                        you payment to be”
           Supplemental bills are alten ined i additcn to yearly real estate tex bills and: ate your              displayed in your transaction
                                                                                                                                           history.
           jeaponsdblity to pay, Theyitare& netyourcofletted throughtoyourmaintain
                                                                             esurovy proper
                                                                                     aucount,asd sulficiont: haead|
                                                                                                               : |onsipl
                                                                                                                    Oo clanging
                                                                                                                         ag rigraan honed ietharp eian et hel
                                                                                                                                                            geist py hag rnp    gah ie ui
           isa
           HAZARD INSURANCE
                              fr yur shad nu fades fi nd coe Cio Cat te ri red a ne oe buses pitior, £6 thet neat
                            fequttid,    Pho
                                                      vesponsitidaty
                                                parce, To protect out roudual   iterest,   property, Werrequire                         we         rae
                                                                                                                                                                          Ras alearl
           evidence of proper insurance, tf you fai to provide evidence, we will purchase Lender Paced Wel You nan make your payments daitne, skmply vist os at wa treedormarigagé.com
                                                                                                                                                                                       raid
                                                                                                                                                                                        ‘          Lik

           Cowrageom yout behall, not lovhading your eqinty, andl charge your meron account,                      Huo en ewes ye ure ermine eee be iat e AA sa eee
           udp        saiklighsie gebsutenceinidgery sledsrcdparmesst ye degutcs bern essex ured enc tiratoeshod ta apply 950k roe pasion. :
                   nottly     your agent to-msystste that wt,                                 at a copy,which                   oepae                       ae  2
           includes you tao murbet, beter faved tocur isan Department ot 866-751-8324or| | Ona ect ranuet oe heckpares eos Ut omteabie oral eee oe to pbean 9 rape
                                                                                                                                                                     be       ye   te          dicta

           matted tox Freedom Mortgage Corporation, BADA 7 ATIMA, P.O. ox S050, Tey, MH AB007+1 | quote: plana send yous recisest in enting to the address or fax # ptovidled above or va email
           S00). For genetal questions séciartinig hazard insurance,
                                                              please cal 866-222-9005.           to FreedomPayotifinquestaifimedomiortqaie.com, You muy alsa cantect Customer’ Care at
           Earrequired pers   seamedwformation
                        Love Dratl      eee loLam 865-751-0968,,
                                                     at eats Someone Tey me at Paymetts   the numberbyprovided
                                                                                                        Mall » 70abou,                     z your check‘ uf money
                                                                                                                   acid trocesing delays make                : ofder
                                                                                                                                                                  apayablg 12
            YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES aiid woul St to peek to one of | | Preelom Mortgage are inchiée your fan number. Erste do Not sand cash oFeerespence
           our counselor ploost al BUSTING,                                                a a i and ecknd’®                               Tt a_i
           US ALAS    sethcertainyt“        Sn and seaef jurtauiait
                                                           eitoy | sco hi cera       tee, rdpore                    FaeafterSelah   on aot
           i secreCt wsRia AHHime    3 aceroa                     a | pick penalty
                                                                            Prine’ pal Payments + Dted             las fermscf your loan min
           a   %  shy             leq protwctionis                          dinyour Conditreport.Any. puyments recnived      the litepayment date -
           believe you ace  bencits,   ‘one Customer Care Departrnayit                               enencing upon the
           at 855-690-5900                                             Siow        : i          papalen
                                                                         f Pbpb fed ies nrg prodted           re       on jour on    et pencpel
                                                                                                                                          pepvs
                                                                                                                  ‘Cheek Prociuiig When you provide a chieck’as payment, you diuthotize as witht 18 use thy»
                                                                                                                  inkormalion froot your check to make a oncstina eloctranic [und tiated from your account
                                                                                                                  of te process the payment asa check Wamaction. When we ure information from
                                                                                                                  feaectsint
                                                                                                                         cca8 soonoeas theecon      nsmceleeteyourery
                                                                                                                                           same shy wie
                                                                                                                  your check back from yout financial Institution,
                                                                                                                                                                   payment and tan
                                                                                                                                                                            i
                                                                                                                                                                               you wal not ea
                                                                                                                                                                                           receive, Paap1 F
                                                                                                                                                                                                      i   a

            Ifyou are experiencing financial difficulties, we are here to help you, Call us today tolearn more about your Lows Mitigation optionsat =|
            855-690-5900 orby visiting our website at www.freedomimartgage.cam.                                                                                                                                          =a
            The right option for you depends on your individual drcunmstances, If you provide all required information and documentation about                                                                           oe
            yoursituation, wecan
            home (rafinance,
            foreclosure),
                                   determine
                             repayment,       ifyou qualifyfor
                                          forbearance,         temporary oforlong-termrelief,
                                                       loan modification)    leave your home including solutionsthat
                                                                                              whild avoiding          mayallow
                                                                                                             foreclosure         youortostaynisi)
                                                                                                                         {short sale   deed-in-iew of                                                                Hy
                                                                                                                                                                                                                     4

            You  mayobtaina   fistof HUO  approved, non-profit homeownerscounselingorganizationsservingyourresidential
            600-569-4287 or by visiting the HUD website atwww.hud.gov. —
                                                                                                                              areabycallingtoll  free                                                                &f




                                                                Change   of Mailing Address/Contact information
                                                                 Please provide your contact information below.

            Name.                                                    ie          le                   ce                 et ec                           a il
            RW                                   ce                tc                A                  tN                              a    te   ta ina

           GY ies eeu
                   sae ure cs cou                                                             Ieee                                       UNcaucus

            Puke"
                \ 8Sener (1)                                                                                                                 ee, > een

            Email                       icin
                                          Ai ncalniialiniihaalintin,
           Cell Phone Hoo © CD Peonserit for Freedom Mortgage to Contact me via this
                                                                                  cell phone number.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 143 of 219 PageID 148




                            EXHIBIT 27
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 144 of 219 PageID 149




                                                   August 7, 2024                                                 ’

     Akmal Jamal Grant                                                                                                ;
     142 Watervale Dr.
     Saint Augustine, FL 32092


     ag562y@pmail.com
                  235


     TransUnion Consumer Solutions
     P.O. Box 2000
     Chester, PA 19016

     Dear Sir of Madam:


             I am writing to dispute the following information in my TransUnion credit report. I have enclosed
     a copy of the pertinent pages ofthe report for your review.

             The report reflects a Freedom Mortgage account (account no. BF+++). Freedom Mortgage
     owns and services my mortgage. The report inaccurately states that I was past due 30 days in February
     2023, 60 days from March 2023, through October 2023, and 90 days in November 2023. This is not
     accurate.



            In August 2022 the Florida Department of Economic Opportunity awarded me assistance with my
     mortgage payments providing me with payments to catch up on my mortgage due to a forbearance I had
     previously and to cover payments moving forward for 7 months. When that assistance stopped I began
     making payments again. I’m attaching my mortgage statement dated 09/14/2023 as an example. That
     statement shows that I was not behind and was making payments. In December 2023 Freedom Mortgage
     informed me that the DEO had paid more than it should have and clawed back some money from Freedom.
     As soon as Freedom informed me of that I paid that money to Freedom immediately. In any event, I was
     not late during these months.

             The inaccurate reporting of a balance which I do not owe has already negatively affected my credit
     worthiness.


             Please reinvestigate this matter and delete this item as soon as possible.

     Sincerely,


     Akmal Jamal Grant
     Enclosures: Credit Report and mortgage statement.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 145 of 219 PageID 150




           Personal Credit Report for:                                                                                          |
           AKMAL GRANT




           File Number:
           417189327




           Date Created:
           08/06/2024




Visit transunion.com/dispute to start a dispute online.

If you are experiencing a financial hardship related to a public health emergency or your personal circumstances, you can add
a consumer statement to your credit file to explain your situation by visiting us at www,transunion.com/credit-help 7.
2, Personal Information

You have been on our files since 11/01/1998. Your SSN has been masked for your protection.

' Credit Report Date                                                                                               oo
»   08/06/2024

    Social Security Number


    Date of Birth




» Name
' AKMAL JAMAL GRANT


Addresses

    Current Address                                                                                                       —_
    142 WATERVALE DR SAINT AUGUSTINE, FL 32092-1768

| Date Reported
_   03/27/2021

: Other Address

    3565 LOCHDALE TERRAC LEXINGTON, KY 40514

. Date Reported
- 01/31/2007


    https://annualcreditreport.transunion,com/dss/disclosure, page                                                       1/85
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 146 of 219 PageID 151

Phone Numbers


-Phone Number
" (859) 948-3235
    Phone Number

! (904) 671-2423
f


; Phone Number

i (948) 323-3235



Employers
fo RR
| Employer
face cee eee cee nn ee meena                                    AeRt
                                                                   ne ee: |
|     LIQUID WEB
|                                                                                                                                     |
| Date Verified
| 05/09/2024
it Accounts


Typically, creditors report any changes made to your account information monthly. This means that some accounts listed                    .
below may not reflect the most recent activity until the creditor's next reporting. This information may include things such as
balances, payments, dates, remarks, ratings, etc. The rating key is provided to help you understand some of the account
information that could be reported. Pay Status represents the current status of accounts and indicates how you are currently
paying. For accounts that have been paid and closed, sold, or transferred, Pay Status represents the last reported status of
the account.


Payment/Remarks Key

| Ratings
      ox Current, paying or paid as agreed                                                                                      :
|     wn Not Reported

: x Unknown
; 30 Account 30 days late                                                                                                       :
: 60 Account 60 days late                                                                                                       E
: $0 Account 90 days late
; oe Account 120 or more days late
: co. Transferred to collection                                                                                                   :
: vs Voluntarily surrendered
:                                                                                                                                 i
|     ~6RPO Repossession                                                                                                          :


    hitps:/fannuafereditreport.transunion.com/dss/disclosure.page                                                         28s
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 147 of 219 PageID 152



                April2024                   May2024                      June2024        uty 2024
                     Balance                 Balance                      Balance         Balance
                      ---                      ad                          ---              $0
    }


    |           Credit Limit               Credit Limit                 Credit Limit    Credit Limit

    |                 ---
                High Credit
                                               ---
                                           High Credit
                                                                           ~+-
                                                                        High Credit
                                                                                          $300
                                                                                        High Credit
    i
    i


                 Past Due                   Past Due                     Past Due        Past Due
    |i                ---                      ---                         ---              $0
                Amount Paid               Amount Paid                   Amount Paid     Amount Paid
                      ---                      “+s                         _                $0




| ScheduledPayment ScheduledPayment Scheduled Payment ScheduledPayment
|                Remarks                    Remarks                      Remarks         Remarks
|                     ---                      ---                         ---         CBC/CBG/CLO
                     Rating                  Rating                       Rating          Rating
                       CK                      OK                           OK             OK




| FREEDOM MORTGAGHEEEEE***
|          Account Information
|Fa
 Address 11988EXIT5 PRKWY BLDG#4 FISHERS,IN46037
           Phone                                                                                              {866) 369-2012

           Monthly Payment                                                                             :             $2,415


i DateOpened
a
                                                                                                                 02/26/2020
                 L             ty                                                                          IndividualAccount           :
            R            Type                                                                              Mortgage Account
            ee
             VMuMNT '_——_ Orroroo Oe -                                                                                                 :
| Loan Type FHA REAL ESTATE MORTGAGE
fe a                                                                                                                                   tC
                                                                                                                                       i

;          Balance                                                                                                 $356,966

|                                                                                                                                      :
         hitps://annuatcreditreporttransunion.com/dss/disclosure.page                                                          22785
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 148 of 219 PageID 153

_    Date Updated                                                                                   06/30/2024             :
| Payment Received                                                                                        $2481

| Last Payment Made                                                                                  06/26/2024
|    8TO—oaoasV=E™—O—w—’v—l_l—O
     —-—     OO 8                                                                                                          en
; Pay Status                                                                    Current; Paid or Paying as Agreed          :

|    Terms                                                           $2,415
                                                                       per month, paid Monthly
                                                                                          for 360 months

                                                                  High balance of $383,374 from 10/2022
                                                                                                   to 01/2023;
i    High Balance (Hist.)                                                      $383,374 from 12/2023 to 06/2024
|                                                                                                                          :

pS
|                                                                                  .
    Payment History




|
\                                                                                                                          :




|
i
i
i




|                                                                                                                          :
!

|
t
                                                                                                                           :
                                                                                                                           .




. bttpsv//annualereditreport.transunion.com/dss/disclosure.page                                                     2385
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 149 of 219 PageID 154




    1




    ||           Balance                     Balance                     Balance      Balance       Balance       Balance
    |I           Past
                   eee
                      Due                   Past
                                              ---
                                                 Due                     Past
                                                                           “--
                                                                              Due    Past
                                                                                       aon
                                                                                          Due      Past---Due    Past
                                                                                                                   eee
                                                                                                                      Due
    |
              Amount Paid                 Amount Paid                Amount Paid    Amount Paid   Amount Paid   Amount Paid


          Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment
    \               aes                        ---                         ---         ---           ---           ---




    ||           Remarks
                   ace
                                            Remarks
                                              wae
                                                                         Remarks
                                                                           coe
                                                                                     Remarks
                                                                                       wwe
                                                                                                   Remarks
                                                                                                     was
                                                                                                                 Remarks
                                                                                                                   oe
                  Rating                      Rating                      Rating      Rating        Rating        Rating
                     x                           x                          x           x              x            x
    I




    i

    '
                 Balance
                   =ce
                                             Balance
                                               wan
                                                                         Balance
                                                                           wenn
                                                                                      Balance
                                                                                        “we
                                                                                                    Balance
                                                                                                      -oo
                                                                                                                  Balance
                                                                                                                    oon


    i            Past Due                   Paat Due                     Past Due    Past Due      Past Due      Past Due


    |         Amount Paid
                    Sad
                                          Amount Paid
                                               _a
                                                                     Amount Paid
                                                                           “=
                                                                                    Amount Paid
                                                                                       —— we
                                                                                                  Amount Paid
                                                                                                     -——=—
                                                                                                                Amount Paid
                                                                                                                   =o



          Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment Scheduled Payment
    !               w-e                        -~-<-                       wae         ~-—           ~w<           eee



                 Remarks                    Remarks                      Remarks     Remarks       Remarks       Remarks


                  Rating                      Rating                      Rating      Rating        Rating        Rating
‘   |                x                           x                          x           x              x            x


    |                                                                                                                         .

    |
    t


    i
    !




         bttps://annualereditreport.transunion.com/dss/disclosure.page                                                            2ARS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 150 of 219 PageID 155

i




i | September 2022                  October 2022               November 2022      December 2022        January 2023       February 2023

|           Balance
              ---                      Balance
                                       $375,126                       Balance
                                                                     $372,644     "Balance
                                                                                    $365,269              Balance
                                                                                                         $365,269           Balance
                                                                                                                              ---
            Past Due                   Past Due                      Past Due        Past Due            Past Due           Past Due            ,
i
               ---                       $4,278                        $0               $0                 $0                 ---
|        AmountPaid                  Amount Paid                    AmountPaid     AmountPald          AmountPaid         Amount Paid
|              ---                         $0                        $13,335          $2611                $0                 =--
| Scheduled---Payment Scheduled Payment ScheduledPayment
                            $2,272            $2261
                                                         ScheduledPayment
                                                               $2,261
                                                                          ScheduledPayment
                                                                                $2,261
                                                                                           Scheduled---Payment
            Remarks                    Remarks                       Remarks         Remarks             Remarks            Remarks
|              ---                        ---                          ---             AID                DRC                 ---
             Rating                      Rating                       Rating          Rating              Rating             Rating
               OK                          30                          OK              OK                  OK                  30
|

|          March 2023                 April2023                      May 2023       June 2023           duly 2023         August 2023
            Balance                     Balance                      Balance         Balance             Balance            Balance
i             —_—— =                      <<                           =e              -<-=                ous                oom
|
           Past Due                    Past Due                      Past Due        Past Due            Past Due           Past Dua
|
         Amount Paid                 Amount Paid                Amount Paid        Amount Paid         Amount Paid        Amount Paid
i              ---                        eon                          ae              wae                 wen                eer)

| | Scheduled Payment            Scheduled Payment           Scheduled Payment   Scheduled Payment   ScheduledPayment   Scheduled Payment
i              -=—=—                      owe                          -=-=            ——«=                -~e-               “on



            Remarks                    Remarks                       Remarks         Remarks             Remarks            Remarks
|              ---                        ---                          ---             ---                 ---                ---
             Rating                      Rating                       Rating          Rating              Rating             Rating
               60                          60                          60               60                 60                  60




|
[
t

{
i

    ittps://annualcreditreport.transunion.com/dse/disclosure.page                                                                           25/85
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 151 of 219 PageID 156




3. Mortgage Accounts
Mortgage accounts are real estate loans that require payment on a monthly basis until the loan is paid off.

3.1 FREEDOM MORTGAGE


Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.

AccountNumber        =                      mm                              Reported calence                     i ssssCBE, 26
Account Status                                 PAYS_AS_AGREED                 Available Credit



Account History

The tables below show up to 24 months historical data. If a table is blank, this data was not provided to Equifax.

Balance


Year     Beg         Feb        Mar        Apr         May        Jun           dul        Aug            Sep        Oct        Nov           Dec
2022                                                                                                                          $375,126 $375,126
2023 $365,269     $365,269   $365,269    $364,538   $363,850    $363,160     $364,391   $363,697        $363,002   $362,305   $361,607     $360,896

2024 $360,502     $359,798   $359,093    $358,386   $357,677    $356,966     $356,253   $356,253


Scheduled Payment

Year     Jan         Feb        ele        Apr         May        Jun           Jul        Aug            Sep        Oct        Nov           Dec
2022                                                                                                                          $2,272        $2,272
2023    $2,261     $2,261     $2,366      $2,366     $2,366      $2,366       $2,366     $2,366          $2,366    $2,366     $2,366        $2,366
2024    $2,366     $2,415     $2,415      $2,415     $2,415      $2,415       $2,415     $2,415


Actual Payment

Year     Jan         Feb        Mar        iNelg       May        Jun           Jul        Aug     —s     Sep        Oct        Nov           Dec
2022


2023    $2,611                            $2,411     $2,366      $2,366       $2,432     $2,366         $2,366      $2,366    $2,366        $11,834
2024               $2,415     $2,415      $2,496     $2,481      $2,481       $2,481     $2,481

Credit Limit




EQUIFAX                                                  AKMAL GRANT| Oct 03, 2024                                                       Page 36 of 73
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 152 of 219 PageID 157
                         10:35                                      i] 5G @)


              <                         Account Details




              FREEDOM MORTGAGE CORP



              Original Creditor                                                            *
              Company Sold                                                                 -
              Account Type                                                FHA Mortgage
              Date Opened                                                   Feb 26, 2021
              Open/Closed                                                           Open
              Status                                                               Open.
              Status Updated                                                   Dec 2023
              Balance                                                          $355,539
              Balance Updated                                              Aug 31, 2024
              Last Payment Date                                            Aug 28, 2024
              Paid Off                                                                7%

              Monthly Payment                                                     $2,415
              Original Balance                                                 $383,374
              Terms                                                             30 Years

              Responsibility                                                   individual
              Your Statement:



              Comments:

              Completed investigation of FCRA dispute:- consumer disagrees
              Contact Info:

              (800) 220-3333

              951 W YAMATO RD STE 175
              BOCA RATON, FL 33431


               24-month payment history
               If you want to see your full payment history, log in using a web browser.




               Lv.                foe                    vores _|            07/24 |
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 153 of 219 PageID 158



                 To submit a RESPA Qualified Written Request {("QWR"), assert an error or request information
                                  about the servicing of your joan, you must use the designated address below.                                                                                         _ .
                                                                                                                         TO SUBMIT A RESPA                              REQUEST FOR PAYORE:
                             PAYMENT                                                                            “QUALIFIED WRITTEN REQUEST                           GENERAL CORRESPONDENCE
                       PROCESSING                                         OVERNIGHT                                             (“Qwnr"}                                   Freedom Mortgage
                   FreedomMortgage
                     P.0:' Box                                      FreedomMortgage
                                                             10500Fishers,
                                                                     KincaidIN Drive, Suite 111                          Freedom
                                                                                                                           #0. BoxMortgage
                                                                                                                                   50428                                    PO. Box$0485
                                                                                                                                                                     indianapolis, IN 46250-0485
                 Chicagail. 60680-6656                                         46037-9764                         indianapolis, iN 46250-0401                             Fax: 877-233-5843

            in cape of errors oF questionsabaut
                                            your electronic transfers telephone                         Us at 855-890-5900 or werite us atP.O. Box $0426, indhanapalis,                  IN46250-0401                as
            soon as you can, if you think your stalement of receipt is wrong or if you need more Information about a transfer
                                                                                                                           on the Stalement or receipt. Wamust
            hear from you no later than 60 days alter we sent you the FAST statement cn which the error or problem appeared,
             {({yTell us your name and account number {if any}.
             {2} Desttibe Ui error-o the trensfer you are unsure about, and explain as dearly as you can why you Delieve it & an error er why you twed more
             intarmation,
             {3) Tell us the dollar amount of the suspected error.
             We will investigate your complaint and will correct any ecror promptly, Ifwe take more than 10 business days to do this, we ell creuit your account
                                                                                                                                                             for the
             amount   you think is 1n efor, so that you will have the use-of the money during:the time @ takes us 10 complete cur Investigation.



           AEALESTATE TAXES wen pad romatay bel asad by yout local taxing authordy kisnotnacestary| | Peyenent Crediting » f your ate envelled in automatic payment dtaiting, your pinener
           foe pou td tamanard any regpalar Tax bills ta Gh Iyee need your tax bil, we wd equest it ftom youn | | be credited each month on the date seleciedaf the bine of enrollment,One-time payments
           warn. it post roomie délingquent, adjmted, or conecied tax hil please forward ito freedom| | made anknw or by phone vail be credited effecthe the date you telected when subtiteing
           Mortgage,    1.0. Bax 22670, Rochester, NY 14602. You may alu lac to 617-826-0410,                    ‘the payment, Mease note that It may (ain un to 162 busionss days lor yuu payment to be:
           Sopplemental tills are often fesued in: addition to yeatly seal estate bax billy and ane your] | césphryod fo Your Hanjicton
                                                                                                                                    history
           Fesporalbitty to gary, Sheyfiare6 not collected throughtoyourmaintain
                                                                           exrow proper
                                                                                 account.and sufficient hazard Peepnumbersiiendorurarvratedl
                                                                                                                            provided above. Toarvha si-qeese ll aati
                                                                                                                                                                  your ACHsehen        ch ape
                                apse om vad                               bel tee nal Edeude                      Crs Cr a tr Pod ea ete sor
           HAZARD INSUMANCE                        responsibility                                                                              estabith or cance:           progam, please:coritact
                where recanted, Rood Imuance. Te protect          tual interest in the property, we reguien bed-aevan
          peCoverage
                 slongr       et 4 youadic grosMetmonignce:              eid pataleSeachs Hhicae‘| | Web-'You
                      yout behall, not including your aquity, and charge yout eterow account
                                                                                                                      can moke yourpayments   onic, senply vailuy at vay freedonnmmorigage    som
                                                                                                             Snapped 7 Partial Payments - Ary funit receded that are less Lhan a hit panodic payment
                         :                                                                                        inay ba appled to your acount, promptly retumed 16 you, of held in usar intetst-bearng
           Policy renewals anid invokes ate due thiety(30) days Bont to the expiration of the wasting poly. | | account until enough finds are recetved to apnly to a toll penodic payrtant:
           Please
           inchadesnotify
                     yout your
                          loan agent
                               nuriser,I emtund
                                          eitherthat
                                                 fatedwetoareoutisted on thieDepartment
                                                                 traurance    poley and atdat866-751-8324
                                                                                               a copy, whith
                                                                                                          or] | Peyoll
                                                                                                                 Sout muyQuote-  This stuternent
                                                                                                                           rt talact             dacsfeesaotGlcontain
                                                                                                                                      al tard party                   the amount
                                                                                                                                                                appeal)           roqutied de
                                                                                                                                                                           oc al aneeeants to 9 Te Oban
                                                                                                                                                                                                   war anh  ha
                                                                                                                                                                                                        + oval
           mated   to: freedom Mortgage Corporation, GAGA         7 ATIMA, 7.0. Gos S050. Troy, WH 48007-1 | uote,
           S050: for general questions regarding Hazard insurance, please call $56-222-0005,
                                                                                                                        pleasesend your request in wating to the address or fax # provided boree-or idaCaeernad
                                                                                                                to FroedomPayotttequest@FreedomMorigage.com. You may ako contact Customer                    at
           for questions regarding Hazasd Lows Dialts, plea call884-810-7318 You may ain lavany| | the number provided above
           required
             toss Dralt-avlotmation to 865-751-9365,                                                              Payments by Mall -To aivid procmiing delays make your check or money order payable to
           JF YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES
                                                   and woul the ta speak ta aneol] | freettom Mo-tgege dent nchate yous an ramiber, Pawe do ot sn cash arconespenience
           ct cruhrselor plese call 855-890-5900.                                                                       tentapplayane sin i                      Vl tieil Sh iano
           ufU.S,suchMILITARY Servicememibers
                       servicemember          an “activeduty” legal
                                     nisy bo entedtenerinin    or “activeservice”
                                                                    protections andotadebtspouserekefot punuant
                                                                                                         dupenclentto] | Aeeount  vo cnt bureaus
                                                                                                                          may be reflected        ata payment
                                                                                                                                           i your weds sepa, Anyesdpayroents
                                                                                                                                                                        pyventseaceivedotheralterpana
                                                                                                                                                                                                 dala on yobeiaatoan
           belave you aa eligible                  ‘benetits, pleave our Costomer CaneDepartment | | Additional Principal Payments ~                                       the terms 0} your joan agreement,’
           Of 855-890-5900                                                                                               Eaptacah      oo gonioea iacaedue pee
                                                                                                                         payments on ot betore your payment
                                                                                                                                                                               Goran econadditional   bf pepreter)
                                                                                                                                                                date. inclitle addtional pencipal with your regoke,
                                                                                                                  payment nnd indicate the amount i che space provided on yourcoupon,
                                                                                                                  ‘Check Processing - When you provide a check as payvent, pou euthorize upeither te se the
                                                                                                                  infomation trom your check to make a one-time clectoni fund transfar trom yudr account
                                                                                                                  De fe peocets the flayment asa check vansaction. When we ute ialormation front.
                                                                                                                  pour check to meke an electronictunds tarsier, ha abewean temo FP
                                                                                                                  AKCOUNE fs 008 an Ibe Sane cay we tecetve your paynent and you vail nat tecntve               TR         | Eo”
                                                                                                                  your check back from your financial institation.                                            $s             Sy
                                                                                                                                                                                                                             &




            (f you are experiencing financial difficulties, we are here to help you. Call us today
                                                                                                 to learn more about your Lass Mitigation optionsat                                                                    |
            855-690-5900 or by visiting our website at www.freediommortgage.com.                                                                                                                                             S
            The right option foryou depends on your individual circumstances. Ifyou provide all required information and documentation about                                                                                pa
            your situation, we can determine if you qualify for temporary or long-term relief, including solutions that may allow you to stay
                                                                                                                                            in your’
            home (refinance, repayment, forbearance, loan modification) or leave your home While avoiding foreciosura (short sale ordeedn-tiew
                                                                                                                                             of
            foreclosure).
            You may obtain a list ofHUD approver, non-profit homeownerscounselingorganizations servingyour residential area by<alllag
                                                                                                                                 toll tree                                                                                   a
            800-569-4287 or by visiting the HUD website at www.hud.gov,




                                                             Change of Mailing Address/ Contact information
                                                              Please provide your contact information below.

            an eens                                   ate te cant rain Pa gat i Recta                                hel ag ise iii acer
            New Aggy                                          ae emt                             mn eons
            ee
             eee ne ne ne, Nee eee: REA ee                                                                          Re      Cee <2 meee
                                                                                                                                   Mee ee
            HOT POC Wii                            ic                       ee BUSTS OE TE

            Email                                            ss            scicaasbioticis
           Cel PHONE Here                                                                          ED Ixonserit for freedom Mortgage to contact me via this tell phone number                                                      .
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 154 of 219 PageID 159




                            EXHIBIT 28
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 155 of 219 PageID 160
    Fite Number:           417189327                   Page 5 of 6
    Date Issued:           08/21/2024

                                               Your Investigation Results


    NVEBTIGNION
    _UPDATED:
    echanged, Ache Re
              =) 0 ee
                      ACS
                      o Was.   Bleed
                             Mage:(O  ED   INFORMATION
                                     {n8-1te m( BASE d nUPDATED
                                                         your dispuAND OT.aFORMATION
                                                                     Angoth ar Infomation: has
                                                                                          eee
                                                                                                =
                                                                                               also=
:    FREEDOM MORTGAGE 4M” ( 11988 EXIT 5 PRKWYBLDG #4, FISHERS, IN 46037, (866) 369-2012)
5    We investigated the information you disputed and updated: Balance; Date Updated; Last Payment Made;
&    Rating; Mortgage Info; Historical Trended Data. Here is how this item appears on your credit report
8    following our investigation.
     Date Opened:         02/26/2021              Balance:             $356,253              Pay Status:    Current; Paid or Paying as
     Responsibility:      individual Account      Date Updated:        07/31/2024                           Agreed
     Account Type:        Mortgage Account        Payment Recelved:    07/25/2024 ($2,481)   Terms:         $2,415 per month, paid
     Loan Type:           FHA REAL ESTATE         Last Payment Mada:   07/25/2024                           Monthly for360 months
                          MORTGAGE                High Balance:        $383,374              >Maximum Delinquency
                                                                                                               of 80 days in
                                                                                                            11/2023<
     Remarks: DISP INVG COMP-CONSUM DISAGRS




                   Posraozs | osozs | oamozs | oszozs | ozs | ours | i2eoze | tioz2 | toroze | Oeedze | onzo2 |O70z2|
    Raine     | GO|            a                                            fox]foc             ea]        Co) CTT                    xT
    Rating    | ExT Cx] Cx] Ee) Ee                                   Ee)                ee)
    SERS EBRBRBRB BRB RSSRBBRSRBSBKRSKRBRSSRSRERRRRBHERHERBHESKSRBRRBREKSERSSBERSHRESREREERSSSERBBESBBERBSESe



    ra                                                                                          EE IO EES




                                                                                        Oe                    eT




#



:


                                                                                                           KUC32_001 E00467-1004465 003/005
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 156 of 219 PageID 161

 8/6/24, 238 PM                                                         Anaual Credit Repost - Experian
                                                                                                                           Prepared For

                                                                    .                                            AKMAL GRANT
                                                                                                              Personal & Confidential

                                                                                                           Date Generated Aug 6, 2024
                                                                                                          ReportNumber 2049-4349-69


              Ata
              Glance                    18 Accounts                 0 Public Records                          1 Hard Inquiries


              Personal Information

                        5 Names                     g Addresses                  0 Employers                  6 Other Records


              Because your personal information is reported by you, your creditors, and other sources, It's typical to
              see small variations in reported personal information, like names and addresses. For security reasons,
              many of these items can't be disputed online, but don't worry—they don't affect your credit score.


              Names                                                                                                                   |
                  AKMAL GRANT                       AKMAL J GRANT                AKMAL JAMAL                    GRANT ANMAL
                  Name [D #879                      NameID #24420                GRANT                          Name (D #6050
                                                                                  Name [D #31871


                  irene: |                                          ‘
                  GRANT AKMAL

                  Name (D #1978




          a                                                                               ;




 hitps://use.experian.com/acriprintReporttype=CDI                                                                                         Us
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 157 of 219 PageID 162


 8/6/24, 2:38 PM                                                       Anaval Credit Repost - Experian
           Poor ae etn ime nme neste amnanit eer                       teertmeen a nena                  nt   te


           | Addresses                                                                                                         |
 )                 142 WATERVALE                      14701 BARTRAM              2325 COUNTRY                 2015 REED AVE
                   BR                                 PARK BLVD                  SIDE DR                      JACKSONVILLE
                   SAINT                              APT612                     GRANGE PARK FL,              FL, 32207-8729
                   AUGUSTINE FL,                      JACKSONVILLE               32003-4907                   Address ID
                   32092-1768                         FL, 32258-5291             Address D                    90061566285
                   Address iD                         Address ID                 40591265121                  Single family
                   #0931852343                        #0708920526                Single family
                   Single family                      Multifamily


                   2325 COUNTRY                       161 OLD LOVERS             2834 CARTESIAN               161 OLD LOVERS
                   SIDE DR APTI                       UN APTI                    DR                           in #1
                   FLEMING ISLE FL,                   BOWLING GREEN              CHARLOTTE NC,                BOWLING GREEN
                   32003-4907                         KY, 42103-7933             28214-8895                   KY, 42103-7933
                   Address [D                         Address ID                 Address ID                   Address ID
                   #0900903181                        #0877161042                40639554067                  #0090717441
                                                      Apartment                  Single family                Apartment
                                                      complex                                                 complex

                   142 WATERLINE
                   OR
                   JACKSONVILLE

                   FL, 32259-2306
                   Address [ID
                   #0950186403
                   Single family




          | Year ofBirth
               1980




 https://usa.experian.com/acr/printReport?type=CDI1                                                                                yn)
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 158 of 219 PageID 163


   09/04/24
   AKMAL JAMAL GRANT
                                                                               Accountvo
      Posting   Effective    Paid To           Transaction         Total                                                                      |
       Date       Date        Date             Description        Amount.        nodp      Interest        Escrow    Tneurance   Other        |

   [04/16/24 | 04/16/24 | O4/oi/2d_[parmewr          Sd SSSA)                   SCT] —'995.14|             773,36       0.00      0.00]

   [04/23/24 | 04/16/24 | 03/01/24 |paYWENT REVERSAL _—=«Y|_——~—=~ ASA] = 0714)     988.14) 773.36  0.00]   0.00]
   [04723724 | 04/23/24 | 03/01/24 [ren pruueo    = =SSSSSCS«dTSSCSCSCSCS~*~iCOYSCS*~*‘“‘*C‘w«OGY'SC~*~*«t«]
                                                                                            =i] —~—~S~ 0} ——ias.ool
   | 04/26/24 | 04/26/24 | o4/oi/24 payment          |         248193]      707-14f 935.147 773.36] 000]                                     SL

   05/07/24 | 05/07/24 | 04/01/24 [FHA ENMASSE      ———=—=~S«d[_—SCSCSCSC~ AT G|_—SCS~SCS~*« ~~  247.26] 0,00] 0.00
   | 95/17/24 | 05/17/24 | 04/01/24 [uncou, ware cance     [OT]                                 YG]             65. IL




   | 06/26/24 | 06/26/24 | o6/oi/2a [pavwewr 0               P2402033]           720-83]        932.48]     773.36       oo]        5.69 t



   | 07/25/24 | 07/25/24 | 07/01/24 [pavmenr                 2833]               72a}            929.60f    773.3       0005.9 L

   B= Buydown/Subsidy                  Fa Fee Poyment        L= Late Charges     N= Unapplied




Be 157140-00178744-0[PAG.0][DOC2727/28138962076)
                                       d.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 159 of 219 PageID 164


—
AKMAL JAMAL GRANT
                                                                                    recount nto
  Posting   Effective     Paid To            Transaction                Total                                                                                           1
   Date       Data         Date                  Description           aAzount           Fincip       Interest      Escrow       Insurance        Gther                 |

|_12/15/23 | 12/01/22 [02/01/23 [payment neversat               TOO                    SSCSC BAZ] ~~ 958.03)         724.66)        0.00] 2366.o4n




|.22/15/23 | 10/16/23 | 08/01/23 [pamewr                   TOOT                                   2S BT   849.70]    724. GE]      SCO] == 2366.94 IN _—i
[_t2/19/23 | 12/19/23 | 00/01/23 [taTe cHARGE assesseD           [CiC]COOTSSCSC*C“ié‘iWCSCSC*C“‘COW‘OOY!:*O#*#CN
                                                                                                         SCO SCS

| 12/26/23 | 12/26/23 [08/01/23 [apMIN ADousTMENT               |       C“‘“‘é‘OWOOL:CCC OO]
                                                                                          OTCCOOSC(‘“(CO‘OWOO|#:*O®™O#C*SCCOIL
                                                                                                                            OCS
| 12/29/23 | 12/29/23 | 10/01/23 [parmenr                Cd CCC*C“‘éHSOGWSM| 696.19]  946.05]                       == 724.66]    =o] ~—SCi]SSSCd'
|_i2/29/23 | az/as/23_[ 11/01/23 [pavmenr                Cd          2G]        6980]   4K ZAT                       724.6]        OO] SSS ]SSSCSd

[91/05/24 | 01/05/24 | 01/01/24 |rHA ExmassE                   sd] CH253,15]              CO]               OO]        253.15] ~~            o}=S=S*C*=«ii«OTSSCSC‘*d
| 01/22/24 [01/12/24 | 01/01/24 |uncout tare chance             TO]
                                                                  o] Ci O]SCCi AW ISCS



| 03/05/24 | 03/05/24 | 02/01/24 [FHA EMmasse                  |         253.15]             TO]                      253.15         OO]            CsCitOTSSSC*d
B= Buydown/Subsidy                   Fo fee Poyment               L= Late Charges         N= Ungpplied




      187140-00176744-0
            [PAG.O] [DOC 27 28/28 ld.38962075]
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 160 of 219 PageID 165


 8/6/24, 2:38 PM                                                     Annual Credit Repost - Experian
              60 days past due as of Mar 2023 to Oct 2023
              30 days past due as of Feb 2023, Oct 2022

              By Oct 2029, this account is scheduled to go to a positive status.


                      Balance Histories


                         Date                  Balance      Scheduled Payment                     Paid

                         May 2024              $357,677     $2,415                                $2,481 on 5/29/2024
                         Apr 2024              $358,386     $2,415                                $2,496
                                                                                                    on 4/26/2024

          |              Mar2024 $359,093 $2,415
                         Feb 2024              $359,798     $2,415
                                                                                                  $2,415on3/15/2024
                                                                                                  $2,415 on 2/14/2024

                         Jan 2024              $360,502     $2,366                                $0 on 12/31/2023
                         Nov 2023              $361,607     $2,366                                $2,366 on 11/15/2023

          |              Oct2023               $362,305 $2,366                                    $2,366on 10/14/2023
          |              Sep2023 $363,002 $2,366                                                  $2,366on9/14/2023
          |              Aug2023               $363,697 $2,366                                    $2,366on8/14/2023
          || JJunul 20232023 $364,391 $2,366
                             $363,160 $2,366
                                                                                                  $2,432on7/26/2023
                                                                                                  $2,366on6/13/2023
                         May 2023              $363,850     $2,366                                $2,366 on 5/8/2023
                         Apr 2023              $364,538     $2,366                                $2,411 on 4/3/2023
                         Mar 2023              $365,269     $2,366                                $0 on 12/7/2022
                         Feb 2023              $365,269     $2,261                                $0 on 12/7/2022
                         Jan 2023              $365,269     $2,261                                $0 on 12/7/2022
                         Dec 2022              $365,269     $2,261                                $2,611 on 12/7/2022
                         Nov 2022              $372,644     $2,261                                $13,335
                                                                                                       on 11/18/2022


          |              Oct2022               $375,126 $2,272                                    $0on9/29/2022
                         Sep 2022              $375,801     $2,272                                $2,272 on 9/14/2022
                         Aug 2022              $376,474     $2,272                                $34,090 on 8/17/2022

 https://usa.experian.com/ecriprintReporthype-CDI                                                                        19959
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 161 of 219 PageID 166


09/04/24
AKMAL JAMAL GRANT
                                                                                              recom ie
    Sake         Date            Date                       pascription          Amount           Prina          Interest     Rucrow      Insurance   Othar



| 11/06/23 | 11/06/23 | 10/01/23 [FHA ENMASSE                             |        253.5]             OO]               OO]     253.15]       oo]




| 12/15/23 | 10/14/23 | 09/01/23 |PAYWeNT REVERSAL =]                             2966.94)          696.96]         945.32]   724.6]                          YS


| 12/15/23 | 09/14/23 | 08/01/23 [PAYMENT REVERSAL                        |          =2366-94)      695.15]         947.13]    724.66         00]             CS


[12/15/23 | 08/14/23 | 07/01/23 |PAYMBNT REVERSAL                         |          =2:366,94)     693.34]         948.94]    724.66)       0.00]      0




[12/18/23 [12/15/23 | 05/01/23 |LATE CHARGE AssEssED                      [OO]                              O]      000]               OO]               Se


[12/15/23 [12/15/23 | 04/01/23 [LATE CHARGE Assessep                      |      00]         OOTY             OSC
| 12/15/23 | 05/08/23 | 04/01/23 |PAYMENT REVERSAL                        | 2366.94] 687.96] 954.92) 724.66] 00] fi
| 12/15/23 [04/03/23 | 04/01/23 [CURTAILMENT REVERSAL                     |  4500]   45.00]   000]       0]    OOS

| 12/35/23 | 12/15/23 | 03/01/23 |LATE CHARGE AsgesseD                    [|       Ci]                                  OY]             SLC
| 12/15/23 [ 04/03/23 | 03/01/23 [PAYMENT ReveRsAL ==                      |      2966.94] 6 8G.0S]                 956.23] 724.66, 0] SSCS

B= Byydown/Subsidy                            Fo Fee Poyment                Le Lote Charges          N= Unopplied




a      157 140-00176744-0 [PAG.0} (DOC
                                    27 24/28 Id.38962075]
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 162 of 219 PageID 167



99/04/24
AKMAL JAMAL GRANT
                                                                                           Account ve
  Posting     Effective         Paid To                  Transaction           Total

[13/18/22 | 11/18/22 | 11/01/22 [rep
                                 TOOT].
                                     parvo 0r CS

| 1i/s/22 | 11/15/22 [11/01/22 |casw eecerpr                           | 2272.70}.
                                                                                 7IN CY

[12/18/22 | 11/18/22 | 12/01/22 |apprrtonaL Parwctpan [oo] oe]                                               0]           OCC OIC
[12/01/22 | 12/01/22 | 22/01/22 [casu Recerpr         | NBG]                                                               |       esa9.e3n |
| 12/01/22 [11/14/22 [01/01/23 [payment                OP   880-09]                                         962,19]    19.33] 0] 2261. 59IN CY
| 12/01/22 | 1i/ia/22 | o2/oi/23a feavmenr                               fas]                               960.42]   619.33] 00] 2261.Sohn i
| 12/07/22 | 2/07/22 | 02/01/23 |apprrIoNAL PRINCIPAL [244.94]       2a af     oo]   coy]
| 12/07/22 _| 12/07/22 | 02/01/23 |REFUND ENMASSE     |      930.85] 00]    0] 930.85]   oo]       SCS
[12/19/22 | 1asig/2z | 02/01/23 |casH recerer         |   2272.67]    GO]             OY] 2272.67|N |
| i2/27/22 | ia/oi/2z | 03/01/23 |pavwews          TP                 60427 958.01] 724.600] = -2366.94N |

| oi/0s/23_| 01/05/23 | 03/01/23 |rHA ENMASSE                          |       258. Be]       00]              0]     = 258.06]   oo}      SCS
[01/11/23 | 01/11/23 | 03/01/23 [ReronD manual                         T= 930.85]                  OO]                 30.88]     ooo}   SSCd

| 02/07/23 | 02/07/23 | 03/01/23 [INSURANCE ENMASSE                    |       = 769-13]      00]               00]    769,23]    0]     TSCsd|
| 03/07/23 | 03/07/23 | 03/01/23 [rua ENMASSE                          |        258.86]       OO]                      258 BS]    00]    O]SCCd



| 05/05/23 | 08/05/23 | 04/01/23 PHA ENMASSE                           T= 253,15]             0000]                    259.15]    OOTY



| o7/oa/23 | o7/oa/23 | 06/01/23 [rua enmasse                          T= 253,25] Oo]                           Oo]    253.15] o.oo]    oC
[07/10/23 | 07/18/23 | 06/01/23 |uncouL LATE CHARGE                    [oO]        0]                           Of     00]         o]   5.6L




Be Byydown/Subsidy                             Fo Fee Poyment            L= Lote Charges     N= Unappiied




      187140-00176744-0 [PAG.0] (O0G 27 21/20 Id.38082078)
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 163 of 219 PageID 168




                    To submit a RESPA Qualified Written Request ("QWR"), assert an error or request Information |
                                     about the servicing of your loan, you must use the designated address below,
                                                                                                                           TOSUEMITARESPA                    _            REQUEST FOR PAYOFEY
                             PAYMENT                                                       :                     QUALIFIED WRITTEN REQUEST                              GENERAL CORRESPONDENCE                                              :
                           PROCESSING                                      OVERNIGHT                                            (rqwa’)                                       Petacer Morante!
                      Freedom  Mortgage
                         BO, Box 6656
                                                                    _. Freedom Mortgage
                                                              10500 Kincaid Drive, Suite 111
                                                                                                                           Freedom  Mortgage
                                                                                                                             P.O. Box 50428
                                                                                                                                                                               PQ) Box 50485.
                                                                                                                                                                        indianapolis,
                                                                                                                                                                              IN 46250-0485;
                     Chicagolt, 60680-6656                          Fishers, IN 46037-9764                         Indianapolis, IN 46250-0401                                Fax: 877-233-5843


                 in case oferfors
                             of questions about your electronic transfers telephone
                                                                                 us at 895-690-5900 or writeus at P.O, Box 50428,indianapolis,
                                                                                                                                      IN AG2EO-4MO1 as
                s00n as you can,if you think your statement
                                                       ot receipt is wrong or if you need more information about a transfer on the statement or reczipt. We taust
                hear from you no later than 60 days afer we sant you the RAST statement on which the error or problem appeared.
                (iyTell ws your name and account aumber
                                                      (if any),
                 (2) Describe the error or the transfer you are uncure about, and explaif as.clearly as you'cah why jou believe Itc an error or why you need niore
                 information;
                 (3} Tell us ithe dollar amount of the suspeciad error

                We-wall investigate
                             your complaint and will correct any error prompily. if we take more than 10 business days to-do this, we will credit your account for the
                 amount you think Is in erfer, so that you will have the use of the money during the time it takes us to complete our Investigation.


               REALESTATE TAXES are paid frorna tnt bi sued by your local tasng authority, Kisnot necessary] | Payment Crediting - ti you are enrolled in automatic paymant deafoing, your payment                    wil
               loryoute torward any regular tax b8i tous. Hf we need your tax bill, we will enquest it from youln| | be credited each month on the date selected a1 the tere: of anrodinent. One-tine payments
               iting. if yu orive a Setnquent, adassted, nr comncted tax bi8 please fonvard ttn Freedom| | made online or by phone will be credited effective the date you selected when submitting
               tortgade,  P.O. Hox 22670, Rochester,
                                                   NY J4E92 You may alia fait to BI7-R26-04     10.       tha payment,  Please note thit H may take-up  to 1-2 business days for your payment la be
               fnivswm pga wide angin additer to yearly
                                                   real estate tae béls and dine your] | || Cate
                                                                                            Goplivedini your transaction
                                                                                                                     history,
            endponsiiiity1
                       emtpay. atafantnotc
            HATARO INSURANCE     71 ts yourol responsibility
                                               iected thraughyourexrow
                                                          : to meintain account.
                                                                         few ordand suffiGentled harad Chee
                                                                  F proper                                      pds
                                                                                                       Citasi Cans     Yo gu
                                                                                                                   nat prod owe teeow Bea
                                                                                                                                      bssVahey SsHob I tothenext>
                                                                                                 tumber provided above. To establish or cancel your ACH |
                                                                                                                -         oprah                                                                          sSpeitack


               pres  dep santa Was Sal vacooveak Carica, wo ed puciine tein ced Unspphied
               coverage 06 your behalf, nol dactuding your equity, and charge your ¢scrayy accaunt,
                                                                                                    Wel "You canf Partial
                                                                                                                    makePaymuats
                                                                                                                          your payments  onkee,smmply vidtus at www reco mortgage com:
                                                                                                                                   » Any fonds received that ate lees than @ full parkadic payment
                                                                                                                  may be appled to your account, promptly tetumed to you, of held In & non-intetest-bearing
               Policy renewals andl indices ate dit thirty (20) days pror to the expitation of the extiting policy.| | account
                                                                                                                          uatt enough funds ace motived 10 apply 16 a full periodic payment.                                j
               Pras notty yexie ager ta erate tat
                                               wer ana Inte on the policy and that a coy. wtih) | vat quate «Thi statement docs Ack contain the amount requited to pay ur Kain tl
               viconacphyevedHee ) Sonne RAGATARR To be cospert and may pot reliect all third-partyfees{if applicable}
                                                                                                                   or all amounts die. To obtain a payolt
               5050 for goal ust paring huzatd surance, pinas cl 686-222-0008,                                     pictertomnsartt
                                                                                                                          alone ber herve opal hb eres somted:hee
               For questions naqaidiig Hazard Loss Datts, plate cal 898-810-7315. You may ake fax’any| | the nomber provided above.                                                              fila        i   ce
               euquired Liss Dealt eiatmation to 866-751-9365                                                     Payments by Mail - To woid processing delays male your check. ot inonmy overt payable to.
               ## YOU ARE EXPERIENCING FINANCIAL DIFFICULTIES
           ‘Gur counselorsaes
                           plea cali 855-690-5900
                                                      and woukd lie to speak to one| | Error Meripage and inciade yor nn number:
                                                                                          are ecnedad                        :
                                                                                                                                 Pete do not seae
                                                                                                                                               cash or conespondencs
                                                                                                  "      Aveld Late Charges and Protect Your Credit - We may furnish information about your
               U.S. MILITARY Servlormenbors on “active duty” of “acthee sence” ora sauce or dependent! | accountto creda burda Late payments, atiead payments, or other dalantts on youraccnunt:
               Of sucli wenatimneriber mury ba ertitied tu certs legal protections and debt reel gursasiit ta || muy be reflected in your creda report. Any jpufymnents cockhaed alte the lake: paymint date
               feerenety Lenin!a banetits,
                                 eon Sraee
               beliews you are alk         plese notily our Customer                                               {nated on your coupon wilbe assesseda fate fee.
                                                                                                 Dapareoent! | additional Principal Payments
                                                                                                                                        = Depending upon the teens of your boar         " i i j
               SEN                                                                                               ; payments
                                                                                                                   nasbaableon orto before
                                                                                                                                    pyanol         peeldueondateotto,
                                                                                                                                           your paytnent         fidude We  aie Doe
                                                                                                                                                                        additional principalehdtory
                                                                                                                                                                                              with youtrte!
                                                                                                                                                                                                        regular
                                                                                                                  payment and inditete the amount in the space provided on your coupon.
                                                                                                                  ‘Check Processing - When you provide a chock as paytnent, you authorize us either to tse the
                                                                                                                  solotmiaticr thom your chick lo miake a ond-tiene electrovikc fort trahafer fier your account ~
                                                                                                                  pli
                                                                                                                  your tao
                                                                                                                        ; to make pr       ke Uatsadiion,
                                                                                                                                  an electronictunds transter, fundsWhenmaywebe inewithdrew
                                                                                                                                                                                      information
                                                                                                                                                                                             tram from Ay
                                                                                                                                                                                                  your 2                            P
                                                                                                                  ‘Acooiintt as soda as the tame day we receive your paymntnt and you wal not rene                    | ae
                                                                                                                   syooy check thick Iron pour financial institution,               ins                          Rr g

           a                         ——                                                                      *         :              ?                 ¥;       *        1         passe
                                                                                                                                                                                      annast esa eeeerr
                                                                                                                                                                                                    ar ery            ms iz
                if you are experiencing financial difficulties, we are here to help you, Call us today
                                                                                                     to learn more about your Loss Mitigation optionsat =                                                                           8
                855-690-5900 or by visiting our website at wow.freedommortgage.com.                                                                                                                                         ;s
                ‘The right optian for you depends on your individual ciceumstances, ff you provide all required information and documentation about                                                                                 ol
                your situation, we can determine if you qualify for temporary of long-term relief, including solutions that may allow you to stay in your                                                                       °
                home (refinance, repayment, forbearance, loan modification)   or leave your home while avoidirig foreclosure (hort tole or deed-ini-tieu of                                                                             d
               foreclosure),                                                                                                                                                                                                            i
                You may obtaina listof HUDtheapproved, non-profithomeowners counseling organizations serving your residential area by calling tollfree                                                                              z
                800-569-4267 or by visiting    HUD website at www, hud.gov.




                                                              Change of Mailing Address. / Contact information
                                                               Please provide your contact information below.

                NBC         coonnnsraninninennnrannonanarnynnanennn nnn

                New Address.                                                                     hasta                      nani rteeninliainesciiiencinte

                (2                   ee ee a                                eS. ne                                eee ee              |. See nee mere
                Home Phone #                                                                   Business Phone #                                     .                2 es

                Email _                     i        ica
                                                       eae
                                                         aaa
                Celi Phone #                                    .            en,                   TI teonsenttor freedom Mortgage to contact me via this cell phone number,
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 164 of 219 PageID 169




                            EXHIBIT 29
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 165 of 219 PageID 170




.                                                        August 7, 2024
         Akmal Jamal Grant
         142 WatervaleDr.
         Saint A        ine,      FL 32092
         a
         SSN:
                               il.com
                       5


         Equifax Information
                      Services LLC
         P.O.
          Box 740241
         Atlanta,
             GA 30374

         Dear Sir ofMadam:


                 I am writing to dispute the following information in my Equifax credit report. I have encloseda
         copy of the pertinent pages of the report for your review.

                   The report reflects a Freedom Mortgage socount (eccount no. *****7289), Freedom Mortgage
         owns and services my mortgage. The report inaccurately states that I was past due 30 days in February
         2023, 60 days from March 2023, through October 2023, and 90 days in November 2023, This         is not
         accurate.


                 In August 2022 the Florida Department of Economic Opportunity awarded me assistance with my
         mortgage payments providing me with payments to catch up on my mortgage due to a forbearance I had
         previously and to cover payments moving forward for 7 months. When that assistance   stopped I began
         making payments again. I’m attaching my mortgage statement dated 09/14/2023 as an example. That
         statement shows that I was not behind and was making payments. In December 2023 Freedom Mortgage
         informed me that the DEO had paid more than it should have and clawed back some money from Freedom.
         As soon as Freedom informed me of that I paid that money to Freedom immediately. In any event, I was
         not late during these months.

                   The inaccurate reporting of a balance which I do not owe has already negatively affected my credit
         worthiness.
                   Please reinvestigate this matter and delete this item as soon as possibie.

         Sincerely,


         Akmal Jamal Grant
         Enclosures: Credit report and mortgage statement.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 166 of 219 PageID 171




   EQUIFAX
   CREDIT REPORT



   AKMAL GRANT


   Report Confirmation

   4719325055
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 167 of 219 PageID 172




   Dear AKMAL GRANT:
  Thank you for requesting your Equifax credit report. Your credit report contains information received primarily from companies which
  have granted you credit. Great care has been taken to report this information correctly. Pisase help us in achieving even greater
  accuracy by reviewing all of the enclosed material carefully.
   If there are {tems you belleve to be incorrect, you may

        * — Initiate an investigation request via the Intemet 24 hours a day, 7 days a week at:
                  https//www.equifax.conypersonal/eredit-report-eervicoa/eredit-digpute/
        *   Please mail the disputs Information
                                             to:
                 Equifax information Services LLC
                  P.O. Box 740241
                  Atlanta,
                      GA 30374
        °   Call us at 866-349-6186

  Please note, when you provide documents, including a latter, to Equifax as part of your dispute, the documents may be submitted to one
  of more companies whose information are the subject of your dispute.
  You have the right to request and obtain a copy of your credit secre. To obtain a copy of your credit score, please call cur automated
  ordering system at: 1-877-SCORE-11.




  Equirax                                                    AKMAL GRANT | Aug 06, 2024                                         Page
                                                                                                                                  2 of 86
Case
 =   3:24-cv-01182-BJD-SJH
           :  ae
               :   itera   Document 1-1
                                    Poe
                                     :  eeFiled
                                          ;
                                                11/18/24 Page
                                                          Rees
                                                          Es
                                                              168 ofPOS219
                                                               savee     am PageID ee
                                                                        es
                                                                                   173




 1. Summary
 Review this                     sum ary       for                                         tion ¢          ned       in-your:     1         dit             rt

 er                                                                ee                                                                                 Cee eee ee ee ne eee

 <r                                                 nerearn cas nae ea                                           ai       eu            a lai                                x   sete       asarate a             aay
  Alert C mae =                                                                 ES eeegeetGEO oe re oe ee gee ee ge eee                                                                                                    ae
 Aue!
  ee) oeaeBreeet.    eeSS     = oD Hecords
                          aae)Be
                      RE Rate stank           & alaePE peeCREeSagnnen
                                       eniinieiiamiiids           SSCS eseRene
                                                                 eri             da Herein
                                                                         WS asi NEL             ay geeWatea
                                                                                    Sn Races rent
                                                                                              Be          Rey Sars)aSUR
                                                                                                          SS AO     eat
                                                                                                                      eee  Seni LEC
                                                                                                                        Sm Gee   Teeee ee oo
 Average Account Age                9 Years, 2 Months,
 “yee
    uel eat i ees id eee cant                       ata nla aio     pei     omeNR aa daa iana xa       ma put rath                    car        ai    cm          i

 ER
 Sa                ee ea Cee oe                                                 piget
                                                                                aea  ee TOES pee BOLUS
                                                                                                  ee   cassieae
                                                                                                              Sense aer
                                                                                                                    a ite, eo
                                                                                                                           las Se ene eR re
                                                                                                                                         oe teleeA
                                                                                                                                                 enter pete
                                                                                                                                                        akeee eeae
                                                                                                                                                              oS.

 Se ee
     ee                                        er    heeade reg cag ge Menara edad
                                                                               can oe iepan
                                                                                          a me                                            sete         ERC RUNS
                                                                                                                                                              ode aren           BOTS aemig             ogee               '
    iset Account  2           i             BieVERGANIC Ghani Navid Goce) oo
 Oldest Agooun Be oe       a
                    RAR re es mee ke
                                  ei Hes ERE Seon ettOeAne OOM ES och Caspase
                                                                       ee     En Err EE                eeee
                                                                                        gtr ne nae aah tn
                                                                                                        ME ane As Ee
   jost Recent Account                                                                       NAVY FEDERAL CREDIT UNION {Opened May 73, 2024)




           d report aabout activity on your credit accounts that may affect your credit score and rating.
 BAccount Type Open With Balance Tolal Balarice Availablh:       Credit Linut si he ag i ne a 3 ff He                                                                                                                          i
 as et Ea CE I NG                                   PS REE SS CE                       Per a en AT STO SAR Sa Ea                             a im                   whan                .                x                     a
 Rey ving 9 eB
 Weather    a actionsOEP
                     met a Seg
                           eaeaaaear2S
                                     eet Ul aaa nee en
                                            os ise  ooMra
                                                       eagen a wea ee
                                                                    eg Rin                                                                                                                 NRee
                                                                                                                                                                                             to
                                           ¥        ome       ns    SE OE ean    EE Re tn Re MR AEST       oe e EI ENESD sie BBE                  Ene, neat poe SY               coh He re Rea a oa Ae
 Mortgage
 ee       1                                               1           $356,086 ee $28,408
                                                                   ee ee                                                        ots $363574
                                                                                                                                     aemioii Rene! (8H
                                                                                                                                                     :                                      (tttATS
                                                                                                                                                                                               ale
 ingtalimBhtc ks. ag oe gegen = a eeege RE a eR ORS a, EU NRE ETIRE: Ge oF inl eT AE CC
 en        eeeeneeee eeSOO SOR esos OGOe                               eee Rae ta

 Total                           i                    10                        $418,022                 ere
                                                                                                        $85,258                        j
                                                                                                                                      $483,280                         , 24.0%                          i
                                                                                                                                                                                                        $4,030:

 Other Items


 Your credit report includes
                         your Personal Information and, if applicable, Consumer Statements, and could include other items that may
 affect your credit score and rating.                                                                                                                                                                        =e

 Soa
   i                                                                                           es or
                                                                                              Praagaae eet
 paces
  i!   saad                                                                                                                                           <a           sit           a                       ta‘3 items
                                                                                                                                                                                                               ceircstaniciai
                                                                                                                                                                                                                      Found

 inquiens.
 i         es                                                                          eeSe    a
                                                                                        T= ———_——_
                                                                                              =X“ FTTF=eee
                                                                                                         Sespasteapens
 Most Recent inquiry                                                                         EQUIFAX - TALX Aug 06, 2024                                       :
 Public Records
         le                                                                                                                                                                                                  O} Records Found
  collectionseoee
 boise ities eee
              Be ue ee AEEeePOLI
                       i          ola a
                              te ae   ee A                                             ‘    ERASE                8    RP
                                                                                                                       Ach ema ne ae SRE te Aga RR
                                                                                                                                                 a ella et eta pee ae in a eee eeee                      eens
                                                                                                                                                                                                          over pound
                                                                                                                                                                                                            oS Bitola
                                                                                                                                                                                                                  ann peers eo




 Equirax                                                                                     AKMAL GRANT | Aug06, 2024                                                                                            Page Sof 86
         z     swaps tye
                     say afc eats
                              Sei tutats fimertignationSyet            oe          :         pa oes ses
                                                                                                     cea             acct
                                                                                                                      gis       SGT eens
                                                                                                                                     Ne                   ale GEOR sales
                                                                                                                                                       ESTEE        TE ann del OLE
                                                                                                                                                                                ens Se LE
                                                                                                                                                                                       si a TLE
                                                                                                                                                                                             a tah a                               i




         tie                                                                                                                                                   soe                                            cig Oe es
                                                                                                                                            ris             salee acne?                                       pics ae He
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 169 of 219 PageID 174




  09/04/24


  AKMAL JAMAL GRANT                                                                                        Account be
  142 WATERVALE DR


  SAINT AUGUSTINE                     FL 32092-0000


  Collateral          142 WATERVALE DR


  Original Balance                       383374.00                        P&I Payment                 1642.28              Next Due Date              09/01/24
  Current Balance                        355539.27                        Escrow Payment               773.36              Last Payment Date          08/28/24
  Escrow Balance                            414B.15                       Opt Ins Payment                0.00              Current Interest Rate       3.12500
  Unapplied Balance                              0.00                     Buydown                        0.00
   Fee Balance                                   0.00                     Total Payment               2415.64


  History from undefined through undefined                                 Beginning statement balance undefined        Ending statement balance undefined


       Posting    Effective         Paid To                  Trensscticn                   Total
        Date        _ Date        _ Date                         Dascription              Anoust          Princip          interest   Becrow      Tnsuranca      Othar
  | 08/03/21 [08/03/21 [03/01/22 [rua MaNvAL                                   T=264.40]                         oT]                    = 2644]      ooo]




  B= Buydown/Subsidy                               Fe Fee Payment                   L= Lote Charges             N= Unapplied




Le
 ele



           187140-00176744-0 [PAG.O] [DOC 27 17/28 1.38062075)
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 170 of 219 PageID 175




   pa                    aN eae                                          aaa a oer                                                      “
   2023     $2,611                            $2,411      $2366          $2,366        $2432    $2388   $2566     $2966   $2268    $11,934
   2024               $2415       $2415       $2496       $2481          $2,481
   High Credit



   OE                              a   er                  ee ee ee                             ee a            orange op a
   2023 $383,374 $383,374 $383,374 $383,374 $383,374 $383,374 $383,374 $383,374 $383,374 $383,974 $383,974. $383,374
   2024 $383,374     $383,374    $383,374    $383,374   $383,374    $383,374

   Credit Limit




   pi                                                                :                  =                 ere                     ss
   2023


   2024


   Amount Past Due




   pte                                                                        ss                                ' Se       ee ee
   2023      «$0

   2024



   Activity Designator


   pos                                                                            oe        a                   ——                      ;
   2023


   2024



   Comments
          1


   BFee
   0172023                      Consumer disputes this accountinformation ==                            Ear     ee Une EE RT                ONS
  02/2023                       Consumer disputes this account information




   Laisa                                                     AKMAL GRANT | Aug 06, 2024                       ii Sa
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 171 of 219 PageID 176




  wanes aur Tara eae pues Wik Account aie aOR Sa                     te     aa rr
  04/2023          Consumer disputes this account information
  05/2023          Consumer disputes this account Information
  06/2023          Consumer disputes this account information
  07/2023          Consumer disputes this account information
  08/2023          Gonsumer disputes this account information
  09/2023          Consumer disputes this account information
   10/2023         Consumer disputes this account information
   11/2023         Consumer disputes this account information

   1272023         Consumer disputes this account information
  0172024          Consumer disputes this account information
  02/2024          Consumer disputes after resolution
  03/2024          Consumer disputes after resolution
  04/2024          Consumer disputes after resolution
  05/2024          Consumer disputes after resolution
  08/2024          Consumer disputes
                               after resolution

  Comments
         2.




  04/2023           Real estate mortgage
  05/2023           Real estate mortgage
  06/2023          Real estate mortgage
  07/2023          Real estate mortgage
  08/2023          Real estate morgage
  08/2023          Real estate mortgage
  10/2023          Real estate mortgage
   11/2023         Real estate mortgage

   42/2023         Real estate morigage
  01/2024          Real estate mortgage




  EQuirax                                        AKMAL GRANT1Aug 06, 2024      Page
                                                                                  46 of 86
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 172 of 219 PageID 177




      5
      aiea
      mae                 os vod Ces HOGER                              sika a         ee
      3/2024                   Real estate mortgage
      04/2024                  Real estate mortgage
      05/2024                  Real estate mortgage
      06/2024                  Real estate mortgage

      Comments 3




      03/2023     FORO         Fha mortgage —                a                                         aa
      0472023                  Fha mortgage
      05/2023                  Fha mortgage
      06/2023                  Fha mortgage
      07/2023                  Fha mortgage
      08/2023                  Fha mortgage
      09/2023                  Fha mortgage
,     10/2023                  Fha mortgage
      11/2023                  Fha mortgage
      12/2023                  Fha mortgage
      01/2024                  Fha mortgage

      02/2024                  Fha mortgage
      03/2024                  Fha mortgage
      0472024                  Fha mortgage
      05/2024                  Fha mortgage
      06/2024                  Fha mortgage

      Payment History

      View up to 7years
                    of monthly payment history on this account. The numbers indicated in:eachmonth represent
                                                                                                          the number of days'a.
      payment was past due;
                          the letters indicate other account events, suchasbankruptoy orcollections.    oo               77




      Srarax                                             AKMAL GRANT
                                                                  | Aug 06,2024                ;       ee      — Page 47 of BS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 173 of 219 PageID 178




               2023                 aS           30            60          80.          60           60              60                60:     86.          80:      ct)         Pe


               2021                Sess                                   CK OE                                  ORCC                                                          RS
   «f Paidon Time                 30 30 Days Past Due                    60:60 Days Past Due:                   90 90 Days Past Due                       “$20 120 Days
                                                                                                                                                                     Past Due

   150 150 Days Past Ove         180180 Days Past Due                     V Voluntary Surrender                 F Foreclosure                              © Collection Account
   CO Charge-Off                   B includedinBankruptcy A Repossession                                       "TN Too New to Rate                       -SER3No
                                                                                                                                                            Data Available

  Account Details

  View detailed information about thisaccount. Contact the creditor
                                                                  or tender if you have any questions
                                                                                                 about it.
  ee en Be eaee TD ISRO
                      LE a meee eeGees
                                    ETOUEE eee ee Trier ee ae




  jenna Frequency. © 4 Onn) geen on deoe
  Fable ihe witha ncaa ease agra ees eeinie reales Meet phy reshma haecle
                                                                                    2 ee eae
                                                                          cannes uA Pca mer aa oh uate ocala ia
  CTO ig ER     eyEOD
                    GAR Re CEE AE             RGR ESE AIRES ORE SARL      REREAD CR co Rr                                                oR   ee Ut aR            aia        Ss             ae
  Balance                                                                $356,966                 Date Opened                                                              Feb 26, 2021
  bpeiteinbads
       ol sats ouabain
                   metic meh tht bersett ce ta                                                                 att es LR at Sesto ale              ate     Gs                ee eri


  po arerapmeeesUT a
   Date. of   Last Acti                   gg A aaa
                                          a                     ee a              em         i      es aes       2   e    Soa
                                                                                                                          et eee ee    Pee         i        eee eerie
                                                                                                                                                             x    se eee            ee
                                                                                                                                                                                 Dowland:   BES




  ‘Months Reviewed .                                                             38               Delinquency
                                                                                                       First Reported =
   Activity    : ee ay                        ee                  ea ee                          _ TORR OTGiageiicenan:                       Se          ee a          ee in
                                                                                                                                                                            he ei Lads |
  ALES RRS sO
            AE DORR NORRIE        2 gene        SSS at RCT Rte ae ED nes
                                                                      fo re                       aie AES oonal 3 soot Dee ae fo EG EA RD RRS ASEE Eee oe

   Sm pec             fl en                     a                                     seu acme                                                a          ae tS ee tit gs



                                                        Real Estate Mortgage
  yt          tt         ed i        arte
                                       at iin es                                                                rae rn                                    iRb Seine
  DateotFiretOelnqueney
  ae etaitbbe opi tuhS haa ia EL eae5riot ates Beep                    eer teats canis ic Ee Osea ei terse
                                                                                                       se sae iN case MT Gt, oo sis et oo ana
                                                                                                                                            ta
   Comments                                                                                                     Contact
   Consumer disputes after resolution                                                                          FREEDOMMORTGAGE
   Pisaaaieaatines
        estate mortgage                                                                                         11988EXIT
                                                                                                                Fishers,   5 PRKWY BLOG
                                                                                                                       IN 46037-7939  4:
   Fha mortgage                                                                                                 (317) 537-3748 |




  EQUIFAX              —                                                 AKMAL GRANT | Aug06, 2024                                           ee ee ed
      -         Ba apc recent rr pecan sini       Re            ET        a CR        NTT Rae Peg         ea     eee                  Pe Ore Tne          ae       LE mee
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 174 of 219 PageID 179




                            EXHIBIT 30
                Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 175 of 219 PageID 180



                                                  i)ee U.S. Postal Services
                                                       CERTIFIED MAILY RECEIPT
                                                                                                                                  ne:                                                                                                                                             :
                            *                     oe   « Domenthc Malt Only Vint anae
                                                  POSE Fsy ihotivery inlonenntin,
                                                                                 ‘ webittepaneAe farmireps cory:
                                                                                                              j                              a
                                                  Bl          ORFICIAL USE
                                                  cy ed ad Pegg ee alia inabthtmimi in estat ina ie                                                        scammer              :     se
                                                                                                                                                                                             a
                                                                                                                                                                                             ae ; sai

                                                       Cr} ar gen daar            © sii nash            tiaras     Patten                                       il                       cians,               :
                                                  ca
                                                  ENA Tima
                                                       ta Receiied BAA Bo Ree
                                                  17 jain tetany mend Date 8 ca Macha                                      3
                                                                                                                           Hea)
                                                                                                                           ie                    El |eee
                                                                                                                                                     Rein
                                                                                                                                                           oo
                                                                                                                                                          POSTAL SERVICE,
                                                                                                                                                                                    EL «&        het
                                                                                                                                                                                                                                                                  :
                                                  £3 Pearseeate
                                                  iy. Sine enn ue seamen itirahnss cbttail
                                                                                                                                                            |
                                                                                                                                                            1
                                                                                                                                                                      oieFe Garay
                                                                                                                                                                     SLE.
                                                                                                                                                                               ie                                                                                 aa
                                                  i esha                                                         are                         aa             ens MOMS                                              :                                                           :
                                              clea
                                              Hq : oenmme
                                                    ; Sis 4                                                                                                 |
                                                                                                                                                            oa. Pee                     oe
                                                                                                                                                                                        el ee                                                                             :4
                                                    BS Kearse ROBO, pacha
                                                                      y FONT Dove Ge top aay |, Bele Hewerees bees let aie de                               ed                      Het
                                                                                                                                                                                     a Gane
                                                                                                                                                            Othe
                                                                                                                                                              HAR
                                                    p   ;           ™        :                  :                            ‘                             : VN             i                oe                                                                           d
                                               xwy CERTIFIED
                                                   na  rogth Service®
                                                               MAIL* RECEIPT
                                                                                                                                         ‘                 poCRON
                                                                                                                                                              MGI NEOGig
                                                                                                                                                           | EAU Dalley Geta                                                           :
                                               gr Bbeiataioteesdlt
                                               5                                          :                            :                                   eeSan
                                                                                                                                                             oa eb ahi eesaaoe sf, =                                                                                                  :
                                               ol           Pe                    eee                                      ea                               OAR
                                                                                                                                                              OIG Bd inun Higa se
                                              ape
                                              pH I          MARNIE GS ted          Leesa                                                                   “IPi¢sbeclae Mallee Cae a oe
                                              A1 | DoBieter
                                                      etn tet taco fevinabserrcn!
                                                                    (ee tok       Pan
                                                                                    fea5 %                                                        :        [ ‘LargeTidiaiacolie.
                                                                                                                                                                     Envelope © SNTH Raw   oe eenbh ines yc
                                                                                                                                                                                     A6e5G ea                         4
                                              | Recntpmonie
                                                f Wicks     fo
                                                            re “                                                            tere)by
                                                                                                                           orbs                            ooh Malone
                                                                                                                                                               “  A Olea aageaePORE|
                                                                                                                                                                                   OMS ICN SS
                                              FN| Chaat Regt Bont te Cheai HeaNeeeheal
                                             Sh fhearcmapsaarree
                                                 eager tone
                                                                                                                                                           adie EY ted Veoh rae a sii
                                                                                                                                                           der (tied Mail eran RL CSsai
                                             53                                       —                                                                    So Ue ee
                                              So iversaualoalaay                   De hye reek oes                     |          9829 0110 527 106 ona ce
                                             solPar ea Bc ADE Mes or BONBiae Mareen senate tromtnen stata tases       First “Clase har! (eebe ao 04 ae
                                             iaday OOoME     RU gan e                                  oilseed  HM 2, HARMS Salona Ue
                                             Bete ae
                                                      Sse    age      e m e r nner
                                                                                 :         »
                                                                                             ttre             | Ondaie
                                                                                                                   '     MONLY     DVDR eee em                                                                                     :                        ee
                                                                                                                                                                                                                                                              2=
                                                  PS Fotin 800, tanunty 2029 Min Pein seen ert ‘Retr Rererne tor bettetions                                ne ofetindted Delivery Date ao 2 57 8 :                                                                    “
                                                                                                                                                           5     0    Mes Ree                                                                              ee)
                                                                                                                                                           > MOltitied Mali@ 0                         a gs                                    <                                      4
                                                                    :         "               aii                  :                                       ro    Tekin NE oe ee                                            :                   Pei          ora ece
                                                    US. Postal Service”
                                             py CERTIFIED           MAIL* RECEIPT SE
                                                                                                                                                           ne ce
                                                                                                                                                           AOhO
                                                                                                                                                           Pe
                                                                                                                                                                 RUD Bee Ulet ee j
                                                                                                                                                               eas
                                                                                                                                                                   ee           8
                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                       :              aSa=
                                                Dormostic   Mail Oniy                                                                                      etl           ie 1   ll                                                                                    =
                                             WE For acinery
                                             a        ae    iitormation
                                                                      vias our website
                                                                      ns        Ok m wrnew.beps.com”,
                                                                                        RPE ee                                                             bongs
                                                                                                                                                           1     FuveicheSA
                                                                                                                                                              Atlanta,        oe 4                                                                 2              : :
                                             ao            ORFICTIAL DSE                                                                              |B   Worcctcms
                                                                                                                                                                  9-99 |                                                                                                          :
                                                  actediea
                                                      tee                                                        nan ee                                          Ustinated
                                                                                                                                                                    Gelivey Dale                                                                            earl
                                            ok                          oe
                                            to Boe ered ead aac eatin emcee t
                                                                                                                     ee
                                                                                                                      oy
                                                                                                                                                                (ee    nee
                                                                                                                                                                 o Mertitied Wail eS
                                                                                                                                                                                     |                                                                       a
                                                                                                                                                                                                                                                           eee
        -                                   rr) | Seaplane      wi                Agora pre “ Ae Nok                                                        :        OA IRECKIOG Bie eeear es                                                      :              ee
    :
                                            CV) Chick
                                            Th] Cleetigrehet weer
                                                              leanstour, tenet
                                                   Riya Receiet fetectrore)
                                                                        Bo Pesta
                                                                         [RIESE es WHat
                                                                              A ses eh aee                                                                 totale: eeupee
                                                                                                                                                            elton ee
                                                                                                                                                           ee
                                                                                                                                                                     4 S27 ton Ging Aa
                                                                                                                                                                                        ice
                                                                                                                                                                                       ee                                                                     ane:
                                                                                                                                                                                                                                                              roe
                                            Sa
                                            ahe
                                            ee
                                               fel ny aei :
                                              Ce                                    ne
                                                                                                                                                           i rc
                                                                                                                                                             cena PEWS Ares ee: eae ne                                                                                            :
                                            ree                                                 Sue                                                         ee
                                                                                                                                                             a a een in a                                                                                  ere
                                         9 oat te                                               eraser                                       oe            Dae Benge Rie eines UR biti toa ah eta cea                                  i
                                         Fr DRO ee                            ORIEN
                                                                                IE SU CUS LA                                                                (TEXT Your (racking Nibee ta 26777 (BUSPS)
                                        WI sadasea akiadsritatatciateateadenentredybedtectsntttes rstorrinsnieneesadhnnssegean     ah Dela Pates ay abil Yor may alse ae                                                                       eh     ic
                                        wr ssi                                                                               | HBMe VISE ee unptcon LSPS Tedcking or call.                                                                       faecle
                                          PS Foren IB00, January 2023sti tach. of cement!) Soe Reverse tor Instructions            ee Ne. po Ree                       ta                                                                          cere
                                                                                                                                                            Ie               Rew lowGou WA                            |                                an
            i                                  US.eTricich.
                                                   Postal Service %.—                                                              ;                   :        Se             ee
                                                                                                                                                            oo NUDEeel nformeisl
                                                                                                                                                                          ivory nos com                                        Rae
:                                       WA Domestic
                                               Nall Oniy                                                                          ef,
                                   :                          poser ee te                                ee            Pe ea Oo                             ee                                                                                                :
                                       Bl JOP PiGiAL     USS)                                                                                               Po                                                                                         ; pace:
                     :                 ceaPinef |heey             : oS
                                                                     aie nentstines REAM CE Se| aa aa a  IAA Aabe eee                                                                                                                          : eeoe2
:                                  2 pene
                                       ra tenement sees BUSES Te Pitas on                                                                                   ee
    Pietoe sean   eats oe                          Sabstine scissors
                                       C3 ikea Earvsnds RP AGG boatshe dead AT                           ENG                (0                              DENG AALS                                                                          :                  ay
See
es                                                hase pac Pewee
                                            | Cinmenteontinents 10 Veer ae              ey fo Sabar    : | Recoil Hi C40 2aNRR Doe dg                        CUOMO                                                                         eusene
; ee:                                  cea haationantiuaad | Uraanancnuey fya 3 iat eons
                                       iFAL ||Chantguuniee
                                              (esi Slonaaen antrtes
                                                                Beet
                                                                      © Pee fF a
                                                                    Daley                                                              ks
                                                                                                                                                            ee
                                                                                                                                                            i  ee
                                                                                                                                                               ee ee
                                                                                                                                                              eee
                                                                                                                                                                      aes
                                                                                                                                                                     oe

                                       x41 Trot osiage and Fees arene                               :            ee el ee ya                                            {                                                                  Bae he a
                                       fA           i nai hme,
                                       a Mesa asti ae Rae Re                                                                           f js                                                                                                                 Aes
                                       ae pire nace Re Tey                                                                                             |                                                                                                     :
                                            PS, Fonin 3800, January 202 Pos 1890 o7.oab doar. See Reverns:
                                                                                                     for tnstructions                                                                                                                                      eet



                                                                                                                                                                                                                          ON a
                                                                                                                                                                                             Se                           pea
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 176 of 219 PageID 181




                            EXHIBIT 31
   Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 177 of 219 PageID 182




                                           FREEDOM MORTGAGE CORPORATION                                             :
                                           3001 TECHNOLOGY DRIVE
                                           EDMOND OK 78013




                                           274SP2310      157140.178744.38062075-P27 T:1




                                           AKMAL JAMAL GRANT
                                           142 WATERVALE DR
                                           SAINT AUGUSTINE FL 32092-1768




                                           Ugfbe]h|uoul fagtofu p ga Re aks ]yyptag eg fptegELye aged gf hg Ht] E




                                                          Res




ee 1S7¥60-00178764-0(PNG.OT[D0G271029K59082075)
                                       i.
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 178 of 219 PageID 183
  1/13/23, 1:07 PM                                                                               Detail History

   @1/13/23                                                                                 Account —                   |
   AKMAL JAMAL GRANT



       Posting   Effective     Paid To             Transaction                 Total                        J                               a
        Date        Date        Date               Description                Amount                Principal     interest    Escrow      Insurance       Other
   [02/08/22 | 02/08/22 | 04/0i/2i [FHA Enmasse            ——=—SsdT~—=SC~C~              A] ~SCS*~*~*~*~«i iS YSSCSCS*~*~tCOY =A]            0-00]         0.00    |




   [~0s/05/22_| 05/05/22 | 04/01/21 _|PWA Exmasse                | _                   288.86]         0.00]          0.00]   _-288.e0|      0.00)         0.00)

   [-o6/o7/22z_| 06/07/22 | 04/01/21 [FWA Benasee                |             288-86]              S00] _——=—iO]_—-a8.86|                   0.00)         0.00]   |
   [0708/22 | 08/08/22 | 04/01/21 FWA Ennasse             ————~+i|_—__=288.86)                         0.00]          0.00] _-288.e6|           0.00]      0.00]   |

   | oa/i7/2z | 08/17/22 | 04/01/21 cash Receipt                 |            84090051                  co]              off] 4090.05 N                            |
   [08/22/22 | 08/22/22 | 04/01/21 [Miscellaneous                |     _ 0.00]                         0.00)      0.00]        0.00]         0.00] i170.     |
   09/06/22] 08/17/22 | 07/01/22 [aiscellaneous                  |   0.00]                            9862.35] _1a771.08|     9455.65]       0.00) 4090.05)" |
   | 09/07/22 [| 09/07/22 | 07/01/22 |FHA Enmasse                T2588]                                80]                      258.86{      00}




   yai/as/2z_| 31/15/22 | 11/01/22 |raywont      ————SSSS*d?CSSSSCSS~«SOO9. 77] ~—=SC*~*iS S30]__—i48392.26) 9667.46]                        0.00) aave.2alen |
   j_i1/1e/2z [11/18/22 | 12/01/22 [Miscellaneous        [OT                              689-37]  963.99]      G1S.32]                      00] 2272.67
   y12/01/22 | 12/01/22 | 02/01/23 [payment                6539-83]                 2361-95] 1922.61] 1238.62]                               0.00] 201s. esi
   y 12/06/22 | 12/06/22 | 02/01/23 [FHA Ennasse        |           258.86]            OT] = 258.06]                                          ao]

   [12/19/22 | 12/19/22 | 02/01/23 [cash Receipt           __————<+|_          2272.67]                0.00]          0.00]     0.00              0.0o]   2272.67]

   [o1/oa/a3 | 12/08/22 | 03/01/23 [Refund Manual                ————~«d[_——«30-8S|_——~—~SC—C*=G]—~=~SC=«]_—=~=~=i«SOW
                                                                                                     S| ——=iw ao] —=—i 0]
   Poi/ii/23 | 01/ii/23_| 03/01/23 [Refund Manual                ——«dT———~—~S 9308S] ——SSCSCSC*~*~*t =O ~=~S~*~*~*iiC        ~*~ GBS      —~=~*~*‘éii« OY SC~*« CCS
   B= Buydown/Subsidy                      F= Fee Poyment               Ls Lote Charges                f= Unapplied            C= Uncollected




(ar t:blank
   E       187140-00176744-0
                 [PAG.0} [DOC 27 15/28 Id. 38082075}                                                                                                               212
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 179 of 219 PageID 184




                                                                                 .   :



:                                                             UIE ELhia tae
                                                            OR rice er ara eee
   Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 180 of 219 PageID 185




        a mtMORTGAGE*
        P.O. Box 50485, Indianapolis, TN 46250-0485




        FREEDOM MORTGAGECORPORATION IS ADEBT COLLECTOR ATTEMPTING TO:COLLECT A
        DEBT AND ANY INFORMATION OBTAINED
                                     WILL BE USED FOR THAT PURPOSE.

        IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN
        BANKRUPTCY, IS SUBJECT TOTHE AUTOMATIC STAY OR-IS PROVIDED FOR IN ACONFIRMED
        PLAN, THIS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL
        PURPOSES ONLY, AND DOES NOT CONSTITUTE A: DEMAND FOR PAYMENT
                                                                   OR AN ATTEMPT TO
        IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.




Se 157140-001767-4 -0 [PAG.O}DOC 27 Sen td.ce9ee078).
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 181 of 219 PageID 186
  2/23/24, 1:42 PM                                                CARE Admin - User Message Reply




    February 23, 2024




    Dear Akmal Jamal Grant,

    Thank you for contacting Freedom Mortgage Corporation (“Freedom Mortgage”). We received your
    request via our website on February 14, 2024, regarding the credit reporting. We appreciate the
    opportunity to assist you and hope you find the following information helpful.

    After researching the account, we have determined that there is no evidence of inaccurate reporting
    and that the loan Is being accurately reported to the four major credit bureaus. According to the Fair
    Credit Reporting Act (FCRA), we must report factual data. We have verified delinquency reporting for
    the months of October 2022, and February 2023, to November 2023 per Freedom Mortgage records
    as valid. Freedom Mortgage does not change credit reporting as a courtesy or facilitate the
    restoration of credit.


    if you believe there is any discrepancy, please provide a copy of the credit report(s) showing the
    disputed information, a full bank statement, and/or front and back copies of canceled checks for the
    payment(s) in question. You may send it by attaching it via fax to 1-866-505-0948 or via mail to the
    address listed below.


    Freedom Mortgage Corporation
    P.O. Box 50485

    Indianapolis, IN 46250-0485

    Freedom Mortgage is obligated by federal law to provide timely and accurate credit reporting with
    regard to loan status, payment history, and loan information. The contractual obligations are to make
    full monthly payments on the first of each month. Payments received after the month In which they
    are due will be reported to the credit bureaus accordingly. The information reported to the four
    major credit bureaus properly reflects your payment history and loan information. We are, therefore,
    unable to make changes to the reported information.

    If you need to speak with a Customer Care Representative, please call Monday through Friday 8:00am
    to 8:00pm and Saturday 9:00am to 2:00pm Eastern Time at (855) 690-5900.



    Sincerely,


(eae dadmin.sagentapps.com/adfdny1517/customer-support/user-measages/reply/6435342/1617
          157140-00178744-0
                (PAG. (DOC 27 7/20 1d.39982075]                                                          12
   Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 182 of 219 PageID 187
 2/23/24, 1:42 PM                                                CARE Admin - User Message Reply

    Customer Care Team
    Freedom Mortgage Corporation



    FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND
    ANY INFORMATION OBTAINED WILE BE USED FOR THAT PURPOSE.


    IMPORTANT NOTICE: TO THE EXTENT YOUR GBHGATIGN HAS BEEN DISCHARGED IN BANKRUPTCY, I5
    SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED FOR IN A CONFIRMED FLAN, THIS
    COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES GNLY,
    AND DOES NOT CONSTITUTE
                       A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL
    UIABIDITY FOR SUCH OBLIGATION.
    wone--------~------=Previous Message--------------------
    | would like to dispute all late payments reported from Feb 2023 - Nov 2023. These payments were
    marked late on my credit report due to a recall of funds from HAF on Dec 14 2023. The funds that were
    recalled were from back in January of 2023. Apparently, HAF over paid freedom mortgage and didn't
    realize it until almost 1 year later. My original approval letter from HAF on 8/2022 stated they would pay
    past due mortgage(forbearance) and 7months going forward which would put my first payment due in
    March 2023. | had no way of knowing how or why they over paid. | have paid my mortgage as agreed
    every month since HAF funds stopped in March 2023 including the large December balance that came
    after the over 6k in funds were recalled halfway through December as evident in each monthly statement
    sent to me in 2023. | have been advised by your team to reach out to HAF to get a letter stating that the
    error was on their end and not my own. Unfortunately, the Florida HAF phone number has been
    disconnected and my countless emails sent to the address on the site have gone unanswered. As you can
    imagine these 10 late mortgage payments ranging from 30-90 days has destroyed my credit rating. | ask
    that you please remove those late payments from my credit report as the error was not mine and {| have
    been timely on my payments. Thank you. Akmal G




(ie Hadmin.sagentapps.con/adidm/1517/customer-support/user-messages/reply/6495342/1517
         157140-00178744-0
               [PAGO] [DOC 27 ofee id.20902075)                                                              2a
      Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 183 of 219 PageID 188
      1/13/23, 1:08 PM                                                 Account Connact Admin
      January 13, 2023



       Dear Akmal Jamal Grant,

      Thank you for contacting Freedom Mortgage Corporation (“Freedom Mortgage“). We received your requests via our
      website on January 4, 2023, regarding the information furnished to the Credit Reporting Agencies (CRAs). We appreciate
      the opportunity to assist you and hope you find the following helpful information.

       We are unable to honor your request to update the credit reporting. The delinquency for October 2022 Is accurate as
       reported. We received the October 1, 2022 payment on November 15, 2022. Enclosed is a payment history for your
       review and records.


       The contractual obligation Is to make full monthly payments on the first of each month. According to the Fair Credit
       Reporting Act (*FCRA”), we must report factual data and we are unable to retract the delinquency. If further research is
       requested, please provide a copy of the Credit Report(s) showing the disputed information.

       If you need to speak with a Customer Care Representative, please call Monday through Friday 8:00 am - 8:00 pm and
       Saturday 9:00 am - 2:00 pm Eastern Time at (855) 690-5900.


       Sincerely,


       Customer Care Team
       Freedom Mortgage Corporation

       We appreciate any feedback you can provide regarding your conversation with us. Please complete this quick survey.


       Enclosure(s)

       FREEDOM MORTGAGE CORPORATION IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND ANY
       INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.                                            ,

:      IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED IN BANKRUPTCY, IS
       SUBJECT TO THE AUTOMATIC STAY OR IS PROVIDED FOR IN A CONFIRMED PLAN, THIS COMMUNICATION IS
       FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY, AND DOES NOT CONSTITUTE A
       DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

       cooecocerensere=-----Previous Message@---------~----------
       I was approved for the HAF funds on 8/15/22 and passed the Information over to Freedom Mertgage immediately. The
       past due of $34,090.45 was payed In September of 2022 with the future 7 payments to follow from HAF. I have attached
       the approval letters for HAF. If there is any other information you need please reach out to me. Thank you.




    ze Hadmin.sagentapps.com/adfdm/SupportvUserMessages/UserMessageReplyDetail
              $87140-00178744-0
                    [PAG.C} (DOC 27 11/28 199062075}                                                                              1"
   Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 184 of 219 PageID 189
  1/13/23, 1:07 PM                                                                     Detail History




    01/13/23


    AKMAL JAMAL GRANT
    142   WATERVALE DR
                                                                                            Account none
    SAINT AUGUSTINE             FL 32092-0000


    Collateral     142 WATERVALE DR


    Original Balance             383374.00                PéI Payment                 1642.28              Next Due Date            04/01/23
    Current Balance              367191.62                Escrow Payment               724.66              Last Payment Date        12/01/22
    Escrow Balance                  3312.54               Opt Ins Payment                0.00              Current Interest Rate     3.12500
    Unapplied Balance                   0.00              Buydown                        0.00
    Fee Balance                         0.00              Total Payment               2366.94


    History from @1/61/13 through @1/13/23 Beginning statement balance                383374.00         Ending statement balance     367191.62

      Posting    Effective    Paid To           Transaction                Total
        Bate       Date      Date             Description Amount. Principal Intarest Escrow Insurance Other
    | 03/23/23 [03/23/21 | 04/01/21 fadmin
                                     oof   Ady                                                              oT
                03/24/21 | oa/oi/2i cash Receipt           tS BLO]                                          2456. pe]              ooo]
    [oa/oz/2i_| o4/oz/2i | 03/01/22 [FHA Manual        ——=SSSSS«dT SCC AK] —~SCSCSCSC~C~«« OY ~=S~S~C~C* «OY ——=C gta              0.00] o.oo] __

      06/02/21 | 06/02/21 | 03/01/22 [PHA Manual               2G HOP                                OO} 00f,         = 26440]     0.00]         0]
                            03/01/22 fFHA Manual              T= 264 MO]                             0D                264.40]      oo]          og


    | os/os/2i | 04/01/21 | 04/01/21 Miscellaneous    TO]                 O]  OO}       0]      oT
    |_o97i3/2i_| 09/13/21 | 04/01/21 reo
                                      fff piited                                     Oooo          ts. c0fr |
    |_o97is/2i_[ 09/15/21 | 04/01/21 [ree Waived          of             000000]              00-1500
    | 10/07/21 | 10/07/21 | 04/01/21 [FHA Eomasse        26440]       000000]        264 ag]  cof     o0f
    [11/03/21_| 11/03/21_| 04/01/21 [rax Enmasse   ————«d[__-1041.88] 0.00]  0.00) 041.98]   0.00] o.oo]
      1708/2i_|  11/08/21 | 04/01/21 [PHA Enmasse ——SSSS*dSSCSSCSC*C*~ RASA C~*C*~‘“*é ‘Ct SSC*C*«ii* SCAG] —~=~Ci Oi] ——*d
    [12/06/21 | 12/06/21 | 04/01/21 [FHA Enmasso———=SC*dT~SC~*~‘~*~ AWAOY=SSC~C*~*~*~«i ‘C“ OY SCS*~*~*tC OO ——C gaa 0.00] 0.00, |
    [01/06/22 | 01/06/22_| 04/01/21 [PHA Bnmasse          SSS‘ SCSCSCSCSCS~ AA] —=S=C*~*~*~*‘“~*~*é=OGYCC~*~‘é ‘CSC          so}   o.oo]         o.oo} —_—*S


    B= Buydown/Subsidy                   Fa Fee Payment             L= Late Charges             N= Unopplied            C= Uncollected




(eeeE tblank
         157340-00176744-0
               [PAG.0] [DOC 27 13178 Id.38962078]                                                                                                         12
                    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 185 of 219 PageID 190


5   .   ®       ‘             :                               =                3   .   .               i           .            ay   et   os




                                     EFT a Ma bane 7 A,
                                    Fata et                                                .
                                     2
                                    eee)
                                    as a
                                        burke)
                                         a
                                           Se
                                           Sea                                                 é
                                                                                                   .           :       x
                                                                                                                           .:




            ,          .                                              jf




                                                          a       :        ’                               .                          .
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 186 of 219 PageID 191




       FREEDOM MORTGAGE"
       P.O. Box $0485, indianapolis, IN 46250-0485




       AKMAL JAMAL GRANT
        142 WATERVALE DR
        SAINT AUGUSTINE, FL 32092




       September 4, 2024                                                                                                            |


        Re: Loan number
        Dear Akmal Jamal Grant,

        Thank you for contacting Freedom Mortgage Corporation (“Freedom Mortgage”). We received a request via mail on
        August 13, 2023, regarding your credit reporting. We appreciate the opportunity to assist-you and hope:you find the
        following information helpful.

        After researching the account, we have determined that there is no evidence ofinaccurate reporting andthat the loan is
        being accurately reported to the four major.credit bureaus. We have verified delinquency reporting
                                                                                                        for2023 and 2024
        per Freedom Mortgage records as valid. According to the Fair Credit Reporting   Act (FCRA), we must report factual
        data. Freedom Mortgage does not change credit reportingas acourtesy or facilitate the restoration
                                                                                                       of credit.
        We have enclosed copies of the payment history, previous correspondence sent to-you regarding
                                                                                                  your credit reporting
        for your review and records.

        Freedom Mortgage is obligated   by federal law toprovide timely and accurate credit reporting with regard to loan status,
        payment history, and loan information. The contractual obligations are to make full monthly payments on the first of
        each month, Payments received after the month in which theyare   due will be reported to thecredit bureaus accordingly.
        The information reported to the four major credit bureaus properly reflects your payment history‘and loan information.
        We are, therefore, unable to make changes to the reported information.

        You can access your loan information24 hoursa day, seven days a week by logging on to www.freedommortgage.com
        or through our automated phone system at (855) 690-5900. Ifyou need to Speakwith a Customer Care Representative,
        please call Monday through Friday 8:00am ~ 8:00pm and Satarday 9:00am —2:00pm Eastern Time;

        Sincerely,


        Customer Care Team
        Freedom Mortgage Corporation

        Enclosure




ee 187140-0017674-0(PAG.0j[O00 27 2281d. 38082675)
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 187 of 219 PageID 192
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 188 of 219 PageID 193




   3. Mortgage Accounts
   Mortgage accounts are real estate loans that require payment on a monthly basis until the loan is paid off.

   3.1 FREEDOM MORTGAGE

   Summary

   Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
   calculated by dividing an account's reported balance by its credit limit.
    A           aATS
                   UE RASSaI GTS        RCE
   account Numberre
                 9 ee aee
                       es a PO eineriod Balance 2 ee ee
                                                      a oo eae GER
                                                                                         Boe
   Account Status                               PAYS_AS_AGREED                          Avallable Credit

   Account History

   The tables below show up to 3 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
   credit limit, amount past due, activity designator, and: comments.
   Balance




  _ 2023 $365,269 $385,269 $365,269 $964,538 $369,850 $363,160 $364,301 $363,697 $389,002 $962,305 $361,607 $360,806
   2024 $360,502    $359,798    $959,093   $958,986   $357,677            $356,966


   Available Credit


   PF                                        tye                                                                 S|
   a0)                  ai     Ree eas     y EAT SD      gas oe Tara ee                if ie     a FOO Ny es WL Om ESD RASTIAS: BPe ee mE TS eee alice is eb
   2023


    2024



   Scheduled Payment



    2022                                                                  |                      «$579 SDT «$2972 $2,272
    2023 $2,261       $2,261      $2,966    $2,366     $2;366                 $2,386    $2,966      $2,356    . $2,366     $2966     $2,366      $2366
    2024   $2366      $2415       $2415     $2,415     $2,415                 $2,415


   Actual Payment




   Equinix                                                 AKMAL GRANT | Aug 06, 2024                                                         Page 44 of 86
                Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 189 of 219 PageID 194




. ~ *   | a 3      *       |        <                                             -




                a Boh ae       go   *   te 7   .   -    ——   =   es       #   #       .   .   Lee   oe a ae   ine   ane   Se   °   &




                                                   me                 ‘
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 190 of 219 PageID 195


9/04/24                                                                Aeccunt NunbaSOOO
AKMAL JAMAL GRANT




B= Guydown/Subsidy                  Fo Fae Payment   te Lote Cherges       Ne tnopplies




      187140-00175744-0
            (PAG.0] (DOC a7 18/20 1,s9002075}
                                          Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 191 of 219 PageID 196

                  ae he                   ce                  mie *                   Te                                                     Boras.                                                     .                                =                       ae                   ;                        °                    gf        wad   Stet                        .      Se     ee Sp                sa, 7g MSs
    en                               ee                        =                              7                     so           ag reeset i                                                        5                            .                       :                i                                              owe             Pe   OP ES             tte                  eu in 5                         0% tae




    ;                  sad                    ee                         a                                                           4            gis                      rc                                                                .                                                .        Teo               BE     RPE Ty              fea               oF yee        eabke        sO            -             .
                  Pe                 co        wife             Ls                        8               a ane                                   “ee        bs Fs                              .                       3   ice                                                                   wo pegs eh oe                                     ee PS                           wee          -


             he        a                  ee ee                     oe                                cis                                    ae                            Ba                                   .                oS es                                :               6, oe                                    ag             o ee OY we SB                                                -
                  ree                         fur                            .                            =                              ;                  ea                 .                                    :       Geese                                                                     FE               Ege =                  Be       ee                            SEP os                                      uo,




    BE BY S%                 os           ote                 isa                Vie ee               OE  Bo                                 =          =        .         ;                7                                    woeet       a       z                    %           st as         Sl                 BP      oe Ee   WR   eo                                                                                    a
    hie                                    Bae es                                2                     oe                        e                                                 “                                                             .                                                ea                   be.     BGPP Be Fear  i ae                                                     ee


:                                    en ee                                          ee,                                                                     me             8                    .               .           eg                                                        a                    ee                                       er                                      ee       er                          eee




                                               a) magi                   a                        .                 os                tae                                                                                    ;                                                                                         a        a                                      aes           eat                                         “



                                 =       yam       , S Taey          gest                         +       ale        a               ville                                     mo                                                                                                     .           .        :                   ee ee                                     fs 4       aoe.                                             F
                                     ee            oo    ee                                           a                      e                   Fe                                                                                      :                   :                                    :                    igitee ROTA                   DF                 ee BS                                        ;               o


            Pe                       8   eet        elie 2 §                 Tg                       ’       ae                                                     ans                                                    Te,                                               S                   ne ee                                                    ae            ee         ee




    Le                       .            a    ae ee                                                                                         et                      say               *s                   .               Tay                                  a                .       fs                       a            en Pee eee ek                                          eee                         ooo,                  .




ae,                                                                                                                                                                                                                                      ~                                                                                                                               qo                                              ;       _




        t                                                                                                       .        .                                                                                                               e                                                    °
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 192 of 219 PageID 197


             ine        : at ell                 COR
                                                 PO. NENA
                               LEASE BO SENG PAYMENTS     SERACECIR
                                                     BOXBISED                          .TOT:=a
                                                                                            if                                             e
                                                                                                                                            ortgage Stas
                                                                                                                                              ST,           -
                                                                                                                                                    otal ement
                                                                                                                                                       2
             FREEDOM MORTGAGE” DALIAS,1% 75261-0053                                                                                       Statement
                                                                                                                                              Date 09/14/23.




                                      °                                                              Customer Care:                     Monday - Friday 8:00am ~ 8:00em ET
                        2-B07-03812-0012409-00 1-100-000-000-000                                                                                  As 57 9 " 2.00pm Et
                                                                                                     | Find us.on the-web'at:                   woww.freedommiortgage:com
                        AKMAL JAMAL GRANT                                                            cath                                      wits            nll
                        142WATERVALE DR                                                               Loan Number                               i
                        SAINT AUGUSTINE FL 32092-1768                                                     PaytientDueDate                                       "001723

                                                                                                      if  Amount
                                                                                                            payment is receivedDue**
                                                                                                                                sfter 10/16/23, $55.69 tate fet-will$2,366.94
                                                                                                                                                                    be chaos
                                                                                                     Property Address: 142WATERVALE DR
                                                                                                                              SAINT AUGUSTINE
                                                                                                                                         Fi, 32092



               Outstanding
              Deferred     Principal
                       Balance                                                $363,002.83|
                                                                                    so.a0 | || Princpal
                                                                                                ist                                            —                            6|
                                                                                                                                                                          5.32
                ae                                                                   asgeen   | pestOwAmpound         (for Taxes and/or insurance),                   28.66.
              interest
                 .     Rate               :                                          3.125%:|
                                                                                            | 1.| Regular
                                                                                                   "Regular Month
                                                                                                               Monthly Payment:                                 rch2,366.94 a
              Prepayment Penalty                                                         __No | | Total Fees & Charges                                            $00
              Escrow Balance                                                     $4,854.75            Overdue Payment                                                     $,00 |
               Unapplied Funds                                                          $0.00 | | Unpaid Late Charges                                                     $.00 -
                                                                                                      Other/Optional
                                                                                                        Total Amount Products
                                                                                                                        Due**                       ;          reeeeet
                                                                                                                                                               E    4}


              oe                     =                     ee                                    ee                                     ee                  cee er
               fortgageimirence OS/0S23 08/01/23 OBIS 23                      $asais               $000         gags            sa.00     Tn                          ea
              Payment              ooyieyzs 0901/23           on/24/23       R238                $733         Se55.15        srs          $00     eo        $05           Sate




               IMPORTANT  NOTICE: 70FLAN,THEEXTENT
               FOR IN A CONFAMED                   YOUR ORUGATON
                                            THS COMMUNICATION     HASREGULATORY
                                                              IS FOR   BEEN DISCHARGED IN BANKRUPTCY,
                                                                                 COMPLIANCE           SUBVECT TO PURPOSES
                                                                                             AND/OR INFORMATIONAL
              _ CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT 70 IMPOSE PERSOMAL LIABILITY FOR SUCH OBLIGATION.
                                                                                                                 THE AUTOMATIC
                                                                                                                          ONLY, STAY ORS PROVIDED
                                                                                                                                 AND DOES
                                                                                                                                           a
                                                                                                                                            NOT:


              Past Payments Breakdown ©                                             soa | important Messages)
                                  Paid Last                                         Paid Year | | FREEDOM MORTGAGE CORPORATION
                                                                                                                           IS A DEBT COLLECTOR ©
                    ;                                          Month                  toDate | | ATTEMPTING
                                                                                                          TO COLLECTA DEBT AND ANY INFORMATION:
              Principal                                        695.15                4,198.79 |° OBTAINED WILL BE USED FOR THAT PURPOSE.
              Interest                                       $347.13               $5,709.89 | | IF YOU ARE INBANKRUPTCY OR HAVE BEEN DISCHARGED
              Escrow (Taxes anid insurance}                  $724.66               $4,247.96 | | BECAUSE  OF ABANKRUPTCY PROCEEDING, THIS NOTICE[5
              Fees**                                            $0.00                  $0.00     GIVEN TO YOU FOR INFORMATIONAL PURPOSES  AND 1S NOT
              late Charges                                      $0.00                 $65.69 | | INTENDED AS ANATTEMPT   TO COLLECT A DEBT OR AS AN ACT
              Partial Payment Unap lied*                        $0.00                   $0.00| |TO COLLECT, ASSESS, OR RECOVER ALL OR ANY: PORTION OF
              <<: ec                                               eee le THE DEST FROM YOU PERSONALLY.
               *Partial Payments: Any funds received that are less than a fui periodic _

               preybe tro snr a ore setra
                                     turned to                                              held
                                                                                                                                                                  s             |
               toa“Amounts
                     ful period:
                            listed payment.
                                    here wil include other/optional; products, if applicable.:            “palais
                                                                                                           ‘statement. ESparece
                                                                                                                           pestetebandagegelridiby
                                                                                                                                    en BeesAtl eee seal ts
                                                                                                            COMMER                                              |.
         :      ;                                    sc   1 dsitional information
                                                                           is provided on the back of the statement.



             Pritoom Mormaace:                                                                                          Due By 10/01/23: ala $2,366.94:
               LOAN NUMBER: P| ARMAL JAMAL GRANT                                                                        565.69 fate fee will be charged‘$after11627—
                                                                                                                        Additional Principal
       ey                                                                                                               Additional Escrow               5             ,
        =4 FREEDOM   HORTEAGE
           CHICAGO IL eosso-Bes6
                                                                                                                        bate  Charge         3
                                                                                                                         Total Amount Enclosed $
                                                                                                                                                                      —
                                                                                                                                                                      > Ee
        e
        €
                                                                                                                           Make check payable toFreadtam Mortgage
                                                                    CO          See
           Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 193 of 219 PageID 198

                          .   .        a.   Se adews   -

<i :                                  csiitier,
                                  | «FARE
                                       Ea   ORRA
                                                 2                -
                                                                               :*
                                                                                        ‘
                                                                                            a   3   ;:   :
       .     .                     :        = eT                           »        °                        .
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 194 of 219 PageID 199

    6/24, 2:38 PM                                                               Aonval Credit Repost
                                                                                                 - Experian

             |            Additional info
                          The original amount of this account was $383,374




                  | Contact Info
                          Address                                                         11688 EXIT S PKWY,
                                                                                          FISHERS IN 46037         ,


                          Comment

                          Current:


                          Completed investigation of FCRA dispute - consumer disagrees,                        .       :

             |            Previous:
             |            Completed investigation of FCRA dispute - consumer disagrees.
    ,                     Feb 2024
                                to May 2024
                          Aocount informaticn disputed by consumer (Meets requirement
                          of the Fatr CraditReporting
                                                    Act).

                          Jan 2024, Dec 2022




                          Reinvestigation Info
                          This tem waa updated from cur processing of your dispute In Jan
                          2023.




                 NAVY FEDERALCRUNION                                                                                       |
                          Account info

                          Account Name                                                    NAVY FEDERAL
                                                                                                   CR UNION
                          Account Number                                                  Bb 000000
                          Account Type                                                    Secured Loan
:                         Responsibility                                                  tnetivictecad
                          Date Opened                                                     05/12/2024
                          Status                                                          Opon/Never tate.
                          Status Updated                                                  Jul 2024
                          Belance                                                         $6,369
                          Batence Updated                                                 07/31/2024
                          Recent Payment                                                  $140
                          Monthly Payment                                                 $140
    hitps:/fusa.experian.convacriprintReport type=CDI                                                                          ws
              Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 195 of 219 PageID 200

    :                      i                     its                                             :           :                           -           :                                                               -   .
                                                 ee       Pe                         -                                       .               -
        .                                       met
                                                  AE re BES pe               ”                           -                                                                           .                   .
    ee                                          SECS
                                                   c aa                                              -
;                                               weet.                    e                                                           :                                                                       .               :   :




             NOR               .   -                             .                                       .                       ;                               .                           ;
            wpe
             ae he
                  gt   .       .
                                       so   -                                    :                                       ;                                           ;   .
                                                                                                                                                                                                 .   -
            fee            ye                              .                                 a                                                               :               :                                   .
            es             .                                         -                       ;                   -   :                                   .                               .       0
            Se,            lo                                                            .                                                       .                               :
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 196 of 219 PageID 201

 8/6/24, 2:38 PM                                                             Annual Credit Repost - Experian
                       Between Aug 2022 and Jun 2024, your credit limit/high balance was $13,600



    ‘                  Contact (nfo                                                                                      .

                       Address                                                      PO BOX 30989,
                                                                                    SALT LAKE CITY UT 84130

                       Phone Number                                                 {890) 347-2683


          De
           ce nt tn                                                          an    tenn
          oo


          |        FREEDOM MORTGAGE CORP
          |          POTENTIALLY NEGATIVE
          |                                          _

                       Account Info

                       Account Name                                                 FREEDOM MORTGAGE CORP


                       AcoountNumber                                                bo
                       Account Type                                                 FHA Mortgage
                       Responsibility                                               individual
                       Date Opened                                                  02/26/2021
                       Status                                                       Open.
                       Status Updated                                               Ceo 2023
                       Balance                                                      $356,966


          |;           Recent Payment
                       Balance Updated                                              06/30/2024



                       Monthly Payment
                                                                                    $2,481as of6/26/2024
                                                                                    $2,415
    ,                  Original Balanca                                             $303,374
                       Highest Balance                                              -

                       Terms                                                        30 Veara




               [$} Payment History
                           J            F        M        A       M           J          J          A          s    0        N   D

               2024        v            v        v        v       ¥           v          -          -          -    -        -   -

               2023        ¥         30         60        60      60         60         60         60          60   60   90      ~
               20220       -                                      eK                                                DK

                ~“     Current / Terms met           30   Past due 30 days
                60     Past due 60 days              $0   Past due 90 days
               Payment history guide
               $0 days past due as of Nov 2023


 https://usa.experian.com/ser/printReport Aype=CDI                                                                                   18/99
                                Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 197 of 219 PageID 202

         ‘ ia       wea
                     a
                                  .                                                   :
                                                                                                                    erases:
                                                                                                                    a BE ee as
                                                                                                                                                        i                                    as*                                                                   nie’
                                                                                                                                                                                                                                                                   eRe
                                                                                                                                                                                                                                                                                Boe =                           a"                                        .
                                                                                                                                                                                                                                                                                                                                                          elt
                                                                                                                                                                                                                                                                                                                                                                                           x   :
                                                                                                                                                                                                                                                                                                                                                                                                   3
 =              ee                                      :                 4                                         . RSPRENS 2 ee                          se               .                                                                                                                                                                    .                       ie       *               oy




                                      y-                                                                                                                                 :                         z                                 *   “3               =             -            So                     i.                        .                               oo


                          Se
                               Ween
                                 PR On
                                                   ma             .
                                                                                  s                   a.
                                                                                                           ar           :
                                                                                                                                                a            .
                                                                                                                                                                                                                                 .            .
                                                                                                                                                                                                                                                                            see
                                                                                                                                                                                                                                                                            ra
                                                                                                                                                                                                                                                                                Ho        és
                                                                                                                                                                                                                                                                                                   ;            a8
                                                                                                                                                                                                                                                                                                                        de       2.                                   3
                                                                                                                                                                                                                                                                                                                                                                          ao   .                                     5
                               at ee                                          F                   ue                        .               .                    =                                     6   owe       .                            :                             a             oon                                 :                                                    ,               :
a                      gee                                      mg a oe                                                                             :                                                                                    ole                    fe. pe                    :            ane:                                                           ee
                       ANd oe ad
                       wetas!
                                               %   vi
                                                                .                                 .
                                                                                                  re
                                                                                                                    .   .           .                                                .
                                                                                                                                                                                         :                                                    j
                                                                                                                                                                                                                                                              :     BP
                                                                                                                                                                                                                                                                     eee                       ;                =
                                                                                                                                                                                                                                                                                                                                          z                       a       &
                                                                                                                                                                                                                                                                                                                                                                                                           %,:
                ;       oh ghee Ste        :                .                                                                                                                                                            .                                        rr)                                       :                                 .                       _
*,                    2 Bags               :                          «                       “                 .                                   .                -                                                                            #               i                                             %            ‘
     .                 wee                 a                                              .            =                                                             :                                                       “                    a               ees       *             *                     -            =*                       >                   e                                      E




                                           .                                                           .        +               .       °                                        ,           °                   :                   _                °       .         ae *                           so           *                                         .
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 198 of 219 PageID 203

 8/6/24, 2:38 PM                                                  Annual Credit Repon - Experian
          eS



          | Phone Numbers
                   (859) 948-3235                      (859) 230-0952                              (859) 272-7790
                   Cellutar                          ' Celtular                                    Residential




          | Notices
              This address has pertained to a business: 142 WATERVALE DR ST AUGUSTINE FL 32092.




              ENGINEERING-MANAGEMENT SERVICE: 142 WATERVALE DR, ST AUGUSTINE, FL, 32092.

          Lo
              Accounts

              includes credit cards, real estate loans and installment loans. This information is reported to the
              credit bureaus from your creditors.


              AFFIRM INC



                       Account Info

                       Account Name                                      AFFIRM INC


                       Account Number                                    Bi cox
                       Account Type                                      Unseoured

                       Responsibifity                                    individual
                       Date Opened                                       09/28/2024
                       Status                                            Open/Never late.
                       Status Updated                                    Sul 2024

                       Balance                                           $168
                       Balanca Updated                                   07/03/2024                       ,
                       Recent Payment                                    $35 a0 of 6/28/2024
                       Monthly Payment                                   $35
                       Origine! Betance                                  $199
                       Highest Balance                                   .

                       Terms                                             6 Months


 hitps://usa.experian.convacrprimtReport?ttype=CDI                                                                  KYL)
             Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 199 of 219 PageID 204


ai   i   i                         Te            .                    “   .        .   2    .    ge   “Ey   +
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 200 of 219 PageID 205




                            EXHIBIT32
            Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 201 of 219 PageID 206                                ;




                 *** 417189327-028 ***



                 Woediyn,PA15094-0805                                    08(21{2024                        Gu)
                 Transiinion LLC


        ,                4                                                                                 4
                 LE                eB                                                             Information fer Good.                   ,

            PKIX3200100467-1004461-215773073

            PLT Decbod | ante TTT | bucks i fstab co 2 | Cab Lo
            AKMAL JAMAL GRANT
    §       142 WATERVALE DR
            SAINT AUGUSTINE, FL 32092-1768




             We understand that recently something on your credit report did not seem right to you. We take this matter
             seriously, and we want to make sure your TransUnion credit report is accurate. It's our commitment to you.

             Our investigation of the dispute you submitted is now complete. After a review of your dispute and any
             provided documentation, we took one or more of the following action(s):

             1. Updated your credit report based on the information you provided; OR
             2. Determined that the information you disputed either does not appear on your credit file or already shows
                the requested status; OR
             3. Determined that the data furnisher had previously verified the reported information. {f any of the items
                you disputed were previously verified, a separate communication was sent to you listing those items along
                  with the data furnisher’s contact information; OR
             4. Asked the data fumisher reporting the information you disputed to do all of the following:
                   e Review retfevant information we sent them, including any provided documents
                   e Investigate your dispute and verify whether the information they report is accurate
                   e Provide us a response to your dispute and update any other information
                   e Update their records and systems, if necessary;


a“" —-“ $6parate
         Should youcommunication
                     wishtoreceivefortheyourabove description
                                             records,         ofthe procedureswe
                                                      please contact TransUnion. used to, investigate
                                                                                                   - your dispute -
                                                                                                                  in.a
             Your dispute is important. In the pages that follow, you will see your detailed investigation results, including
             the name and contact details of the source of the information. Please review the results carefully. To view a
             full copy of your credit report and for more information about how to read your credit report, please visit
:            www.transunion.com/fullreport.


                                                  How to Read Your Investigation Results
             You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
             paragraph describing the results of our investigation, followed by a view of how the item appears in your
             updated credit report. Please note any changes we made to personal information (name, address,
             employment, SSN, date of birth) will appear at the end of Your Investigation Results.



\                                                                                                       nck2_00? €00667-4004481 001/005
      Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 202 of 219 PageID 207

    Fite Number:       417168327                   Page 2 of6
    Date issued:       08/21/2024
    A Note on Credit Report Updates
    Information in your credit report is updated frequently which means items you disputed may not appear on
    your credit report or have already changed by the time we received your dispute. In most cases, the Date
    Updated represents the last time the account information was updated or reported by the data furnisher.
    Please note that this date may not change following our investigation of your dispute. For Payment Received
    and Last Payment Made, please keep in mind, the data may not represent very recent payment activity.

    if information was removed or updated as a result of your dispute, the “Your Investigation Results” section
    below will note that an update was made. An update can include a change to the information or the removal
    of the information entirety from your credit file. For example, if a field was removed as a result of your dispute,
    the description will indicate that a change was made to that field. If information was removed, it will no longer
    appear in the account details.

    Definitions
    For your reference, here are some definitions to hetp you understand Your tnvestigation Results.

___ For ACCOUNTS:
     Balance: The balance owed as of the date the               “| Original Charge Off: If applicabie, thea amount
     account was verified or reported                              charged off due to non-payment of the account
     Credit Limit: The maximum amount of credit                  Past Due: The amount past due as of the date the
     approved by the creditor on the account                     account was verified or reported
     Date Opened: The date the account was                       Pay Status: The current status of the account; how
     Opened                                                      you are currently paying. For accounts that have
                                                                 been paid and closed, sold, or transferred, it
                                                                 represents the last reported status of the account.
     High Balance: The highest amount ever owed on an |Remarks: if applicable, the creditor may provide
     account                                                     additional information here related to the account
     Last Payment Made: The date the creditor                    Responsibility: The type of contractual ownership
     received the last payment on the account                    (individual, joint, authorized user, etc.) of the account
     Maximum Delinquency: If applicable, the                     Terms: The monthly payment amount or monthly
     maximum amount past due before an account                   minimum payment due on the account
     becomes a charge-off or a collection account

     Historical Trended Data
 .-— Accounts -on-yeur-credit-repert may include historical account information, which TransUnion has collected
     from account updates provided by your creditor for up to 30 months. On your credit report, this historical
     trended data may have appeared in a grid below each account along with information reflecting the
     timeliness of your payments and may include the following data: Date Updated, Balance, Amount Due,
    Amount Paid, Past Due, Credit Limit, High Balance and Remarks.

     Please note: Once an account is disputed, the historical tended data is removed from your credit file and will
    not be displayed on these results. However, the rating information reflecting the timeliness of your payments
    will ramain and reflect any updates provided by the creditor, if applicable.
    Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 203 of 219 PageID 208
    File Number:      417188327                 Page 3 of 6
    Date Issued:      68/21/2024
    Rating Key
    Your accounts may also include up to 84 months of rating information. Some creditors report the timeliness of
    your payments each month in relation to your agreement with them. The ratings in the key below describe the                 &
    payments that may be reported by your creditors. This rating key will help you understand any updates to
    your PAYMENT HISTORY, if applicable to YOUR INVESTIGATION RESULTS. Any rating that is shaded or
    any value in the account detail appearing with brackets (> <) may indicate that it is considered adverse.




:


                                                                                             KINS2_001 £00487-100¢483 002/005
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 204 of 219 PageID 209
File Number:               417189327                          Page 4 of 6
Date Issued:               08/21/2024


TransUnion Credit Score
AKMAL JAMAL GRANT


                     Sil            hea   one   a
 YOUR
  j  . CREDIT
         rs a SCORE...
               Ga a STee                        bead
                                                = cd

                 Your Score & Grade                              Score & Grade Range                                 Where
                                                                                                                       You Rank
                       Score                                                  fees B50                                          esy— 00%
               Not Purchased                                                  Poe 700                                           ae
                     (See Below)                                              Fatma                                             ve
                       rts                                     Unavailable <4                                   Unavailable [4
                           -                                   Conwy          aa                               (See Below)      fre **

                     08/21/2024                                               Bae
                                                                              Gey    300
                                                                                                                                sit 08%
                                                                                                                                Yee

  Based on your TransUnion credit report, this is a    The numerical score ranges from 850 to 300     Your credit ranks higher than —% of the nation's
         depiction of your creuitworthiness.               equaling grade ranges from A to F.                           population.
Summary
You did not order a TransUnion credit score. You can purchase your credit score for $9.95 by calling 1-866-SCORE-TU or 1-866-726-7388.




    z    sm, aye 8    %        -.   ee                                                                        sae Fee
                                                                                                                    tee, ee              = alge =        >   ~
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 205 of 219 PageID 210




                                                   August
                                                      7, 2024
     Akmail Jamal Grant
     142 Watervale
                Dr.
     Saint          ine,    FL 32092
     DOB:
     SSN
                           com
                  235


     Experian
     P.O.
       Box 9701
     Allen,
        TX 75013

     Dear Sir ofMadam:

             I am writing to dispute the following information in my Experian credit report. I have encloseda
     copy of the pertinent pages of the report for your review.

             The report reflects a Freedom Mortgage account (account no. BEEP ***), Freedom Mortgage
     owns and services
                 my mortgage. The report inaccurately states that I was past due 30 days in February
     2023, 60 days from March 2023, through October 2023, and 50 days in November 2023. This
                                                                                          is not
     accurate.


             In August 2022 the Florida Department of Economic Opportunity awarded me assistance with my
     mortgage payments providing me with payments to catch up on my mortgage due to a forbearance I had
     previously and to cover payments moving forward for 7 months. When that assistance   stopped I began
     making payments again. I'm attaching my mortgage statement dated 09/14/2023 as an example. That
     statement shows that I was not behind and was making payments. In December 2023 Freedom Mortgage
     informed me that the DEO had paid more than it should have and clawed back some money from Fresdom.
     As scon as Freedom informed me of that I paid that money to Freedom immediately. In any event, I was
     not late during these months.

             The inaccurate reporting of a balance which 1 do not owe has already negatively affected my credit
     worthiness.


             Piease reinvestigate this matter and delete this item as soon as possible.

     Sincerely,


     Akma! Jamal Grant
     Enclosures: Credit report and mortgage statement.
  Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 206 of 219 PageID 211

File Number:         417189327                   Page
                                                   6 ol 6
Date Issued:         08/21/2024
In the preceding pages we have provided details on the results of our investigation. If our investigation has
not resolved your dispute, here’s what you can do next:
    ¢     Adda 100-word statement to your report. What this means is that you have the right to send us a note
          of 100 words or less describing your situation or why you disagree with the results, and we will add this
          statement to your report. Anyone who views your report will see this statement. Please know that if you
          include any medical information in your statement, this means you're giving TransUnion permission to
          include that information in any future credit report we issue on your behalf.    .
    *    Dispute directly with the company that reported the Information to us. if you want changes made to
         information found on your credit report you may dispute with the company that reported it using the
         contact information listed in Your Investigation Results.
    *    Provide to us any other information or documents about your dispute. Please visit
         www.transunion.com/dispute and let us know you are filing a repeat dispute. Be sure to include any other
         information or documentation you feel will help us resolve your dispute.
    ¢    File a complaint about the company reporting the account or about TransUnion with the Consumer
          Financial Protection Bureau (www.consumerfinance.govicompiaint) or with your State's Attorney
          General's office.

if there has been a change to your credit report as a.result of our, investigation, .orif-you-have-added-a.statement.
                                                                                                                 —___.
to your report, you may ask TransUnion to send an updated credit report to those who have received your
report within the last 2 years for employment purposes or within the last 6 months (or 1 year, where applicable)
for any other purpose.

A Note on Inquiries
An inquiry is posted on your credit report to notify you that a company has requested your report. Companies
can only request a credit report for a legitimate business reason (called permissible purpose). Examples of
permissible purpose include: credit transactions, employment consideration, review or collection of an existing
account or other legitimate business need, insurance underwriting, government licensing, rental application or
court order. Inquiries stay on your credit report for up to two (2) years. Each company that requested your credit
report will be listed in the section on inquires, along with their contact information. Please note, a company
doesn't always need your authorization to view your credit report as long as they have a permissible purpose. If
you think an inquiry was made without a permissible purpose, we strongly encourage you to reach out to the
company who requested your credit report to find out whether they have opened an account in your name. The
company can then investigate and if they determine that someone fraudulently applied for credit in your name,
they can close that account and send us a letter requesting removal of the inquiry. If you have specific
information that the inquiry was made fraudulently, you can also call our Fraud Victim Assistance department at
800-680-7289.



                                  Should You Wish to Contact TransUnion. =.
Please have your TransUnion FILE NUMBER available. Your unique FILE NUMBER is located at the top of each
page of this correspondence.
Online:
To dispute information contained in your credit report, please visit: www.transunion.com/disputeoniine
For more information please visit our Frequently Asked Questions page at
htto://transunion.com/consumerfags
By Mail:
TransUnion                           :
P. O. Box 2000
Chester, PA 19016-2000
By Phone:
(800) 916-8800
You may contact us between the hours of 8:00 AM — 11:00 PM Eastern Time, Monday through Friday, and
Saturday through Sunday between the hours of 8:00 AM and 5:00PM Eastern Time, except major holidays.
      Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 207 of 219 PageID 212


       ESUM Maly. of Righissici io                                                                              _

        Para informacion en espanol, visite www.consumerfinance,gov/leammore o escribe a la Consumer Financial Protection
        Bureau, 1700 G Street NW, Washington, DC 20552.
                                          A Summary of Your Rights Under the Fair Credit Reporting Act
        The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, faimess, and privacy of information in the files of consume
35      reporting agencies. There are many types of consumer reporting agencies, including credit bureaus and specialty agencies
        (such as agencies that sell Information about check writing histories, medical records, and rental history records). Here Is a
é       summary of your major rights under FCRA. For more Information, including information about additional rights, go to
e       www.consumerfinance.gov/learnmore or write to: Consumer Financial Protection Bureau, 1700 G Street NW, Washington, DC
        20552.

          e You must be told if information in your file has been used against you. Anyone who usesa credit report or another type o
            consumer report to deny your application for credit, Insurance, or employment — or to take another adverse action against
            you — must tell you, and must give you the name, address, and phone number of the agency that provided the information.
          e You have the right to know what is in your file. You may request and obtain all the information about you in the files of a
           consumer reporting agency (your “file disclosure‘). You will be required to provide proper identification, which may Include
     - |—-yourSoctatSecurity numberin-many cases, thedisctosure-wiltbe free—You         are entitled to a free file
                                                                                                                 disclosure If:       :
                 ea person has taken adverse action against you because of information In your credit report;
                 eyou are the victim of Identity theft and place a fraud alert in your file;
                 eyour file contains inaccurate information as a result of fraud;
                 eyou are on public assistance;
                 eyou are unemployed but expect to apply for employment within 60 days.
            In addition, all consumers are entitled to one free disclosure every 12 months upon request from each nationwide credit
            bureau and from nationwide specialty consumer reporting agencies. See www.consumerfinance.gov/leammore for
            additional information.

           e You have the right to ask for a credit score. Credit scores are numerical summaries of your credit-worthiness based on
             information from credit bureaus. You may request a credit score from consumer reporting agencies that create scores or
             distribute scores used in residential real property loans, but you will have to pay for it. In some mortgage transactions, you
             will receive credit score information for free from the mortgage lender.
           e You have the right to dispute incomplete or inaccurate information. If you identify information In your file that Is
             incomplete or inaccurate, and report It to the consumer reporting agency, the agency must investigate unless your dispute
            is frivolous. See www.consumerfinance.gov/learmmore for an explanation of dispute procedures.
           e Consumer reporting agencies must correct or delete inaccurate, incomplete, or unverifiable information. Inaccurate,
             incomplete, or unverifiable information must be removed or corrected, usually within 30 days. However, a consumer
             reporting agency may continue to report information it has verified as accurate.
an           onsumer reporting-agencies-may-net-report-outdated     negative information. In most cases, a.consumer reporting agency,
            may not report negative information that Is more than seven years old, or bankruptcies that are more than 10 years old.
            Access to your file is limited. A consumer reporting agency may provide information about you only to people with a valid
ox          need usually to consider an application with a creditor, Insurer, employer, landlord, or other business. The FCRA specifies
            those with a valid need for access.

Et         e You must give your consent for reports to be provided to employers. A consumer reporting agency may not give out
            information about you to your employer, or a potential employer, without your written consent given to the employer.
            Written consent generally is not required in the trucking industry. For more information, go to
            www.consumerfinance.gov/learnmore.
           e You may limit prescreened offers of credit and insurance you get based on information in your credit report. Unsolicited
             prescreened offers for credit and Insurance must includea toll-free phone number you can call if you choose to remove
             your name and address from the lists these offers are based on. You may opt out with the nationwide credit bureaus at
            1-888-5-OPTOUT (1-888-567-8688).
           « The following FCRA right applies with respect to nationwide consumer reporting agencies:
           e CONSUMERS HAVE THE RIGHT TO OBTAIN A SECURITY FREEZE. You have a right to place a “security freeze“ on your credit
            report, which will prohibit a consumer reporting agency from releasing information in your credit report without your
                                                                                                                  KbG2_O01 E00467-1004467 004/005
        Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 208 of 219 PageID 213


          express authorization. The security freeze Is designed lo prevent credit, loans, and services from being approved in your
          name without your consent. However, you should be aware that using a security freeze to take control over who gets
          access to the personal and financial information in your credit report may delay, interfere with, or prohibit the timely
          approval of any subsequent request or application you make regarding a new loan, credit, mortgage, or any other account
          involving the extension of credit.
          A security freeze does not apply to a person or entity, or its affiliates, or collection agencies acting on behalf of the person
          or entity, with which you have an existing account that requests Information in your credit report for the purposes o
          reviewing or collecting the account. Reviewing the account includes activities related to account maintenance, monitoring,
          credit line increases, and account upgrades and enhancements.
          To place a security freeze, a consumer reporting agency will require you to provide appropriate proof of your Identity, which
          may Include your Social Security Number. You may place a security freeze on your credit report by contacting each of the
          three nationwide credit reporting agencies.
               © Equifax: 1-800-525-6285; www.equifax.com
               © Experian: 1-888-397-3742; www.experian.com
               ¢ TransUnion: 1-800-680-7289; www.transunion.com

         e As an altemative   to a security freeze, you have the right    to placean initial
                                                                                           or extended fraud atert on your credit file at no
           cost. An initial fraud alert is a 1-year atert that is placed on a consumer's credit fite. Upon seeing a fraud alert display on a
  _.|   .. consumer's credit file, a business is required to take steps to verify the consumer's Identity before extending new credit. |
          you are a victim of identity theft, you are entitted to an extended fraud alert, which is a fraud atert lasting 7 years.
         e You may seek damages from violators. If a consumer reporting agency, or, in some cases, a user of consumer reports or a
           furnisher of information to a consumer reporting agency violates the FCRA, you may be able to sue in state or federal
           court. You may also have the right to file sult under state law.
         eldentity theft victims and active duty military personnel have additional rights. For more Information, visit
          www,
          consumerfinance.gov/teammore.




wen ere te unitate           he                ;                                                        .                   .
                Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 209 of 219 PageID 214

                 States may enforce the FCRA, and many states have their own consumer reporting laws. In some cases, you may have more
                 tights under state law. For more information, contact your state or tocal consumer protection agency or your state Attorney
                 General. For information about your federal rights, contact:

                TYPE  OF BUSINESS:                                             contact:
                1.a. Banks, savings associations, and credit unions with total |a. Consumer Financial Protection Bureau
                       assets of over $10 billlon and their affillates               1700 G Street, NW,
                                                                                     Washington, DC 20552
                 b. Such affiliates that are not banks, savings associations, or |b. Federal Trade Commission
        3           credit unions also should tist, in addition to the CFPB:         €onsumer  Response Center
                                                                                     600 Pennsylvania Avenue, NW,
                                                                                                                          == ~~
        i        2. To the extent not included in Item 1 above:
                                                                                     Washington, DC20580
                                                                                   a. Office ofthe Comptroller ofthe Currency
                                                                                                                                (877)382-4357
                 a. National banks, federal savings associations, and federal         Customer Assistance Group
                    branches and federal agencies of foreign banks                    P.O. Box 53570
                                                                                     Houston, TX 77052
                 b. State member banks, branches and agencies of foreign           b. Federal Reserve Consumer Help Center
                    banks (other than federal branches, federal agencies, and         PO Box 1200
                    Insured State Branches of Foreign Banks), commercial              Minneapolis, MN 55480
                    tending companies owned or controlled by foreign banks,
                    andOrganizations operating under section 25 or 25A of          ¢. Division of Depositorand
                    the Federal Reserve Act.                                         Consumer   Protection
                                                                                     National Center for Consumer


                 c. NonmemberInsured Banks, InsuredState Branchesof                  anara Deposit insurance
                   Foreign Banks, and insured state savings assoclatlons             Corporation
                                                     F                               1100 Walnut Street, Box #11
                 d. Federal Credit Unions                                            Kansas City, MO 64106
                                                                                   d. National Credit Union Administration
                                                                                      Office of Consumer Financial Protection
                                                                                     1775 Ouke Street
                                                                                     Alexandria, VA 22314
                 3. Air carriers                                                   Asst. General Counsel for Office of Aviation Protection
                                                                                   Department ofTransportation
                                                                                   1200 New Jersey Avenue, SE,
                                                                                   Washington, OC 20590
                 4. Creditors Subject to the Surface Transportation Board          Office of Public Assistance, Govemmentat Affairs, and
                                                                                   Compliance Surface Transportation Board
                                                                                   395 E Street, SW,
                                                                                   Washington, DC 20423
    “=            ~€reditors   Subject to the Packers-and-Steckyards A         :   Nearest-Packers and Stockyards Division Regional Office §-—=—
                 6. Smail Business Investment Companies                            Associate Administrator, Office of Capital Access
                                                                                   United States Small Business Administration
                                                                                   409 Third Street, SW, Sulte 8200
                                                                                   Washington, DC 20416

    Fs           7. Brokers and Dealers                                            Securities and Exchange Commission
                                                                                   100 F Street, NE,
                                                                                   Washington, DC 20549
                 8. Institutions that are members of the Farm Credit System        Farm Credit Administration
                                                                                   1501 Farm Credit Drive
                                                                                   McLean, VA 22102-5090
                 9. Retailers, Finance Companies, and All Other Creditors Not | Federal Trade Commission
                    Listed Above                                                Consumer Response Center
,           ’                                                                   600 Pennsyivania Avenue, NW,
                                                                                Washington, DC 20580                            (877) 382-4357



    '                                                                                        ;                             WOe82_001 E0D¢67-1004¢009 0060005
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 210 of 219 PageID 215




                            EXHIBIT 33
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 211 of 219 PageID 216
                        —"                          eameunice eis                                    ELECTRONIC ONLY STATEMENT
                                                    reer
                                                       ee oomocean                                                                            Mortgage Statement
                  FREEDOM MORTGAGE" DALLAS, TX 75261-9053                                                                                       Statement Date09/14/23



                             2-807-00812-0012400-001-000.000-000-000
                                   an
                                                                                                          Customer Care:                      Monday‘Saturday
                                                                                                                                                      - Friday 9:00am=
                                                                                                                                                               8:00am ~8:00pm ET |
                                                                                                                                                                       2:00pm ET }
                                                                                                          Find
                                                                                                             us on the web at:                          www. freedommorgageicom©
                             AKMAL JAMAL GRANT                                                                 i                                         ;                 ieee
                             142 WATERVALEDR
                             SAINT AUGUSTINE FL 32092-1768
                                                                                                        tan Number
                                                                                                      | PaymentDue Date                                                         10/01/23              |
                                                                                                           Amount Due**                                               $2,366.94
                                                                                                          If payment s received after 101623, 565.69 late fee wal be         changed.
                                                                                                       Property Address: 142 WATERVALE DR
                                                                                                           ‘                        SAINT AUGUSTINE FL 32092




                   OutstandingBalance
                   Deferred      Prindpal                                    $363,002.83
                                                                                   Sooo ||| ppceat
                                                                                             imterest a                                        —
                                                                                                                                              sian                                 breed
                                                                                                                                                                                   oe.
                                                                                            con. 1 | EScrow/mpound (for Taxes and/or insurance)                                                   ;
                    interest Rate                                                     3.125% || “Regular Monthly Payment                                                    $2,366.98 |
                   Prepayment Penalty                                                         No | Total Fees& Charges                                                           $00 |
                    Estrow Balance                                                 $4,854.75 | | Overdue Payment                                                                        $00 4
                    Unapplied Funds                                                       $0.00 | | Unpaid Late Charges                                                                  $.06
                                                                                                    | | Other/Optional Products                                                          $.00
                                                                                                               Total Amount Due** _                                          $2,366.95 |
              _ ERASE CON ACEVITY (UGH 5/29 USL AM STee ee                                                                                                             ee               coe
                   Description                    ToOste     EffetiveDae    Amount                 Pald             Paid            Pad        Pad           Paid     Weurante          Funds
                   Margegeiurance O9/0S73 0801/23             c8705/23       $253.15               $00               $000           “$000       ono          «$080      $0.00             $o00 |
                   Payment              Os/ia/Is D9fOL{73     9/24/73      $2,366.94             $9723             $eaS.i5        $724.56       Sono         $00.       fa.08             $0.00




                    IMPORTANT NOTICE: TO THE EXTENT YOUR OBLIGATION
                                                                 HAS BEEN DISCHARGEDIN @ANKRUPTCY,1S SUBJECT
                                                                                                         TO THEAUTOMATIC STAY OR 6PROVIDED
                     FOR
                       IN A CONFIRMED PLAN, THS COMMUNICATION IS FOR REGULATORY COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY,
                                                                                                                           AND DOES NOT
                     CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.                                                       .                  a


                                    :                         ‘Paidlast’     =         Pad Year | | FREEDOMMORTGAGE CORPORATION      I5 A DEBTCOLLECTOR
                                    ;                          Month                   toDate_|     | ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION.
                   Principal                                  3695.15               $4,188.79|| |OBTAINED WILL BE USED FOR THATPURPOSE,
                    Interest                                  $947.13               $5,709.89 | | iF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED
                    Escrow (Taxes and insurance)              $724.66               $4,347.96             BECAUSE OF A BANKRUPTCY PROCEEDING,
                                                                                                                                          THIS NOTICE IS                                                  2
                   Fees*™Charges
                   Late                                          $0.00
                                                                 $0.00                   $0.00
                                                                                        $65.69            odeive
                                                                                                             =D AS YANTRE ATTEMPT
                                                                                                                            FORMATTO ONALPGE
                                                                                                                                      COLLECT A DESTOR AS ANact
                                                                                                                                                              AC
                   Partial Payment Unghie
                   a                                            $0.00
                                                            Fz366.94                 “$0.00_| |TO
                                                                                   Tas         THECOLLECT,ASSESS, OR RECOVER ALL OR ANY PORTION
                                                                                                   DEBT FROM YOU PERSONALLY.                ” OF
                   | “Partial Payments: Any funds received that are less than a fullperiodi¢
                    eatin hnDccount antl encogh funds ae received ib app
                     payinent may be applied to your account, promptly retmned to you, or Held

                    toa full periodlistedpayment.
                    ‘Amounts                                                ; if applicable.
                                          here wilinclude other/optional products,                         “Tpstatement.
                                                                                                                   botencapoceaians te ire)thisSioabalanceDues
                                                                                                                          LeesSeinguent,                   may notbe therepresent
                                                                                                                                                                           pae ay ft or vik
                                                                                                               Sei
             ‘i                         cesteerecesss++ «Additional information is provided on tie back of the Statements                                                    cvevcavsnaivevems
                                                                                                                           Soi See Sore                      Ps Ee ees me
                  LG                                                                                                       [we os AOU Da                                         ee
                  FREEDOM MORTGAGE                                                                                           Due By 10/01/23:            —           . “$2,366,946 :
                     LOAN NUMBER: Y                         AKMAL JAMAL GRANT                                                $65.89
                                                                                                                               late fee wil be charged$alter10/1623'
                                                                                                                             Additional Principal                                             :
       -                                                                                                                     Additional Escrow                 $                    ‘
        ed
       &  FREECOM MORTGAGE                                                                                                   Late Charge         $                            .
       o  0. BOX 6868                                                                                                                    <3                              Scgesiges |
       CHICAGO   IL Bnsa0-sess                                                                                                Total AmountEnclosed$                      ssf

       s
        =                                                                                                                       Make check payable to Freedom Mortgage ~~
       ad                                                          C]            To change mailing address andéor contact information,
                                                                             check here and complete farm on back.
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 212 of 219 PageID 217
                     10:35                                           al   5G Ge)


              <                          Account Details
                                           #

              Experian Credit Report
              As of: Today

              if you want to see your full payment history, log in using a web browser.




               pee vee eb           Sa se Bag             ae : a           Km '
              oo Levipes rae        SO    DEZS is.   Uap 2422             DAG ye ge Be
              a Tee ee ae           Rie ten Ea Mey    satiated Wee aes    a ftwes De!
              ee RS Sag 8            “| “2 e oe -     on oe eS            oe es ee 2]




               ee                   PGs                ee
                                                        es |

              ey
               ei oe                OATES pea        ea are




                                     See               ee”                 Sai




               Logiauo.         ©        Qisputeeceount. ...                         c


                                      ES       SS
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 213 of 219 PageID 218




                            EXHIBIT 34
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 214 of 219 PageID 219




EQUIFAX
CREDIT REPORT



AKMAL GRANT


Report Confirmation

4777619143
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 215 of 219 PageID 220




Dear AKMAL GRANT:
Thank you for requesting your Equifax credit report. Your credit report contains information received primarily from companies which
have granted you credit. Great care has been taken to report this information correctly. Please help us in achieving even greater
accuracy by reviewing ail of the enclosed material carefully.
If there are items you believe to be incorrect, you may

     *    Initiate an investigation request via the Internet 24 hours a day, 7 days a week at:
                https/Avww.equifax.conypersonalcredit-report-services/credit-dispute/
     +    Please mail the dispute information to:
              Equifax Information Services LLC
               P.O. Box 740241
               Atlanta, GA 30374
     +    Call us at 866-349-5186

Please note, when you provide documents, including a letter, to Equifax as part of your dispute, the documents may be submitted to one
or more companies whose information are the subject of your dispute.
You have the right to request and obtain a copy of your credit score. To obtain a copy of your credit score, please call cour automated
ordering system at: 1-877-SCORE-11.




EQUIFAX                                                   AKMAL GRANT| Oct 03, 2024                                            Page 2 of 73
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 216 of 219 PageID 221




1. Summary
Review this summary for a quick view of key information contained in your Equifax Credit Report.



Credit File Status                              .    . No fraud indioaror ante: -                       ——eee                               —_

ane matie                         ;                      ; ae opraong ie a                                           ee

eet eae                                                  : 2      Seog ep e     Se     e        ria eo me ac eemy ROR                  ee

Most Recent Account                                      AMERICAN EXPRESS (Opened
                                                                             Jul 11, 2024) i                    oO             |

Credit Accounts


Your credit report includes information about activity on your credit accounts that may affect your credit score and rating.




Mortgage ;           1 | 1 |   $356,253 i $27,121 a "$383,374 — 30% 2 “42415 -                                                                  -
installment          3 Soe 22 $50,100" oggdes ie 2se0mos       Sie eee
8                         :                           ee                                        o       Se ek                                ee
Total                11       9               $416,571           $56,341             $472,912           35.0%            $3,902

Other Items

Your credit report includes your Personal Information and, if applicable, Consumer Statements, and could include other items that may
affect your credit score and rating.

Comer Sr                                                   ..——r—~—.—C(                             “Rl. Ce
Personal Information                                                                            -   |        Oo                      3 Nome Found

Most Recent Inquiry                   7                  CREDIT KARMA, INC. Oct 01, 2024                 -      -_                 oe
Public Records                                                                                                                     0 Records Found




EQquirax                                                 AKMAL GRANT| Oct 03, 2024                                                     Page 3 of 73
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 217 of 219 PageID 222

|
|
| | September 2023                    October 2023            November 2023      December 2023      danuary 2024    Februasy 2024
            Balance                     Balance                     Balance         Balance           Balance         Balance
|              wae                        ---                         ---           $360,896         $360,502         $359,798
|          Past Due                     Past Due                    Past Due        Past Due          Past Due        Past Due
|
i
               ---                        ---                         eos              $0               $0              $0
1


         Amount Paid                  Amount Paid               Amount Paid       Amount Paid       Amount Paid     Amount Paid
               ---                        ---                         ---           $11,834             $0             $2,415

| Scheduled---Payment Scheduled
                             ---
                                Payment Scheduled---Payment Scheduled Payment ScheduledPayment
                                                                  $2366            $2,366
                                                                                               Scheduled  Payment
                                                                                                     $2,415
            Remarks                     Remarks                     Remarks         Remarks           Remarks         Remarks
               ae                         oa                          “s+             DRC               DRC             DRC
|
             Rating                      Rating                      Rating          Rating            Rating          Rating
|              60                          60                         90              ox                OK               OK
|
|         March 2024                   April 2024                   May 2024       ume 2024
j
            Balance                     Balance                     Balance          Balance
           $359,093                    $358,386                     $357,677        $356,966
I                                 .

j          Past Due                     Past Due                    Past Due        Past Due
               $0                          $0                         $0               $0
[
         Amount Paid                  Amount Paid               Amount Paid       Amount Paid
|
i
             $2,415                      $2,496                      $2,481          $2,481
     Scheduled Payment Scheduled Payment                    Scheduled Payment   Seheduled Payment
             $2.415                      $2,415                      $2,415          $2,415
            Remarks                     Remarks                     Remarks         Remarks
i             DRC                         DRC                         DRC             DRC

|            Rating                      Rating                      Rating          Rating
|              OK                          OK                         OK               OK
I


|                                                                                                                                   Total Monté
pee
i
    nen nm annem enna anneneseern c ens enn w essen nner en nee nee enna enn nneeenn anno nnn nedi
| NAVY FEDERAL CR UN
      Account Information

|     Address                                                                                          POB 3700 MERRIFIELD, VA22119
a                                                                                                   ne
{

| Phone                                                                                                              (800) 914-9494
    bttps://annualcreditreport.trensunion.com/dss/disclosure.page                                                                      26785
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 218 of 219 PageID 223




2022

2023


2024



Amount Past Due




2022                                                                                                                        $4,278      $4,278
2023      $0

2024                                                                                          $0



Payment History

View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
payment was past due; the letters indicate other account events, such as bankruptcy or collections.



               2024                rd    ~          ~          a         of        vo     SSO                                            SK
               2023                wf    30         69         60        60        60         60    60         60      60       90          PY

               2022            Set      RWS      Se           sat       SH       OR       OSE      CBR         av      30       oe          ae
               2021            Sst      SEES                  EEC                CEC               ECCRSECRECCRSEECCC                    SERS

 wf Paid on Time              30 30 Days Past Due            60 60 Days Past Due         90 90 Days Past Due         120 120 Days Past Due

150 150 Days Past Due         180 180 Days Past Due           V_ Voluntary Surrender      F Foreclosure              C Collection Account

CO Charge-Off                 B_ Included in Bankruptcy       R_ Repossession           TN Too New to Rate          SS86No Data Available



Account Details


View detailed information about this account. Contact the creditor or lender if you have any questions about it.



Credit Limit              .                                               . ponentType                    |         _—* “MORTGAGE

Balance                                                      $356,253           Date Opened                                          Feb 26, 2021


Actual Payment ieicunct        |                         .     $2,481 oe Date ofLines Sinjieseat a —                                     Jul 2024



EQUIFAX                                                      AKMAL GRANT | Oct 03, 2024                                              Page 37 of 73
Case 3:24-cv-01182-BJD-SJH Document 1-1 Filed 11/18/24 Page 219 of 219 PageID 224




 SEAS)    ECE     A SNA                 Ae Ea a                       gt ag
                                                                          ik
Dateot Last Actiity:le MRO eneen                                                                      aeS
Months Reviewed                                                 34       Delinquency First Reported

ActivityDesignator=ititst—i“‘“‘“‘SCCC#*C
                                      Gre ditorClassification=UNKNOWN
Deferred Payment Start Date                                              Charge Off Amount                 :
      RO SRE
Balloon         OU oe I
          P: Re Data  igiale iain Bia ereSEPe
                                         omaenters eee ee aes Balloon                ee
                                                                 EE Ataise PaymentAmount.
                                                                           Shoes ene ue                 cm
                                                                                          epeeieony oa ee      enn
                                                                                                               ee ee
se                                                                       a
Loan Type                            Federal Housing Administration      Date Closed
                                              Real Estate Mortgage

Date
   of First Delinquency. COC“
  ee      ease oe ee eS                                                          ee= i                               pao
Comments                                                                          Contact
Consumer disputes after resolution                                                FREEDOM MORTGAGE
                                                                                  11988 EXIT 5 PRKWY BLDG 4
Real estate mortgage                                                                  :
                                                                                  Fishers, IN 46037-7939
Fha mortgage                                                                      (317) 537-3748




EQuirax                                                   AKMAL GRANT| Oct 03, 2024                            Page 38 of 73
